Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 1 of 292




                   EXHIBIT R
                                                         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 2 of 292
                  Popular     Latest       Newsletters                                                                                                  Sign In   Subscribe




January/February 2011 Issue                                                                                                                                       EXPLORE




                                       U.S.




                                       Why Our Best Oﬃcers Are Leaving
                                       Why are so many of the most talented oﬃcers now abandoning
                                       military life for the private sector? An exclusive survey of West Point
                                       graduates shows that it’s not just money. Increasingly, the military is
                                       creating a command structure that rewards conformism and ignores
                                       merit. As a result, it’s losing its vaunted ability to cultivate
                                       entrepreneurs in uniform.

                                       By Tim Kane




                                       JANUARY/FEBRUARY 2011 ISSUE                                   SHARE    SAVED STORIES         SAVE




                                                                                A DV E RT I S E M E N T




                                       JOHN NAGL STILL hesitates when he talks about his decision to leave the
                                       Army. A former Rhodes Scholar and tank-battalion operations oﬃcer in Iraq,
                                       Nagl helped General David Petraeus write the Army’s new counterinsurgency
                                       field manual, which is credited with bringing Iraq’s insurgency under control.
                                       But despite the considerable influence Nagl had in the Army, and despite his
                                       reputation as a skilled leader, he retired in 2008 having not yet reached the
                                       rank of full colonel. Today, Nagl still has the same short haircut he had 24
                                       years ago when we met as cadets—me an Air Force Academy doolie (or
                                       freshman), him a visiting West Pointer—but now he presides over a
                                       Washington think tank. The funny thing is, even as a civilian, he can’t stop
                                       talking about the Army—“our Army”—as if he never left. He won’t say it
                                       outright, but it’s clear to me, and to many of his former colleagues, that the
                                       Army fumbled badly in letting him go. His sudden resignation has been
                                       haunting me, and it punctuates an exodus that has been publicly ignored for
                                       too long.


                                                                                A DV E RT I S E M E N T




                                       Why does the American military produce the most innovative and
                                       entrepreneurial leaders in the country, then waste that talent in a risk-averse
                                       bureaucracy? Military leaders know they face a paradox. A widely circulated
                                       2010 report from the Strategic Studies Institute of the Army War College
                                       said: “Since the late 1980s … prospects for the Oﬃcer Corps’ future have
                                       been darkened by … plummeting company-grade oﬃcer retention rates.
                                       Significantly, this leakage includes a large share of high-performing oﬃcers.”
                                       Similar alarms have been sounded for decades, starting long before the wars in
                                       Iraq and Afghanistan made the exit rate of good oﬃcers an acute crisis. When
                                       General Peter Schoomaker served as Army chief of staﬀ from 2003 to 2007,
                                       he emphasized a “culture of innovation” up and down the ranks to shift the
                                       Army away from its Cold War focus on big, conventional battles and toward
                                       new threats. In many respects (weapons, tactics, logistics, training), the Army
                                       did transform. But the talent crisis persisted for a simple reason: the problem
                                       isn’t cultural. The military’s problem is a deeply anti-entrepreneurial personnel
                                       structure. From oﬃcer evaluations to promotions to job assignments, all
                                       branches of the military operate more like a government bureaucracy with a
                                       unionized workforce than like a cutting-edge meritocracy.

                                       After interviewing veterans who work at some of the most dynamic and
                                       innovative companies in the country, I’m convinced that the military has
                                       failed to learn the most fundamental lessons of the knowledge economy. And
                                       that to hold on to its best oﬃcers, to retain future leaders like John Nagl, it
                                       will need to undergo some truly radical reforms—not just in its policies and
                                       culture, but in the way it thinks about its oﬃcers.




                                                                            All They Can Be?


                                       It would be easy to dismiss Nagl’s story, except you hear it almost every time
                                       you talk to a vet. In a recent survey I conducted of 250 West Point graduates
                                       (sent to the classes of 1989, 1991, 1995, 2000, 2001, and 2004), an
                                       astonishing 93 percent believed that half or more of “the best oﬃcers leave the
                                       military early rather than serving a full career.” By design, I left the definitions
                                       of best and early up to the respondents. I conducted the survey from late
                                       August to mid-September, reaching graduates through their class scribes (who
                                       manage e-mail lists for periodic newsletters). This ensured that the sample
                                       included veterans as well as active-duty oﬃcers. Among active- duty
                                       respondents, 82 percent believed that half or more of the best are leaving.
                                       Only 30 percent of the full panel agreed that the military personnel system
                                       “does a good job promoting the right oﬃcers to General,” and a mere 7
                                       percent agreed that it “does a good job retaining the best leaders.”

                                       Is this so terrible? One can argue that every system has                      RECOMMENDED READING
                                       flaws and that the military should be judged on its
                                       ultimate mission: maintaining national security and                                        A Lesson for Ravens: Don’t
                                       winning wars. But that’s exactly the point: 65 percent of                                  Eat the Tortoises
                                                                                                                                  THOM VAN DOOREN
                                       the graduates agreed that the exit rate of the best oﬃcers
                                       leads to a less competent general-oﬃcer corps. Seventy-
                                       eight percent agreed that it harms national security.                                      How Boomer Parenting
                                                                                                                                  Fueled Millennial Burnout
                                                                                                                                  JOE PINSKER
                                       The shame of this loss of talent is that the U.S. military
                                       does such a good job attracting and training great
                                       leaders. The men and women who volunteer as military                       The Tomb Raiders of the
                                                                                                                  Upper East Side
                                       oﬃcers learn to remain calm and think quickly under
                                                                                                                  ARIEL SABAR
                                       intense pressure. They are comfortable making
                                       command decisions, working in teams, and motivating
                                       people. Such skills translate powerfully to the private
                                       sector, particularly business: male military oﬃcers are almost three times as
                                       likely as other American men to become CEOs, according to a 2006
                                       Korn/Ferry International study. Examples abound of senior executives who
                                       attribute their leadership skills to their time in uniform: Ross Perot, Bill
                                       Coleman, Fred Smith, and Bob McDonald, the new CEO of Procter &
                                       Gamble, to name a few. The business guru Warren Bennis reflected in his
                                       recent memoirs, “I never heard anything at MIT or Harvard that topped the
                                       best lectures I heard at [Fort] Benning.”

                                       Why is the military so bad at retaining these people? It’s convenient to believe
                                       that top oﬃcers simply have more- lucrative opportunities in the private
                                       sector, and that their departures are inevitable. But the reason overwhelmingly
                                       cited by veterans and active-duty oﬃcers alike is that the military personnel
                                       system—every aspect of it—is nearly blind to merit. Performance evaluations
                                       emphasize a zero-defect mentality, meaning that risk-avoidance trickles down
                                       the chain of command. Promotions can be anticipated almost to the day—
                                       regardless of an oﬃcer’s competence—so that there is essentially no diﬀerence
                                       in rank among oﬃcers the same age, even after 15 years of service. Job
                                       assignments are managed by a faceless, centralized bureaucracy that keeps
                                       everyone guessing where they might be shipped next.




                                       The Pentagon’s response to such complaints has traditionally been to throw
                                       money at the problem, in the form of millions of dollars in talent-blind
                                       retention bonuses. More often than not, such bonuses go to any oﬃcer in the
                                       “critical” career fields of the moment, regardless of performance evaluations.
                                       This only ensures that the services retain the most risk-averse, and leads to
                                       long-term mediocrity.




                                                     Explore the January/February 2011 Issue
                                                     Check out more from this issue and find your                           View More

                                                     next story to read.




                                       When I asked veterans for the reasons they left the military, the top response
                                       was “frustration with military bureaucracy”—cited by 82 percent of
                                       respondents (with 50 percent agreeing strongly). In contrast, the conventional
                                       explanation for talent bleed—the high frequency of deployments—was cited
                                       by only 63 percent of respondents, and was the fifth-most-common reason.
                                       According to 9 out of 10 respondents, many of the best oﬃcers would stay if
                                       the military was more of a meritocracy.


                                                                     Entrepreneurs in Uniform


                                       During World War II, German generals often complained that U.S. forces
                                       were unpredictable: they didn’t follow their own doctrine. Colonel Jeﬀ
                                       Peterson, a member of the faculty at West Point, likes to illustrate this point
                                       using a parable about hedgerows. After the Normandy invasion in 1944,
                                       American troops found that their movements were constrained by the thick
                                       hedgerows that lined the countryside of northern France. The hedges
                                       frequently channeled American units into German ambushes, and they were
                                       too thick to cut or drive through. In response, “Army soldiers invented a
                                       mechanism on the fly that they welded onto the front of a tank to cut through
                                       hedgerows,” Peterson told me.




                                       American troops are famous for this kind of individual initiative. It’s a point
                                       of pride among oﬃcers that the American way of war emphasizes independent
                                       judgment in the fog and friction of battle, rather than obedience and rules.
                                       Lieutenants, even corporals and privates, are trained to be entrepreneurial in
                                       combat. This emphasis doesn’t just attract inspirational leaders and eﬃcient
                                       managers—it produces revolutionary innovators. From the naval oﬃcer Alfred
                                       Thayer Mahan, whose insights on sea power transformed warfare at the
                                       beginning of the 20th century, to General Billy Mitchell, the godfather of the
                                       Air Force, to General Petraeus, who’s now implementing his
                                       counterinsurgency strategy in Afghanistan, the U.S. military has a long and
                                       proud tradition of innovative thought.

                                       Creativity of this sort is increasingly celebrated by economists who study
                                       growth, many of whom now believe that innovation is essentially the only
                                       factor that drives long-term increases in per capita income. Since innovation
                                       relies entirely on people—what economists call human capital— academics
                                       are showing more appreciation than ever for Joseph Schumpeter and his
                                       pioneering focus on entrepreneurship. Entrepreneurs, Schumpeter noted, take
                                       risks, experiment with new technologies and ideas, and bring about the
                                       “creative destruction” that enables capitalism to flourish. Likewise, martial
                                       progress relies on innovative oﬃcers, especially those who question doctrine
                                       and strategy.




                                       But the Pentagon doesn’t always reward its innovators. Usually, rebels in
                                       uniform suﬀer at the expense of their ideas. General Mitchell was court-
                                       martialed for insubordination in 1925; and who can forget the hostile
                                       treatment aﬀorded General Eric Shinseki in 2003 after he testified that
                                       “something on the order of several hundred thousand soldiers” would
                                       probably be required to stabilize post-invasion Iraq?

                                       In a 2007 essay in the Armed Forces Journal, Lieutenant Colonel Paul Yingling
                                       oﬀered a compelling explanation for this risk-averse tendency. A veteran of
                                       three tours in Iraq, Yingling articulated a common frustration among the
                                       troops: that a failure of generalship was losing the war. His critique focused
                                       not on failures of strategy but on the failures of the general-oﬃcer corps
                                       making the strategy, and of the anti-entrepreneurial career ladder that
                                       produced them: “It is unreasonable to expect that an oﬃcer who spends 25
                                       years conforming to institutional expectations will emerge as an innovator in
                                       his late forties.”

                                       Despite the turnaround in Iraq since engineered by General Petraeus and his
                                       allies, it is hard to escape the impression that the military has indeed become
                                       less hospitable to entrepreneurs at the strategic level in the past few decades.
                                       Schumpeter predicted that as capitalist economies evolved, innovation would
                                       become routinized in large organizations, obviating the need for individual
                                       entrepreneurs. Until the 1980s, this idea was widely accepted in corporate
                                       America, and certainly in the defense industry. But Schumpeter’s prediction
                                       was upended definitively when the knowledge economy evolved out of the
                                       industrial economy, and symbolically when Steve Jobs and Steve Wozniak
                                       started Apple Computer in a California garage. In America today, capitalism is
                                       entrepreneurial: our economy is defined by individuals failing or succeeding
                                       on the strength of their ideas. Crucially, the military has not recognized this
                                       shift. And the Army, in particular, has not changed from its “ineﬃcient
                                       industrial era practices,” as a report by the Strategic Studies Institute put it last
                                       year. It still treats each employee as an interchangeable commodity rather than
                                       as a unique individual with skills that can be optimized.




                                                                  It’s Not Business, It’s Personnel


                                       The most blatantly anti-entrepreneurial aspect of the Army is the strict time-
                                       in-service requirement for various ranks. Consider the mandatory delay for
                                       becoming a general. Active-duty oﬃcers can retire after 20 years of service.
                                       But to be considered for promotion to general requires at least 22 years of
                                       service, and that applies to even the most talented and inspiring military
                                       oﬃcer in the nation.

                                       John Nagl might have been that oﬃcer. His 2002 book, Learningto Eat Soup
                                       With a Knife, anticipated the kind of insurgency warfare America was likely to
                                       face in the new century, and it proved a prescient warning as the wars in Iraq
                                       and Afghanistan dragged on. After serving in Iraq, Nagl helped General
                                       Petraeus write the Army’s counterinsurgency doctrine in 2005 and 2006.
                                       Conventional wisdom holds that the “surge” broke Iraq’s insurgency the
                                       following year. But the surge was more than just the 30,000 or so additional
                                       soldiers and marines who were deployed. The key was instead a new emphasis
                                       on stability and development, inspired in large part by ideas laid out in Nagl’s
                                       book.

                                       In 2008, Nagl hit the 20-year mark, and what happened? He retired. Since he
                                       was not yet a full colonel, let alone a general, it was clear that he could be
                                       more influential as a civilian. He is now the head of the Center for a New
                                       American Security, known in Washington as President Obama’s favorite think
                                       tank. Had he stayed in the Army, odds are he would have been a career
                                       colonel, or a professor at the Army War College. Now his work at CNAS
                                       regularly reaches the White House and the National Security Council. While
                                       I assumed the loss of Nagl would be seen as an outrage within the military,
                                       most oﬃcers I spoke to shrugged it oﬀ as typical.




                                       The more experts I talked with, the more I realized that targeting one
                                       ineﬃcient policy, like the time-in-service requirement, wasn’t going to work. I
                                       asked the survey respondents to grade diﬀerent aspects of the military in terms
                                       of fostering entrepreneurial leadership, using a standard Athrough-F scale. The
                                       “recruitment of raw talent” received 12 percent A’s and 43 percent B’s. Formal
                                       training programs and military doctrine also got good marks. What emerged
                                       as the weakest area was personnel. The evaluation system received 51 percent
                                       D’s and F’s. Job assignments got 55 percent failing grades. The promotion
                                       system got 61 percent. And lastly, the compensation system received 79
                                       percent D’s and F’s.

                                       Simply put, if the Army hopes to stanch the talent bleed, it needs to embrace
                                       an entrepreneurial structure, not just culture. That doesn’t mean more oﬃcers
                                       who invent new weapons, but rather a new web of incentives rewarding
                                       creative leadership. The military has reinvented itself in this manner before.
                                       West Point’s Jeﬀ Peterson recounted the standard story line of the Army’s soul-
                                       searching after Vietnam. After eight years of committing hundreds of
                                       thousands of soldiers to a war that was lost on many levels, the Army returned
                                       to a strategic comfort zone, with its leadership thinking about conventional
                                       wars instead of the messy counterinsurgency it had just muddled through.
                                       While this story isn’t wrong on the whole, Peterson argues that it ignores the
                                       radical transformations that took place in the 1970s. He pulled James
                                       Kitfield’s book Prodigal Soldiers from his bookshelf and encouraged me to read
                                       it.




                                       Kitfield chronicles a revolution in that era in how the Army treated,
                                       organized, and trained its soldiers. No change was bigger than the adoption of
                                       an all-volunteer force in 1973. It was a radical idea at the time, so
                                       controversial that many in the Army expected it to fail, or even to destroy the
                                       military. Instead, the all-volunteer force served as the beginning of a
                                       renaissance in the ranks, across all the services, and paved the way for a newly
                                       professional military. Instead of staying in for just two years, enlistees now
                                       commonly stayed for five years, or 10, or a career. The Army started paying
                                       better and, more important, making investments in its human capital. But
                                       make no mistake, moving to a volunteer force was not an incremental reform.
                                       It was radical. This connection may explain why almost 60 percent of the
                                       West Point respondents favored “radical reform” of the personnel system.

                                       Radical reform may not sound like much of a blueprint, but the all-volunteer
                                       force must be understood in terms of a philosophical shift: the military
                                       rejected centrally planned accessions in exchange for a market mechanism.
                                       Faced with having to attract and retain volunteers, the military filled its
                                       requirements for labor with the right price: better pay, better housing, better
                                       treatment, and ultimately a better career opportunity than it had ever oﬀered.




                                                                         A Market Alternative


                                       Today’s Army requires a similar philosophical shift if it is to generate more-
                                       entrepreneurial leadership and start retaining its most talented oﬃcers. When
                                       presented with 10 proposed policy changes, the panel of West Point grads was
                                       strongly in favor of five, marginally in favor of three, split on one, and
                                       strongly against the last. Dead last was reauthorizing the draft instead of the
                                       all-volunteer force, a proposal that drew support from only 14 percent of
                                       respondents. So what did they think would help?

                                       The Army should start by breaking down its rigid promotion ladder. The most
                                       strongly recommended policy, which 90 percent agreed with, is to allow
                                       greater specialization. Under the current system, company and platoon
                                       commanders are often “promoted” to staﬀ jobs—that is, transferred from
                                       commanding troops in battle to working behind a desk on a general’s staﬀ—
                                       even if they’d prefer to specialize in a lower-ranking position they enjoy.
                                       Rather than take an advancement they don’t want, many quit the Army
                                       altogether. Expanding early-promotion opportunities for top performers and
                                       eliminating year-group promotions also have strong support (87 and 78
                                       percent, respectively). All of this might be hard to do while maintaining
                                       centralized management of rank and job assignments, but three-quarters of
                                       the panel favored ditching that system entirely in favor of an internal job
                                       market.




                                       Indeed, an internal job market might be the key to revolutionizing military
                                       personnel. In today’s military, individuals are given “orders” to report to a new
                                       assignment every two to four years. When an Army unit in Korea rotates out
                                       its executive oﬃcer, the commander of that unit is assigned a new executive
                                       oﬃcer. Even if the commander wants to hire Captain Smart, and Captain
                                       Smart wants to work in Korea, the decision is out of their hands—and
                                       another captain, who would have preferred a job in Europe, might be assigned
                                       there instead. The Air Force conducts three assignment episodes each year,
                                       coordinated entirely by the Air Force Personnel Center at Randolph Air Force
                                       Base, in Texas. Across the globe, oﬃcers send in their job requests. Units with
                                       open slots send their requirements for oﬃcers. The hundreds of oﬃcers
                                       assigned full-time to the personnel center strive to match open requirements
                                       with available oﬃcers (each within strictly defined career fields, like infantry,
                                       intelligence, or personnel itself ), balancing individual requests with the needs
                                       of the service, while also trying to develop careers and project future trends, all
                                       with constantly changing technological tools. It’s an impossible job, but the
                                       alternative is chaos.

                                       In fact, a better alternative is chaos. Chaos, to economists, is known as the free
                                       market, where the invisible hand matches supply with demand. The Strategic
                                       Studies Institute report makes this very point. “Giving oﬃcers greater voice in
                                       their assignments increases both employment longevity and productivity,” it
                                       concludes. “The Army’s failure to do so, however, in large part accounts for
                                       declining retention among oﬃcers commissioned since 1983.”




                                       Here is how a market alternative would work. Each commander would have
                                       sole hiring authority over the people in his unit. Oﬃcers would be free to
                                       apply for any job opening. If a major applied for an opening above his pay
                                       grade, the commander at that unit could hire him (and bear the
                                       consequences). Coordination could be done through existing online tools
                                       such as monster.com or careerbuilder.com (presumably those companies
                                       would be interested in oﬀering rebranded versions for the military). If an
                                       oﬃcer chose to stay in a job longer than “normal” (“I just want to fly fighter
                                       jets, sir”), that would be solely between him and his commander.

                                       Each of the four military branches is free to design its own personnel system,
                                       with minimal Pentagon interference. Yet each uses a similar centralized-
                                       planning department. It would take only one branch to lead the way by
                                       adopting the best practices of corporate America—where firms manage vast
                                       workforces by emphasizing flexibility, respect for individual talent, and
                                       executive responsibility. During my study, I surveyed ex-military oﬃcers at
                                       Citi, Dell, Amazon, Procter & Gamble, TMobile, Amgen, Intuit, and
                                       countless venture-capital firms. At every company, the veterans were shocked
                                       to look back at how “archaic and arbitrary” talent management was in the
                                       armed forces. Unlike industrial-era firms, and unlike the military, successful
                                       companies in the knowledge economy understand that nearly all value is
                                       embedded in their human capital.
                                        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 3 of 292
                      I traveled to Silicon   Valley to learn about the organizational design of firms
                      there, and also to learn about the talent ecosystem. Nowhere is there a
                      military-style 20-year retirement framework that distorts career decisions, and
                      no one oﬀers the security of lifetime employment. Instead, Silicon Valley
                      attracts talent because it knows the importance of flexibility. Companies,
                      unlike military units, are born and die out constantly, and the massive flow of
                      labor across and within companies is highly turbulent. Not only can
                      ambitious visionaries become top executives in half a decade, but employees
                      can do the one thing they love for decades without worrying about getting
                      “promoted” to management positions they don’t want. In the glassy buildings
                      of Menlo Park, “being all you can be”—whether it’s coding C++, designing
                      Web campaigns, or excelling in some other niche—isn’t just a slogan.

                      One Silicon Valley executive I spoke with, whom I’ll call Captain Smith,
                      contrasted his time as a Marine company commander with his current job
                      leading hundreds of employees, from software engineers to sales managers.
                      Like other veterans in corporate America, he credits his military training with
                      sharpening his leadership skills. But the analytical mind he uses to devise
                      business models is just as sharp in assessing the military’s inept talent
                      management. What’s the impact of merit on promotions in the Marines?
                      “Virtually none,” says Smith. “On average, the best oﬃcers got out; the worst
                      oﬃcers got out.” There are notable exceptions, he said. “But the larger trend I
                      observed drives any organization toward mediocrity.”




                      When I asked him about Silicon Valley’s lessons for the military, he
                      mentioned his firm’s internal market for matching engineers and projects,
                      where the bottom line is that engineers rule. Team leaders have to advertise
                      their projects and try to attract engineers, and it’s uncommon for an engineer
                      to be told what he or she will do. Happier workers mean higher productivity.
                      “I don’t want to oversimplify,” he says. “But this is about incentives and
                      control.”

                      In contrast, only one in five of the West Point graduates thinks the Army
                      today does a good job matching talents with jobs. And nearly two-thirds agree
                      that using an evaluation system that singled out the best and worst members
                      of a given unit—for advancement or release—would yield a more
                      entrepreneurial leadership. Such a system, popularized by Jack Welch of
                      General Electric, would give commanders better information, and also make
                      personnel ratings a lot more useful than the politically correct write-ups in
                      abundance now. It would also recast the personnel oﬃcers as headhunters,
                      focused on giving advice, rather than orders, to job-seekers and to hiring
                      commanders.

                      I asked Smith—a supremely tech-savvy, gung-ho leader—whether he would
                      consider rejoining if the Marines recruited him to serve as a general oﬃcer,
                      perhaps to command their cyber-security eﬀorts. I anticipated that his resolute
                      willingness to serve would oﬀer a vivid contrast to the military’s closed-
                      mindedness. But he surprised me. He thought quietly for a minute. Then,
                      shaking his head, he said something much more damning: “I can’t see it,” the
                      Silicon Valley marine said. “Even if they made that oﬀer … I have no
                      confidence that I could pierce the bureaucracy.”




THIS IS YOUR LAST FREE ARTICLE.      SIGN IN                                                               Subscribe Now
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 4 of 292




                   EXHIBIT S
            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 5 of 292




                       Reagan National Defense Survey
                                    Conducted November 2022
 Though the world has changed in the 40 years since President Reagan was in office, the latest
 Reagan National Defense Survey shows that the American people continue to support his timeless
 principle of “peace through strength.” In the face of geopolitical events that shook the foundations
 of global peace and security in 2022, Americans see U.S. leadership as the key to restoring the
 peace.

 Americans want the United States to lead and be more engaged in the world. They want a strong
 U.S. military presence overseas and support increasing defense spending. They want America to
 stand with our allies and support democracy. They want to stand with Ukraine against Russian
 aggression and deter potential Chinese aggression against Taiwan.

 Still, there are some troubling findings from the 2022 Reagan National Defense Survey as well.
 Our national security leaders would do well to listen to the views of the American people and act
 to rebuild public trust in our military.

 1. Perceived Politicization Drives Declining Confidence in the Military
 Every year, the Reagan Institute asks about Americans’ level of trust and confidence in a variety
 of public institutions. Just five years ago, 70% said they had a great deal of trust and confidence
 in the military. However, that
 percentage steadily declined, and
 last year, for the first time, a
 minority of Americans had the
 highest level of confidence in the
 military, only 45%.

 This year, that trend appears to be
 stabilizing. Now 48% say they
 have a great deal of trust and
 confidence in the military.
 Notably, this is still down 22
 points from merely a few years
 ago. No other public institution
 asked     about—including       the
 Supreme Court, Congress, the
 Presidency, the news media, or
 law enforcement—has seen as
 sharp a decline in public trust
 over this time.

 To better understand this trend,
 the Reagan Institute added a new

Polling Conducted By
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 6 of 292

series of questions about the extent to which a variety of factors have decreased public
confidence in the military. The top response is military leadership becoming overly politicized,
with 62% overall saying that has decreased their confidence. This includes 60% of Democrats,
60% of Independents, and 65% of Republicans.

Americans make only a slight distinction between different types of leadership when they
complain about politicization. While they see civilian DOD leaders and uniformed military
leaders as contributing to this issue, they are more likely to blame presidents as Commanders-in-
Chief. Nearly 60% of respondents say that performance and competence of presidents has
decreased their confidence in the military.

Over half of respondents (55%) say the performance and competence of the military’s civilian
leadership—meaning the Secretary of Defense and civilian leadership at the Department of
Defense—decreased their confidence in the military. While a slightly smaller percentage (52%)
say the performance and competence of uniformed military leaders decreased their confidence,
there has been a decline in those who believe U.S. military leadership is the best in the world
compared to other countries’ militaries, from 33% in 2021 to 25% in 2022.

The complaints some have recently lodged against the military rank lower on the list. While half
(50%) say so-called “woke” practices undermining military effectiveness have decreased their
confidence, there is a sizeable partisan disparity on this, with far more Republicans than
Democrats blaming “wokeness.” Likewise, while 46% overall say that so-called far-right or
extremist individuals serving in the military decreased their confidence, this response is far more
common among Democrats than Republicans. Less than half (47%) of survey respondents cite the
military’s performance in Iraq and Afghanistan as having decreased their confidence.

Notably, 52% of respondents say the military’s ability to win a potential future war decreased
their confidence. Those reporting great confidence in the military’s ability to keep the country
safe decreased from 57% in 2021 to 50%. There was also a decrease in those confident in the
military’s ability to act in a professional and nonpolitical manner, from 40% in 2021 to 35%. These
trends seem to demonstrate a connection between Americans’ sense of the military’s ability to
perform its core function and their perception of its leaders becoming overly politicized.

                                    With military recruitment challenges making headlines this
                                    year, the Reagan Institute also added a new question for
                                    young Americans in the target age range for recruiting the all-
                                    volunteer force about their personal willingness to serve in
                                    the military. Among respondents aged 18 through 29, 13% are
                                    highly willing to join, a quarter (25%) are only somewhat
                                    willing, 20% are not very willing, and about a quarter (26%)
                                    are not willing at all. There are no notable disparities in
                                    responses between different education levels.




                                                2
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 7 of 292


2. Americans Want to Continue Aiding Ukraine in Its Fight for Freedom
Perceptions of Russia as an enemy have reached a survey high of 82%, up from 65% just last year.
This is driven by double-digit increases by Democrats, Independents, and Republicans. Relatedly,
perception of Ukraine as an ally has increased from 49% in 2021 to 76%. Nearly two-thirds (67%)
are concerned about Russian victory in the war.

                                                 Americans support the United States standing
                                                 with Ukraine and acting as the arsenal of
                                                 democracy in providing military aid. With regard
                                                 to America sending military equipment and
                                                 financial assistance to Ukraine, a majority (57%)
                                                 believe the United States must continue to stand
                                                 with the people of Ukraine and oppose Russian
                                                 aggression in order to protect a friendly
                                                 democracy and prevent future Russian threats to
                                                 Europe. This includes 73% of Democrats and 51%
                                                 of Republicans.
                                                 Only a third
                                                 (33%)    believe
                                                 America      has
                                                      enough
                                                 problems       at
                                                 home         and
                                                 cannot afford to
                                                 spend more on
                                                 the conflict and
                                                 risk     further
provoking Russia, including 19% of Democrats but notably 41%
of Republicans. Regarding the assistance the United States has
already sent to Ukraine, 39% say the United States has sent
about the right amount, while a quarter (25%) say it has sent
too little, and another quarter (24%) say it has sent too much.

NATO
A majority of Americans (60%) have a
favorable view of NATO, while 23% have an
unfavorable view—both percentages are
consistent with previous surveys. An even
greater majority (72%) supports NATO
Article 5 commitments (defined as the
United States responding with military force
if Russia attacked a NATO ally in Europe),
including 81% of Democrats and 67% of
Republicans. Nearly three-quarters (74%)
are concerned about the war in Ukraine
expanding to NATO countries in Eastern
Europe, forcing the United States to get
directly involved. There is also bipartisan
support for expanding the alliance, as 71%
approve of allowing Finland and Sweden to
join NATO. Ukraine’s application for NATO
membership has 61% support.

                                                3
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 8 of 292


3. Americans Believe the U.S. Lacks a Clear Strategy for the China Threat
Americans are increasingly concerned about the threat posed by China. Three-quarters (75%)
now view China as an enemy, up from 65% in 2021 and 55% in 2018. Despite the war in Ukraine,
a plurality (43%) still names China as the country that poses the greatest threat to the United
States. However, this percentage is down from 52% in
2021, while those who name Russia doubled, to 31%
from 14% in 2021. When asked if the United States has
a clear strategy for managing its relationship with
China, over half (54%) say no, while only 27% say yes,
and 20% do not know.

When it comes to specific concerns about China,
Americans recognize the multifaceted nature of the
threat. When asked to choose their single greatest
concern regarding China, economic practices top the
list, including technology theft and its trade
relationships with other countries, at 22% overall—
including a plurality of both Democrats (21%) and
Republicans (25%). However, that is in a near
statistical tie with those who say China’s military buildup (18% overall) or its human rights abuses
(17% overall) are their top concern. Notably, 13% identified China invading Taiwan as their single
greatest concern about China, up from 7% in 2021. Related to these economic concerns, over half
(54%), including a majority of both Democrats and Republicans, support efforts to reduce the
amount of trade between the United States and China.

Taiwan
Americans see the parallels between Ukraine and Taiwan, with 71% concerned that Russian
aggression will inspire other authoritarian countries to invade their democratic neighbors. A
similar overall percentage (70%) also express specific concern about the threat of China invading
Taiwan in the next five years. Bipartisan majorities of Americans support efforts to deter a
Chinese invasion of Taiwan, including 61% who support increasing the U.S. military presence
near Taiwan and 58% who support increasing arms sales to Taiwan. If China were to invade
Taiwan, 43% would support committing U.S. ground troops to the defense of Taiwan, while 36%
oppose. After learning that Taiwan is a democracy and the world’s largest producer of advanced
semiconductors, then 65% say they are open to the idea of committing U.S. forces.

4. President Reagan’s Legacy Lives On
 Americans continue to view President Reagan positively, with a 67% overall favorability. This
includes a majority of Americans of all political stripes: 87% of Republicans, 62% of Independents,
and 51% of Democrats.

Americans today want the United States to lead in the world, act as an arsenal of democracy, and
maintain our alliance commitments. They believe, as Ronald Reagan put it in his acceptance
speech at the 1980 Republican National Convention: “The United States has an obligation to its
citizens and to the people of the world never to let those who would destroy freedom dictate the
future course of life on this planet.”

The American people are clear-eyed about the threats to freedom today, particularly from China
and Russia. They worry, though, that those tasked with taking on these threats are becoming too
mired in and distracted by the partisan squabbles consuming other areas of American society.
Leaders would do well to learn from President Reagan’s example to restore Americans’
confidence.
                                                 4
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 9 of 292




                   EXHIBIT T
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 10 of 292




  McCarthy Rebellion            Shutdown Averted            Garland On "60 Minutes"              Tupac Shakur's Murder             CBS News Live     Managi



                                                                                                                                                   Login



    POLITICS


    CBS News poll finds most say colleges shouldn't factor race
    into admissions

    B Y A N T H O N Y S A LV A N T O
    JUNE 21, 2023 / 5:00 PM / CBS NEWS




                         Be the first to know
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.


    The American public feels that many groups face discrimination today and widely believes
    that racism remains a problem in the country, at least to some degree — but it is more



https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                                  1/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 11 of 292
    closely  divided over affirmative action as a general policy, with a narrow majority
    Watch CBS News
    supporting it.                                              View CBS News In

    Those who feel there's a lot of discrimination in the country also tend to favor affirmative
                   CBS News App                                                                                                               OPEN
    action in general.

    But for many of them, that general view doesn't extend into the particular mechanism of
                                                                                                                                             CONTINUE
    having college admissions consider an applicant's race. Looking at the pending Supreme
    Court decision, Americans' views tilt to a substantial majority against allowing colleges to
    consider race.




                         Be the first to know
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               2/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 12 of 292
    Watch CBS News
                                                                View CBS News In


                   CBS News App                                                                                                               OPEN



                                                                                                                                             CONTINUE




    Across partisan groups and racial groups, there are comparably fewer who favor colleges
    considering race than there are those favoring affirmative action in general.

    So, on the college admissions matter, partisan differences exist but aren't overly dramatic.
    Republicans are widely opposed to the use of race in admissions, and they are joined in
    that view by more than half of Democrats, and by three in four independents. Black
    Americans are relatively more likely than White Americans to say colleges should be
    allowed to consider race, but still just split on it. College graduates are slightly likelier than
    people without college degrees to say so, too.




                         Be the first to know
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               3/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 13 of 292
    Watch CBS News
                                                                View CBS News In


                   CBS News App                                                                                                               OPEN



                                                                                                                                             CONTINUE




                         Be the first to know
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.
    This proportion saying affirmative action programs should continue today is generally
    comparable to what we've seen in our polling when the topic has come up over the last 25
    years.

    Now, here's where perceptions of discrimination come in today, at least a bit.
https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               4/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 14 of 292
    Most   Americans say there is at least some discrimination against Black, Hispanic, and
    Watch CBS News
    Asian people in America today, andView
                                      thoseCBS
                                           who News   In a lot of it are relatively more
                                               feel there's
    likely to think that colleges ought to consider race — though, even then, it's fewer than half
    who say so.
                   CBS News App                                                                                                              OPEN

    Then nearly half of Americans feel White people also suffer from at least some
    discrimination, and over half of White Americans say this. (Conservatives and Republicans
                                                                                   CONTINUE
    are especially likely to.) Among those who express this sentiment, there's majority
    opposition to affirmative action and to colleges considering race.




    Most think racism remains a problem today, and even more Americans — three-quarters —
    say racism has been a major problem in the nation's history.


                         Be the first to know
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                           5/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 15 of 292
    Watch CBS News
                                                                View CBS News In


                   CBS News App                                                                                                               OPEN



                                                                                                                                             CONTINUE




    This CBS News/YouGov survey was conducted with a nationally representative sample of
    2,145 U.S. adult residents interviewed between June 14-17, 2023. The sample was weighted
    according to gender, age, race, and education based on the U.S. Census American
    Community Survey and Current Population Survey, as well as past vote. The margin of
    error is ±3.0 points.

    Toplines




                         Be the first to know
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               6/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 16 of 292
    Watch CBS News
                                                                View CBS News In


                   CBS News App                                                                                                               OPEN



                                                                                                                                             CONTINUE




    CBS News Polls
    CBS News poll: Trump leads in early states, where campaigning hasn't closed gap




    CBS News poll finds concerns about Biden finishing a second term
                         Be the first to know
                    Get browser notifications for breaking news, live
                    events, and
    Poll finds less concern     exclusive
                             about        reporting.
                                   new COVID    variants now than with Omicron




    Age, elected office: Concerns about performance outweigh experience benefit




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               7/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 17 of 292
    Watch CBS News                                                           More
                                                                View CBS News In


                   CBS News App                                                                                                               OPEN
    In:      Affirmative Action



                                                                                                                                             CONTINUE
    Anthony Salvanto

    Anthony Salvanto, Ph.D., is CBS News' director of elections and surveys. He oversees all polling
    across the nation, states and congressional races, and heads the CBS News Decision Desk that
    estimates outcomes on election nights. He is the author of "Where Did You Get This Number: A
    Pollster's Guide to Making Sense of the World," from Simon & Schuster (a division of Paramount
    Global), and appears regularly across all CBS News platforms. His scholarly research and writings
    cover topics on polling methodology, voting behavior, and sampling techniques.

           Twitter



    First published on June 21, 2023 / 5:00 PM

    © 2023 CBS Interactive Inc. All Rights Reserved.




                                                    Copyright ©2023 CBS Interactive Inc. All rights reserved.


    Privacy Policy                                                                  Closed Captioning
    California Notice                                                               CBS News Live on Paramount+
    Your Privacy Choices                                                            CBS News Store

    Terms of Use                                                                    Site Map
    About
                         Be the first to know                                       Contact Us
    Advertise                                                                       Help
                         Get browser notifications for breaking news, live
                         events, and exclusive reporting.




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               8/9
10/2/23, 6:11 AM                                    CBS News poll finds most say colleges shouldn't factor race into admissions - CBS News
                       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 18 of 292
    Watch CBS News
                                                                View CBS News In


                   CBS News App                                                                                                               OPEN



                                                                                                                                             CONTINUE




https://www.cbsnews.com/news/affirmative-action-supreme-court-college-admissions-opinion-poll-2023-06-21/                                               9/9
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 19 of 292




                   EXHIBIT U
 The Washington Post
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 20 of 292

Not Affirmative, Sir
By Bruce Fleming    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 21 of 292
February 16, 2003
Last year I was a member of the admissions board at the U.S. Naval Academy, where I have been a civilian
professor of English for the past 16 years. The experience brought one thing home to me with great clarity:
Affirmative action, racial and otherwise, is a minefield of practical paradoxes.

Like many institutions of higher education, the Naval Academy uses race as a criterion in its admissions
process. The practice leads to obvious absurdities, even inequities. For this reason, the Bush administration's
decision to oppose racial affirmative action in college admissions seems like a good thing.

At the same time, it's difficult not to sympathize with the goal of representativeness implicit in all affirmative-
action policies. In the academy's case, it does seem important to have black and Hispanic officer-candidates
when so many of the men and women in the fleet are black or Hispanic. It's not that an individual black
Marine, say, needs a black officer to inspire him to follow orders, only that he needs to know there are such
officers, somewhere, maybe even right here. In the military, a lot depends on "morale," that hard-to-quantify
measure of satisfaction. It wouldn't help to say, "Of course Miss America can be black" if she never had been.
At some point you have to put your money where your mouth is. Here, as elsewhere, the professionals, not the
politicians, may have the better sense of things.

Still, the absurdities produced by the present system make me doubt whether we're going about this the right
way.

Members of three racial groups receive preference: African Americans, Hispanics and Native Americans.
(Collectively, they make up about 20 percent of the 1,200 students admitted to the class of 2006, according to
the academy's Web site.) But in 2003, it is increasingly unclear what we even mean when we say "African
American." In a recent discussion of the Nigerian writer Chinua Achebe's novel "Things Fall Apart," some of
my students (all white) amused me by referring to the characters as African American. I corrected them, then
realized that for them this was the only polite way to refer to black people. We on the admissions board
learned as the months went on that "African American" can be quite literal. A student whose parents had
emigrated from Ghana, we found, was considered a member of a "protected" minority, the same as a student
whose family came here generations ago in chains. Does that mean the policy is meant to benefit not just the
disadvantaged descendants of slaves but also newly arrived immigrants? Apparently not all of them. An
applicant whose parents had emigrated from India was ineligible for preference. The question remains:
Whom exactly is the policy meant to benefit?

Hispanics, of course, can be any skin color. Many Cuban and Dominican immigrants are, by most people's
standards as well as their own, white. I have had students with Spanish parents, white by my visual "once-
over," who entered Annapolis as "Hispanics." Was this the intent of the directive? If not, what was? The board
also debated whether students of Brazilian origin "counted" as Hispanics. They speak Portuguese and are
therefore Lusophone, not Hispanic. Yet what's the difference between a Brazilian and someone from a
neighboring Spanish-speaking country? WhenDocument
                Case 1:23-cv-02699-RDB     we say "Hispanic,"
                                                    9-7 Fileddo10/06/23
                                                                we really Page
                                                                          mean22
                                                                               "brown-colored
                                                                                 of 292       and
poorly educated"?

As for "Native Americans," they are almost by definition members of other racial groups as well, usually
overwhelmingly so. Most Hawaiians, for example, are a comfortable mix of many immigrant groups to the
islands. Yet we give greater weight to an applicant's, say, one-eighth protected ancestry than to his or her
seven-eighths unprotected ancestry. The same is true for all mixed-race students, a growing minority.

For USNA purposes, as for those of the U.S. Census, membership in any of these categories is based on self-
identification. A student may check as many boxes as he or she wishes. As long as the student checks one of
the three boxes for protected minorities, he or she is assigned to an officer on the admissions staff who then
actively shepherds that application through the rest of the process. In the fall, we were told that if a student
checked the Native American box, we could ask for confirmation of tribal affiliation. Yet by mid-year we were
being told that we could not. Early in the year, one applicant told an admissions officer she was one-eighth
Hispanic. But one-eighth was enough, and in any case we later learned we couldn't even ask about the
percentage.

This led to apparent howlers like the student with an un-Hispanic last name attending the flossiest private
school in his part of Texas, who identified himself as Hispanic and received preferential treatment. There
have also been cases of "minority" students being identified as "white" by their schools. (We debated whether
we could nail these applicants for lying, but finally decided that a school's visual impression could not be
taken as fact, either.)

In a year on the USNA Admissions Board, I never got a sense of the underlying philosophical justification for
this clearly illogical policy. Initially we were offered the plausible reason that the Navy wanted more officers
who "looked like" the sailors and Marines. Yet later, perhaps as someone realized how controversial this line
of thinking was, it was withdrawn, and we were given no reason for favoring these particular groups. Was it to
make up for past economic inequities? Then we should eliminate special consideration for the rich ones. To
make up for the horror of slavery? Then we should eliminate it for the recent immigrants, as well as for
anyone who couldn't prove having had an enslaved ancestor.

If, on the other hand, what we were really talking about was skin color, I suggested with would-be Swiftian
irony that we send out paint cards with varying skin tones and ask applicants to circle the one closest to their
own: Browner than a certain level would lead to preference, lighter would preclude it. We wouldn't have to
dance around all these other categories that weren't really the point. The reaction, of course, was shock. We
can't do that! Of course, we can't. But this is why our current situation is so untenable: If we're aiming for
colorblindness, we can't get there via color-definition.

Before students reach our board, the computer generates a number (called the "whole-person multiple")
based on complex algorithms that take into account their grades, their rank in class, their test scores and their
athletic and extra-curricular activities. Being aDocument
                   Case 1:23-cv-02699-RDB         child of an9-7
                                                              alumnus
                                                                 Filed adds a bit to
                                                                       10/06/23      this 23
                                                                                   Page   score, but only as much
                                                                                             of 292
as, say, an especially good essay: 500 points, where a total of 68,000 is considered a good solid admitting
score and 75,000 is stellar. Rank in class is very important, which tends to benefit high-achieving students at
mediocre or rural schools, but some attempt is made to equalize this by giving students credit for attending a
school that sends a high proportion of its graduates to college.

For me, the most startling discovery was how immense an advantage is gained by checking a protected-
minority box. First, in practice (there are few hard and fast rules), we let in members of these minorities with
a much lower whole-person multiple than we usually require, sometimes as much as 15 percent lower. If a
"majority" student scored 600 or more on each part of the SAT I test, math and verbal, we put a check mark
and went on to consider other aspects of the application. We did so in the case of a "minority" student if the
scores were in the neighborhood of 550. For a minority student with scores in the low 500 range but also
compensatory achievements, we usually recommended a year at the Naval Academy Preparatory School.
(Admission to USNA is guaranteed for a student with a GPA of 2.0 after a year at NAPS.)

Last year, a half-Hispanic applicant challenged the Naval Academy on the grounds that his low test scores had
been cited as a reason for his rejection. The irony is that in practice we already accept lower scores from
Hispanics than from white or Asian students. His were even lower than our lowered threshold. In any case,
many factors can be used to "mitigate" either high or low scores. They are not, as this applicant imagined,
absolute criteria. Race, to a degree, is, and his having checked the box "Hispanic" already gave him a huge
advantage.

For the most spectacular effect of self-identifying as one of the three protected minorities is that the student is
admitted to the academy directly, along with a certain number of athletes and young sailors and Marines
(assuming he or she has been voted in by the board and passed the rigorous physical exams). That means
admitted at the head of the line, without having to further compete for a sometimes hard-to-get nomination
from a member of Congress or the executive branch that otherwise is the sine qua non of admission to any of
the nation's military academies. Counting all the favored groups, about 50 percent of students offered
admission to the Naval Academy have bypassed this nominating process, which leaves so many highly
qualified non-favored students going to State U instead.

After a year on the USNA Admissions Board, I find I am in favor of eliminating all our set-asides: racial,
athletic and fleet-determined. After all, admitting someone "direct" means that another candidate, probably
with a higher whole-person multiple, does not get in, since most of those who must compete for nominations
are "better" on paper than the direct admissions. This in turn means that, to whatever degree, the capability of
the officers down the line -- those who will have their fingers on the buttons -- is at least arguably watered
down. The Navy shouldn't want this; the United States shouldn't want it.
But that's not the only
                   Casereason for my concern. Document
                        1:23-cv-02699-RDB     While all aspects of affirmative
                                                         9-7 Filed  10/06/23 action warrant
                                                                               Page 24 of 292reassessment,
for now the focus is on racial preferences. And I am convinced that, at bottom, the administration is right:
Race has become far too blunt an instrument for ensuring "diversity," even if it is used as one of several
criteria (Condoleezza Rice's solution). In an immigration-altered society no longer polarized into "black" and
"white," the racial categories on which affirmative-action policies depend have begun to break down.

It is philosophically justifiable to say -- as the Bush administration should be saying, but isn't -- that we want
the American dream to be open to all. In the Navy's case, that means the Naval Academy, the officer corps and
other leadership roles. But "solving" the problem by deciding what we want our naval leadership to look like
and then letting into the academy people who will help produce that profile, is, as the current situation shows,
worse than no solution at all, since it is inconsistent with the goal of ultimate colorblindness.

Some argue that if we stop doing this, the academy will once again look much the way it did during the lily-
white years before integration, with a few atypical exceptions. Yet there is something worse than having the
enrollment of black students at elite institutions drop in the short run. That is, sitting idly by while society
remains stratified to the point where the only way to get large numbers of black and other minority students
into elite institutions is by cooking the books. We need applicants who can get in on their own merits. If this
means more intervention, earlier, in disadvantaged communities, so be it. In the long run, it is the only
tenable solution. Bruce Fleming has just finished a memoir of his first decade teaching at the U.S. Naval
Academy, from which he is currently on sabbatical. This article represents his personal views.

                                                  Comments
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 25 of 292




                   EXHIBIT V
     Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 26 of 292
                                                                     Way Forward /   5




         Task Force One Navy
                               RESPECT




HONOR                                                               COURAGE




                            COMMITMENT




OUR NAVY TEAM - NAVIGATING a Course TO TRUE NORTH



                            FINAL REPORT
             Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 27 of 292




                       TABLE OF COnTENTS
Executive Summary........................................................................................................................... 4
Mission, Structure and Process.......................................................................................................... 4
Current State....................................................................................................................................... 6
Abstract of Recommendations........................................................................................................... 7
Way Forward..................................................................................................................................... 10
Closing Remarks............................................................................................................................... 10

Introduction...................................................................................................................................... 12
Overview............................................................................................................................................ 12
Task Force One Navy Observations.................................................................................................. 14

Current State.................................................................................................................................... 15
Force Demographics......................................................................................................................... 15
Diversity Progress............................................................................................................................. 15

Structure and Process.................................................................................................................... 18
Task Force One Navy Governance Structure.................................................................................... 18
Governance Checkpoints.................................................................................................................. 19

Recommendations.......................................................................................................................... 20
Complete List of Recommendations................................................................................................. 20
LOE 1 - Recruiting, OPR: Navy Recruiting Command ..................................................................... 33
LOE 2 - Talent Management/Retention, OPR: Navy Personnel Command...................................... 38
LOE 3 - Professional Development, OPR: Naval Education and Training Command /
Naval Service Training Command..................................................................................................... 44
LOE 4 - Innovation and Science, Technology, Engineering and Mathematics, OPR:
Office of Naval Research................................................................................................................... 49
LOE 5 - Additional Recommendations.............................................................................................. 52

Way Forward.................................................................................................................................... 66
Next Steps......................................................................................................................................... 66
Culture of Excellence Campaign Plan, Primary Prevention Strategy and Task Force...................... 66
Ongoing Data Gathering................................................................................................................... 67
Closing.............................................................................................................................................. 67

Appendix.......................................................................................................................................... 70
Appendix A: NAVADMIN 254/19, Culture of Excellence
Appendix B: Task Force One Navy Charter
Appendix C: NAVADMIN 025/20, Re-establishing Navy Leader Development Framework Briefs
Appendix D: Department of Defense Board on Diversity and Inclusion Charter
Appendix E: Department of Defense Board on Diversity and Inclusion Final Report Executive
Summary
Appendix F: Necessary Conversations Guide 2.1
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 28 of 292




               TABLE OF COnTENTS
Appendix G: Task Force One Navy and Intermediate Flag and Executive Leadership Course of 25
Nov 2020
Appendix H: Inclusion and Diversity Council After-Action Report of 5 Oct 2020
Appendix I: Current State Statistics
Appendix J: Secretary of Defense Memorandum of 19 Jun 2020, Actions for Improving Diversity
and Inclusion in the Department of Defense
Appendix K: Secretary of Defense Memorandum of 14 Jul 2020, Immediate Actions to Address
Diversity, Inclusion, and Equal Opportunity in the Military Services
Appendix L: NAVADMIN 247/20, Elimination of the Display of the Officer Photograph During
Selection Boards
Appendix M: BUPERSNOTE 1401 of 9 Sep 2020, Diversity in Selection Board Recorder
Assignment
Appendix N: Secretary of Defense Memorandum of 16 Jul 2020, Public Display or Depiction of
Flags in the Department of Defense
Appendix O: NAVADMIN 203/20, Public Display or Depiction of Flags in the Navy
Appendix P: Under Secretary of Defense (Personnel and Readiness) Memorandum of 31 Aug 2020,
Immediate Actions to Address Diversity, Inclusion, and Equal Opportunity in the Military Services –
Promotion and Selection Board Guidance
Appendix Q: NAVADMIN 051/20, Navy Inclusion and Diversity Policy Update
Appendix R: USFFC RMG 051941ZOCT20 - UPDATE TO NAVSUP P-487 (EXTENT OF
SHIPBOARD BARBER SERVICE GUIDANCE)
Appendix S: Navy Inclusion and Diversity Goals and Objectives
Appendix T: NAVADMIN 188/20, Navy Inclusion and Diversity
Appendix U: Abbreviations and Acronyms
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 29 of 292
4 / TF1N Final Report




      EXECUTIVE SUMMARY
      Mission, Structure and Process                           After the nation-wide protests in the spring and early
                                                               summer of 2020, CNO encouraged dialogue about
      Admiral Michael Gilday, Chief of Naval Operations        race relations and inclusion in America and how to
      (CNO), stated Mission One for every Sailor (active and   actively strive for strong measures of I&D in the
      reserve, officer and enlisted, uniformed and civilian)   Navy. Our existing efforts, while admirable in many
      is the operational readiness of today’s Navy. Part of    respects, clearly fell short of adequately addressing
      that readiness, as members of the profession of arms,    the societal challenges of today. We needed to seize
      is holding ourselves to high ideals of integrity and     this moment to engage in conversations about
      service (Appendix A).                                    race, diversity and inclusion within our force more
                                                               than ever before. We had to have open, honest and
      Our Sailors are our asymmetric advantage in a
                                                               necessary conversations across our Navy and take
      complex and changing environment. Optimizing
                                                               action. We needed to rise to the occasion and identify
      our Navy Team’s performance requires a deep
                                                               the issues in our Fleet, understand where current
      understanding of the Culture of Excellence (COE) - a
                                                               barriers to I&D exist and learn how to effectively
      Navy-wide approach focused on enhancing our Core
                                                               listen to all perspectives in pursuit of I&D reform.
      Values of Honor, Courage and Commitment.
                                                               These conversations are vital for our Navy team, as
      Our COE drives the understanding that when Sailors       understanding and connection builds teamwork and
      feel included, respected and empowered, they             teamwork builds trust.
      are mission ready, able to deter aggression and
                                                               On 1 July 2020, the Navy stood up Task Force One
      maintain freedom of the seas. Mission readiness          Navy (TF1N), leveraging our COE governance
      is stronger when diverse strengths are used and          structure, to identify and make recommendations
      differing perspectives are applied. By embracing         to dismantle barriers to equality while creating
      Inclusion and Diversity (I&D) in our day-to-day work     sustainable opportunities, ultimately achieving
      and decisions at a fundamental level, we harness the     our desired end-state of warfighting excellence
                                                               (Appendix B, C).
      creative power of our differences, putting forward
      actions and strategies that accelerate and enable our    TF1N set out to analyze and evaluate issues in
      Navy’s warfighting advantage.                            our society and military that detract from Navy
                                                               readiness, such as racism, sexism and other
                                                               structural and interpersonal biases to attain
                                                               significant, sustainable I&D-related reform. In
                                                               alignment with Department of Defense (DOD)-related
       We needed to seize this moment                          efforts, TF1N primarily focused on active uniformed
                                                               Sailors with an ancillary focus on the civilian
        to engage in conversations                             workforce. TF1N focused on recruiting, leadership
          about race, diversity and                            training and past/current experiences within the
                                                               overall Navy command climate and our Navy culture
         inclusion within our force                            in support of readiness. TF1N leveraged the COE
           more than ever before.                              governance structure and aligned efforts to the COE
                                                               Campaign Plan to form a long-term implementation
                                                               strategy designed to effectively dismantle barriers
                                                               to equality, and ultimately move the Navy closer
                                                               to achieving our desired end-state of warfighting
                                                               excellence. This included updating the CNO’s I&D
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 30 of 292
                                                                              Executive Summary   /   5




Council in September 2020 (Appendix H).
RADM Alvin Holsey was designated as Director,
TF1N and reported to the CNO via VADM John
B. Nowell, Jr., the Navy’s Chief I&D Officer. The
remainder of the executive leadership of the Task
Force was RDML Putnam Browne, Director, 21st
Century Sailor Office (OPNAV N17), who served as
Deputy Director and Executive Secretary of TF1N;
FORCM Huben Phillips, who served as Senior
Enlisted Advisor; CAPT Thomas “T.J.” Dixon who
served as Chief of Staff; and Ms. Jane Roberts who
served as Civilian Advisor. TF1N was supported
by commands from across the Navy, including
representatives (e.g., officers, enlisted, civilians)
from the majority of Echelon 2 commands.




        TF1N was organized around four different Lines of Effort
        (LOEs), each led by a Flag Officer with specific focus
        areas. Those LOEs and leaders were:

        LOE #1: Recruiting, Navy Recruiting Command (NRC) – RDML Dennis Velez

        LOE #2: Talent Management/Retention, Navy Personnel Command (NPC) –
        RADM Jeffrey W. Hughes
        LOE #3: Professional Development, Naval Education and Training Command
        (NETC)/Naval Service Training Command (NSTC) – RADM Peter A. Garvin and
        RDML Milton J. “Jamie” Sands III

        LOE #4: Innovation and Science, Technology, Engineering, and Mathematics
        (STEM), Office of Naval Research (ONR) – RADM Lorin C. Selby

        In addition, TF1N leadership conducted numerous program reviews and deep
        dives in areas ranging from women’s policy issues to naming of ships, buildings
        and streets to create a series of additional recommendations (known as LOE 5).
                           Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 31 of 292
6       /   TF1N Final Report




    From July to December 2020, TF1N accomplished the following:
    •       Participated in the DOD Board on Diversity and Inclusion (DBDI) to address DOD-wide issues of diversity,
            equity, inclusion and belonging (Appendix D, E).
    •       Leveraged the experience of prior Navy leadership by operationalizing the retired Trusted Advisory Group
            (TAG) to include senior enlisted, civilians and officers who have had a strong influence on Navy culture. In
            addition to TAG members advising each LOE working group, CNO conducted three cohort sessions with the
            final one on 10 November 2020.
    •       Engaged the Flag Wardroom, Senior Executive Service (SES) Corps and the Master Chief Petty Officer of the
            Navy’s (MCPON) Senior Enlisted Leadership Mess by delivering surveys following a Flag Officer and SES
            training seminar.
    •       Conducted multiple listening sessions with Sailors and civilians in the US and overseas, to include Japan,
            Bahrain and Europe, and special engagements with the National Naval Officers Association (NNOA), United
            States Naval Academy Minority Association (NAMA), Sea Service Leadership Association (SSLA) and
            Association of Naval Services Officers (ANSO).
    •       Conducted TF1N focus groups to solicit volunteer input from a diverse cross-section of Sailors (e.g.,
            demographic, paygrade, community and location), supported by the Center for Naval Analyses (CNA). In
            total, more than 280 focus groups from around the Navy were conducted.
    •       Created a Necessary Conversations Guide (NCG) with messaging and tools for leaders to start productive
            dialogue around I&D topics. The first version of the NCG was released in July 2020. NCG 2.1 was released 06
            November 2020 (Appendix F).
    •       In concert with the College of Leadership and Ethics at the Naval War College (NWC), TF1N presented a
            summary of actions, selected problem statements and key recommendations to the Intermediate Flag and
            Executive (IFLEX) Course in early November 2020. This class of 31 SES and Flag/General Officers utilized
            Navy Learning Organization Applications taught throughout the week to collectively provide a peer review of
            insights and inputs directly to the TF1N Director. A summary is provided at Appendix G.



            Current State                                                                    compared to 2018 U.S. Census population data, our
                                                                                             enlisted force has greater racial and ethnic diversity
            In order to baseline where the Navy is today on                                  than our society, however, is under represented from
            I&D, TF1N gathered Navy demographic trends                                       a gender perspective (i.e., the U.S. is 51 percent
            and compared these to United States (US) Census                                  female, the Navy enlisted force is 20 percent female).
            population data and benchmarked against other                                    Our officer corps remains overwhelmingly white and
            organizations (Appendix I).                                                      male and, except for Asian representation, is not
                                                                                             representative of the U.S. today.
            These statistics are important because diverse
            teams are 58 percent more likely than non-diverse                                On officer promotions, the percentage of officers
            teams to accurately assess a situation.1 In addition,                            selected for promotion suggests minority officers
            gender-diverse organizations are 15 percent more                                 promote at approximately the same percentages
            likely to outperform other organizations and diverse                             as white officers. However, the number of eligible
            organizations are 35 percent more likely to outperform                           officers in all three control grades (O-4, O-5 and O-6)
            their non-diverse counterparts.2 Currently, when                                 demonstrates minority groups are underrepresented




            1   |   “Ethnic Diversity Deflates Price Bubbles,” December 30, 2014, Proceedings of the National Academy of Sciences of the United States of America.
            2   |   “Diversity Matters,” McKinsey & Company, February 2, 2015.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 32 of 292
                                                                                              Executive Summary      /   7




when entering the control grade of O-4 and remain         •   Per the July 14, 2020 SECDEF memo, titled
underrepresented at each subsequent paygrade,                 “Immediate Actions to Address Diversity, Inclusion,
which affects Flag Officer opportunity.                       and Equal Opportunity in the Military Services.”
On enlisted advancement, the data shows that                  (Appendix K):
minority advancement rates for junior Sailors are             a. Removed photographs from consideration
lower compared to their white peers except for                by promotion boards and selection processes.
meritorious advancements where minorities account             Issued NAVADMIN 247/20. (Appendix L).
for an overall higher percentage. Advancement rates
                                                              b. Reviewed hairstyle and grooming policies
within E-7 through E-9 vary by racial minority when
                                                              for racial bias. The review of NAVPERS 156651
compared to their white peers but tend to be higher at
                                                              disclosed the Navy’s hairstyle and grooming
E-7 and E-9 while lower at E-8.
                                                              policy statements and standards are not
Minority junior officers (JOs) are retained better than       racially biased. However, several of the terms,
majority JOs for the first twelve years of service and        definitions, and commonly used words are
female officer retention is increasing. Active duty           considered subjective, which may facilitate
female service members are also increasing as a               policy interpretation resulting in the perception of
percentage of the total force. Over the past 20 years,        racial bias. Navy is updating NAVPERS 156651
Navy’s active duty senior enlisted population has             to contain more concise and less subjective
become 60 percent more racially diverse, 56 percent           terms, definitions, and policy statements.
more gender diverse and over 300 percent more
                                                              c. Participated in a Naval Inspector General
ethnically diverse.
                                                              review assessing the effectiveness of military
                                                              service equal opportunity offices.
Abstract of Recommendations                                   d. Implemented three service immediate
                                                              actions identified pursuant to the June 19, 2020
DOD-Wide Recommendations
                                                              memo discussed above. Those were:
As previously mentioned, TF1N participated in the
DBDI to address DOD-wide issues of diversity, equity,           i. Expand diversity in Recorders and Assistant
inclusion and belonging within the DOD. Through the             Recorders in Navy promotion selection
DBDI and associated efforts, TF1N and the broader               boards and administrative boards. Issued
MyNavy HR I&D team accomplished the following:                  BUPERSNOTE 1401 of September 9 2020.
                                                                (Appendix M).
•   Per the June 19, 2020 Secretary of Defense
    (SECDEF) memo, titled “Actions for Improving                ii. Fund and initiate virtual and in-person I&D
    Diversity and Inclusion in the Department of                conferences with NNOA and ANSO.
    Defense”. (Appendix F):                                     iii. Establish TF1N.
    a. Conducted a review of all policies, programs
                                                          •   Complied with July 16, 2020 SECDEF memo,
    and processes that may negatively affect
                                                              titled “Public Display of Flags in the Department
    equal opportunity, diversity, and inclusion,
                                                              of Defense“ (Appendix N), through issuance of
    recommending changes for swift implementation.
                                                              NAVADMIN 203/20. (Appendix O).
    b. Nominated members to participate in the
                                                          •   Participated in a Working Group established per
    DBDI and provided logistical and administrative
                                                              August 31, 2020 Under Secretary of Defense
    support.
                                                              (Personnel and Readiness) (USD P&R) memo,
    c. Assisted with developing a proposal                    titled “Immediate Actions to Address Diversity,
    establishing, and recommended potential                   Inclusion, and Equal Opportunity in the Military
    members for an enduring Defense Advisory                  Services – Promotion and Selection Board
    Committee on Diversity and Inclusion in the               Guidance”. (Appendix P).
    Armed Services.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 33 of 292
8   /   TF1N Final Report




        Navy-Specific Recommendations
        This report contains problem statements and recommendations from each TF1N LOE. Additionally, TF1N
        leadership developed a series of additional recommendations and highlighted areas requiring further analysis. In
        total, 56 recommendations and further areas of proposed study were established for consideration. Below you
        will see a summary of recommendations from each of the LOEs. A detailed analysis of related problem statements
        and recommendations is provided in the body of the report.




                                     Short-Title Summary
                                     of Recommendations

           LOE 1
           RECRUITING
           1.1      Strengthen Outreach to Underrepresented Communities
           1.2      Establish "Whole Person” Concept
           1.3      Establish Unrestricted Line (URL) In-Service Procurement Program (ISPP)
           1.4      Expand Student Loan Repayment Program
           1.5      Offer Stipend for Delayed Entry Program (DEP)
           1.6      Authorize Use of an Alternate College Board Exam in Puerto Rico
           1.7      Remove OPT-IN Requirement for Minority Serving Institution Scholarship Reservation 		
                    (MSISR) Applications
           1.8      Eliminate Officer Aptitude Rating (OAR) Test Requirement
           1.9      Evaluate Possible Redistribution or Establishment of Additional Naval Reserve Officer 		
                    Training Corps (NROTC) Units
           1.10     Reinstate Baccalaureate Degree Completion Program (BDCP) 2-year Degree Program
           1.11     Establish Our Navy Oversight Program

           LOE 2
           Talent Management/Retention
           2.1     Strive for Ensuring the NPC Staff Reflects the Diversity of the Navy Population
           2.2     Assign Special Assistant for Diversity at NPC
           2.3     Include Diversity in All Formal Nomination Packages
           2.4     Develop Single PERS-4 Precept for All Non-statutory Boards
           2.5     Expand Use of Diversity Data in Record of Proceedings (ROP)
           2.6     Expand Post-board Statistics
           2.7     Formally Track Diverse Board Membership Statistics
           2.8     Develop Fleet-Wide Training Regarding Objective Based Performance Assessments
           2.9     Transition to MyNavy Coaching
           2.10    Continue Performance Evaluation Transformation (PET)
           2.11    Implement Navy Command Leadership Assessment and Selection Program (NCLASP)
           2.12    Review Recourse Procedures for Performance Evaluations
           2.13    Review Career Path and Development Frameworks
           2.14    Review Screening and Conversion Requirements for Community and Assignment Managers
       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 34 of 292
                                                                                            Executive Summary   /   9




LOE 3
PROFESSIONAL DEVELOPMENT
3.1     Develop Subjectivity Mitigation Capabilities
3.2     Re-Establish Broadened Opportunity for Officer Selection and Training (BOOST) 2.0
3.3     Increase NROTC Side-Load Scholarships
3.4     Source NROTC Consortium Deputy Commander Position at Selected Minority Serving
         Institutions (MSIs)
3.5     Update Functions and Incentivize Retention of Retail Specialists (RS) Tasked to Style the Hair
        of Sailors Afloat

LOE 4
Innovation and Science, Technology,
Engineering, and Mathematics (STEM)
4.1     Determine the Navy’s Military/Civilian Population Associated with Fraternities, Sororities and
        Affinity Groups
4.2     Review and Clarify Guidance for Outreach to Affiliated Professional Groups
4.3     Incentivize Inclusive Participation and Leadership
4.4     Develop Public Affairs (PA) Campaign to Increase Visibility of Minority Affinity Groups
4.5     Construct Diverse Military and Civilian Network to Increase the Awareness of Navy STEM
4.6     Enhance and Develop STEM Outreach Programs

LOE 5
ADDITIONAL
5.1     Add “And Respect” to Navy Core Values
5.2     Continue Listening Sessions
5.3     Restart Navy Leader Development Framework (NLDF) Briefs
5.4     Counter Hate Speech
5.5     Pilot Mentoring Program
5.6     Establish Student Exchange Program US Naval Academy (USNA)/Historically Black Colleges and 		
        Universities (HBCU) and MSIs
5.7     Modernize Process to Name Ships, Buildings and Streets in Honor of National Historic Naval Figures
5.8     Form Management Advisory Groups (MAGs)
5.9     Take Deliberate Action to Showcase and Recognize the Navy’s Diverse Culture and History
5.10    Monitor Disproportionate Impacts to Non-Judicial Punishment (NJP)
5.11    Evaluate Changes to Naval Military Personnel Manual (MILPERSMAN) 1910-138 and 1910-140 on
        Pattern of Misconduct
5.12    Develop Adjunct Recruiter Program
5.13    Leverage Flag Management Tracker
5.14    Leverage Artificial Intelligence (AI) to Minimize Bias in Selection Board Processes
5.15    Improve Diversity At Naval Professional Military Education (PME) Institutions
5.16    Establish COE Award
5.17    Designate an Advisor in OPNAV N17 for Women’s Policy Issues Informed by a MAG
5.18    Review Health Disparities
5.19    Institutionalize Naval Junior Officer Council (NJOC)
5.20    Establish Partnership with Civilian Counterparts on I&D
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 35 of 292
10   /   TF1N Final Report




         Way Forward                                               •   Research models, approaches and best
                                                                       practices to potentially link TF1N findings and
         TF1N was founded during a time of national crisis             current I&D Navy initiatives to identify data-driven
         and has emphasized the Navy’s expanding efforts to            solutions to command climate issues
         invest in I&D-related efforts. In doing so, we increase   •   Explore transition of Sailor 2025 into an enduring
         the propensity of members of diverse ages, genders,           People and Culture Strategy which will serve as
         and ethnicities entering and continuing service as            an umbrella for all I&D-related efforts within the
         members of our One Navy Team. TF1N provided                   Navy
         an opportunity to focus organized resources and
         amplify diverse perspectives to develop strategies
         to address systemic inequities within the Navy. To        Closing
         ensure TF1N recommendations are executed and
         enduring initiatives are reassessed and updated           Early in our nation’s history we adopted the motto, “E
         continuously, stakeholders who led the development        Pluribus Unum” or “Out of Many, One.” It was fitting
         of the TF1N LOEs must continue to lead with               then, and the sentiment still rings true today. Our
         accountability and measure the success of selected        nation of over 330 million individuals is made up of
         TF1N recommendations from this report.                    a multitude of races, ethnicities, genders, religions,
                                                                   sexual orientations and more. And we value them all.
         As we transition to sustain the TF1N framework,           Why? Because that’s what right looks like, and that’s
         leaders will continuously analyze our Navy systems,       what we teach our young people.
         climate and culture to ensure differences are valued
         and that diversity of thought within the organization     In our Navy, like society, I&D must never become an
         is promoted. The newly embedded relationship              afterthought. It’s true to who we are. With all of our ills,
         between TF1N and the COE Campaign Plan will               injustices, and sometimes broken promises. We will
         support the organization in institutionalizing I&D and    still rise and stand shoulder-to-shoulder against any
         further accelerating COE efforts.                         foe, knowing we will win. We will win because of our
                                                                   shared beliefs and common ideas – an oath to protect
         The recommendations below are being developed in          and defend the constitution of the United States of
         support of this ongoing effort:                           America against all enemies foreign and domestic. A
         • Transition TF1N LOEs as supporting Lines of             shared belief that we are all created equal and that
             Operation (LOOs) under COE LOE #4 (I&D)               we are better together. A shared belief in innovation,




                                                                   I pledge to advocate for and acknowledge all lived

TF1N PLEDGE                                                        experiences and intersectional identities of every Sailor in
                                                                   the Navy.

As a key member of Task Force One Navy I will invest the           I pledge to engage in ongoing self-reflection, education and
time, attention and empathy required to analyze and                knowledge sharing to better myself and my communities.
evaluate Navywide issues related to racism, sexism, ableism
and other structural and interpersonal biases.                     I pledge to be an example in establishing healthy, inclusive
                                                                   and team-oriented environments.
I pledge to be actively inclusive in the public and private
spheres where I live and work, and proactively encourage           I pledge to constructively share all experiences and
others to do the same.                                             information gained from activities above to inform the
                                                                   development of Navywide reforms.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 36 of 292
                                                                                             Executive Summary      /   11




toughness and adaptability. A shared belief so strong     nothing is unacceptable. The recommendations
that we are willing to give our lives for the freedoms    might not all be right, but they are recommendations,
and rights of future generations.                         nonetheless. Recommendations were developed
                                                          that recognize some systemic inequalities and offer
This TF1N journey has been one of discovery, self-        solutions to help our Navy become a more lethal and
reflection and sometimes unspoken truths. Though          well-connected warfighting force. Well-connected in
humbling and disappointing at times, it has been a        a sense that we know who we are and who is standing
genuine and determined effort to make our Navy Team       next to us in war and in peace. Yes, we know our
better. In our listening sessions, the conversations      shipmates… we see them, we hear them, we trust
always centered on six key themes: respect, empathy,      them and we respect them.
skepticism, training, accountability and the silence of
leadership. In those sessions, we found pain, truth,      Accountability for the TF1N effort will be key and rest
unity, friends and our shipmates. We also found who       with all of us, from E-1 through O-10 and contractor
we could ultimately become for the good of our Navy       through SES. Ultimately, the specific actions, metrics
and our nation.                                           and outcomes will be tracked and monitored via
                                                          the COE Campaign Plan and briefed to the COE
Our recommendations have been well vetted, key            Governance Board to ensure enduring support for
initiatives red-teamed and the temporal aspect of         years to come. The inclusion in the COE campaign
when to act considered. We concluded that to do           plan is truly the key to effecting enduring change and
                                                          long-term sustainability.

                                                          As the Director and Senior Enlisted Advisor of TF1N,
                                                          we envision three things for our Navy Team going
                                                          forward:

                                                          1) A renewed sense of who we are as a people, as
                                                          shipmates and as a Navy.

                                                          2) A profound understanding of the word “respect.”
                                                          Respect for self, for service and our fellow shipmates.

                                                          3) Action that improves readiness across the force
                                                          while unleashing the full potential, talents and skills
                                                          of all who serve. We owe that to the scores of young
                                                          people raising their hands each day, making a choice
                                                          and following a call to serve.

                                                          Finally, when it comes to inclusion and diversity
                                                          we can be committed or involved. We choose
                                                          commitment.




                                                                H.L. PHILLIPS                   A. HOLSEY
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 37 of 292
12   / TF1N Final Report




       INTRODUCTION
       Overview                                                   to do more in a deliberate fashion.
       Ensuring inclusion and connectedness among                 TF1N was organized around four different LOEs, each
       every Sailor, family member and Navy civilian              working group led by a Flag Officer with specific focus
       promotes organizational trust and transparency             areas. Those LOEs and leaders were:
       throughout their Navy journey. Every active and
       reserve Sailor and civilian brings a unique set            LOE #1
       of skills to our team. Actively seeking out and            Recruiting, NRC – RDML Dennis Velez
       leveraging these skills is key to reaching our             • “Whole person” concept in all recruiting and
       maximum warfighting potential.                                accessions
                                                                  • Reshape recruiting efforts to better address
       Without inclusion and connectedness, diverse                  minorities
       perspectives can lead to friction and conflict             • Recruiting strategies drill down to generational
       in thoughts and opinions. Military and civilian               interest
       perspectives must be actively included to harness the      • Consistent data and evaluation strategy in
       creative power of diversity, accelerating our Navy’s          support of Navy I&D
       warfighting advantage.                                     • Explore junior enlisted with 4-year college
                                                                     degree for officer programs
       Per NAVADMIN 051/20 (Appendix Q), Navy’s I&D
       Goals are:                                                 LOE #2
                                                                  Talent Management/Retention, NPC – RADM
       •   Goal 1: Institutionalize I&D across our Navy.          Jeffrey W. Hughes
       •   Goal 2: Attract and recruit the best talent from our   • Detailing/milestone job opportunities
           diverse nation to cultivate a high-performing and      • Fitness reporting/evaluation systems
           innovative workforce.                                  • Promotion/advancement processes
       •   Goal 3: Develop and retain Sailors and Navy            • Diversity of talent by community
           civilians by ensuring an inclusive culture across
           our workforce.                                         LOE #3
                                                                  Professional Development, NETC/NSTC – RADM
       As such, on 1 July 2020, the CNO stood up TF1N             Peter A. Garvin and RDML Milton J. “Jamie”
       with membership reflecting the diversity of race,          Sands III
       ethnicity, gender, age, religion and ranks from            • Overhaul I&D training - “right” self-awareness
       across our Navy to identify barriers and corrective            and coaching tools
       actions to eliminate inequalities between groups           • Redefine and reinvent BOOST (2.0) Program
       of people. TF1N leveraged outreach focus groups
       representing diversity of race, ethnicity, gender, age,    LOE #4
       religion and rank to ensure a range of experience and      Innovation and STEM, ONR – RADM Lorin C.
       perspectives. TF1N leadership also participated in         Selby
       SECDEF’s DBDI to address DOD-wide issues of                • Navy STEM partnership with K-12 (primary/
       diversity, equity, inclusion and belonging within the          secondary schools)
       DOD. While we have been focused on I&D for many            • Innovation/STEM HBCU & MSI partnerships
       years, current events shine a light on the need for us         with affinity groups
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 38 of 292
                                                                                                      Introduction   /   13




From July to December 2020, TF1N, in concert
with the LOE working groups, did the following:
•   Participated in the DBDI to address DOD-wide issues of diversity, equity, inclusion and belonging.
•   Leveraged the experience of prior Navy leadership by operationalizing the retired TAG to include senior enlisted,
    civilians and officers who have had a strong influence on Navy culture. In addition to TAG members advising
    each LOE working group, CNO conducted three cohort sessions with the final one on 10 November 2020.
•   Engaged the Flag Wardroom, SES Corps and MCPON’s Senior Enlisted Leadership Mess by delivering surveys
    following a Flag Officer and SES training seminar.
•   Conducted over 20 listening sessions with Sailors and civilians in the US and overseas, to include Japan,
    Bahrain and Europe, and special engagements with NNOA, NAMA, SSLA and ANSO.
•   Conducted TF1N focus groups to solicit volunteer input from a diverse cross section of Sailors (e.g.,
    demographic, paygrade, community and location), supported by CNA. In total, 280+ focus groups from around
    the Navy. Currently planning follow up focus groups in partnership with CNA that are planned for January to
    March 2021.
•   Created a NCG with messaging and tools for leaders to start productive dialogue. The initial NCG was released
    in July 2020. NCG 2.1 was released in early November 2020.
•   Presented a summary of actions, selected problem statements and key recommendations to the IFLEX Course
    in early November 2020, in concert with the College of Leadership and Ethics at NWC and IFLEX Leadership
    Course. This class of 31 SES and Flag/General Officers utilized Navy Learning Organization Applications taught
    throughout the week to collectively provide a peer review of insights and inputs directly to the TF1N Director. A
    summary is provided at (Appendix G).

Moving forward, as Sailors and civilians, Navy cannot tolerate racism or discrimination of any kind. To build a
more inclusive and effective force, we all must listen to each other, understand the perspectives of others, identify
and eliminate individual and systemic racism and eradicate discrimination. Our Navy Team must live the Navy’s
Signature Behaviors as reflected in our COE Campaign Plan.


     TF1N leadership conducted numerous program reviews and deep dives to create a series of
     additional recommendations related to:

     •   Matters surrounding gender minorities
     •   Updating naming ships, buildings and streets
     •   Updating Navy Core Values/the CNO’s professional reading list
     •   Countering hate speech
     •   Health disparities among minorities including nutrition
     •   CNO/Vice Chief of Naval Operations (VCNO) flag matters quarterly tracking of all demographically
         underrepresented Flag Officers
     •   Formalize CNO/VCNO NLDF briefs from Type Commanders (TYCOMs) for officers and enlisted
     •   Judge Advocate General (JAG) Review of the following:
            Increase Diversity of Candidates for Nominative Positions (SECDEF Board item)
            Updates to MILPERSMAN 1910-138 and 1910-140 regarding separations due to misconduct
            Create an electronic Navy-wide database to monitor NJP disparities
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 39 of 292
14   /   TF1N Final Report




         TF1N Observations
         TF1N uncovered information about challenges                  2. Ensure clear, balanced and consistent I&D
                                                                         messaging focused on strategic Navy
         and experiences within the Fleet and the impact                 outcomes.
         these incidences have on individuals throughout              Future I&D efforts should first and foremost, support
         the Navy. Specifically, focus groups and listening           and reinforce the goals set forth by NAVADMIN
         sessions were conducted to gather Sailors’ input and         051/20 (Appendix Q), Navy’s I&D Goals, to ensure
         experiences related to five topic areas: recruiting/         I&D efforts do not become an end unto themselves
         accession; promotion and advancement, mentoring              but are implemented to the extent that makes the
         and professional development; retention; military            Navy stronger.
         justice; and recommendations the Sailors could offer
         to their leadership to address inequities with respect       3. Ensure ownership and accountability to
                                                                          reinforce words with tangible actions.
         to I&D.
                                                                      All members up and down the chain of command
                                                                      need to own I&D to both hold themselves and
         Within these topic areas, TF1N focused on identifying
                                                                      others accountable. Many think that this issue is
         barriers and/or inequalities specific to race/ethnicity,
                                                                      often about “what others are doing” not what “you
         gender and sexual orientation. Other areas of concern
                                                                      are doing.” No one is exempt, as this is a top down
         were identified but not specifically addressed by
                                                                      issue. We need to leverage data-driven assessments
         TF1N related to identity, language, age and religious
                                                                      of performance related to I&D and monitor and
         beliefs.
                                                                      regularly evaluate the effectiveness and progress of
                                                                      the implementation of I&D initiatives.
         Currently, there are roughly 347,800 Active (56,250
         Officers and 287,200 Enlisted), 58,800 Reserves and
         220,000 Department of the Navy (DON) civilians to
         support Navy readiness. Civilians work across the            The following TF1N recommendations will enhance
         DON in warfare centers, research labs, shipyards,            culture and directly impact our civilian teammates:
         installations, ship/air operations, depots, training,
         quality of life, engineering, acquisition, supply,           •   Updating Core Values by adding “and Respect”
         distribution, logistics, program offices, transportation,    •   Continuing listening sessions
         cyber, human resources (HR), finance and as civil
                                                                      •   Designate an advisor in OPNAV N17 for Women’s
         service mariners in Military Sealift Command (MSC).
                                                                          Policy issues informed by a MAG
         For both military and civilian I&D efforts in the Navy, it   •   Restarting NLDF briefs
         is crucial to maintain 3 important tenets:                   •   Formalizing I&D training throughout a Sailor’s
                                                                          career
         1. I&D cannot be a one-and-done.
                                                                      •   Mentoring Pilot Program with SES/General
         Growing diverse teams and building inclusive
                                                                          Schedule (GS) civilians
         workplaces takes an intentional and sustained
         leadership focus. It takes decades to fully realize          •   Enhancing STEM Outreach in K-12
         the benefits from sustained actions taken today.             •   Developing partnerships with HBCUs/MSIs
         Elevating I&D as a leadership competency that                •   Countering hate speech
         permeates all other leadership competencies,                 •   Updating CNO’s professional reading list
         and not as a one-and-done stand-alone HR
                                                                      •   Sourcing a Special Assistant for Diversity at NPC
         training, will help ensure that implemented TF1N
         recommendations and follow on civilian-led efforts           •   Establishing MAGs
         are able to gain traction and transform Navy culture.        •   Improving Faculty Diversity at Naval PME
                                                                          Institutions
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 40 of 292
                                                                                                      Current State   /   15




CURRENT STATE
Force Demographics
The current total race breakdown for the Navy is: American Indian or Alaska Native (6,594/2 percent), Asian
(19,178/6 percent) Black or African American (58,363/18 percent), Declined to Respond (16,205/5 percent),
Multiple Races (22,304/7 percent), Native Hawaiian or other Pacific Islander (3,940/1 percent), White (206,406/62
percent), Total Active Force (332,990/100 percent).


2018 US Census Population Data, Navy Officer/Enlisted Percentages and Trending by Race/Ethnicity & Gender

        Demographics (2018 Census)                     OFFICER / ENLISTED                  TRENDING
   White: 76%                                               77% / 59%                         /
   Black: 13%                                                8% / 19%                             /

   Asian: 6%                                                 6% / 6%                              /
   Hispanic Ethnicity: 18%                                   9% / 18%                         /

   Female: 51%                                              20% / 20%                         /



Accession Demographic Data

   FY19 Total Force Officer Recruits                26% female, 12% Hispanic, 25% racial minorities
   FY19 Total Force Enlisted Recruits               24% female, 18% Hispanic, 32% racial minorities
   USNA Class of 2019 Graduates                     28% female, 12% Hispanic, 23% racial minorities
   USNA Class of 2023                               26% female, 13% Hispanic, 27% racial minorities
   NROTC FY19 Commissions                           19% female, 10% Hispanic, 17% racial minorities


Diversity in Officer Career Progression
Initial officer accessions demonstrate the underrepresentation of Black, Hispanic Americans and females as
compared to 2018 US Census Population Data:

   Demographics (2018 Census)                       Officer Accessions (%)
   White: 76%                                        75%
   Black: 13%                                        7%
   Asian: 6%                                         7%
   Hispanic Ethnicity: 18%                           11%
   Female: 51%                                       22%
                        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 41 of 292
16   /       TF1N Final Report




         Underrepresentation in accessions affects racial diversity across the Navy, but is amplified in the following
         communities:
         • Naval Special Warfare’s (NSW) under-representation of racial diversity begins at accessions with NSW O-1
            diversity comprising 10 percent compared to 22 percent of all URL O-1s.
         • Submarine Warfare accession diversity (19.5 percent at O-1) is slightly less than total URL O-1 diversity (22
            percent). Black officers account for only 2 percent of total submarine officers.
         • Naval Aviation’s underrepresentation of racial diversity begins at accessions with Aviation diversity comprising
            16 percent of the O-1 paygrade compared to 22 percent of all URL O-1. Black officers account for only 2.2
            percent of total aviation officers.

         Retention is an issue for Hispanics, Asians and females throughout their career as demonstrated in the table
         below showing a progressive drop in percentage of officers at higher ranks.

                                                          ALL COMMUNITIES
                                                                                 Non
              Commissioned    TOTAL    WHITE     BLACK     ASIAN    HISPANIC               OTHER   UNKNOWN    MALE     FEMALE
                                                                               Hispanic

             O-1             6,825    74.77%   7.50%     6.86%     11.40%      88.60%     8.72%    2.12%     77.40%   22.60%
             O-2             6,897    75.08%   7.10%     6.95%     10.50%      89.50%     8.10%    2.78%     76.60%   23.40%
             O-3             20,037   76.06%   7.40%     5.71%     8.90%       91.10%     7.49%    3.34%     77.60%   22.40%
             O-4             10,298   78.79%   7.60%     5.35%     7.20%       92.80%     4.45%    3.75%     81.00%   19.00%
             O-5             6,657    81.10%   7.20%     4.31%     6.40%       93.60%     3.17%    4.40%     86.10%   13.90%
             O-6             3,143    84.66%   6.30%     3.66%     5.75%       94.25%     1.81%    3.60%     88.14%   11.86%
             O-7             107      89.72%   2.80%     0.00%     2.80%       97.20%     0.00%    3.73%     93.46%   6.54%
             O-8             62       93.55%   3.20%     0.00%     1.61%       98.39%     1.61%    1.61%     90.32%   9.68%
             O-9             39       94.87%   0.00%     0.00%     0.00%       100.00% 5.13%       0.00%     92.30%   7.69%
             O-10            10       100.00% 0.00%      0.00%     0.00%       100.00% 0.00%       0.00%     100.00% 0.00%
             Total Officer   54,075   77.48%   7.30%     5.63%     8.61%       91.39%     6.26%    3.34%     79.83%   20.17%

         Other data sources indicate problems in officer diversity for a variety of reasons. The URL is challenged to retain
         minorities who demonstrate the propensity to continue to serve in the military but shift out of the core warfighting
         communities at a higher rate than their white peers. OPNAV N1 has contracted with CNA to further analyze this
         shift. This study, which involves one-on-one interviews, should be completed by Spring 2021.

         The 31 May 2020 snapshot of the URL shows 17.7 percent racial minorities, 8 percent Hispanic ethnicity, and 13.8
         percent female representation. Officers re-designating from the URL into Restricted Line (RL) and Staff showed a
         higher percentage of diverse cohorts than URL representation:

         •       FY18 re-designations were 25 percent racial minorities, 11 percent Hispanic ethnicity and 22 percent female.
         •       FY19 re-designations were 26 percent racial minorities, 11 percent Hispanic ethnicity and 23 percent female.

         Warfare communities are overall affected by the lack of racial minority inventory at accession.

         •       NSW racial minorities at all ranks is 8 percent compared to total URL at 17.7 percent.
         •       Explosive Ordnance Disposal (EOD) racial minorities at all ranks is 11 percent compared to total URL at 17.7
                 percent.
         •       Submarine Warfare racial minorities at all ranks is 14.5 percent compared to total URL at 17.7 percent.
         •       Naval Aviation racial minorities at all ranks is 12.8 percent compared to total URL at 17.7 percent.
         •       Surface Warfare racial minorities at all ranks is 27.3 percent compared to total URL at 17.7 percent.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 42 of 292
                                                                                                            Current State   /   17




Diversity Progress
Currently, Navy is able to track demographic data, such as gender, race and ethnicity by rank, rate, community,
designator and rating. For example, nearly 20 years ago, the Navy’s total female force was 16 percent; today, that
percentage has increased to 21 percent. Furthermore, nearly two decades ago, the minority race (non-White)
percentage across the Navy was 31 percent, but today, that percentage has increased to 38 percent. For ethnicity,
the total force percentage of Hispanic Americans has increased from nine percent nearly 20 years ago to 16
percent today.
Based on the most recent five years of data, minority JOs retain better than majority JOs for the first 12 years
of service. Female officer retention is increasing, most recent 1-year retention average for female officers is
higher than the previous 5-year and 3-year averages. Active duty female service members increased from 14.7
percent (2004) to 19.6 percent (2018) of the total force. Over the past 20 years, Navy’s active duty senior enlisted
population has become 60 percent more racially diverse, 56 percent more gender diverse and over 300 percent
more ethnically diverse.
Today’s active duty O-1 and O-3 population is 21 percent racial minorities, 23 percent female and 10 percent
Hispanic. This is an encouraging indicator that the Navy’s senior leadership will be even more diverse in 20 years.
However, if minorities/females aren’t promoted and retained beyond twelve years of service, the pool of talent
to compete for senior leadership positions will not appreciably change. Over nearly the past 20 years, the active
duty enlisted population has become five percent more racially diverse and eight percent more ethnically diverse.
Finally, URL numbers have increased for minorities.
These statistics are important because diverse teams are 58 percent more likely than non-diverse teams to
accurately assess a situation. In addition, gender-diverse organizations are 15 percent more likely to outperform
other organizations and broader diverse organizations are 35 percent more likely to outperform their non-diverse
counterparts.
Although the Navy has improved the diversity of its force and is currently more diverse than the US population (see
Figure 1), it is still striving to develop a more inclusive organization. This year, the Navy has taken steps to move
forward to achieve a more inclusive, diverse and equitable organization. As an organization, we must actively
leverage inclusion and diversity to develop leaders, increase performance and sustain our asymmetric advantage
over would-be adversaries.




                            Figure 1 - Navy Gender, Race and Ethnic Demographics versus the US Population
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 43 of 292
18   / TF1N Final Report




       STRUCTURE AND PROCESS
                                                                 Browne, Director, 21st Century Sailor Office (OPNAV
                                                                 N17) served as Deputy Director and Executive
                                                                 Secretary of TF1N (see figure 2). The following
                                                                 individuals supported the leadership of TF1N:
                                                                 1. CAPT Thomas “T.J.” Dixon, Chief of Staff
                                                                 2. FORCM Huben Phillips, Senior Enlisted Advisor
                                                                 3. Ms. Jane Roberts, Civilian Advisor
                                                                 The following commanders and leaders (i.e.,
                                                                 supporting commanders) supported TF1N:
                                                                 1. Commander, United States Fleet Forces
                                                                    Command
                                                                 2. Commander, United States Pacific Fleet
                                                                 3. Commander, United States Naval Forces Europe/
                                                                    Africa
                                                                 4. Director, Naval Nuclear Propulsion
       TF1N Governance Structure
                                                                 5. Commander, Navy Installations Command
       The purpose of TF1N was to analyze and evaluate
       issues in American society and military that detract      6. Deputy Chief of Naval Operations for Warfighting
       from Navy readiness, such as racism, sexism and              Development (OPNAV N7)
       other structural and interpersonal biases. In alignment   7. Naval Inspector General
       with DOD-related efforts, TF1N primarily focused          8. Superintendent, United States Naval Academy
       on active uniformed Sailors with an ancillary focus
                                                                 9. Chief of Navy Reserve
       on the civilian workforce as it pertains to recruiting,
       leadership training and past/current experiences          10. Judge Advocate General of the Navy
       within the overall Navy command climate and our           11. Surgeon General of the Navy
       Navy culture in support of readiness (Appendix            12. President, Naval War College
       B). TF1N established transparent approaches               13. Chief of Information
       to addressing disparities. Achieving the desired
                                                                 14. Chief of Legislative Affairs
       outcome of significant, sustainable changes required
       a focus on ongoing education and accountability of        15. Chief of Chaplains
       I&D combined core competencies, such as inclusion         16. Director, Naval Criminal Investigative Service
       in the schoolhouses and on the deckplates. TF1N           17. Commander, Navy Personnel Command
       leveraged Navy’s COE governance structure and
                                                                 18. Commander, Navy Recruiting Command
       aligned with efforts to identify and dismantle barriers
       of inequality while creating sustainable opportunities,   19. Commander, Naval Education and Training
       ultimately serving to help the Navy community achieve         Command
       the desired end-state of warfighting excellence.          20. Commander, Naval Service Training Command
       RADM Alvin Holsey was designated as Director, TF1N        21. Master Chief Petty Officer of the Navy (MCPON)
       and reported to the CNO via VADM John B. Nowell,          22. Office of Naval Intelligence
       Jr., as the Navy’s Chief I&D Officer. RDML Putnam
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 44 of 292
                                                                                             Structure and Process   /   19




                                          Figure 2 - TF1N Table of Organization




    GOVERNANCE CHECKPOINTS
TF1N consulted with organizations across DON and                 charter. Reports to the CNO via the Navy’s Chief
leveraged the advice and counsel of appropriate                  I&D Officer were provided to document progress.
internal and external organizations, consistent with             Key presentations occurred at the I&D Council in
all applicable laws and regulations.                             September 2020 (Appendix H) and will occur at the
TF1N utilized the COE governance structure, as                   COE Governance Board scheduled for January 2021.
needed, to execute the tasks outlined in the TF1N
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 45 of 292
20   / TF1N Final Report




       RECOMMENDATIONS
       Complete List of Recommendations
       Where applicable, this report has noted TF1N recommendations that directly support and/or align with
       the DBDI 2020 Final Report’s broader recommendations.
       The following table showcases the complete list of I&D-reform related recommendations from each LOE
       team. Each recommendation has been formatted with relevant context and proposed evaluation measures
       and/or outcomes. Please refer to the specific LOE team sub-sections for additional information regarding
       recommendations.
        Item
                    Recommendation                                    Context                                     Measure / Outcomes
          #
                                                           LOE #1: Recruiting (NRC)
               Implement research-based     Research shows that aggregate youth propensity has                Improvement in the number
               Marketing & Advertising      declined from roughly 18 percent in the mid-1980’s to             of minority applications,
               (M&A) and deliberate,        11 percent today. This suggests that current recruiting           selections and commissioning
               sustained and relevant       strategies do not fully appeal to diverse populations.            to reflect relevant national
               community outreach           Diverse candidates require diverse outreach. Thus, our            demographic percentages.
               within underrepresented      efforts to reach future Sailors and officers should use
        1.1                                                                                                   Improvement in minority
               communities that appeal to   a concerted M&A and strategic outreach plan, which
                                                                                                              representation in
               Generation Z minorities.     highlights the many existing voices within Navy ranks.
                                                                                                              underrepresented ratings
               Aligns with DBDI 2020                                                                          to reflect relevant national
               Report Recommendation                                                                          demographic percentages.
               (Rec) 1.1.

               Establish a “whole person”   1. The NLDF 3.0 outlines “how Navy will develop leaders           Improvement in the number
               evaluation framework that    who demonstrate operational excellence, strong character          of minority applications,
               deemphasizes the use of      and resilience through community.” The Navy should                selections and commissioning
               standardized academic        leverage a “whole person” concept in officer accessions           to reflect relevant national
               tests.                       that assesses Competency (measurable academic                     demographic percentages.
                                            performance that is error and bias resistant), Character (acts
               Aligns with DBDI 2020                                                                          Improvement in minority
                                            of service that are culturally objective) and Connections
               Report Rec 3.                                                                                  representation in
                                            (observable leadership in motion that is error and bias
                                                                                                              underrepresented ratings
                                            proof) to provide a more accurate evaluation of diverse
                                                                                                              to reflect relevant national
                                            candidates’ potential to succeed in the Navy.
                                                                                                              demographic percentages.
                                            2. Armed Services Vocational Aptitude Battery (ASVAB)
                                            Validation Review Committee (AVRC) has implemented 15
                                            optimized rating changes in the last year resulting in an
        1.2
                                            18 percent increase in Navy applicants qualified for those
                                            ratings, with larger increases for female (40 percent), African
                                            American (37 percent) and Hispanic (27 percent) applicants.
                                            The first real data from those changes show that on average
                                            student enrollment in nine of those technical ratings has
                                            increased 13 percent for African Americans and 23 percent
                                            for Hispanic Americans. Leverage AVRC initiatives to
                                            optimize rating entry standards and explore the use of a
                                            “whole person” concept in the rating assignment process.
                                            This, paired with an enhanced emphasis in penetrating
                                            minority communities with Navy recruiters, will increase
                                            minority representation in technical ratings.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 46 of 292
                                                                                                                      Recommendations /     21




Item
            Recommendation                                          Context                                     Measure / Outcomes
  #
                                                        LOE #1: Recruiting (NRC)
       Establish an URL ISPP             Recruiting efforts have not achieved equitable demographic         Improvement in minority
       3-year pilot.                     representation of officers despite the influx of educated,         officer program applications,
                                         enlisted Sailors across all racial and ethnic groups. Historical   selections and commissioning
       Aligns with DBDI 2020
                                         enlisted accession data suggest that given the success and         to reflect relevant national
       Report Rec 1.2.
                                         consistency with which Navy recruits diverse representation        demographic percentages.
                                         among enlisted personnel, particularly with diverse Sailors
                                         with undergraduate degrees, sufficient access to potential
1.3
                                         officer recruits within minority communities exist. Pilot an
                                         URL ISPP (under NRC/NSTC oversight) where Commanding
                                         Officers (with first Flag-level approval) are authorized to
                                         conduct a board and select applicants who meet officer
                                         program authorization requirements for a commissioning
                                         program based on information already contained in their
                                         service record.
       Explore expanding the             The Student Loan Repayment Program is one of several               Improvement in minority
       Student Loan Repayment            Navy enlistment education incentive programs designed              officer program applications,
       Program to all personnel          to pay federally guaranteed student loans (up to $65,000)          selections and commissioning
       who are final selected for an     through three annual payments during a Sailor’s first three        to reflect relevant national
       unrestricted line community       years of service. This program is currently only available to      demographic percentages.
1.4
       and complete Officer              eligible personnel in the DEP who will enlist as active duty
       Candidate School (OCS).           Sailors. Explore expanding the Student Loan Repayment
                                         Program to all personnel (or perhaps certain communities like
       Aligns with DBDI 2020
                                         nuclear or cyber) who are selected for and complete OCS or
       Report Rec 1.
                                         Officer Development School (ODS).

       Explore offering a stipend        The officer application process, depending upon the                Improvement in minority
       (E-5 pay) to all qualified        community, can take up to 12 months to complete. Future            officer program applications,
       Future Sailors in the DEP         Sailors reaching the 365-day limit must be discharged from         selections and commissioning
       who have a 4-year college         the DEP and are barred from further enlistment processing          to reflect relevant national
       degree, meet program              until a decision is rendered on their officer package. Explore     demographic percentages.
       authorization requirements        offering a stipend (E-5 pay) to all officer applicants in the
       and have an officer               DEP, who meet program authorization requirements, for up to
1.5    application pending, for up       one year while awaiting a board decision.
       to one year while awaiting
       a board decision. If not
       selected, individual will serve
       in an enlisted capacity.
       Aligns with DBDI 2020
       Report Rec 1.3.

       Explore the authorization of      To remove barriers for program participation, authorize the        Improvement in minority
       an alternate College Board        use of an existing College Board exam (Spanish language            officer program applications,
       exam in Puerto Rico as            SAT equivalent) in Puerto Rico as an equivalent to the             selections and commissioning
       equivalent to the Scholastic      SAT for applications to NROTC and USNA. Alternatively,             to reflect relevant national
1.6    Aptitude Test (SAT).              allow it to be considered for the MSISR option or to enroll        demographic percentages.
                                         in the NROTC Prep Program. Longer term, explore the
       Aligns with DBDI 2020
                                         continued applicability of using standardized exams like the
       Report Rec 3.
                                         SAT and ACT as part of the officer program selection and
                                         commissioning process.
       Explore the removal of the        Explore the removal of the “OPT-IN” requirement for MSISR          Improvement in minority
       “OPT-IN” requirement for          applications and automatically submit national scholarship         officer program applications,
       MSISR applications.               applicants into the MSISR application pool. By default,            selections and commissioning
                                         applicants would be considered for the five nearest MSIs to        to reflect relevant national
1.7    Aligns with DBDI 2020
                                         the Navy Talent Acquisition Group’s (NTAG) headquarters            demographic percentages.
       Report Rec 1.3.
                                         and can be modified by the applicant at any point prior to
                                         application deadline.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 47 of 292
22   / TF1N Final Report




        Item
                    Recommendation                                        Context                                       Measure / Outcomes
          #
                                                             LOE #1: Recruiting (NRC)
               Explore the elimination of    To remove barriers due to standardized testing, explore                Improvement in minority
               OAR test requirement.         the elimination of OAR test requirements for certain officer           officer program applications,
                                             communities.                                                           selections and commissioning
               Aligns with DBDI 2020
        1.8                                                                                                         to reflect relevant national
               Report Rec 3.
                                                                                                                    demographic percentages.



               Evaluate possible             Evaluate current list of schools with applications on file for         Improvement in the number of
               redistribution or             the establishment of additional NROTC units and/or cross-              minority NROTC applications,
               establishment of additional   town affiliates at MSIs in communities with large populations          selections and commissioning
               NROTC units and/ or cross-    of minorities and consider the redistribution of NROTC units           to reflect relevant national
               town affiliates at MSIs. In   accepting MSISRs based on historical enrollment numbers.               demographic percentages.
               order to do so, explore       Additional NROTC units will require additional resources
        1.9    changes to NROTC task         (manpower and funding) to execute or the ability to modify
               organization restrictions     current NROTC task organization across the NROTC
               under the 2017 National       enterprise.
               Defense Authorization Act
               (NDAA).
               Aligns with DBDI 2020
               Report Rec 1.3.
               Explore reinstating the       BDCP was identified as a program that produced                         Improvement in minority
               BDCP – 2-year degree          opportunities for minorities seeking a commission. Explore             officer program applications,
               completion program.           the reestablishment of the BDCP to provide financial                   selections, commissioning
                                             assistance to college students to complete baccalaureate               to reflect relevant national
               Directly supports DBDI 2020
                                             degree requirements (Junior/Senior year) as applicable.                demographic percentages.
               Report Rec 1.3.
                                             Candidates will attain all pay and allowance at the E-6 level
                                             while in college and attend OCS upon graduation.
        1.10




               Establish Our Navy            The Navy does not have a central authoritative data                    Centralized team stood up
               Oversight Program.            environment (ADE) for accessions data for officer and                  with policies and procedures
                                             enlisted missions that contains all Navy data from application         to collect data from accession
               Aligns with DBDI 2020
                                             (officer) or projection (enlisted). Additionally, there is no entity   sources and disseminate I&D
               Report Rec 1.2.
                                             entrusted with strategy and process to evaluate Navy I&D               data and recommendations
                                             impacts evident in the data and business processes that look           across MyNavy HR.
                                             across entrance requirements, selection criteria and board
        1.11                                                                                                        Improvement in minority
                                             selection processes that influence the accession pipeline.
                                                                                                                    representation in
                                             With the ADE in place, both descriptive and predictive two-
                                                                                                                    underrepresented ratings
                                             level analysis, can be performed to improve Navy I&D. The
                                                                                                                    and designators to reflect
                                             Our Navy Oversight Program can expand upon AVRC efforts
                                                                                                                    relevant national demographic
                                             to improve I&D within the Navy and across the accession
                                                                                                                    percentages.
                                             pipeline.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 48 of 292
                                                                                                                     Recommendations /       23




Item
             Recommendation                                        Context                                    Measure / Outcomes
  #
                                           LOE #2: Talent Management / Retention (NPC)
       Strive for ensuring the NPC       Detailers, placement coordinators and board support              Increased confidence and
       staff reflects the diversity of   personnel are the Sailor representatives/advocates for the       transparency in the talent
       the Navy population.              majority of Navy talent management processes. The NPC            management process.
2.1                                      organization should represent and reflect the composition of
       Aligns with DBDI 2020                                                                              Improved retention rates.
                                         the Navy accordingly.
       Report Rec 5.4.
                                                                                                          Track data and highlight in
                                                                                                          TYCOM NLDF briefs.

       Assign a Special Assistant        These selected professionals would be responsible to assist      Improved promotion,
       to the Commander for              the Commander in compliance and refinement of all LOE            advancement rates and
       I&D at NPC and assign a           #2-related I&D policy formulation, process enhancement and       retention among diverse
       trained Command Climate           Quality Assurance (QA) measures. Lead for performance-to-        officers and enlisted personnel.
2.2
       Specialist.                       plan (P2P) management.
                                                                                                          Indications of equity in
       Aligns with DBDI 2020                                                                              selection processes.
       Report Rec 5.1.
                                                                                                          (Sourcing in progress)

       Continue to include diversity     Nominative jobs provide professional development                 Increased pool of diverse
       information in all formal         experience that is often not replicated in other jobs. These     personnel for nominative jobs.
       nominative job packages.          jobs also lead to greater potential for promotion. Debunks a
                                                                                                          Greater promotion/
                                         misconception about the ability to compete for nominative
       Directly supports DBDI                                                                             advancement to senior
2.3                                      jobs.
       2020 Report Rec 4.2 as                                                                             positions.
       highlighted in Department of
                                                                                                          Improved retention rates.
       Defense Instruction (DODI)
       1020.05 dated September
       09, 2020.
       Develop a single PERS-4           Internal PERS-4 and BUPERS-3 selection boards, such              Indications of equity in
       and BUPERS-3 precept              as competitive graduate education program selection,             selection processes.
       (and convening orders as          community production tours, pipeline selections,
                                                                                                          Improved retention rates.
       applicable) for “internal”        Probationary Officer Continuation and Redesignation
2.4    talent management                 (POCR) boards, etc., should have a common base order
       processes.                        similar to formal board precepts to ensure standardization
                                         and consistency, thus increasing fairness among all eligible
       Directly supports DBDI 2020
                                         applicants/candidates.
       Report Rec 4.2.
       Expand the diversity data         Increase transparency and reduce perceptions of favoritism       Indications of equity in
       submitted in selection board      or bias in the selection board process.                          selection processes.
2.5    ROP reports.
                                                                                                          Improved retention rates.
       Aligns with DBDI 2020
       Report Rec 5.4.
       Expand post-board statistics      Increase transparency and reduce perceptions of favoritism       Indications of equity in
       to include gender and             or bias in the selection board process. Sailors’ career timing   selection processes.
       ethnicity/race information in     and space limitations prevent NPC from inviting all Sailors to
                                                                                                          Improved retention rates.
       post board reports, similar       attend and witness a selection board first-hand.
       to the additional statistics
       provided in Commissioned
       Officer Promotion Reports
       (COPR), for all selection
       boards. Evaluate and deliver
2.6    means for board sponsors
       to provide clearly defined
       post-board information to
       broad audiences to better
       enable developmental
       conversations/counseling of
       non-selects.
       Aligns with DBDI 2020
       Report Rec 5.4.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 49 of 292
24   / TF1N Final Report




        Item
                    Recommendation                                     Context                                    Measure / Outcomes
          #
                                              LOE #2: Talent Management / Retention (NPC)
               Formally track statistics    Board membership is carefully managed to meet statute and         Indications of equity in
               regarding diverse board      policy requirements; however, policy was recently released to     selection processes.
               membership to include        ensure increased opportunity for diverse officers and enlisted
                                                                                                              Improved retention rates.
               support participants.        members to participate in support roles (e.g., recorders).
        2.7                                 Increase transparency and reduce perceptions of favoritism
               Aligns with DBDI 2020
                                            or bias in the selection board process.
               Report Rec 5.4.
                                            Sailors’ career timing and space limitations prevent NPC
                                            from inviting all Sailors to attend and witness a selection
                                            board first-hand.
               Develop a Fleet-wide         NPC plans to film short videos to improve knowledge and           Increased confidence and
               training product that        awareness of subjectivity in the performance evaluation and       transparency in the talent
               highlights key areas         selection board processes. A short video by a leading expert      management process.
               of the existing policy       on bias will assist board members in combating the potential
               regarding objective-based    of subjectivity that may affect their decision-making during a
               performance assessment       selection board. Additionally, to inform the Fleet and increase
        2.8    and subjectivity awareness   transparency on existing statutory and administrative board
               in the performance           processes, a short video will be filmed in Wood Hall to
               evaluation and selection     provide an overview to those that have never participated in
               processes.                   a Millington-sponsored selection board.
               Aligns with DBDI 2020
               Report Rec 5.3 and 5.4.
               Transition counseling to     This will provide the Navy with a process founded by              Improved performance and a
               MyNavy Coaching per the      evidence-based coaching best practices and a modern               higher probability for Sailors to
               Sailor 2025/Transformation   scientific approach to more effective formal Sailor               reach their potential.
               timeline.                    development. Leveraging an evidence-based approach
        2.9                                                                                                   Improved promotion and
                                            allows the platform to highlight active listening, empathy,
               Aligns with DBDI 2020                                                                          advancement rates among
                                            asking powerful questions and promotion of self-awareness
               Report Rec 4.3.                                                                                officers and enlisted personnel.
                                            through developmental conversations and goal setting using
                                            an Individual Development Plan (IDP).                             Improved retention rates.

               Continue the PET design      The proposed future performance evaluation process will           Improved performance and a
               concept development.         place greater emphasis on eliminating bias and misleading         higher probability for Sailors to
                                            subjectivity from true objective-based performance                reach their potential.
               Aligns with DBDI 2020
                                            evaluation. Reducing hyper-inflated assessment and the
        2.10   Report Rec 2.                                                                                  Increased confidence in the
                                            means to “game” the system are key design objectives.
                                                                                                              talent management process.
                                            This will require a significant Navy culture change to counter
                                            decades of old habits that may not yield the most accurate        Improved retention rates.
                                            information to talent management processes.

               Incorporate I&D              I&D considerations will be accounted for in all aspects of the    Improved promotion and
               considerations into the      Navy’s holistic talent management program, recently codified      advancement rates among
               data requirements and        in a Talent Management (TM) Campaign Plan. For example,           officers and enlisted personnel.
               process interfaces for       the current model used to select officers for command could
               all talent management        benefit from a greater ability to assess the full potential of
               processes. This includes     eligible officers. NCLASP will provide additional information     Increased pool of diverse
               new approaches, such as a    not included in the official military personnel file to enhance   personnel in command
        2.11   Navy Command Leadership      the assessment and selection process to identify and select       assignments.
               Assessment and Selection     the best and fully qualified officers for command.                Improved retention rates.
               Program (NCLASP), similar
               to the Army’s Battalion
               Commander Assessment
               Program (BCAP).
               Aligns with DBDI 2020
               Report Rec 4.3.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 50 of 292
                                                                                                                      Recommendations /        25




Item
            Recommendation                                          Context                                    Measure / Outcomes
  #
                                            LOE #2: Talent Management / Retention (NPC)
       Review and develop a               If a Sailor believes they have received an unjustified           Improved promotion and
       timelier (and potentially local)   evaluation, the only recourse the Sailor has is to provide       advancement rates among
       recourse for Sailors who           a statement that does not trigger a reporting senior’s           officers and enlisted personnel.
       believe they have received         Immediate Superior in Command (ISIC) review or
2.12                                                                                                       Improved retention rates.
       an unjustified or biased           investigation. The only other option the Sailor has is to
       performance evaluation.            submit it for a Board for the Correction of Naval Records
                                          (BCNR) review, which is a lengthy process.
       Aligns with DBDI 2020
       Report Rec 2.
       Review and update as               Sailors have expressed not fully understanding career            Increase faith and
       necessary officer community        expectations, such as qualifications or assignments. There       transparency in the talent
       and enlisted rating career         is no defined “golden path” and every Sailor’s career            management process.
       path/leadership and                differs based on personal and professional goals, family
                                                                                                           Improved knowledge of
       development requirements           considerations and timing. We intend to provide better
                                                                                                           opportunities and requirements
2.13   to ensure all have been            education/information to Sailors on how to best meet their
                                                                                                           to remain competitive.
       reviewed to account                personal and professional goals throughout their careers. I&D
       for appropriate I&D                considerations will be prominently covered.                      Improved retention rates.
       considerations.
       Aligns with DBDI 2020
       Report Rec 1.2.
       Review screening and               Review of instructions should be periodic to ensure that         Improved promotion and
       conversion requirements            unintended exclusive language is eliminated.                     advancement rates among
       for potential biases by                                                                             officers and enlisted personnel.
       Community Managers and
                                                                                                           Improved retention rates.
2.14   Detailers (MILPERSMAN
       1301-114 and
       MILPERSMAN 1306-966).
       Aligns with DBDI 2020
       Report Rec 1.2.

                                          LOE #3: Professional Development (NETC / NSTC)
       Develop a subjectivity             NLDF 3.0 includes a CNO-signed memo dated 27 Sep 2016            Student course surveys would
       mitigation tool or suite of        titled “One Navy Team” stating: “We all have built-in biases     allow for determining whether
       tools to assist leaders at         that unconsciously influence our choices and decisions.          students felt better equipped
       all levels with considering        Putting measures in place to help us overcome these biases       to counter and mitigate
       various fallacies and forms        will help us first to form a diverse team and then to include    subjectivity. In a general sense,
       of subjectivity that can           that team to achieve the fullest advantage.” A subjectivity      I&D efforts should contribute
       influence decisions.               mitigation tool or framework is one such measure.                to a COE. Assessment
                                                                                                           tools that measure COE
       Aligns with DBDI 2020              When addressing a complex (or adaptive) challenge like
                                                                                                           effectiveness and assess I&D
       Report Rec 4.1 and 5.3.            I&D, an effective strategy must start with and be built on
                                                                                                           Core Competencies as well as
                                          changing mindsets. Any tool can be misused or discarded
                                                                                                           the existence and impacts of
                                          if a willingness to employ that tool effectively does not
                                                                                                           subjectivity at the command
                                          exist. Accordingly, a TF1N LOE #3 recommendation is to
                                                                                                           should be adopted.
                                          improve I&D awareness and education by ensuring I&D Core
                                          Competencies are addressed and developed across the
3.1
                                          officer and enlisted career continuums. The education efforts
                                          effectively “plant the seeds” while the mitigation tool helps
                                          leaders to “harvest the fruit.”
                                          The development of a subjectivity mitigation tool (or suite
                                          of tools) would be a high-impact first step and potentially
                                          part of a larger and longer-term Navy-wide focus on the
                                          decision science implementation. ONR contracted out a
                                          decision science gap analysis in October 2020 to: (1) identify
                                          decision-making requirements from a variety of echelon and
                                          stakeholder perspectives; (2) identify gaps between current
                                          curricula and knowledge requirements; and (3) improve
                                          decision science curricula including instructional methods,
                                          materials and metrics. The two-year project is funded
                                          through the fourth quarter of FY21.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 51 of 292
26   / TF1N Final Report




        Item
                    Recommendation                                       Context                                    Measure / Outcomes
          #
                                              LOE #3: Professional Development (NETC / NSTC)
               Re-establish BOOST 2.0.        To prepare highly desirable midshipman (MIDN) candidates          BOOST 2.0 graduate NROTC
                                              whose initial test scores do not meet the standard for            four-year attrition rate is equal
               Aligns with DBDI 2020
                                              NROTC admission, the re-establishment of BOOST at the             to or less than direct entry
               Report Rec 1.3.
                                              Naval Academy Preparatory School (NAPS) is a significant          MIDN.
                                              win for the Navy’s desire to find talent.
                                                                                                                BOOST 2.0 graduate first year
                                              BOOST 2.0 pilot program will start with ten MIDN candidates       attrition rate as compared to
                                              eventually expanding to 50 MIDN over five years. Similar to       direct entry in the following
                                              USNA MIDN candidates, MIDN will attend NAPS for a year            categories: overall attrition,
                                              and be subject to the same exit criteria. MIDN candidates         academic attrition, fitness
                                              who successfully complete NAPS will receive a four-year           attrition and Drop on Request
        3.2                                   NROTC scholarship without board action. MIDN can then             (DOR) attrition.
                                              attend any school in which a NROTC program exists. MIDN
                                                                                                                BOOST 2.0 MIDN major
                                              candidates who attrite will incur no obligation or payback,
                                                                                                                selection (percent Tier 1, 2
                                              similar to the arrangement that USNA MIDN candidates
                                                                                                                and 3).
                                              enjoy. This is in addition to the NROTC Preparatory Program
                                              and recent action taken by NSTC pursuant to the NROTC             BOOST 2.0 First Year
                                              Application Optimization Operational Planning Team (OPT) to       Grade Point Average (GPA)
                                              adjust minimum Required SAT Score and Selection Criteria          percentage >2.5 and > 3.0 as
                                              algorithm.                                                        compared to direct entry 1st
                                                                                                                year GPA percentage > 2.5
                                                                                                                and > 3.0.
               Increase NROTC side-load       As part of a system of programs to harness talent, side-load      Increase talent pool and
               scholarships specifically      scholarships target students who are already matriculating        diversity.
               targeting underrepresented     through college and may be unaware of opportunities
               communities.                   available through enrollment in NROTC. NROTC units must
                                              be proactive in telling the Navy story and attracting talent.
               Aligns with DBDI 2020
               Report Rec 1.3.                As scholarship MIDN attrite, the Navy uses side-loads
        3.3                                   through the College Program as an avenue to replace
                                              attrition (and as a cheaper alternative) through 2, 2.5, and
                                              3-year scholarships versus 4-year scholarships. This attrition
                                              varies with each academic year. NROTC will use these
                                              opportunities to identify qualified minority College Program
                                              MIDN and non-affiliated students to compete for these 2-3-
                                              year scholarship.
               Source a NROTC                 This Deputy Commander would be full-time at the assigned          Increase retention and
               Consortium Deputy              HBCU/MSI to build relationships, restore trust and facilitate     commissioning rates at HBCU/
               Commander position at          an increase in diversity participation in the side-load           MSIs.
               approximately five HBCUs/      scholarship process.
        3.4
               MSIs.
               Aligns with DBDI 2020
               Report Rec 1.3.

               Update functions and           Although the Navy provides haircut training/services to RSs       Utilization of shipboard-
               incentivize retention of RSs   serving in afloat barbershops, the current training does not      provided grooming services
               tasked to style the hair of    address the “approved” diverse styling preferences that           across all demographics of
               Sailors afloat.                many female Sailors desire. As a result, many women have          Sailors
                                              resorted to styling their own hair in berthing areas or waiting
               Aligns with DBDI 2020                                                                            Improved retention rate for RS
                                              until they return from sea.
               Report Rec 1.2.                                                                                  Sailors.
                                              To afford the opportunity for women to groom their hair in the
                                              shipboard barbershop, vice in their afloat berthing areas, US
        3.5                                   Fleet Forces Command (USFFC) re-emphasized guidance via
                                              message (DTG 051941Z OCT 20, Appendix R) that provide
                                              ships with barbershops the approved procedures to afford
                                              female Sailors the opportunity to groom their hair underway
                                              in the barbershop. However, that alone does not address the
                                              current training gap in the RS rating with those who have the
                                              current task of being shipboard barbers.
                                              Additional issues on this subject would be subject to further
                                              analysis under an Office of Women’s Policy (see rec. 5.3).
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 52 of 292
                                                                                                                     Recommendations /     27




Item
            Recommendation                                         Context                                    Measure / Outcomes
  #
                                                LOE #4: Innovation and STEM (ONR)
       Determine and then leverage     Utilize headquarters’ formal tasking systems where possible,       Increased number of high-
       the Navy’s military/civilian    as well as social media and other mass distribution methods.       quality officer leads provided
       population associated                                                                              to NRC.
                                       Query other minority-focused groups (i.e., NNOA) to
       with minority fraternities,
                                       determine if affinity group affiliation is captured and leverage
       sororities and other affinity
                                       these groups to encourage participation.
       groups.
4.1                                    Query the Navy’s Reserve Component (RC) on self-identified
       Aligns with DBDI 2020
                                       members within STEM (either military or civilian occupation)
       Report Rec 4.3.
                                       and request volunteering information on affiliation with
                                       minority fraternities, sororities and other affinity groups.
                                       Utilize relationships with minority fraternities, sororities and
                                       other affinity groups to query military/civilian population.
       Review and clarify              Active duty and civilians who desire to teach, speak or            Increased number of high-
       guidance and ensure             write are left to navigate 5 Code of Federal Regulations           quality officer leads provided
       clear communication             (CFR) Section 2635.807 and Joint Ethics Regulations (JER)          to NRC.
       authorizing and encouraging     paragraph 3-305, as well as seek out the individual advice of
4.2    military/civilian outreach      their command or ISIC ethics counselor. The quality of that
       opportunities with affiliated   advice is often directly related to the experience of the given
       professional groups.            ethics counselor.
       Aligns with DBDI 2020
       Report Rec 1.2.
       Incentivize participation       Recognize service members by creating an outreach award            Increased visibility and
       through the establishment       similar to the ONR VADM Samuel L. Gravely Jr. “STEM                recognition diverse members
       of recognition programs         Education and Diversity Champion of the Year” Award,               serving in the Navy.
       inclusive of military and       granted to individuals quarterly by the Chief of the Navy
4.3                                                                                                       Increased number of high-
       civilian personnel.             Reserve (CNR), Chief of Naval Personnel (CNP) or CNO who
                                                                                                          quality officer leads provided
                                       have distinguished themselves by fostering STEM education
       Aligns with DBDI 2020                                                                              to NRC.
                                       and mentoring to underrepresented and underserved groups.
       Report Rec 4.1.


       Develop a PA campaign           Leverage public announcement/messaging military/civilian           Increased visibility and
       to increase visibility in the   STEM outreach within an affiliated minority fraternity, sorority   recognition diverse members
       program and any associated      and other affinity groups.                                         serving in our Navy.
       memberships within minority
                                       Look for opportunities to speak at undergraduate and               Increased awareness of
       affinity groups with STEM
                                       graduate chapter events promoting STEM fields and                  opportunities to serve in the
       connections.
4.4                                    associating it with their career fields.                           Navy.
       Aligns with DBDI 2020
                                       Capitalize on existing relationships within these affinity         Increased number of high-
       Report Rec 1.2.
                                       groups to encourage use of online (i.e., social media, web         quality officer leads provided
                                       presence) and print media to highlight/spotlight an affiliated     to NRC.
                                       military/civilian member in STEM occupation within the
                                       group’s publications.
       Construct a diverse             Create a Diversity Affinity Office to coordinate sponsorships      Opportunities to serve in our
       military and civilian           and outreach on behalf of all lower echelons.                      Navy.
       network within the Navy to
                                       Evaluate partnerships with specific African American and           Increased number of minorities
       increase the awareness of
                                       Hispanic STEM organizations, such as National Association          with STEM backgrounds
       Navy STEM professional
                                       of Black Chemists and Chemical Engineers, NNOA, ANSO,              in military and government
       opportunities at HBCUs/
                                       etc.                                                               organizations.
       MSIs that will mentor/
       inspire underrepresented        Create and maintain a mentorship program where senior              Increased number of high-
4.5    and underserved students        officers and senior civilians are linked as mentors to junior      quality officer leads provided
       majoring in STEM                officers or new Navy civilians in their organizations to provide   to NRC.
       disciplines.                    mentorship from the moment they are commissioned or
                                       arrive to their new command.
       Aligns with DBDI 2020
       Report Rec 1.2.                 Establish the Junior Officer Diversity Outreach initiative under
                                       DON to send junior officers on Temporary Assigned Duty/
                                       Temporary Duty (TAD/TDY) to strategic universities to assist
                                       and guide outreach.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 53 of 292
28   / TF1N Final Report




        Item
                    Recommendation                                     Context                                    Measure / Outcomes
          #
                                                     LOE #4: Innovation and STEM (ONR)
               Enhance and develop where     Identify a Diversity STEM program sponsor (e.g., OPNAV           Increased STEM outreach
               necessary STEM outreach       N7, OPNAV N17, ONR) for command and control structure,           program participation to
               programs to effectively       funding and relationships with other Navy outreach               effectively attract K-12
               attract K-12 students with    communities. The program sponsor will:                           students specifically from
               diverse backgrounds.                                                                           underrepresented and/or
                                             •    Manage and distribute funds to all Diversity STEM
                                                                                                              underserved backgrounds.
               Aligns with DBDI 2020              stakeholders. Diversity STEM stakeholders will execute
               Report Rec 4.4.                    local activities and engagements and provide reports        Increased number of high-
                                                  to the program sponsor, as deemed appropriate.              quality officer leads provided
                                                                                                              to NRC.
                                             •    Maintain any Memorandums of Understanding (MOU)/
                                                  Memorandums of Agreement (MOA) with strategic
                                                  outreach partners.
        4.6                                  •    Develop a Diversity STEM instruction.
                                             •    Tailor messaging on social media platforms (e.g.,
                                                  Facebook, Instagram, YouTube) to the targeted
                                                  audience (e.g., a specific underrepresented group in
                                                  STEM).
                                             •    Implement a mentorship program to help diverse
                                                  middle and high school students navigate courses and
                                                  activities that could benefit the Navy and individual
                                                  long term. Live virtual sessions (via platforms such as
                                                  Microsoft Teams, Zoom and Google Meet) could be
                                                  utilized for regular interaction, STEM engagements and
                                                  free mentoring events.

                                                    LOE #5: Additional Recommendations
               Add “and Respect” to Navy     Based on TF1N discussion and Fleet engagements, it               Observe a significant increase
               Core Values.                  is recommended that the Navy pursue the addition of              in adoption and embodiment
                                             “and Respect” to the Core Values of Honor, Courage,              of the Core Value “and
               Aligns with DBDI 2020
                                             Commitment. This recommendation has been socialized              Respect” as reported in survey
        5.1    Report Rec 4.1.
                                             (with concurrence) with Senior Navy Flag Officers and the        responses.
                                             MCPON’s Senior Enlisted Leadership Mess.



               Continued leadership          TF1N conducted multiple Continental US (CONUS) and               Improvement in climate data
               support for listening         Outside Continental US (OCONUS) listening sessions. Key          found in survey results—
               sessions.                     themes taken from sessions include: respect, skepticism,         perceptions of inclusion,
                                             empathy, training, accountability and silence of leadership.     increased communication,
               Aligns with DBDI 2020
                                                                                                              sense of belonging, etc.
               Report Rec 5.1.               Recommend continued monthly/quarterly/as required
                                             listening sessions. Each Navy leader is encouraged to            Improved retention rates.
        5.2                                  sustain a dialogue on diversity of race, gender and ethnic
                                             relations and have open, honest conversations at their
                                             command. These conversations will help remove barriers,
                                             improve readiness, equality and I&D in our ranks. In order for
                                             our teams to heal and build trust, leaders must lead, listen
                                             and advocate for change. The focus should be on listening to
                                             hear, to understand, to empathize and to show respect vice
                                             listening to respond.
               Restart NLDF briefs to CNO/   Formalize TYCOM NLDF briefs for CNO, VCNO and MCPON              NLDF briefings will facilitate
               VCNO/MCPON.                   in accordance with NAVADMIN 025/20 (Appendix C) to               frank conversations between
                                             include enlisted and officer I&D accountability data such as     community leads and Navy
               Aligns with DBDI 2020
                                             inventory, key milestones, nominative positions, command         leadership to demonstrate
               Report Rec 1.2 and 5.1.
                                             and major command, Command Master Chief (CMC), Chief             progress in achieving both a
        5.3
                                             of the Boat (COB), Maintenance Master Chief, etc., and the       COE and leaders development
                                             member’s competitiveness for future positions of increasing      outcomes in Competence,
                                             responsibility. Brief should also highlight community outreach   Character and Connections as
                                             and efforts to increase the number of underrepresented           laid out in NAVADMIN 025/20.
                                             officers and senior enlisted.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 54 of 292
                                                                                                                Recommendations /     29




Item
            Recommendation                                      Context                                   Measure / Outcomes
  #
                                             LOE #5: Additional Recommendations
       Counter hate speech.           Draft page-13 language for the Fleet and follow-on to           Increased accountability and
                                      the Equal Opportunity (EO) instruction to close gaps in         awareness of derogatory
       Aligns with DBDI 2020
                                      terminology, leveraging best practices from the US Coast        language.
       Report Rec 6.1.
5.4                                   Guard (USCG) civil rights instruction.
                                                                                                      Reduced number of incidents
                                      EO review USCG civil rights instruction and make                regarding hate speech.
                                      recommendations to adopt applicable portions to Navy EO
                                      instruction.
       Establish pilot mentoring      Establish a mentoring pilot designed to remove barriers,        Improved retention rates.
       program (officer/enlisted/     increase communication and gain a better understanding.
                                                                                                      Increased advancement
       SES).                          Concept: 10 Flag Officers (O-7/O-8), 10 SES and 20
                                                                                                      opportunities for
                                      Master Chief Petty Officers (MCPOs) volunteer to serve as
       Aligns with DBDI 2020                                                                          underrepresented
                                      mentors to service members from different backgrounds.
       Report Rec 5.1 and 5.4.                                                                        communities.
                                      The Flag Officer will be connected with a MIDN, senior SES
5.5                                   would be paired with newly appointed SES or identified          Increased perception
                                      high-performing GS-15s interested in future assignments         of inclusion from
                                      as executives, and the MCPOs will be connected with a           underrepresented groups.
                                      new graduate from Recruit Training Command Great Lakes          Increased recognition of
                                      (RTC). After one year, all participants will provide feedback   meritocracy.
                                      via surveys and written responses to see if expansion of the
                                      program is warranted.
       Establish a student            Establish a framework to manage an exchange program             Increased perception
       exchange program between       between USNA and various HBCUs/MSIs. The Service                of inclusion from
       USNA, HBCUs and MSIs.          Academies have conducted exchange of MIDN and Cadets            underrepresented groups.
                                      for several decades, to include foreign students, and this
       Aligns with DBDI 2020                                                                          Increased communication.
                                      framework could be replicated with HBCUs and MSIs to
       Report Rec 5.1 and 5.3.
                                      build a more cohesive team, remove barriers and increase        Increased recognition of
                                      understanding in leading a diverse force.                       meritocracy.
5.6
                                                                                                      Increased interaction
                                                                                                      with students from
                                                                                                      underrepresented
                                                                                                      communities.
                                                                                                      Reduction of barriers to
                                                                                                      communications and improved
                                                                                                      networking opportunities.
       Modernize process to name      Form a standing committee of Naval Facilities Engineering       Increased perceptions of
       ships, buildings and streets   Systems Command (NAVFAC), Naval History and Heritage            inclusion.
       in honor of national and       Command (NHHC), Commander, Navy Installations
                                                                                                      Increased exposure to diverse
       historic Naval figures.        Command (CNIC) and possibly Naval Sea Systems
                                                                                                      role models through base
                                      Command (NAVSEA)/Naval Air Systems Command
       Aligns with DBDI 2020                                                                          awareness of exemplar figures
                                      (NAVAIR) (stakeholders with ownership over Navy assets) to
       Report Rec 4.1.                                                                                after whom ships, streets,
                                      consolidate the names of all current DOD assets.
                                                                                                      buildings, etc. are named.
5.7                                   Assess problematic names and identify suggestions
                                      for renaming (or naming assets not previously named).
                                      The current OPNAVINST naming process allows local
                                      commanders to propose names for streets and buildings and
                                      route them through the respective Region and CNIC up to
                                      CNO. The intent is not to necessarily change that process,
                                      but rather to increase transparency and add an element of
                                      oversight that could later be codified in the instruction.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 55 of 292
30   / TF1N Final Report




        Item
                    Recommendation                                        Context                                    Measure / Outcomes
          #
                                                      LOE #5: Additional Recommendations
               Form Management Advisory        MAGs are informal entities that provide non-binding strategic     Increased involvement.
               Groups (MAGs).                  advice to management. The intent is for MAGs to serve as
                                                                                                                 Increased information sharing.
                                               an information resource and feedback capability to the Chief
               Aligns with DBDI 2020
                                               I&D Officer or designated representative. MAGs will function      Leverage trending data.
        5.8    Report Rec 5.1.
                                               similar to employee resource groups. The recommendations
                                               and inputs provided by the various MAGs will be used
                                               to bolster I&D efforts, improve culture and better advise
                                               leadership from multiple perspectives.
               Echelon 2 Commanders            Many Navy buildings, such as Navy museums, headquarters           True value of diversity is
               take deliberate action to       (HQ) buildings, NETC Learning Centers, etc., have very few        highlighted through increased
               showcase and recognize the      images or heritage displays showcasing accomplishments            knowledge of Naval history.
               Navy’s diverse culture and      and contributions of underrepresented groups, despite the
                                                                                                                 Public’s awareness of Navy’s
               history. In addition, NHHC      gains in diversity and notable achievements in the 20th and
                                                                                                                 support and recognition
               will coordinate with non-       21st centuries.
                                                                                                                 of diversity is increased as
               Navy-run Naval Museums to
                                               As an additional part of this recommendation, Navy should         measured through Joint
        5.9    highlight the importance of
                                               review the feasibility to produce a documentary on the career     Advertising Marketing
               showcasing and recognizing
                                               and contributions of Chaplain Thomas David Parham Jr., who        Research and Studies
               Navy’s diverse culture and
                                               served from World War II to 1964 and was the first African        (JAMRS) surveys.
               history.
                                               American promoted to the rank of Navy Captain. Both the
               Aligns with DBDI 2020           Chaplain Corps and the Navy will benefit from a well-done
               Report Rec 5.1 and 4.1.         documentary on his groundbreaking service. It could be a
                                               powerful tool for recruiting and retention, not just among
                                               chaplains but for all Navy communities.
               Ensure capability to monitor    Recommend Office of the Judge Advocate General                    Analyze applicable data to
               race, ethnicity and gender of   (OJAG) track and publish statistics to ensure there are no        assess to what extent racial,
               service members subject to      disproportionate impacts to underrepresented communities          ethnic or gender disparities
        5.10   NJP actions.                    regarding similar offenses. Purchase system to ensure proper      exist.
                                               tracking. All Navy Message (ALNAV) 090/20 actions are an
               Aligns with DBDI 2020                                                                             Increased transparency
                                               interim step in this process.
               Report Rec 4.3.                                                                                   and improved awareness of
                                                                                                                 leadership.

               Evaluate changes to             The 2019 Government Accountability Office (GAO)                   Increased retention, readiness
               MILPERSMAN 1910-                report found that the military services do not collect and        and productivity.
               138 (Minor Disciplinary         maintain consistent data about race and ethnicity in their
               Infractions) and                investigations, military justice, and personnel databases,
               MILPERSMAN 1910-140             which limits the ability to analyze the military justice system
               (Pattern of Misconduct)         for racial and gender disparities. The report also noted
               to improve the policy to        that minority service members were more likely to be the
        5.11
               enhance retention and           subject of a recorded investigation and were more likely to
               reduce the potential for        be tried at court-martial. Increasing the number of qualifying
               the disparate treatment of      infractions and NJPs allowed under the current policies,
               Sailors from suspect classes    formally addressing rehabilitation, considering the length of
               and diverse backgrounds.        time between counseling, and allowing inter-unit transfer of
                                               individuals may provide safeguards against personal bias
                                               and disparate outcomes at the individual command level.
               TYCOMs develop                  Develop adjunct recruiter capability to increase number           Increased recruitment
               an Adjunct Recruiter            of recruits for respective communities. Selected members          numbers.
               program to support              should be an exceptional warfare qualified officer or enlisted.
                                                                                                                 Improved retention rates.
               outreach and awareness          The member will be required to complete a tailored NRC
               in underrepresented             training program and support recruiting efforts while on shore    Increased Navy engagement
        5.12   communities in direct           duty. Consideration should be given for member to receive a       and visibility in diverse
               support of NRC.                 stipend per engagement. Upon successful completion of the         communities across the
                                               program (approx. two years), a service record entry will be       nation.
               Aligns with DBDI 2020
                                               made, and we will explore members receiving a board stamp
               Report Rec 1.3.
                                               indicating “DIVERSITY ADJUNCT RECRUITER” for all future
                                               boards.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 56 of 292
                                                                                                                    Recommendations /       31




Item
            Recommendation                                        Context                                    Measure / Outcomes
  #
                                              LOE #5: Additional Recommendations
       Leverage Flag Management        Flag Matters provide periodic updates to CNO and VCNO             Increased awareness in the
       Tracker.                        during Flag Management discussions noting demographically         talent management process.
5.13                                   underrepresented Flag Officers career progression including
       Aligns with DBDI 2020                                                                             Provides a future look at
                                       current billet, promotion status and mandatory retirement
       Report Rec 4.2.                                                                                   possible career paths and
                                       date in current rank.
                                                                                                         timing concerns.

       Leverage AI to minimize         Pilot the use of AI capability for centralized selection          Measure demographics for
       bias in selection board         boards to support the selection process and minimize bias         selection board results using
5.14   processes.                      in the selection process. AI would not replace the human          AI and traditional support for
                                       intervention for this process, but rather support processes       differences.
       Aligns with DBDI 2020
                                       and potentially serve as a bias mitigation capability.
       Report Rec 5.4.

       Improve faculty diversity       Take deliberate steps to recruit, retain and promote diverse      Faculty demographics better
       within graduate and PME         faculty and senior administrators at our graduate and PME         reflect the diversity of the
       institutions (NWC and Naval     institutions.                                                     nation.
       Post-Graduate School NPS).
                                       Graduate and PME must provide the best environment for            A more diverse faculty
       Aligns with DBDI 2020           all students to learn. The educational experience for military    provides additional role models
       Report Rec 4.1.                 officers is critical to building effective leaders and a smart,   and creates a more engaging
                                       innovative and cohesive force. An educated officer corps          environment for students.
                                       is critical in the volatile, uncertain, complex and ambiguous
                                                                                                         Deliberate recruiting actions
                                       environment of the future. These institutions build their
                                                                                                         open the aperture and increase
5.15                                   faculty primarily through traditional hiring practices. College
                                                                                                         awareness of opportunities for
                                       officials develop a position description and post the job
                                                                                                         those in academia to serve our
                                       announcement on standard DOD employment networks
                                                                                                         nation and build future leaders.
                                       (e.g., USA Jobs) and in a select few academic journals
                                       (e.g., the Chronicle of Higher Education). College officials
                                       generally judge the availability of diverse talent only through
                                       those that apply to a job announcement. Universities that
                                       have successfully grown the diversity of their faculty have a
                                       formally established recruiting function. The institutions must
                                       reexamine and update hiring practices as well as expand
                                       their reach for talent.
       Establish unit-level COE        Develop a unit-level award (either stand-alone, or as part        Increased manning and
       award to incentivize            of Retention Golden Anchor Award or Battle E Award) to            performance due to increased
       excellence in COE initiatives   incentivize units adopting and excelling in COE programs.         feelings of inclusion, increased
5.16   and programs.                                                                                     morale and decreased
                                                                                                         unplanned loss rates.
       Aligns with DBDI 2020
       Report Rec 5.1.
       Designate an advisor in         Given the previous disestablishment of the Office of              Increased accession and
       OPNAV N17 for Women’s           Women’s Policy, there was significant feedback during             representation of women at all
       Policy issues informed by a     focus groups and listening sessions that Navy lacked an           levels.
       MAG.                            identifiable focus point for issues affecting the service of
                                                                                                         Improvement in climate data
                                       women in the Navy. Recommend designating an advisor in
       Aligns with DBDI 2020                                                                             found in survey results.
                                       OPNAV N17 for Women’s Policy issues as part of the I&D
       Report Rec 5.1.
5.17                                   branch. That advisor would receive input from a MAG ideally       Decreased retention gaps
                                       reflecting the diversity present in our Navy to ensure proper     between men and women.
                                       representation.                                                   Increased engagement.
                                       Develop a draft charter for the MAG within 90 days to CNP.        Progress toward Navy as an
                                       Once designated, the MAG could look at issues such as             employer of choice.
                                       uniform apparel, footwear, grooming standards, parenting
                                       policy and other miscellaneous recommendations.
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 57 of 292
    32   / TF1N Final Report




            Item
                        Recommendation                                   Context                                   Measure / Outcomes
              #
                                                       LOE #5: Additional Recommendations
                   Review health and            Much like the civilian sector, healthcare disparities in       Increased diversity in
                   healthcare disparities.      the military can be attributed to the convergence of           healthcare staff.
                                                patient, provider and system-level factors; however, a full
                                                                                                               Updated medical policies.
                                                understanding of the antecedents of disparities impacting
                                                military personnel in a universal healthcare system such as
                                                the Military Health System (MHS) is not well known. In other
                                                words, having equal access to affordable, quality healthcare
                                                equates to equitable care and treatment for all cannot be
                                                assumed.
                                                Additionally, “the professional socialization of healthcare
                                                providers as physicians may engage them more in the
                                                medical culture at the expense of the military culture
                                                where they may become disconnected from the people
                                                they serve.” Therefore, more data collection and empirical
            5.18                                research is needed to understand the racial, ethnic and
                                                gender health disparities that exist in the MHS as well as
                                                the impact of provider bias, policy, racism and sexism has
                                                on our diverse warfighters. Additional key recommendations
                                                to consider:
                                                •   Partner I&D Practitioners with the current clinical
                                                    and health research communities to develop a
                                                    multidisciplinary health disparity workgroup or board.
                                                •   Improve strategies to recruit, promote and retain a
                                                    diverse healthcare staff.
                                                •   Consider conducting additional research on the impact
                                                    of health disparities in other areas.
                                                •   Evaluate diet/obesity related disparities in the Navy.
                   Institutionalize NJOC as a   Build on the excellent work already performed by NJOC by       Increased manning and
                   MAG for CNP.                 establishing an MOU and formal link to CNP to function as      performance due to increased
                                                a JO feedback loop.                                            feelings of inclusion increased
                   Aligns with DBDI 2020
            5.19                                                                                               morale.
                   Report Rec 5.1.
                                                                                                               Increased JO retention and
                                                                                                               decreased unplanned loss
                                                                                                               rates.
                   Establish ongoing            Maintain open communication channels with Assistant            By reviewing and meeting at
                   partnership with civilian    Secretary of the Navy (Manpower and Reserve Affairs) (ASN      least bi-annually, opportunities
                   counterparts to ensure       (M&RA)) via Office of Civilian Human Resources (OCHR),         to partner on strategic
            5.20   integrated and sustained     CNO’s Civilian Advisory Board (CAB), and Executive Diversity   communications, annual
                   Navy I&D approach.           Advisory Council (EDAC) to support sustained alignment and     surveys, assessment tools,
                                                consistency with the Navy COE GB in support of NAVADMIN        leadership development and
                                                051/20, Navy’s I&D Goals.                                      training will be identified.




In addition to the recommendations above, there are areas requiring further analysis that TF1N did not have time to dive
deeply into. They include:
•    Drafting Civil Rights Manual similar to the USCG.
•    On selection boards, re-establish a two-person record review.
•    Allow First Class Petty Officers to function as assistant recorders.
•    Explore implementation of a QA process for selection boards independent of board members that confirms the Navy is
     selecting Sailors with desired attributes. This will help Enlisted Community Managers (ECMs) develop hard metrics/milestones
     for every rating and will also lead to standardization of enlisted board briefs (to avoid the panel scoring the briefer versus the
     record). This also will help ensure that Board Member Quality of Life (QOL) is not a factor in selections (i.e., ensuring a Sailor
     graded at 0900 is not given a higher level of attention than a Sailor graded at 1800 due to board member fatigue).
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 58 of 292
                                                                                               Recommendations /     33




  LOE 1
  RECRUITING, NRC
                                                            screening and accessing candidates that may be
                                                            ignoring, turning off or unknowingly discriminating
                                                            against qualified and diverse candidates.


                                                            Recommendations
                                                            Implement Research-based M&A and Deliberate,
Problem Statement                                           Sustained and Relevant Community Outreach
Diversity broadens the Navy’s ability to solve              within Underrepresented Communities that Appeal
complex challenges facing our nation. The Navy              to Generation Z Minorities. (1.1)
is stronger and more capable due to Sailors’                1. Continue to evaluate M&A outreach strategies
diverse backgrounds. As such, Navy recruiting and              to ensure a concerted strategic outreach plan,
accession efforts must adapt to the ever-changing              which highlights the many existing voices within
recruiting market to ensure success in attracting              our ranks.
diverse, high-quality talent. The Navy must ensure
                                                            Establish a “whole person” Evaluation Framework
future Sailors entering the naval service reflect our
                                                            that Deemphasizes the Use of Standardized
nation’s diverse make-up by:
                                                            Academic Tests. (1.2)
1. Developing recruiting, a c c e s s i o n a n d
                                                            1. Complete analysis of new accession models
   commissioning reforms designed to leverage a
                                                               by utilizing the records of current successful
   “whole person” concept
                                                               officers from various ethnic, racial, gender and
2. Realigning recruiting efforts to better inform              socioeconomic backgrounds.
   underrepresented communities on the
                                                            2. Determine the best models to balance academic
   opportunities for education and careers in the
                                                               competency, individual character and personal
   military
                                                               connections.
3. Refining recruiting strategies to include all
                                                            3. Revise essay, letter of recommendation and
   diverse groups equally while driving generational
                                                               interview processes at NROTC and USNA to
   interests and behaviors
                                                               be more in line with evaluating a candidate’s
4. Creating a consistent data and evaluation                   demonstration of the Navy’s Core Values. Include
   strategy that supports the accessions pipeline              a cultural framework questionnaire that is tailored
Collectively, these issues have a direct impact on             to the candidate as appropriate.
how the Navy recruits, trains and develops available        4. Obtain Subject Matter Expert (SME) participation
talent. The Navy understands the need for varied               by Officer Community Managers (OCMs) and
backgrounds, life experiences and viewpoints at every          NRC personnel to better evaluate and revise OCS
level of the organization to not only attract, retain and      accessions models and program authorizations.
maximize Sailors’ abilities, but also to compete in the
                                                            5. Investigate the integration of an algorithmic
national labor market and defeat global adversaries.
                                                               driven interest inventory (Jobs in the Navy (JOIN)
A general theme among these issues is an overall lack
                                                               is one potential example) with Salesforce.
of connection with the general public, which leads to
a lack of understanding of Navy programs, a limited         6. Complete a review by the AVRC to ensure all
pool of qualified candidates and numerous barriers to          enlisted Navy selection and rating entry standards
entry for those who are qualified. The Navy’s major            are updated with stakeholder feedback from
commissioning sources; NRC, NSTC and USNA                      OPNAV N132, BUPERS-32, NRC and NETC N3.
all have a leading role in identifying and removing         Develop an URL ISPP (3-year pilot), where Sailors
potential biases and/or barriers in recruiting,             Screened by Commands as Eligible for Officer
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 59 of 292
34   /   TF1N Final Report




         Programs are Nominated and Selected for a               1. The officer application process, depending
         Commissioning Program. (1.3)                               upon the community, can take up to 12 months
         1. Pilot an URL ISPP (under NRC/NSTC oversight)            to complete future Sailors reaching the 365-day
            where Commanding Officers (with first Flag-level        limit must be discharged from the DEP and are
            approval) are authorized to conduct a board             barred from further enlistment processing until
            and select applicants who meet officer program          a decision is rendered on their officer package.
            authorization requirements for a commissioning          Explore offering a stipend (E-5 pay) to all officer
            program based on information already contained          applicants in the DEP, who meet program
            in their service record.                                authorization requirements for up to one year
                                                                    while awaiting a board decision.
         Explore Expanding the Student Loan Repayment
         Program to all Personnel who are Final Selected for     Explore the Authorization of the use of an alternate
         a URL Community and Complete OCS. (1.4)                 College Board Exam in Puerto Rico as Equivalent to
                                                                 the SAT. (1.6)
         1. The Student Loan Repayment Program is one of
            several enlistment education incentive programs      1. Authorize the use of an alternate College Board
            designed to pay federally guaranteed student            exam (Spanish language SAT equivalent) in Puerto
            loans (up to $65,000) through three annual              Rico as equivalent to the SAT for applications to
            payments during a Sailor’s first three years of         NROTC and USNA.
            service. This program is currently only available    2. Alternatively, allow it to be considered for the MSISR
            to eligible personnel in the DEP who will enlist        option or to enroll in the NROTC Prep Program.
            as active duty Sailors. Explore expanding the        3. Explore the continued applicability of using
            program to all personnel or perhaps certain             standardized exams like the SAT and ACT
            communities, like nuclear or cyber, who are             as part of the officer program selection and
            selected for and complete OCS or ODS.                   commissioning process.
                                                                 Explore the Removal of the “OPT-IN” Requirement
                                                                 for MSISR Applications. (1.7)
             The student Loan                                    1. Automatically submit national scholarship
                                                                    applicants into the MSISR application pool.
           Repayment Program is
                                                                 Explore the Elimination of OAR Test Requirement
         currently only available                                for Certain Officer Communities. (1.8)
         to eligible personnel in                                Evaluate Possible Redistribution or Establishment
          the DEP who enlist as                                  of Additional NROTC Units and or Cross-town
                                                                 Affiliates at MSIs (1.9)
                active duty.
                                                                 1. Explore changes to NROTC task organization
                                                                    restrictions under the 2017 NDAA.
                                                                 2. Evaluate current list of schools with applications
         Explore Offering a Stipend (E-5 pay) to all Qualified
                                                                    on file for the establishment of additional
         Future Sailors in the DEP who Have a 4-year College
                                                                    NROTC units/cross-town affiliates at MSIs in
         Degree, meet Program Authorization Requirements
                                                                    communities with large populations of minorities
         and Have an Officer Application Pending, for up
                                                                    and consider the redistribution of NROTC units
         to One Year while Awaiting a Board Decision. If
                                                                    accepting MSISRs based on historical enrollment
         not selected, individual will serve in an enlisted
                                                                    numbers.
         capacity. (1.5)
                                                                 3. Allocate additional resources (manpower and
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 60 of 292
                                                                                              Recommendations /   35




    funding) to execute or modify current NROTC             (officer) or projection (enlisted).
    task organization across the NROTC enterprise.      2. There is no entity entrusted with strategy and
Explore Reinstating the Baccalaureate Degree               process to evaluate Navy I&D impacts evident in
Completion Program (BDCP) with 2-year Degree               the data and in the business processes that look
Completion. (1.10)                                         across entrance requirements, selection criteria
1. Explore the reestablishment of the BDCP to              and board selection processes that influence the
   provide financial assistance to college students        accession pipeline.
   to complete baccalaureate degree requirements        3. The Authoritative Data Environment (ADE) will
   (Junior/Senior year) as applicable and obtain           provide two level analysis, descriptive and
   commission upon graduation from college.                predictive, to improve Navy I&D. The Our Navy
2. Candidate will attain all pay and allowance at the      Oversight Program can expand upon AVRC
   E-6 level while in college and attend OCS upon          efforts to improve I&D within the Navy and across
   graduation.                                             the accession pipeline.

Establish Our Navy Oversight Program (1.11)
1. The Navy does not have a central ADE for
                                                        Supporting information
                                                        A whole person evaluation framework that
   accessions data for officer and enlisted missions
                                                        deemphasizes the weight of standardized academic
   that contains all Navy data from application
                                                        tests will open the aperture on evaluating potential




                                                                                       In recent years,
                                                                                    the Navy has built
                                                                                     connections that
                                                                                       have resulted in
                                                                                    historic increases
                                                                                 in minority entrance
                                                                                         into the Fleet;
                                                                                  however, recruiting
                                                                                       efforts have not
                                                                                  achieved equitable
                                                                                         demographic
                                                                                     representation of
                                                                                  officers despite the
                                                                                   influx of educated,
                                                                                       enlisted Sailors
                                                                                 across all racial and
                                                                                        ethnic groups.
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 61 of 292
36   /   TF1N Final Report




         officer candidates. The NLDF 3.0 outlines “how                 consider many aspects of candidates’ qualifications
         our Navy will develop leaders who demonstrate                  for entry. Each officer candidate receives a score
         operational excellence, strong character and                   based on standardized test results, high school
         resilience through community.” Developing and                  academics, extracurricular activities, essays,
         validating a whole person algorithm would require              interviews and recommendations to provide a “best
         the Navy to select a group of high performing officers         fit” (see Figure 3).
         and run their profiles through a number of different           The finalized score is known as the Total Board Score
         accession models. Fine-tuning these models                     at USNA and the Whole Person Multiple for NROTC.
         would ensure the appropriate balance of required               These models are how USNA and NROTC attempt to
         attributes. With OCMs, determine if any metrics of             eliminate bias in the officer accession pipeline. While
         academic competency correlate with success in                  any best-fit model allows for some correction of error
         accessions programs or in the fleet (e.g., training            or bias, it does open the model up to human bias.
         pipeline completion or promotion to O-5). This                 Both USNA and NROTC have identified disparities
         “sustained long-term process improvement effort”               in minority SAT scores. In November of 2020,
         requires significant input and assistance from NRC,            NROTC adjusted their model to a 45% Academic
         community managers, NSTC and USNA to revise                    and 55% Whole Person construct. For NROTC, this
         these accession models.                                        reduced the weight and proportionality of the SAT
         In order to achieve a more inclusive force it is               for future candidates. Although officer accessions
         imperative to observe how USNA and NROTC                       and admissions were discussed, similar efforts for
         (by NSTC) select future officers through the                   recruiting enlisted Sailors, as well as civilians, should
         Navy’s multiple accession sources. USNA tracks                 be employed to ensure that the Navy is bringing in
         statistics on order of merit for both academic                 diverse talent.
         and military aspects. Utilizing statistics, USNA               In the short-term, Navy must deliberately
         observes disparities across different demographics             resolve NROTC and USNA models to account
         in categories such as class rank and Physical                  for differences and analyze the Officer Program
         Readiness Test (PRT) scores over time.                         Authorization requirements and OCM Professional
         Both USNA and NROTC employ algorithms that                     Recommendation Selection Board criteria.




                                                     Figure 3 - NROTC Accession Model
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 62 of 292
                                                                                               Recommendations        /   37




Navy should continue to leverage the AVRC initiatives      personnel, particularly with diverse Sailors having
to optimize rating entry standards and explore the use     already completed undergraduate degrees, sufficient
of algorithmic-driven interest inventory, potentially      access to potential officer recruits within minority
Jobs in the Navy (JOIN) scores, as an element of the       communities already exists.
whole person in the rating-assignment process. The         Another issue is that the Navy does not have a
AVRC continuously validates classification methods         central ADE for all officer and enlisted accessions
to optimize Sailor-rating vocational matches. The          information. There is no central entity entrusted with
AVRC has implemented 15 optimized rating changes           developing a strategy and related processes for this
in the last year, resulting in an 18 percent increase in   data collection. An entity should be established to
Navy applicants qualified for those ratings, with larger   evaluate Navy I&D impacts evident in the data and
increases for female (40 percent), African American        in the business processes that look across entrance
(37 percent) and Hispanic American (27 percent)            requirements, selection criteria and board selection
applicants. The first real data from those changes         processes that influence the accession pipeline.
shows that on average student enrollment in nine
of those technical ratings has increased 13 percent        It is imperative that Navy accessions lifecycle data for
for African Americans and 23 percent for Hispanic          both the enlisted and officer missions be reasonably
Americans. As a high-impact first step, Navy should        aligned. Military Entrance Processing Station (MEPS)
implement policy to expand upon selection and rating       projections are the authoritative starting point for
entry standards by requiring all applicants to use an      enlisted accessions and this data is captured in
algorithmic driven interest inventory for consideration    Personalized Recruitment Immediate Delayed
as part of the rating classification process.              Entry System (PRIDE). Officer applications are the
                                                           equivalent starting point for officer accessions.
Current recruiting strategies do not fully appeal          PRIDE exists as a centralized data source for the
to diverse populations and have not significantly          enlisted mission. However, officer application and
increased the number of diverse officers recruited.        accessions data for USNA, NROTC and direct
Research shows that aggregate youth propensity has         commission exists in various data systems are not
declined from roughly 18 percent in the mid-eighties       consistently aligned and are not aggregated prior
to 11 percent today. This decline in propensity            to commission. Data essential to the ADE for I&D
coupled with the declining number of military              analyses includes enlisted (e.g., Corporate Enterprise
veterans in households makes personal interactions         Training Activity Resource Systems (CETARS), Navy
with potential prospects and their families at their       Standard Integrated Personnel System (NSIPS),
high schools, college campuses and within their            PRIDE) and officer (e.g., PRIDE, NETFOCUS, USNA).
communities even more critical. JAMRS has
consistently concluded that Navy officer recruitment       When the ADE is in place, OPNAV N1 should exercise
efforts should be targeted toward increasing               oversight to expand upon the AVRC efforts to improve
awareness of the officer career path, emphasizing          I&D within the Navy and across the accession pipeline.
efforts geared toward non-white college market             Navy will leverage the ADE to standardize all the data
youth.                                                     that is collected from the various communities with
                                                           both the officer and enlisted missions (examples
In recent years, the Navy has built connections            below):
that have resulted in historic increases in minority
entrance into the Fleet; however, recruiting               •   Accession decision data
efforts have not achieved equitable demographic            •   Schoolhouse performance data
representation of officers despite the influx of
                                                           •   Fleet performance data
educated, enlisted Sailors across all racial and ethnic
groups. Historical enlisted accession data suggests        •   Any other relevant data
that given the success and consistency with which          •   Central and complete data for analysis
Navy recruits diverse representation among enlisted
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 63 of 292
38   /   TF1N Final Report




         PROBLEM STATEMENT
         Organizations that prominently value I&D within
         their workforces have proven more mission
                                                                       LOE 2
                                                                       Talent Management/
         effective and tend to outpace their competitors in            Retention, NPC
         attracting and retaining the most talented people.
         Diversity demographics show that the Navy neither
         proportionally represents the national population, nor          job candidates and recognizing possible barriers
         is proportionally represented throughout the ranks—             for otherwise viable applicants.
         including senior officer and enlisted leadership. While     6. Refine (or define) officer community or enlisted
         some progress in representation has been made                  rating career path/leadership and development
         over the years, our organization requires a markedly           requirements to ensure all have been reviewed to
         greater recruiting and retention yield in an increasingly      account for appropriate I&D considerations. This
         competitive market. Contributing to the current state          will provide a common baseline of understanding
         are TM processes (e.g., performance evaluation,                for all Sailors.
         promotion/advancement selection, detailing,
                                                                     7. Develop a single PERS-4 and BUPERS-3 precept
         community management) that are espoused to be fair
                                                                        (and convening orders as applicable) for
         and impartial; however, indications of bias exist within
                                                                        “internal” talent management processes. (2.4)
         these processes that jeopardize the Navy’s ability to
         retain and enable the progression of the best and           8. Evaluate and develop a proposal—if deemed legal
         most qualified Sailors.                                        and valid—to set diversity minima in milestone
                                                                        billet selections—in both board and informal
                                                                        processes. This assumes that expediting a
         Recommendations                                                larger diverse proportion across the ranks is a
                                                                        consideration within the best-qualified standard
         Review Procedures for Detailing and Milestone Job
                                                                        for differentiation among those considered fully
         Opportunities.
                                                                        qualified.
         1. Strive for ensuring the NPC staff reflects the
                                                                     Review Procedures for Fitness Reporting and
            diversity of the Navy population—especially
                                                                     Evaluation Systems.
            detailers/placement coordinators and board
            support personnel. (2.1)                                 1. Develop a Navy-wide training product that
                                                                        highlights key areas of the existing policy regarding
         2. Assign a Special Assistant to the Commander
                                                                        objective-based performance assessment and
            for I&D at NPC and assign a trained Command
                                                                        bias awareness in the evaluation process. Include
            Climate Specialist. (2.2)
                                                                        a short video on bias done by a leading expert in
         3. Define and institute I&D quality assurance checks           the field.
            in key distribution and milestone assignment
                                                                     2. Pivot from Mid-term Counseling to MyNavy
            processes.
                                                                        Coaching per the Sailor 2025/Transformation
         4. Continue to include diversity information in                timeline. This will provide to the Navy a process
            all formal nominative job packages. PERS-4                  founded by proven coaching best practices
            Division Directors provide a synopsis of their              and a modern scientific approach to formal
            ability/inability to source diverse candidates              Sailor development, which affords a platform
            in the PERS-4 action memo announcing the                    to highlight empathy, self-awareness, impactful
            nominees. (2.3)                                             conversations and goal setting through an
         5. Review by-name request (BNR) policies and                   individual development plan. Formal training for
            practices to ensure competition among qualified             all Sailors, to include accessions and leadership
            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 64 of 292
                                                                                                     Recommendations /   39




     milestone schools, is part of the fielding plan.        		                  as to how effectively and accurately
3. Determine if diversity and gender markers should          		                  they conduct performance
   be removed from fitness reports and evaluations.          		                  evaluations and coaching.
   Amend policy and electronic submissions                   		              -   Rating relative to a cumulative 		
   accordingly.                                              		                  average will still be employed with
4. Continue the PET design concept development.              		                  the goal to drive the mean to a less
                                                             		                  inflated standard.
•    Emphasize the existing attributes within the
     proposed process that will help eliminate bias and          vi.    All evaluations will require input/review from
     misleading subjectivity from true performance-                     a rater (reporting senior/supervisor) and a
     based evaluation.                                                  senior rater (reviewing officer).

•    Reduce hyper-inflated assessment and the                    vii.   Formal training for all Sailors, to include
     means to “game” the system. This will require                      accessions and leadership milestone
     a significant Navy culture change to counter                       schools, is part of the fielding plan.
     decades old habits that may not yield the most          5. Incorporate I&D considerations into the data
     accurate information to talent management                  requirements for and process interfaces for all
     processes. Examples include:                               talent management processes. This includes new
     i.    Refined Trait and Value Statement Content to         approaches such as a Navy Command Leadership
           reflect Navy priorities and a better ability to      Assessment and Selection Program (NCLASP)
           accurately measure observed/proven                   modeled after Army’s Battalion Commander
           performance against objective standards.             Assessment Program (BCAP).

		 - Contribution to enabling inclusive                      •    Review and develop a timelier (and potentially
		   and diverse teams is an area of                              local) recourse for Sailors who believe they have
		emphasis.                                                       received an unjustified or biased performance
                                                                  evaluation.
    ii.    Subjective comments will be limited to
           the necessary information to justify trait
           score assignments—similar to the types of
           information extracted from records and
           displayed by members during selection
           boards.
    iii.   Periodicity of evaluations will be driven by a
           Sailor’s arrival date, not annual paygrade
           reporting.
    iv.    Removal of local forced distribution ranking
           requirements. Evaluations will be based on
           objective standards by paygrade and with
           detailed scoring criteria codified in policy.
     v.    Means to reduce rater variance/inflation
           tendencies will be employed to drive
           compliance with accurate performance
           assessment objectives.
		              - All raters will be formally assessed
		                in their performance evaluations
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 65 of 292
40   /       TF1N Final Report




         Review Promotion and Advancement Processes.
         1. Remove officer photographs from all selection
            boards.
         2. Expand the diversity of selection board
            participants as recorders and assistant recorders.
         3. Expand the diversity data submitted in selection
            board ROP reports. (2.5)
         4. Includes statistics of gender and ethnicity/race
            selections and templates for an overview and
            one-page analysis for all selection boards, similar
            to what is provided in COPRs.
         5. Track statistics regarding diverse board
            membership to include support participants.
         6. Develop and run a short video on bias awareness
            and considerations done by a leading expert in
            the field during the selection board indoctrination
            process.
         7. Where applicable, amend precept and convening
            order language to account for TF1N policy
            changes.
         8. Refine, as applicable, “best and fully qualified”
            definitions in keeping with precept and convening
            order language upgrades.
                                                                      •   Assign a diverse board member to review and
         9. Develop a video that provides an overview of how
                                                                          brief diverse records in subsequent/crunch tank
            a selection board in Wood Hall works for those
                                                                          sessions—similar to a specific URL community
            who have never observed or participated in the
                                                                          member (e.g., Surface Warfare Officer (SWO),
            process.
                                                                          SEAL, Naval Aviator) briefing the record of
         10. Consider the use of a “Diversity” stamp during               an officer from their community during a
             selection boards to support an inclusion                     subsequent/crunch tank session in a promotion
             policy toward meeting stated DOD/Navy force                  board where all URL officers compete against
             composition requirements—similar to a Joint                  each other.
             or Acquisition Corps stamp. While this may run
                                                                      11. Review and consider a proposal to rescind the
             counter to other actions to remove diversity
                                                                          ability of a Sailor to “decline to respond” to race,
             information, it provides another means to include
                                                                          ethnicity and gender determination for inclusion
             information in a format that may not trigger
                                                                          in the Navy personnel ADE.
             negative biases and present information needed
             to assist board members in meeting criteria              12. Pursue a change to 10 United States Code
             specified in board guidance.                                 (USC) 612 to allow diverse members in smaller
                                                                          competitive categories to sit consecutive boards.
         •      Use the Diversity stamp during select portions of
                a board to assist in determining the best qualified   13. Evaluate and deliver means to provide clearly
                from those assessed to be fully qualified—during          defined post-board information to broad
                crunches for example.                                     audiences of eligible and interested candidates.
            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 66 of 292
                                                                                                Recommendations /     41




14. Expand post-board statistics to include gender                  boards (e.g., is there a commissioning
    and ethnicity/race information in post board                    source bias (USNA vs. OCS), a community
    reports, similar to the additional statistics                   bias (SWO vs. Aviation), a Type/Model/
    provided in Commissioned Officer Promotion                      Series bias (Jets vs. Helicopters, Cruiser-
    Reports (COPR), for all selection boards. Evaluate              Destroyer (CRUDES) vs. Amphibious
    and deliver means for board sponsors to provide                 (AMPHIB)?
    (clearly defined) post-board information to broad       •   Evaluate the existence of bias at boards and
    audiences to better enable developmental                    whether there is a net negative or positive effect
    conversations/counseling of non-selects. (2.6)              from knowing a candidate is diverse. This answer
15. Develop decision support tools for use in                   will form the basis of any future bias reduction at
    selection/assignments processes that better                 boards.
    use objective human performance data, and that          Development Framework to Review Diversity of
    will evolve through greater use of AI/Machine           Talent by Community.
    Learning in applicable decision algorithms.
                                                            1. Review screening and conversion requirements
16. In support of the Defense Diversity Working                for potential biases.
    Group (DDWG), participate in a study across all
    Services to determine whether race, ethnicity,          2. Develop a single PERS-4/BUPERS-3 precept
    gender or other identifying indicators are barriers        (and convening orders as applicable) for
    to promotion/advancement. It should address                “internal” TM processes (e.g., POCR boards).
    the following:                                          3. Develop/refine processes to track and report
•    Determine the differences in promotion/                   on progression of diverse officers at all ranks.
     advancement rates.                                        Review historical community career progression
                                                               to identify and remove barriers to upward mobility
     i.    Compare the rate of promotion/advancement           for diverse Sailors (e.g., most Naval Aviation Flag
           between racial minorities and women with            Officers come from the Tactical Air (TACAIR)
           that of white men.                                  community and that community usually has a
    ii.    Determine if advancement rates among                lower race, ethnicity, gender proportion to other
           racial minorities and women are higher              aviation communities, CRUDES vs. AMPHIB in
           among our enlisted ranks as compared to             the surface community).
           officers.
    iii.   Determine whether any lack of promotion
           of racial minorities and women is due to lack    SUPPORTING INFORMATION
           of throughput/inventory or the likely presence   Following initial analysis, the foundations and basic
           of biases.                                       tenets of the Navy TM processes are assessed as
    iv.    Examine if boards are routinely selecting        fair and impartial. However, the LOE #2 team has
           women or minorities at lower rates. If so, are   identified areas where policy and process changes
           these results expected based on the records      are warranted and where greater study and analysis
           before the boards. (Indicating bias is not       are required to ensure that biases and unintended
           from the board, but from the inputs to the       consequences inherent in subjective human
           board such as Fitness Reports (FITREPS)          processes do not result in undesired outcomes.
           and assignment to positions more valued by       The NPC TM Task Force is evaluating options to best
           the Service).                                    mitigate implicit bias in the performance appraisal
     v.    Examine if other biases distinct from race,      process to ensure accurate assessment takes
           ethnicity or gender occur during selection       place and warranted promotion and advancement
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 67 of 292
42   /   TF1N Final Report




         opportunity for underrepresented Sailors is assured.      appear to be exceptions. The selection percentage
         The future performance evaluation process will            by race/ethnicity across the board is slightly lower
         emphasize and strive to remove bias and misleading        for almost all non-white male officers, and this could
         subjectivity from true performance-based objective        validate the perception of bias, but the small number
         evaluation, which will yield the “right” information      of eligible diverse male Sailors (only 17.2 percent of
         for talent management assignment and selection            25,758 male records) creates some ambiguity. The
         processes. TF1N recognizes knowledge gaps exist           selection percentages for every board are reviewed
         in the Fleet regarding performance evaluation,            to evaluate trends or alarming statistics outside the
         detailing and board processes, which can lead to          norm. However, with low numbers it only takes one
         the perception of biases existing in current models;      or two years with below-average selection rates to
         therefore, NPC will take steps to improve awareness       considerably change the statistics. At the O-4 level,
         and understanding of Navy TM processes. Greater           for instance, 590 Black male officers were eligible
         post-board feedback is an example and will serve as       and 431 were selected, resulting in a 3 percent lower
         great information for Navy coaches to discuss with        promotion rate than the overall average, but there
         their Sailors during their periodic MyNavy Coaching       would be no discrepancy if a mere 17 more officers
         development sessions.                                     were selected (or about 1.5 officers per cycle). At the
         Beyond perception, there remain areas where               O-6 level, the discrepancy would have been negligible
         career progression can be improved by ensuring            with the selection of less than one additional officer
         that selection to major milestones and promotions         per cycle. A significant phenomenon affecting
         is based on published expectations (i.e., sustained       selection board results is the inventory of the eligible
         superior performance and serving in career-               candidates. It is difficult to build and select minority
         enhancing billets). Moreover, research on the ‘In-        Captains and Flag Officers when, so few remain in the
         Zone’ URL selections over the last 13 years shows         Navy at the key retention decision points. Retention
         that Asian male promotion to O-5 is 11 percent below      is foundational to achieving diverse representation at
         overall average and Black male promotion to O-5 is        the senior leadership levels.
         15 percent below overall average. However, these

                                                              COPR Data

                                            O-4, In-Zone URL, FY-08 to Fy-20
           Black     Hispanic    Asian      Pacific   Ntv Amer     Other      White       Male       Female     Overall
           Male        Male      Male      Isl Male     Male       Male       Male        Total       Total      Total

            590        824        305         29         77         504      10,606      12,935       1,133      14,068

            431        600        225         23         59         350       8,201       9,889        790       10,679

           0.731      0.728      0.738      0.793      0.766       0.694      0.773       0.765       0.697      0.759


                                            O-5, In-Zone URL, FY-08 to Fy-20
           Black     Hispanic    Asian      Pacific   Ntv Amer     Other      White       Male       Female     Overall
           Male        Male      Male      Isl Male     Male       Male       Male        Total       Total      Total

            395        514        185         19         41         248       6,424       7,826        351       8,177

            220        337        110         11         20         178       4,640       5,516        236       5,752

           0.557      0.656      0.595      0.579      0.488       0.718      0.722       0.705       0.672      0.703
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 68 of 292
                                                                                                           Recommendations /   43




                                       O-6, In-Zone URL, FY-08 to Fy-20
  Black      Hispanic     Asian       Pacific      Ntv Amer       Other         White        Male        Female   Overall
  Male         Male       Male       Isl Male        Male         Male          Male         Total        Total    Total

   185         240         102           13           12           141          4,304        4,997        129      5,126

    86         111         40             5            4            66          2,246        2,558        71       2,629

  0.465       0.463       0.392        0.385         0.333        0.468         0.522        0.512       0.550     0.513

                           Note: “Other” includes both “Declined to Respond” and “Multiple” race codes
                                                       Figure 3 - COPR Data

As the Navy culture must evolve to be more                         better use objective human performance data, and
inclusive, this must also be reflected in Navy TM                  that will evolve through greater use of AI/Machine
processes. Sailors must have confidence that our                   Learning in applicable decision algorithms.
processes are fair, free from negative forms of bias,
transparent and yield results driven by one’s merit
and ability. To this end, we will continue to refine
our processes to make sure the right information
                                                                    Success will be the result
is available at critical talent-management decision                  of continued cooperation
points to ensure our best and fully-qualified Sailors                  and partnership with
from our inclusive Navy are in the right positions to
meet our Service objectives.                                        leaders across the MyNAVY
Access to the right data is critical to this effort. As               HR domain and COE team.
part of the MyNavy HR Transformation, achieving
a centralized, single source of truth, cloud-hosted
ADE is a foundational necessity for modern and                     NPC has established an I&D-focused OPT that in-
enhanced TM. This authoritative and objective                      cludes key leader representation from all four of the
data is critical. Currently, NPC tracks demographic                LOE #2 talent management areas. This OPT meets
statistics for promotion, advancement, command                     on a regular battle rhythm cycle to drive implemen-
milestone and screening boards (see Figure 3 for                   tation or further study for all of the aforementioned
an example). While these statistics are important,                 recommendations. Periodically, the OPT reviews
if barriers exist that do not enable personnel to                  implementation timelines, refines measures of
receive objective, unbiased and accurate evalua-                   effectiveness (MOE)/measures of performance
tions, as well as adequate opportunities, the Navy                 (MOP) and formally reviews performance to plan.
will be unable to effectively evaluate, promote and                Since many of these initiatives are already part of
advance the right Sailors. To combat this issue,                   the MyNavy HR Transformation effort, the OPT will
some of the data-related steps that NPC is taking                  ensure appropriate coordination exists among the
include: incorporating a NCLASP modeled after the                  OPRs. The OPT is responsible for ensuring that
Army BCAP; expanding the diversity data submit-                    appropriate Fleet input/feedback is included during
ted in selection board ROP reports; reviewing and                  all design, development and process improvement
considering a proposal to rescind the ability of a                 efforts, and that effective communications occurs
Sailor to “decline to respond” to race, ethnicity and              with major changes. Success will be the result of
gender determination for inclusion in the Navy per-                continued cooperation and partnership with lead-
sonnel ADE; and developing decision support tools                  ers from across the MyNavy HR domain and the
for use in selection/assignment processes that                     entire COE leadership team.
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 69 of 292
44   /       TF1N Final Report




         PROBLEM STATEMENT
         To recruit and retain the high-performing and
         innovative workforce required to sustain today’s Navy
                                                                         LOE 3
                                                                         PROFESSIONAL
         and the Navy of the future, deliberate and holistic             DEVELOPMENT,
         efforts must be made to cultivate and champion an
         environment that promotes respect and inclusion
                                                                         NETC/NSTC
         across ranks and celebrates the competitive
         advantage gained from a diverse force.                      expands beyond the NETC domain and the
         NAVADMIN 051/20 (Appendix Q) entitled “NAVY                 NAVADMIN assigns responsibilities to other Echelon
         INCLUSION AND DIVERSITY POLICY UPDATE”                      II Commanders and Community Leads.
         articulates three Navy-wide I&D Goals:
         1. Institutionalize I&D across our Navy.                    Recommendations
         2. Attract and recruit the best talent from our             Develop a Subjectivity Mitigation Tool or Suite of
            diverse nation to cultivate a high-performing and        Tools to Assist Leaders at All Levels. (3.1)
            innovative workforce.
                                                                     1. Self-awareness (SA) tools are a critical part
         3. Develop and retain Sailors and Navy civilians               of bias awareness and are administered at
            by ensuring an inclusive culture across our                 various leadership levels, without the benefit of
            workforce.                                                  a comprehensive and deliberate SA continuum.
         NETC is then specifically tasked to:                        2. Leader development stakeholders (e.g., Naval
         •      Develop and implement Navy’s I&D training               Leadership and Ethics Center (NLEC), NWC,
                and education strategy from entry to executive          NPS, etc.) must collaborate, identify and agree
                levels in accordance with the Officer and Enlisted      upon a self-awareness continuum framework.
                Leader Development Paths outlined in the NLDF           Supporting the NLDF ensures proper alignment
                version 3.0.                                            and ensures that Sailors receive the right tool(s)
                                                                        at the right time across the continuum.
         •      Review course curricula through the Human
                Performance Requirements Review process to           3. Funding considerations notwithstanding,
                ensure incorporation of relevant I&D content.           the following considerations apply to the
                                                                        development of the SA continuum:
         Notably, this section addresses only NETC’s
         responsibilities as detailed in the aforementioned          •   SA is critical to raising an individual’s awareness
         NAVADMIN. Navy-wide I&D training and education                  of implicit/explicit bias and contributes to
                                                                         mitigation of those biases.
                                                                     •   A comprehensive approach to SA should
                                                                         span the career of an individual, irrespective of
                                                                         community, paygrade or length of service.
                                                                     •   Overly duplicative efforts (e.g., the repeating of
                                                                         particular SA assessments) should be minimized
                                                                         across the SA continuum to prevent the
                                                                         unnecessary expenditure of resources (e.g., time
                                                                         and/or money). Some duplication for emphasis
                                                                         across the continuum may be warranted.
                                                                     •   Careful consideration should be given to the
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 70 of 292
                                                                                                   Recommendations /    45




   anticipated developmental acumen of the                         Navy’s desire to find talent.
   leader to whom the SA occurs to determine the              2. Start the BOOST 2.0 pilot program with ten
   appropriate tools for the given maturity and level            MIDN candidates and eventually expand to 50
   of responsibility. No single assessment is suitable           MIDN over - five years. MIDN will attend NAPS like
   for all leadership positions.                                 USNA MIDN candidates for a year and be subject
       As a basis for consideration, Figure 4 below              to the same exit criteria. MIDN candidates who
       provides an example of current thinking                   successfully complete NAPS will receive a four-
       regarding SA and behavioral assessments                   year NROTC scholarship without board action.
       considering resource limitations, coaching                MIDN can then attend any school in which a
       capacity and span of control. However,                    NROTC program exists. MIDN candidates who
       this is not the SA continuum end state NLEC               attrite will incur no obligation or payback, similar
       would recommend when evaluating                           to the arrangement that USNA MIDN candidates
       the combined resources, coaching capacity                 enjoy.
       and expanded aperture inclusive of all                 3. Reestablish the links between USNA and NSTC
       warfare communities and education tracks.                 for proper command, control and execution of the
       NLEC proposes a Self-Awareness                            program. Although the infrastructure exists now
       Assessment “Summit” in March 2021,                        for the pilot program, additional infrastructure
       attended by relevant stakeholders, to                     modifications will be required at NAPS to expand
       evaluate the existing SA efforts across the               the program to 50. These requirements will be
       Navy and provide a comprehensive                          clarified during the pilot program year.
       recommendation in support of TF1N.
                                                              4. Implement BOOST 2.0 under NSTC with USNA
Re-establish BOOST 2.0. (3.2)                                    supporting. MIDN candidates will be selected by
1. The re-establishment of BOOST 2.0 at NAPS to                  NSTC but the program execution will fall under
   prepare highly desirable MIDN candidates whose                NAPS. All final administrative action(s) to any
   initial test scores do not meet the standard for              MIDN candidate will fall under NSTC.
   NROTC admission is a significant win for the               5. Achieve sustained success through careful




                              Figure 4 - SA and Behavioral Assessments Continuum Example
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 71 of 292
46   /       TF1N Final Report




                selection of MIDN candidates as well as                      In coordination with Naval Supply Systems
                placement in appropriate follow-on NROTC                     Command (NAVSUP), establish a Training with
                schools. The process owner is NSTC with NRC                  Industry (TWI) tour for enlisted Retail Specialist
                recruiting support. The reestablishment of a                 Sailors who will be Shipboard Barber Instructors
                NROTC Candidate Guidance Office (CGO) will be                to provide recognizable and reputable
                critical in the identification and recruiting of MIDN        certification for the RS community.
                candidates for the program.                             •    This TWI will provide instructors trained on
         Increase NROTC Side-load Scholarships Specifically                  current industry standards and techniques that
         Targeting Underrepresented Communities. (3.3)                       will address and fill the hair styling needs for our
         1. As part of a system of programs to harness talent,               female and minority Sailors.
            side-load scholarships target students who are
            already matriculating through college and may
            be unaware of opportunities available through
            enrollment in NROTC. NROTC units must be                        I&D training will not
            proactive in telling the Navy story and attracting
            talent.
                                                                            only help to sustain
         Source a NROTC Consortium Deputy Commander                         personnel, but also
         Position at Approximately Five HBCUs/MSIs. (3.4)
         1. This Deputy Commander would be full-time at
                                                                             help to sustain and
            the assigned HBCU/MSI to build relationships,                    drive toward a COE.
            restore trust and facilitate an increase in diversity
            participation in the side-load scholarship
            process.
         Update Functions and Incentivize Retention of RSs
                                                                        SUPPORTING INFORMATION
         Tasked to Style the Hair of Sailors Afloat. (3.5)              In general, the Naval Officer Corps does not reflect
                                                                        the diversity of the population of the US, specifically
         1. Update NETC’s Shipboard Barber Course.                      African Americans, Native American and Hispanic
            Working with the RS rating requirements sponsor             communities (see Figure 5). This problem is
            (OPNAV N4), conduct a Job Duty Task Analysis                particularly acute in the warfighting communities
            (JDTA) on Shipboard Barber Course Identification            in which African Americans, Native Americans and
            Number (CIN) A-840-0013.                                    Hispanic Americans only make up a fraction of those
         •      The JDTA is the first step in reviewing and aligning    communities as compared to their proportional
                the course to Fleet requirements.                       demographic representation in the US.
         •      Changes made based upon requirements                    NROTC accounts for one-third of all URL Officer
                validated through multiple workshops with all           (warfighters) commissioning. With the exception
                Fleet stakeholders.                                     of Asian Americans, current NROTC accessions
         •      A sustained long-term effort will be required           and graduation rates for all minority groups are
                in order to align further rate training manuals         well below their corresponding proportional
                (RTMs), personnel qualification standards (PQS),        demographic nationally. If the current trend continues,
                on-the-job training (OJT), and formal training          underrepresented groups will never approach national
                to ensure effective training that meets Fleet           demographic norms.
                requirements                                            One reason for this disparity is that underrepresented
         2. Explore possibility of separate Navy Enlisted               groups are generally not as prepared for college
            Classification (NEC) for styling female Sailors.            as indicated by standardized tests. For example,
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 72 of 292
                                                                                                                Recommendations /   47




                                   African American                Hispanic (non-White)                Native American
         Aviation                          2.25%                            7.03%                               0.6%
         Surface                           9.9%                             10.3%                               0.9%
           Subs                            2.03%                            6.59%                               0.76%
            EOD                            0.98%                             5.9%                               0.59%
           SEAL                            1.3%                             5.98%                               0.3%
     US CENSUS DATA                        13.4%                            18.5%                               1.3%
                   Figure 5 - African American, Native American and Hispanic Naval Officer Corps Demographics

underrepresented groups, on average, score                         the Seaman to Admiral (STA-21) program and
below the SAT’s currently recognized college-                      shifted emphasis on Fleet returnees vice new,
ready score. Specifically, African Americans, Native               direct accessions from high school. The BOOST
Americans and Hispanic Americans nationally                        program was slowly scaled back until its eventual
averaged SAT score falls in the mid 900’s while                    closure in 2008.   
the currently recognized college-ready score                       Currently, USNA utilizes two programs to prepare
is 1020. Additionally, the average SAT score for those             otherwise underprepared students: NAPS and
midshipmen who earned a NROTC scholarship                          Foundation Preparatory schools. Studies indicate
currently hovers around 1400.                                      that both programs are successful in preparing MIDN
To attack this problem, the Navy must first be able to             for success at USNA as evidenced by lower attrition
better attract and access qualified, underrepresented              rates than their direct entry counterparts. The US
groups who desire to serve. Second, prepare highly                 Coast Guard Academy analyzed USNA’s approach
motivated but disadvantaged students for the rigors                and now follows the same model while also sending
of NROTC through the BOOST 2.0 or the NROTC                        their students to NAPS as well as foundation schools.
Preparatory Program.                                               Re-establishing BOOST as BOOST 2.0 will utilize a
One of the barriers to recruiting more underrepresented            phased approach. NSTC and USNA have agreed to
groups is academic preparedness. A solution for that               establish a pilot program of 10 initial MIDN candidates
barrier is to reinstate the BOOST program. BOOST                   in one year (Academic Year 2021/2022). After a
was originally developed as part of NAPS until the                 successful pilot program, the program will then grow
program expanded to become independent of school                   to 50 MIDN a year. With the current NROTC four-
affiliation and was headquartered in San Diego. To re-             year scholarship attrition rate of up to 38 percent,
establish BOOST as BOOST 2.0, the program would                    the measure of effectiveness for BOOST 2.0 is that
begin again at NAPS and expand from there.                         attrition will significantly decrease.
Two studies were conducted by NPS on preparatory                   The emphasis placed on standardized testing
programs for USNA and NROTC. In both studies the                   in recruiting and selection processes causes a
original BOOST program was extensively analyzed. It                disproportionately negative impact on the number
was found that BOOST was highly effective and                      of minority officer applications. The Navy uses
played a pivotal role in the Navy’s efforts to improve             standardized aptitude tests (SAT or ACT) and high
minority officer accessions with qualified graduates.              school academic performance to evaluate academic
An important point worth noting is at both USNA and                competency and determine eligibility for admission
NROTC, BOOST graduates had a lower attrition rate                  into pre-commissioning officer programs. However,
than their direct entry cohorts.                                   it is well documented that underrepresented groups,
In its original form, BOOST was absorbed by                        particularly those with personal or environmental
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 73 of 292
48   /   TF1N Final Report




         disadvantages, tend to score lower on standardized         representation among enlisted personnel who have
         tests. These differences in test scores affect the         already completed undergraduate degrees, sufficient
         eligible demographic pool for commissioning                access to potential officer recruits within minority
         programs, which raises questions about testing bias        communities exist.
         and discrimination during the admissions process.          The Navy does not, however, have a central ADE
         Additionally, current recruiting strategies do not         for all officer and enlisted accessions information.
         fully appeal to diverse populations and have not           OPNAV N1 is currently establishing an ADE and as
         significantly increased the number of diverse officers     CNP is also the Navy’s Chief I&D Officer, he will be
         recruited. Research shows that aggregate youth             able to evaluate evidence-based Navy I&D impacts
         propensity has declined from roughly 18 percent in         and business processes influencing entrance
         the mid-eighties to 11 percent today. This decline         requirements, selection criteria and board selection
         in propensity coupled with the declining number of         processes will be beneficial in measuring future
         military veterans in households, makes personal            success.
         interactions with potential prospects and their            Once talent is received, I&D training will not only help
         families at their high schools, college campuses           to sustain personnel, but also help to sustain and drive
         and within their communities even more critical.           toward a COE. While I&D metrics are readily available
         JAMRS has consistently concluded that Navy                 for the start of the accession pipeline, assessment
         officer recruitment efforts should be targeted toward      at the next phase of a Sailor’s career (namely their
         increasing awareness of the officer career path,           continuing education and career advancement) is
         emphasizing efforts geared toward non-white college        vitally important. Data is available to understand
         market youth.                                              which Sailors are being promoted and taking
         In recent years, the Navy has built connections that       advantage of educational opportunities. However,
         have resulted in historic increases in minority entrance   understanding whether specific coursework and
         into the Fleet; however, recruiting efforts have not       educational pathways are disproportionately
         achieved equitable demographic representation              advantageous to certain groups of Sailors is
         of officers despite the influx of educated, enlisted       important. This necessitates a major focus on building
         Sailors across all racial and ethnic groups. Enlisted      additional capability in the educational domain to
         accession data suggests that given the Navy’s              better understand improvement opportunities at
         success and consistency in recruiting diverse              crucial points in many Sailors’ careers.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 74 of 292
                                                                                               Recommendations /      49




  LOE 4
  Innovation &
                                                           Recommendations
                                                           Determine and then Leverage the Navy’s Military/Civilian
                                                           Population Associated with Minority Fraternities,
  Stem, ONR                                                Sororities and Other Affinity Groups. (4.1)
                                                           1. Utilize headquarters formal tasking system, social
                                                              media and other mass distribution methods to
Problem Statement                                             encourage self-reporting and areas of interest.
The Navy has a deficit of underrepresented groups
in STEM fields. This under-representation impacts          2. Query other minority-focused groups (i.e.,
diversity of thought and innovation, posing a potential       NNOA and ANSO) to determine if affinity group
threat to national security and warfighting readiness.        affiliation is captured and leverage these groups
To increase interest in STEM-related occupations, the         to encourage participation.
Navy must create opportunities that leverage existing      3. Query the Navy’s RC on self-identified members
military and civilian relationships, specifically within      within STEM (either military or civilian occupation)
predominately minority professional affinity groups,          and request volunteering information on affiliation
to mentor, garner interest and attract new talent.            with minority fraternities, sororities, and other
Studies and surveys have shown that minority                  affinity groups.
disinterest in STEM fields can be contributed to a lack    4. Leverage relationships with minority fraternities,
of minority representation in the form of positive role       sororities, and other affinity groups to query
models and mentors. Efforts to increase outreach              military/civilian population.
and awareness activities of Navy STEM opportunities        Review and Clarify Guidance and Ensure Clear
could also generate interest in those aspiring to join     Communication Authorizing and Encouraging
STEM fields in the future. By focusing on access to        Military/Civilian Outreach Opportunities with Affiliated
underrepresented identities and groups, the Navy           Professional Groups. (4.2)
can diversify its demographic profile and naturally
increase warfighting capabilities, through individual’s    1. Streamline ethics approval process for outreach
diversity of thought and experiences. This increases          opportunities. Active-duty Sailors and civilians
our lethality by bringing eager candidates, whose             who want to participate in outreach opportunities
unique skills and knowledge can be leveraged.                 (i.e., teaching, speaking, writing, etc.) are left
Ultimately, these activities provide an opportunity           to navigate 5 CFR Section 2635.807 and JER
to strengthen existing relationships with local               paragraph 3-305 or seek advice from their
communities and organizations while fostering new,            command or an ISIC ethics counselor. The
collaborative and meaningful relationships.                   quality of that advice is often subject to the ethics




             Efforts to increase outreach and
             awareness activities of navy stem
             opportunities could also generate
              interest in those aspiring to join
                  stem fields in the future.
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 75 of 292
50   /   TF1N Final Report




             counselor’s experience. To advance the outreach          by providing clear examples of how it is related to
             initiative and build in a place for awareness and        their career in the Navy.
             feedback collection, the ethics approval process     2. Capitalize on existing relationships within these
             could be centralized to a one-stop shop for STEM        affinity groups to encourage using social and
             engagements. The Navy Survey Program Office             print media platforms to highlight affiliated
             has set up a similar construct for seeking survey       military/civilian members in STEM occupation
             approval.                                               within the group’s publications.
         Incentivize Participation Through the Establishment      Construct a Diverse Military and Civilian Network
         of Recognition Programs Inclusive of Military and        within the Navy to Increase the Awareness of
         Civilian Personnel. (4.3)                                Navy STEM Professional Opportunities at HBCUs/
         1. Recognize service members by creating an              MSIs that will Mentor/Inspire Underrepresented
            outreach award like the ONR VADM Samuel L.            and Underserved Students Majoring in STEM
            Gravely Jr. “STEM Diversity Champion of the           Disciplines. (4.5)
            Year” Award, granted to individuals who have          1. Create a Diversity Affinity Office to coordinate
            distinguished themselves by fostering STEM               sponsorships and outreach activities on behalf of
            education and mentoring to underrepresented              all lower echelons.
            groups.
                                                                  2. Evaluate partnerships with African American
         Develop a PA Campaign to Increase Visibility in the         and Hispanic STEM focused organizations, such
         Program and Any Associated Memberships within               as National Association of Black Chemists and
         Minority Affinity Groups with STEM Connections.             Chemical Engineers, NNOA, ANSO, etc.
         (4.4)
                                                                  3. Create and maintain a mentorship program where
         1. Encourage through public announcements and               senior officers and senior civilians are linked up as
            STEM outreach activities within affiliated minority      mentors with junior officers or new Navy civilians
            fraternity, sorority and affinity groups. Look for       in their organizations to provide guidance from
            opportunities to speak at undergraduate and              the moment they are commissioned or arrive to
            graduate chapter events to promote STEM fields           their new command.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 76 of 292
                                                                                                Recommendations /      51




4. Establish the Junior Officer Diversity Outreach        Navy at HBCU/MSIs to encourage minorities to study
   initiative under the DON to send junior officers       STEM disciplines and look into Navy careers.
   TAD/TDY to strategic universities to assist with       By leveraging the relationships that our military/
   and guide specifically geared outreach.                civilian members in STEM fields have formed in
Enhance and Develop Where Necessary STEM                  predominantly minority professional fraternities,
Outreach Programs to Effectively Attract K-12             sororities and other affinity groups, the Navy can
Students with Diverse Backgrounds. (4.6)                  strengthen its networks to increase outreach and
1. Identify a Diversity STEM program sponsor (i.e.,       interest in STEM among underrepresented groups.
   OPNAV N7, I&D, ONR, etc.) for command control          This effort will require our internal talent network that
   structure and to track funding. The program            is associated with those groups to collaborate with
   sponsor will:                                          minority fraternities, sororities and other affinity group
                                                          headquarters.
•   Manage and distribute funds to all Diversity STEM
    stakeholders. Diversity STEM stakeholders             Through our military/civilian members’ efforts, the
    will execute local activities and engagements.        Navy will seek opportunities within HBCUs/ MSIs
    They will also provide reports leadership, as         communities to mentor and develop an interest in
    appropriate.                                          serving within Navy STEM career fields. These affinity
                                                          organizations are constructed around community
•   Maintain any MOUs/MOAs with strategic outreach        support, outreach and alumni relations. This vast
    partners.                                             pool of diverse military/civilian talent is believed to be
•   Develop a Diversity STEM instruction.                 an invaluable resource. By leaning on our alumni and
                                                          active members within those societies, we can build
•   Make every effort to ensure all social media
                                                          a strong bridge between underrepresented minorities
    platforms (i.e., Facebook, Instagram, YouTube,
                                                          alongside fraternity and sorority members and the
    etc.) drive the proper marketing message to the
                                                          Navy.
    individuals we wish to reach.
•   Implement a mentorship/tutoring program to
    help the diverse K-12 students navigate courses
    and activities that would make them top notch
    candidates for the Navy. Option to provide live
    virtual sessions (i.e., Microsoft Teams, Zoom,
    Google Meet, etc.) that could be used for regular
    interaction, STEM engagements and free
    tutoring/mentoring events.


Supporting information
The Navy has identified that it does not have an
appropriately targeted STEM outreach program. As
a result, the Navy is in the process of enhancing and
developing a robust STEM outreach program for
K-12 students that could potentially generate greater
interest and awareness for students with diverse
backgrounds. Furthermore, the Navy is constructing
a diverse military and civilian network to increase the
awareness of STEM professional opportunities in the
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 77 of 292
52   /   TF1N Final Report




         The following section contains miscellaneous I&D-
         related reform recommendations for consideration.
         Some recommendations may require further review
                                                                     LOE 5
                                                                      Additional
         and assessment to determine next steps.
                                                                      Recommendations
         Topic: Add “and Respect” to Navy                         we are fully responding to this moment in history to
         Core Values. (5.1)                                       create enduring and positive change. Every member
                                                                  of the Naval Service – active, reserve, and civilian,
                                                                  must understand and live our Core Values…Honor,
                                                                  Courage, Commitment and Respect!
         PROBLEM STATEMENT
         In the aftermath of the death of Mr. George Floyd, an
         African American man, killed at the hands of police
         in Minneapolis, Minnesota, and the ensuing protests,
         the Navy stood up TF1N on 1 July 2020 to address the
                                                                     Respect is the
         issues of racism, sexism and other destructive biases     foundation of our
         within our Navy and their impact on naval readiness.
         One of the preliminary recommendations that comes         Navy Team and our
         from TF1N is the addition of ‘Respect’ to the Navy’s
         core values of Honor, Courage and Commitment. The
                                                                    first signature
         goal of this initiative is to influence and encourage
         Active and Reserve service members, government
                                                                       behavior.
         service civilians and contractors within the DON to
         embrace and embody the new Navy core value of
         “Respect” in every aspect of the Navy and our culture.
                                                                   Topic: Continued Leadership Support
                                                                   for Listening Sessions (5.2)
         Recommendations
         Establish a communications plan to market and
         advertise this initiative
         Initiate the addition of “Respect” to Navy Core Values
                                                                  PROBLEM STATEMENT
         through the release of a NAVADMIN announcing             Discussing inequalities can be difficult, but these
         addition of “Respect” to Core Values                     conversations are necessary to foster inclusion and
                                                                  connectedness in the Navy. In order for Sailors to
                                                                  heal and rebuild trust, leaders must lead, listen and
         Supporting Information                                   advocate for change. This starts by providing Sailors
                                                                  and our civilian teammates an environment to openly
         Respect is the foundation of our Navy team and our
                                                                  communicate. Leadership engagement is essential
         first Signature Behavior. Respect has the connotation
                                                                  to ensuring the eradication of any form of disparities
         of saying that I see you and I hear you. To our fellow
                                                                  in our formations, one command at a time.
         shipmates, there can be no empathy or trust without
         respect. While it may be inferred in Navy attributes,
         illuminating “Respect” as a priority demonstrates that
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 78 of 292
                                                                                           Recommendations /     53




                                                         demographic data, note best practices and
Recommendations                                          challenges, develop (coaching, mentoring, advocacy)
Leverage guidance provided in the NCG and continue       efforts, integrate human factors and Command
listening sessions on a regular basis                    Resilience Team fundamentals, and deliberately lead
Feedback regarding sessions should be documented         TM efforts.
and made actionable as required to address any           TF1N reviewed best practices from previous briefs
perceived climate issues                                 and developed a detailed template for TYCOMs to


Supporting Information
While very personal ideas and experiences will             Topic: Counter Hate Speech (5.4)
be openly shared throughout the necessary
                                                                     -
conversations, it is important to remember that all
participants must treat one another with dignity and
respect. It is recommended that those leading the        PROBLEM STATEMENT
conversations consult with their staff judge advocate    There are several aspects to regulating/discouraging
or command services legal advisor if they have           hate speech. This proves to be difficult as the first
questions at any point before, during or after the       amendment makes it challenging to define “hate
conversation session.                                    speech” for disciplinary purposes-- when so much
                                                         speech is protected. To mitigate this challenge,
                                                         the focus has to shift to educating leaders on what
                                                         types of language and behavior actually constitutes
Topic: Restart NLDF Briefs to CNO/
                                                         harassment and discrimination. In the context of
VCNO/MCPON (5.3)                                         this task, “Hate Speech” describes types of speech
                                                         that amount to harassment, a form of unlawful
                                                         discrimination.
Accountability has emerged as one of the key themes
from our Listening Sessions. Feedback received
from the CNO’s TAG noted that past success with          Recommendations
I&D efforts was a direct result of holding leaders
accountable for understanding the importance of I&D      Issue a Page 13 to allow enforcement of discipline
and taking deliberate steps to ensure all Sailors were   against Sailors and to communicate policies and new
treated fairly and had access to the opportunities       concepts for the purpose of command mission and
they deserve. In our Navy culture, leaders understand    good order and discipline. Secondly, a CNO-level
early on the importance of authority, responsibility     communication to remind leaders of their obligations
and accountability.                                      and the tools in their toolkit to take appropriate
                                                         corrective measures, including punitive ones. This
NAVADMIN 025/20 re-establishes the NLDF briefs           level of communication would give Commanders the
to CNO and outlines how the Navy will develop            confidence and top cover to take action and would be
leaders who demonstrate operational excellence           an effective deterrent for Sailors when Commanders
(competence), high ideals of integrity and service       communicate CNO-level intent and then back it up
(character) at every level of seniority, all the while   with local command-level action. Additionally, a JAG
expanding and enhancing trust and confidence             action memo from OJAG (Code 13) to reinforce the
(connections). Specifically regarding “connection”,      scope of tools available to leaders and equip Staff
TYCOMs should have community-specific I&D goals          Judge Advocates (SJAs) with tools to give timely and
and objectives, an understanding of community            consistent advice.
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 79 of 292
54   /   TF1N Final Report




         Topic: Establish Pilot Mentoring                            Topic: Establish a Student Exchange
         Program (Officer/Enlisted/SES)                              Program Between USNA & HBCUs/MSis (5.6)
         (5.5)

         (Officer/Enlisted/SES)
                                                                   PROBLEM STATEMENT
         One TF1N Focus Area is establishing Pre-accession
                                                                   As the primary undergraduate educational institution
         Mentorship Frameworks and to improve mentoring
                                                                   training future leaders in the USN and USMC,
         overall. To support this effort, the Task Force
                                                                   USNA is uniquely positioned to build bridges, foster
         sought out 40 volunteers who are willing to mentor
                                                                   relationships and expose midshipmen to a diverse
         a diverse/minority midshipmen/seamen recruits/
                                                                   cohort of talent and future shipmates from NROTC
         SES & GS for a pilot program. Conversations with
                                                                   affiliated HBCUs and MSIs.
         the Fleet clearly indicate barriers to communication.
         We don’t talk enough to one another, especially
         those who are different from ourselves. Talking
         builds teamwork, and that teamwork builds trust.
                                                                   Recommendations
         This mentoring pilot program would be designed            Establish a framework to manage an exchange program
         to remove barriers, increase communication and to         between USNA and various HBCUs/MSIs. The Service
         gain a better understanding of what we must improve       Academies have conducted exchange of MIDN and
         as an organization. We all know the importance of         Cadets for several decades, to include foreign students,
         mentoring, advocacy and sponsorship. This provides        and this framework could be replicated with HBCUs and
         an opportunity to coach someone throughout the rest       MSIs to build a more cohesive team, remove barriers
         of their career and share their mentoring experiences     and increase understanding in leading a diverse force.
         with others to provide knowledge sharing
         opportunities throughout their Navy experience.
         Concept: Ten Flag Officers (O-7 / O-8), ten SES and
                                                                   Supporting Information
         20 MCPOs volunteer to serve as mentors to diverse/        Increased communication with HBCUs/MSIs and
         minority service members. The Flag Officer will be        increased recognition of meritocracy improves
         connected with a MIDN, Senior SES would be paired         perceptions of inclusion from underrepresented
         with newly appointed SES or an identified highly          groups and provides a foundation of understanding
         performing GS-15 interested in future assignments         and a commitment to breaking down barriers.
         as Executives, and the MCPOs will be connected
         with a new graduate from RTC. The MCPO cohort will
         also seek to place diverse female E-9s with majority
         recruits as well. After one year, all participants will
         provide feedback via surveys and written responses
         to see if expansion of the program is warranted.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 80 of 292
                                                                                             Recommendations /     55




   This initiative is
  an opportunity to                                          associated with the Confederacy and identify
                                                             assets named after racist, derogatory or culturally
   honor and name                                            insensitive persons, events or language.
                                                         2. Renaming recommendations and decisions
   navy assets for                                          should be consistent with current naming
    naval heroes.                                           authorities, policies and practices, with a
                                                            focus on honoring persons of historically
                                                            underrepresented demographics, including
                                                            racial minorities, women and enlisted members.
                                                         3. The method and timeline of review is flexible,
Topic: Modernize process to name ships,                     however, a stakeholder-led committee could
buildings, streets in honor of national &
                                                            oversee the consolidation of Navy asset names
historical Naval Figures (5.7)
                                                            and lead the review and recommendation
                                                            process.
                                                         •   The general membership, strategy and mission
PROBLEM STATEMENT                                            statement of the committee may be subject to
Certain Navy ship names have been highlighted                amendment post-enactment of the NDAA for
by Congress and in the media for connections                 Fiscal Year 2021.
to confederate or white supremacist ideologies.
                                                         •   The committee would compile the lists of names
Without a comprehensive database or review of
                                                             for review, delegate as needed (e.g., requesting
current Navy names, it is unclear whether the body
                                                             installation commanders to provide lists of
of Navy names is consistent with Navy Core Values
                                                             installations buildings and streets named after
and representative and inclusive of the truly diverse
                                                             persons pursuant to OPNAVINST 5030.12H);
population of the Navy, today and throughout the
                                                             coordinate with ethics and history experts to
Navy’s rich history.
                                                             identify assets for renaming; serve as a central
Following a review of internal Navy practices                repository for questions and renaming requests;
and Congressional Research Service (CRS)                     and propose new names. This course of action
documentation, there appears to be no consolidated           (COA) offers thoroughness and consistency.
database, process or effort within the Navy to review        Additionally,
                                                              i.            the committee could consist of
the names of Navy assets in order to ensure that the         persons who may already possess the expertise
names reflect the Navy Core Values. This initiative is       necessary to perform these tasks, for example,
an opportunity to honor and name Navy assets for             personnel from OPNAV N17, NHHC, CNIC,
Naval heroes from all classes, races, genders and            NAVFAC and commands possessing authority
backgrounds.                                                 and ownership over weapons systems, afloat and
                                                             aviation assets such as NAVSEA and NAVAIR.
                                                         •   Memorialize the process and membership of the
Recommendations                                              committee by either updating the OPNAVINST
Initiate Systematic Review to Identify and Rename            5030.12H, other relevant naming authorities
Navy Assets in Need of Modernization Consistent              or by simply crafting an order from the CNO
with Navy Core Values.                                       outlining the expectations for the committee and
1. Review should identify assets honoring those              the period of review.
                    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 81 of 292
56   /   TF1N Final Report




             i.    Success will be measured when 1)
                   the Committee is stood up (1-3 months);           Topic: Form Management advisory
                   2) the Committee produces a consolidated          groups (MAGs) (5.8)
                   database or list of Navy asset names
                   (3-6 Months); 3) when the Committee
                   provides an overview of the current health
                   of the Navy’s body of asset names, including    PROBLEM STATEMENT
                   any names which are currently problematic       Lack of direct feedback from MAGs or similar groups
                   and a recommendation on how to upgrade          such as employee readiness groups (ERGs) or
                   them (6-9 months); 4) when current policies/    affinity groups potentially limit I&D efforts and limits
                   instructions are updated to reflect the         opportunities to advise leadership on related diversity
                   makeup of the Committee and the                 challenges.
                   expectations for future responsibilities and
                   authorities (6-12 months); and 5) When the
                   CNO and Secretary of the Navy (SECNAV)          Recommendations
                   make asset naming decisions based on the        MAGs are informal entities that provide non-binding
                   current body of Navy asset names and            strategic advice to management. The intent is for MAGs
                   consideration of a broad range of possible      to serve as an information resource and feedback
                   names that reflect diversity and inclusion      capability to the Chief Inclusion and Diversity Officer or
                   (6-12 months).                                  designated representative. MAGs will function similar
             ii.   Following the Committee’s work to create        to employee resource groups. The recommendations
                   a comprehensive list or database, efforts       and inputs provided by the various MAGs will be used
                   must be taken to keep the list up to date.      to bolster I&D efforts, improve culture and better
                   That sustainment review can be ongoing or       advise leadership from multiple perspectives.
                   periodic (yearly or 5-10 years). As the list/
                   database is a living document, updates
                   must be made as new names come                  Supporting Information
                   online. Updates could be submitted              Increased involvement; increased information sharing;
                   through the OPNAV staff for updating or a       leverage trending data
                   stakeholder from the committee could
                   be assigned this responsibility as a running
                   requirement.


         Supporting Information
         While OPNAVINST 5030.12H requires installation
         commanders to develop and maintain lists of streets,
         facilities and structures named after persons, there
         is no additional process set out in the instruction for
         consolidated or periodic review of such lists.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 82 of 292
                                                                                                Recommendations /      57




Topic: Echelon 2 Commanders Take
deliberate action to showcase and recognize
the Navy’s Diverse Culture and History (5.9)


PROBLEM STATEMENT
Many Navy buildings, such as Navy museums,
headquarters (HQ) buildings, Learning Centers,
etc., have very few images or heritage displays
showcasing accomplishments and contributions of
underrepresented demographics, despite the gains
in diversity and notable achievements in the 20th and
21st centuries.


Recommendations
Echelon 2 Commanders take deliberate action to              Topic: Ensure capability to monitor race,
showcase and recognize the Navy’s diverse culture           ethnicity and gender of service members subject
and history. In addition, NHHC should reach out             to non-judicial punishment actions (5.10)
to non-Navy-run Naval Museums to highlight the
importance of showcasing and recognizing Navy’s
diverse culture and history.                              PROBLEM STATEMENT
As an additional part of this recommendation,             Navy lacks a robust, updated and electronic capability
Navy should review the feasibility to produce a           to monitor race, ethnicity and gender of service
documentary on the career and contributions of            members subject to NJP actions.
Chaplain Thomas David Parham Jr., who served
from World War II to 1964 and was the first African
American promoted to the rank of Navy Captain. Both       Recommendations
the Chaplain Corps and the Navy will benefit from
a well-done documentary on his groundbreaking             Recommend Office of the Judge Advocate General
service. It could be a powerful tool for recruiting and   (OJAG) track and publish statistics to ensure there
retention, not just among chaplains but for all Navy      are no disproportionate impacts to underrepresented
communities.                                              communities regarding similar offenses. Purchase
                                                          system to ensure proper tracking. All Navy Message
                                                          (ALNAV) 090/20 actions is an interim step in this
Supporting Information                                    process.

For young people that consider service in our Navy,
for Sailors that currently serve, and for our veterans    Supporting Information
and the American public, history that is celebrated
and is perennially on display in US Navy museums          Analyze applicable data to assess to what extent
and Naval Installations reflects our culture and the      racial, ethnic or gender disparities exist. This will lead
value we place on the accomplishments of those who        to increased transparency and improved awareness
represent the best in our ranks and our nation.           of leadership.
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 83 of 292
58   /   TF1N Final Report




         Topic: Evaluate changes to milpersman
         1910-138 (minor disciplinary infractions) And
         Milpersman 1920-140 (Pattern of misconduct)                       Allowing a Sailor to
         (5.11)                                                            transfer to another
                                                                              unit following
         PROBLEM STATEMENT                                                  disciplinary action
         Under MILPERSMAN 1910-138, members may be                         provides the member
         processed for separation based upon a series of at
         least three, but not more than eight, minor violations of           an opportunity to
         the Uniform Code of Military Justice (UCMJ), provided             reinvigorate morale.
         five criteria are met. First, none of the minor violations
         could have resulted in a punitive discharge. Second,
         the offenses must be documented in the member’s              Review ability to assess racial and gender disparities
         service record. Third, the offenses have occurred            in the Navy’s military justice system.
         during the member’s current enlistment. Fourth, the
         member must have been disciplined by one NJP.                Assess NPC’s ongoing effort to evaluate changes to
         Finally, the member must have violated a NAVPERS             the MILPERSMAN that would require commands to
         1070/613 warning or other form of counseling.                report every nonjudicial punishment and summary
         Under MILPERSMAN 1910-140, members may                       court-martial using a NAVPERS 1070/613 form.
         be separated when, during the current enlistment,            Continue collaboration with OJAG to revise the
         they have two or more NJPs, courts-martial or civil          Quarterly Criminal Activity Report (QCAR) instruction
         conviction (or combination thereof). Members may             to require General Court Martial Convening
         not be processed under this article unless they have         Authorities (GCMCAs) to report significantly more
         been given the opportunity to correct their deficiency.      information for every summary courts-martial and
         Specifically, members may not be processed unless            nonjudicial punishment completed in the previous
         they violated a NAVPERS 1070/613 or other forms of           quarter, including data on the race, ethnicity and
         counseling previously mentioned. Following an NJP,           gender of every accused (and victim, if applicable).
         the current policy does not require the commanding
                                                                      Evaluate the ability to record NJP and summary
         officer to issue a NAVPERS 1070/613 warning or
                                                                      courts-martial results in the next generation tracking
         other form of written counseling. In the case where
                                                                      system, which is currently under development. This
         the command issues a NAVPERS 1070/613 warning
                                                                      system will not be operational until the end of 2021 or
         following a second NJP, the member is given another
                                                                      the beginning of 2022.
         opportunity to correct the deficiency and immediate
         processing for pattern of misconduct is inappropriate.       Including specific rehabilitation metrics, such as
         If the member has less than 180 days of service, an          timelines to correct a deficiency and the requirement
         entry level separation may be appropriate.                   to consider the length of time between the initial
                                                                      counseling and subsequent action to address a
                                                                      deficiency, provide additional safeguards against
         Recommendations                                              personal bias and disparate outcomes. These
                                                                      measures would allow leadership to consider the
         Review MILPERSMAN 1910-140 and 1910-138 for
                                                                      Sailor as a whole person and more accurately identify
         potential updates while benchmarking comparable
                                                                      potential for future naval service.
         service policies for additional recommendations or
         best practices. Additionally, the following actions          Leverage inter-unit transfers following disciplinary
         should be considered and/or continued:                       actions. Defining specific rehabilitative measures,
                                                                      in addition to the counseling measures under the
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 84 of 292
                                                                                                Recommendations /       59




current policy, provides greater opportunity for            Topic: Tycoms develop an adjunct recruiter
members to improve their chance of retention                program to support outreach and
and assists leadership in facilitating rehabilitation.      awareness in underrepresented communities
Allowing a Sailor to transfer to another unit following     in direct support of NRC (5.12)
a disciplinary action provides the member an
opportunity to reinvigorate morale, transform
problematic behaviors and places an additional            PROBLEM STATEMENT
safeguard against disparate treatment. This added         To prevail in conflict, we need a Navy that draws on the
measure can more clearly establish that despite           diverse resources, skills and talents of all our people.
attempts to rehabilitate the Sailor, further effort is    In order to recruit the best and brightest among us, we
unlikely to succeed.                                      need to attract talent from all educational institutions
Improve coordination with the Command Resiliency          around the country. Earlier this year, the Surface
Teams (CRT). Coordination with the CRTs may               Force partnered with NRC to pilot a new program
improve retention and reduce the potential for            to attract and recruit talented candidates of diverse
disparate treatment of Sailors from suspect classes       backgrounds for the Navy officer corps. The purpose
and diverse backgrounds. CRT members can                  of this program was to help educate diverse applicants
participate in rehabilitation in a number of ways, such   on all aspects of the Navy, especially highlighting
as providing input on behalf of a Sailor during the NJP   unique experiences and career opportunities.
and Administrative Separation (ADSEP) processes,
as well as providing services to mentor Sailors with
problematic behaviors or histories of misconduct.         Recommendations
This would allow for a representative outside of the      Recommend other TYCOMs adopt this model specially
Sailor’s chain of command to ensure the Sailor has        targeting junior officers and enlisted members on
adequate support during the rehabilitation process        shore duty to support NRC efforts in attracting diverse
and adds an additional layer to identify processing       applicants. Once selected for the program, NRC can
that may be motivated by personal bias.                   provide tailored training highlighting key outreach efforts
                                                          to support the overall recruiting mission. Members
                                                          will be required to support a NTAG at least quarterly,
Supporting Information                                    sharing opportunities and focus on key contact points
Trending data; Rehabilitation metrics; NJP Data;          in their specific communities. This could include
Impacts of policy updates; and Impacts of inter-unit      visits to local centers of education, Middle Schools,
transfers following disciplinary actions                  High Schools and Colleges/Universities. Example: A
                                                          flight instructor could fly cross country to a specific
                                                          location and coordinate with the local NTAG to raise
                                                          awareness of opportunities in Naval Aviation. Due
                                                          consideration should be given to providing a stipend
                                                          per engagement. Upon successful completion of the
                                                          program (approx. two years), a service record entry
                                                          will be made and we will explore members receiving
                                                          a board stamp indicating “DIVERSITY ADJUNCT
                                                          RECRUITER” for all future boards.
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 85 of 292
60   /   TF1N Final Report




         Topic: Leverage flag management
         tracker (5.13)

         The Flag Wardroom consists of over 250 active and
         reserve officers O-7 through O-10. Although, Flag
         Matters does an exceptional job tracking and detailing
         officers for key and competitive assignments, specific
         management and awareness of underrepresented
         demographics can be left to specific community
         planning. In an effort to increase awareness of talent,
         timing and career implications, TF1N recommends
         that Flag Matters produce a detailed matrix to provide
         senior leaders a snapshot of key milestones and
         timelines across the entirety of junior Flag Officers in
         O-7 and O-8 billets.
                                                                      Topic: Improve faculty diversity within
                                                                      graduate and pme institutions (NWC and
                                                                      Naval Post-graduate school NPS) (5.15)
         Topic: Leverage AI to minimize bias
         in selection board precesses (5.14)
                                                                    PROBLEM STATEMENT
                                                                    Improve faculty diversity within graduate and PME
         PROBLEM STATEMENT                                          institutions (NWC and NPS) to better reflect the
         Leverage the use of AI and Machine Learning                diversity of the nation. Diversity across faculty
         solutions, combined with training and leadership           provides all students a unique opportunity to grow and
         development, to mitigate human biases. These               learn from different perspectives in an environment
         systemic and unintended biases are the primary             that’s representative of the Sailors we lead and the
         hurdle for building a diverse and inclusive culture and    nation we serve.
         optimizing performance of its officers and teams.

                                                                    Recommendations
         Recommendations                                            Take deliberate steps to recruit, retain and promote
         Pilot the use of AI/Machine Learning to support the        diverse faculty and senior administrators at our
         centralized selection process.                             graduate and PME institutions.



         Supporting information                                     Supporting information
         Demographic data, Trending data, Promotion                 A more diverse faculty provides additional role
         Statistics                                                 models and creates a more engaging environment
                                                                    for students. Deliberate recruiting actions open the
                                                                    aperture and increase awareness of opportunities for
                                                                    those in academia to serve our nation and build future
                                                                    leaders.
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 86 of 292
                                                                                              Recommendations /     61




Topic: Establish Unit-level coe award to
incentivize excellence in coe initiatives
and programs (5.16)                                            Unit culture has
                                                                a direct impact
PROBLEM STATEMENT                                                on readiness
Unit culture has a direct impact on readiness and
mission accomplishment. Recognition is an important               and mission
part of acknowledging exemplars of the culture
we want units to develop and foster. Currently,
                                                               accomplishment.
there isn’t an award that celebrates units that have
fully embraced the COE ideals and displayed the
Signature Behaviors necessary for Navy units to
optimize warfighting performance.
                                                            Topic: Designate an advisor in opnav n17
                                                            for women’s policy issues informed by a
Recommendations                                             mag (5.17)
Develop a unit-level award (either stand-alone, or as
part of Retention Golden Anchor Award or Battle E
Award) to incentivize unit adoption and success in        PROBLEM STATEMENT
COE programs. The criteria will be compiled from all
areas that support and develop a strong Navy culture.     Given the previous disestablishment of the Office
Nomination packages will require quantitative and         of Women’s Policy, there was significant feedback
qualitative data to support submissions as well as        during focus groups and listening sessions that Navy
examples that show a strong and inclusive culture at      lacked an identifiable focus point for issues affecting
work.                                                     the service of women in the Navy.



Supporting information                                    Recommendations
Data that will support a unit’s award package will        Recommend designating an advisor in OPNAV N17
include but not be limited to: Sailor re-enlistment and   for Women’s Policy issues as part of the I&D branch.
officer retention rates, favorable command climate/       That advisor would receive input from a MAG ideally
culture surveys, outstanding community engagement         reflecting the diversity present in our Navy to ensure
and outreach, limited NJPs, examples of diverse and       proper representation.
inclusive daily organizational practices, examples of
a strong bystander intervention culture, examples of
mentorship for all Sailors, examples of respect for all   Supporting information
members of the team and outstanding performance           Develop a draft charter for the MAG within 90 days
on unit-level mission critical evaluations.               to CNP. Once designated, the MAG could look at
                                                          issues such as uniform apparel, footwear, grooming
                                                          standards, parenting policy and other miscellaneous
                                                          recommendations.
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 87 of 292
62   /   TF1N Final Report




                                                                     nutritional experts is needed to combat diet-related
         Topic: Review Health and Health-                            disparities in the Force.
         care disparities (5.18)


         PROBLEM STATEMENT                                                 Strengthening the
         Racial and ethnic disparities in health and health care
                                                                        nation’s workforce by
         services are well documented, and their eradication              improving cultural
         is one of the prime targets of Healthy People 2020.                competency and
         Healthy People 2020 defines a health disparity as a,
         “particular type of health difference that is closely          increasing diversity is
         linked with social, economic, and/or environmental            essential in meeting the
         disadvantage”. Health disparities adversely affect
         groups of people who have systematically experienced
                                                                       health and service needs
         greater obstacles to health based on their racial or          of communities of color.
         ethnic group, religion, socioeconomic status, gender,
         age, mental health, geographic location, sexual
         orientation or gender identity, cognitive, sensory, or
         physical disability or other characteristics historically   Recommendations
         linked to discrimination or exclusion.”                     Develop multidisciplinary Health Disparity workgroup
                                                                     and board which will be responsible for:
         Research confirms that health disparities exist.            1. Developing a framework for action.
         However, a full understanding of the antecedents            2. Identify and monitor metrics and indicators of
         of healthcare disparities impacting Navy personnel             health equity.
         are not well known. The key to reducing inequities
                                                                     3. Establish best practice approaches to reduce
         in healthcare rest with our ability to dismantle and
                                                                        health disparities and achieve health equity
         neutralize systems, processes and policies that
                                                                        capacity to implement, evaluate and sustain
         initiate and sustain inequities and improve the
                                                                        programs & policies that promote health equity
         diversity of the health care workforce. Additionally,
         there are diet-related disparities that impact Sailor       4. Support training and professional development
         physical and mental wellness, health and the ability to        to address health disparities and culturally
         deploy. These disparities are defined as differences in        competent care
         dietary intake, dietary behaviors and dietary patterns      5. Serve as a proactive vs reactive feeder board for
         in different segments of the population, resulting often       addressing issues that impact health equity
         in poorer dietary quality and inferior health outcomes
                                                                     6. Fully Implement Culturally and Linguistically
         for certain groups that can provide unequal burden
                                                                        Appropriate Services and Education for
         in terms of disease incidence, mortality, survival
                                                                        Healthcare Providers
         and even quality of life. Factors that contribute to
         diet-related disparities among Sailor populations           7. Promote Organizational Collaborations to
         are complex and include individual, environmental,             Exchange Beneficial Knowledge and Resources.
         social, cultural and behavioral attributes. Therefore,      8. Recruit, Promote and Retain a Diverse Healthcare
         a cultural shift towards primary prevention to address         Staff
         these factors and expand the influence of the
                                                                     9. Conduct research on the impact of health
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 88 of 292
                                                                                             Recommendations /     63




                                                         patient outcomes. Putting aside issues of equity and
                                                         fairness for the moment, at least four reasons can be
                                                         put forth for attaining greater diversity in the health
                                                         care workforce: (1) advancing cultural competency,
                                                         (2) increasing access to high-quality health care
                                                         services, (3) strengthening medical research, and
                                                         (4) ensuring optimal management of the health care
                                                         system.
                                                         Strengthening the nation’s workforce by improving
                                                         cultural competency and increasing diversity is
                                                         essential in meeting the health and service needs of
                                                         communities of color.
    disparities associated with the following areas:     We need to build on momentum of TF1N:
•   Inflammatory hair disorders, i.e., PFB / traction    Ensure that I&D actions are pervasive in working
    alopecia                                             groups, habitual in nature and forces a positive
•   Racial Trauma assessment /treatment and training     culture shift.
    for Mental Health/Behavioral Health providers        •   Seek and support non-traditional service
•   Sickle cell accession screening and treatment            experiences to bring in fresh perspectives, more
                                                             diverse skillsets and backgrounds into the Navy’s
•   Body fat standards (age, gender and race)
                                                             most senior ranks and in its mid-level civilian
•   Variation in resignation and accession standards         leaders.
    for officer/enlisted and reservist
                                                         •   Ensure that people of all races have equal access
•   Prevention and Wellness (Obesity on Periodic             to promotional opportunities in the Navy as
    Health Assessment (PHA)), Muscular skeletal              well as training and educational opportunities,
    injuries                                                 focusing on objective skill and performance
•   Nutrition and diet                                       criteria and removing inherent biases where
                                                             possible.
•   Access to Infertility service
                                                         •   Similar to OPNAV N17 for military, establish
•   Pain management
                                                             a dedicated cadre of personnel charged with
•   Service members and Limited Duty (LIMDU) /               proactively analyzing the health and demographics
    transition between DOD and the Department of             of the civilian cadre leveraging the holistic
    Veterans Affairs (VA)                                    approach of closely tracking and monitoring the
•   Rank and ageism                                          demographics of the civilian workforce, not just
                                                             within select commands, but across the Navy
10. Identify and develop a separate plan of action for       where minority representation, particularly in the
    primary prevention to enhance wellness in the            more senior ranks, remains a shortcoming.
    force, which goes beyond disease management
    and focuses on human performance.                    •   Ensure the strategic messaging and imperative for
                                                             I&D has broad distribution, clear accountability,
                                                             and aligned incentives to the overall Navy COE.
Supporting Information
I&D efforts contribute to a ready and relevant
healthcare workforce, a more welcoming and
supportive environment for patients, and better
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 89 of 292
64   /   TF1N Final Report




         Topic: Institutionalize NJOC as a MAG for
         the chief of naval personnel (5.19)


         PROBLEM STATEMENT
         Currently, the Navy does not have a coherent
         feedback loop to gather recommendations and
         suggestions from JOs. JOs make up just over 75%
         of the commissioned officer corps. NJOC was built
         (by JOs) based on a model organization in the Public
         Health Service. Its mission is to establish three
         things concurrently: a robust peer-to-peer network
         to leverage junior officer insights, a pipeline to align
         input with stakeholder requirements and a culture             Topic: Establish ongoing partnership with
         that prepares junior leaders for future responsibilities.     civilian counterparts to ensure integrated
         NJOC conducted initial projects for both ONR                  and sustained navy i&D approach (5.20)
         (working with NavalX) and for OPNAV N1 as part of
         TF1N.
                                                                     Our DON civilian workforce of over 220,000 stands
                                                                     with our uniformed Sailors day after day ensuring our
         Recommendations                                             Navy Team is ready to successfully execute missions.
                                                                     While our civilian teammates are present today in
         Establish a formal relationship (through a charter) with
                                                                     ongoing listening sessions and were clearly impacted
         OPNAV N1/CNP
                                                                     by the incidents early this summer, the majority of
                                                                     our recommendations are focused on our uniformed
                                                                     personnel.
         Supporting information
                                                                     We realize that culture and people are inextricably
         As JOs feel more connected and included, we should
                                                                     linked and in order to get after some of the unique
         see increased manning and performance due to
                                                                     issues across our Navy affecting our civilian
         increased feelings of inclusion and increased morale.
                                                                     teammates, DON should consider standing up a
         We should also see increased JO retention and
                                                                     civilian SES-led Task Force as a follow-on action to
         decreased unplanned loss rates.
                                                                     analyze ongoing concerns not captured in the TF1N
                                                                     review and to ensure continued progress towards an
                                                                     inclusive Navy Total Force. Clearly, recommendations
                                                                     that improve culture and connectedness will also
           recommendations that                                      improve the integrated environment in which our
             improve culture and                                     civilians work and interact with uniformed personnel
          connectedness will also                                    as they provide continuity in support of Navy
                                                                     readiness.
           improve the integrated                                    Below is a list of recommendations captured in the
            environments in which                                    course of TF1N efforts which can be incorporated
              our civilians work.                                    as part of future follow-on efforts to further support
                                                                     NAVADMIN 051/20, Navy’s I&D goals.
           Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 90 of 292
                                                                                              Recommendations /     65




       The following TF1N recommendations will enhance culture and directly impact our
       civilian teammates:
       •    Updating Core Values by adding “and Respect”
       •    Continuing Listening Sessions
       •    Designate an advisor in OPNAV N17 for Women’s Policy issues informed by a MAG
       •    Restarting NLDF briefs
       •    Formalizing I&D training throughout a Sailor’s career
       •    Mentoring Pilot Program with SES/General Schedule (GS) civilians
       •    Enhancing STEM Outreach in K-12
       •    Developing partnerships with HBCUs/MSIs
       •    Countering Hate Speech
       •    Updating CNO’s professional reading list
       •    Sourcing a Special Assistant for Diversity at NPC
       •    Establishing MAGs
       •    Improving Faculty Diversity at Naval PME Institutions



Leverage an integrated approach to improving I&D in             policy issues, recognizing and including both
military and civilian acculturation:                            uniformed personnel and civilians in awards and
•   To ensure alignment and consistency of our Navy             perspectives and sitting on civilian hiring and
    culture, provide new civilian employees with                promotion panels.
    Navy acculturation training and awareness of the        •   Seek out a variety of speakers who can give
    Navy I&D strategy.                                          new perspectives to the workforce and engage
•   Train Sailors and civilians on the important                leaders in real conversations that challenge and
    distinctions between EO and diversity. Many                 uncover underlying assumptions and beliefs.
    civilians will be familiar with EO as complying with    •   Develop consistent methods and measures
    legal requirements to ensure equality based on              to assess diversity and inclusion in a unit (e.g.
    protected classes, but it will be equally important         Division, Branch and Team) that includes both
    to tie ongoing Navy I&D efforts as a strategic              military and civilians over an extended period
    warfighting readiness imperative across the                 of time to track what I&D initiatives are working
    board to ensure impactful approaches toward                 and found to be more effective at improving
    our Navy culture.                                           recruiting, retention and promotions and overall
•   Provide tailored and more in-depth training for             organizational command climate and long-term
    supervisors and leaders of military and civilian            performance.
    staff to help navigate potentially complex
    and ambiguous “gray area” conversations
    and provide education on the nuances of
    military and civilian policies such as military
    fitness reports and civilian performance
    reviews and bonuses, administrating legal and
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 91 of 292
66   /   TF1N Final Report




                                                                  The recommendations below are being developed in

         WAY FORWARD                                              support of this ongoing effort:
                                                                  •   Transition TF1N LOEs as supporting Lines of
                                                                      Operation (LOOs) under COE LOE #4 (Inclusion
                                                                      & Diversity)
         Next Steps                                               •   Research models, approaches and best practices
         TF1N was founded during a time of national crisis and        to potentially link TF1N findings and current I&D
         has emphasized Navy’s expanding efforts to invest            Navy initiatives to identify data-driven solutions to
         in I&D-related efforts. In doing so, we increase the         command climate issues
         propensity of members of diverse ages, genders,
                                                                  •   Explore transition of Sailor 2025 into an enduring
         and ethnicities entering and continuing service as
                                                                      People and Culture Strategy which will serve as
         members of our One Navy Team. TF1N provided
                                                                      an umbrella for all I&D-related efforts within the
         an opportunity to focus organized resources and
                                                                      Navy
         amplify diverse perspectives to develop strategies
         to address systemic inequities within the Navy. To
         ensure TF1N recommendations are executed and
         enduring initiatives are reassessed and updated
         continuously, stakeholders who led the development
         of the TF1N LOEs must continue to lead with                   We will be able to
         accountability and measure the success of selected
         TF1N recommendations from this report.
                                                                      succeed and, truly,
         Navy I&D efforts will continue to focus, not only on
                                                                      be more lethal and
         demographics, but also assessments to barriers
         to inclusion that affect our Sailors. Additionally,
                                                                      ready if all sailors
         while a focus has been made on diverse and                     believe they are
         intersecting identities via TF1N recommendations,
         that recognition alone is not sufficient to improve
                                                                        important to the
         readiness or effectiveness. Moving forward, as the              team’s success.
         Navy implements these recommendations and
         evaluates success, we must continue to analyze
         our environment and develop new I&D-related
         reform measures that adapt to ever-changing shifts
         in culture. We will be able to succeed and, truly, be    COE Campaign Plan, Primary Prevention
         more lethal and ready if all Sailors believe they are    Strategy and TF1N LOEs
         important to the team’s success.
                                                                  The COE is a Navy-wide approach, led by the Fleet
         As we transition to sustain the TF1N framework,          (USFF, CPF, CNE/CNA), to achieve warfighting
         leaders will continuously analyze our Navy systems,      excellence by fostering mental, physical, spiritual and
         climate and culture to ensure differences are valued     emotional toughness; promoting organizational trust
         and that diversity of thought within the organization    and transparency; and ensuring connectedness to
         is promoted. The newly embedded relationship             every Sailor, civilian and family member throughout
         between TF1N and the COE Campaign Plan will              their Navy journey.
         support the organization in institutionalizing I&D and
                                                                  COE enhances Navy’s focus from primarily response
         further accelerating COE efforts.
                                                                  (secondary and tertiary prevention) to include
                                                                  primary prevention using a public health model
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 92 of 292
                                                                                                      Way Forward /    67




approach. Integrated within each of the COE LOEs           to be tracked across a Sailor’s career lifecycle to
we utilize tools for prevention-driven work, including     better institutionalize I&D within the Navy at every
leveraging data analytics, utilizing a behavior learning   level. As we progress in our efforts, there are gaps in
continuum, and implementing evidence-based and             knowledge we need to fill in order to more effectively
evidence-informed programs, policies, practices,           illuminate incidences of bias and discrimination that
and processes. The proactive, preventive focus             may be impacting the accession and retention of our
includes a shift in our messaging to focus not only on     Sailors.
the mitigation and reduction of destructive behaviors,     One of the largest blind spots in data collection relates
but also the promotion and reinforcement of positive,      to a Sailor’s educational opportunities and whether
desired, Signature Behaviors that our Sailors and          they are granted access to support that empowers
leaders are expected to emulate.                           them in our inclusive and diverse Navy. Tracking take
These efforts facilitate the achievement of the COE’s      rates and evaluating course completion serve as good
core themes of Toughness, Trust and Connectedness          indicators of our culture, but they do not provide the
and ultimate prevention outcomes of more resilient         qualitative information about why individuals are not
Sailors, reduced unplanned losses, enhanced team           accessing via certain pipelines in the first place, and
performance and a more lethal workforce.                   this is a gap where Navy can grow its data knowledge
                                                           and develop follow-on recommendations.

Ongoing Data Gathering
Our people are the center of everything we do.
Moving forward, the data we collect will continue
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 93 of 292
68   /   TF1N Final Report




         Closing
         Early in our nation’s history we adopted the motto, “E Pluribus Unum” or “Out of Many, One.” It was fitting then,
         and the sentiment still rings true today. Our nation of over 330 million individuals is made up of a multitude of
         races, ethnicities, genders, religions, sexual orientations and more. And we value them all. Why? Because that’s
         what right looks like, and that’s what we teach our young people.
         In our Navy, like society, I&D must never become an afterthought. It’s true to who we are. With all of our ills,
         injustices, and sometimes broken promises. We will still rise and stand shoulder to shoulder against any foe,
         knowing we will win. We will win because of our shared beliefs and common ideas – an oath to protect and
         defend the constitution of the United States of America against all enemies foreign and domestic. A shared
         belief that we are all created equal and that we are better together. A shared belief in innovation, toughness and
         adaptability. A shared belief so strong that we are willing to give our lives for the freedoms and rights of future
         generations.
         This TF1N journey has been one of discovery, self-reflection and sometimes unspoken truths. Though humbling
         and disappointing at times, it has been a genuine and determined effort to make our Navy Team better. In
         our listening sessions, the conversations always centered on six key themes: respect, empathy, skepticism,
         training, accountability and the silence of leadership. In those sessions, we found pain, truth, unity, friends and
         our shipmates. We also found who we could ultimately become for the good of our Navy and our nation.
         Our recommendations have been well vetted, key initiatives red-teamed and the temporal aspect of when to act
         considered. We concluded that to do nothing is unacceptable. The recommendations might not all be right, but
         they are recommendations, nonetheless. Recommendations were developed that recognize some systemic
         inequalities and offer solutions to help our Navy become a more lethal and well-connected warfighting force.
         Well-connected in a sense that we know who we are and who is standing next to us in war and in peace. Yes, we
         know our shipmates…we see them, we hear them, we trust them and we respect them.
         Accountability for the TF1N effort will be key and rest with all of us, from E-1 through O-10 and contractor
         through SES. Ultimately, the specific actions, metrics and outcomes will be tracked and monitored via the COE
         Campaign Plan and briefed to the COE Governance Board to ensure enduring support for years to come. The
         inclusion in the COE campaign plan is truly the key to effecting enduring change and long-term sustainability.
         As the Director and Senior Enlisted Advisor of TF1N, we envision three things for our Navy Team going forward:
         1. A renewed sense of who we are as a people, as shipmates and as a Navy.
         2. A profound understanding of the word “respect.” Respect for self, for service and our fellow shipmates.
         3. Action that improves readiness across the force while unleashing the full potential, talents and skills of all
            who serve. We owe that to the scores of young people raising their hands each day, making a choice and
            following a call to serve.
         Finally, when it comes to inclusion and diversity we can choose to be either committed or involved. We choose
         commitment.




                      H.L. PHillips                                                    A. Holsey
     Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 94 of 292
                                                                     Way Forward /   5




         Task Force One Navy
                               RESPECT




HONOR                                                               COURAGE




                            COMMITMENT




OUR NAVY TEAM - NAVIGATING a Course TO TRUE NORTH



                              APPENDICES
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 95 of 292
70   / TF1N Final Report




       TABLE OF CONTENTS
       Appendix A: NAVADMIN 254/19

       Appendix B: TF1N Charter

       Appendix C: Department of Defense Board on Diversity and Inclusion (DBDI) Charter

       Appendix D: Necessary Conversations Guide 2.1

       Appendix E: TF1N and Intermediate Flag and Executive Leadership Course of 25 Nov
       2020

       Appendix F: Inclusion and Diversity (I&D) After Action Report of 5 Oct 2020

       Appendix G: Current State Statistics

       Appendix H: Secretary of Defense Memorandum of 1
       9 Jun 2020

       Appendix I: Secretary of Defense Memorandum of 14 Jul 2020

       Appendix J: NAVADMIN 247/20

       Appendix K: BUPERNOTE 1401 of 9 Sep 2020

       Appendix L: Secretary of Defense Memorandum of 16 Jul 2020

       Appendix M: NAVADMIN 203/20

       Appendix N: Secretary of Defense Memorandum of 31 Aug 2020

       Appendix O: I&D Goals and Objectives Glossy (Screen Shot Cover with Link to Doc)

       Appendix P: NAVADMIN 051/20

       Appendix Q: USFFC RMG 051941ZOCT20 - UPDATE TO NAVSUP P-487 (EXTENT OF SHIPBOARD
       BARBER SERVICE GUIDANCE)

       Appendix R: NAVADMIN 025/20

       Appendix S: DBDI Executive Summary

       Appendix T: NAVADMIN 188/20
       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 96 of 292
                                                                          Appendices   /   71




                                    NAVADMIN 254/19,
APPENDIX A:                         Culture of Excellence
UNCLASSIFIED//
ROUTINE
R 121637Z NOV 19 MID510000690389U
FM CNO WASHINGTON DC
TO NAVADMIN
INFO CNO WASHINGTON DC
BT
UNCLAS

NAVADMIN 254/19

MSGID/GENADMIN/CNO WASHINGTON DC/N1/NOV//

SUBJ/CULTURE OF EXCELLENCE//

REF/A/DOC/CNO/17DEC18//
REF/B/DOC/CNO/07MAY19//
REF/C/DOC/CNO/27SEP16//
REF/D/DOC/CNO/07APR18//
NARR/REF A IS DESIGN FOR MAINTAINING MARITIME SUPERIORITY VERSION 2.0.
REF B IS NAVY LEADER DEVELOPMENT FRAMEWORK VERSION 3.0.
REF C IS NAVY CIVILIAN WORKFORCE FRAMEWORK VERSION 1.0.
REF D IS CULTURE OF EXCELLENCE BOARD OF GOVERNANCE CHARTER.//

RMKS/1. Mission one for every Sailor, active and reserve, uniformed and
civilian, is the operational readiness of todays Navy. That means being
ready both in our personal and professional lives. And part of that
readiness, as members of the profession of arms, is holding ourselves to high
ideals of integrity and service.

2. Sailors are our asymmetric advantage in a complex and changing
environment. Optimizing our Navy teams performance requires us all to drive
toward a Culture of Excellence, a culture focused on the high ideals espoused
in our Core Values of Honor, Courage, and Commitment. In order to more
effectively recruit, develop, manage, reward, and retain the forces of
tomorrow, aiming to simply avoid doing the wrong thing is too low a bar; we
must actively pursue that which is right. When Sailors feel included,
respected, and empowered, they will be more ready to win wars, deter
aggression and maintain freedom of the seas.

3. This is not a tagline.   This is a call to action, and we must begin
today.

4. To reach this vision of cultural excellence, the Navy must evolve beyond
simply responding to incidents after they occur.
Reactive strategies demand large amounts of our collective time and effort to
target a relatively small population. Instead, we must proactively prevent
incidents from occurring in the first place. We are hard at work developing
the necessary guidance and tools to do so.
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 97 of 292
72   / TF1N Final Report




            a. Soon, you will receive the following:
               (1) Communication guides for senior and deckplate leaders to further
       explain our way ahead.
               (2) Information on upcoming pilot programs designed to empower unit-
       level commanders and their Command Resilience Teams to make data-driven
       decisions to get to the left of destructive behaviors.

       5. Over the last 6 months, we have been reviewing, simplifying and aligning
       our policies and programs that are duplicative or ineffective. Before we ask
       you to do anything different, we will leverage this simplification to give
       deckplate leaders time back for training, qualifications, education, and
       everything else that promotes combat readiness. We will continue to seek
       your feedback on these efforts.

       6. Navy senior leaders, myself especially, are listening. We are committed
       to promoting your success. You will soon see a follow-up 12 Star message
       from our Fleet Commanders, highlighting our unified commitment to signature
       behaviors.

       7. This NAVADMIN will remain in effect until superseded or canceled,
       whichever occurs first.

       8.   Released by Admiral M. M. Gilday, Chief of Naval Operations.//

       BT
       #0001
       NNNN
       UNCLASSIFIED//
   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 98 of 292
                                                                  Appendices   /   73




APPENDIX B: TASK FORCE ONE NAVY CHARTER
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 99 of 292
74   / TF1N Final Report
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 100 of 292
                                                                       Appendices   /   75




APPENDIx C: NAVADMIN 025/20
UNCLASSIFIED//
ROUTINE
R 292208Z JAN 20 MID110000360951U
FM CNO WASHINGTON DC
TO NAVADMIN
INFO CNO WASHINGTON DC
BT
UNCLAS

NAVADMIN 025/20

PASS TO OFFICE CODES:
FM CNO WASHINGTON DC//N1//
INFO CNO WASHINGTON DC//N1//
MSGID/GENADMIN/CNO WASHINGTON DC/N1/JAN//

SUBJ/RE-ESTABLISHING NAVY LEADER DEVELOPMENT FRAMEWORK BRIEFS//

REF/A/DOC/CNO/7MAY2019//
REF/B/NAVADMIN/CNO/9MAR2017//
NARR/REF A IS CNO DOCUMENT, NAVY LEADER DEVELOPMENT FRAMEWORK 3.0.
REF B IS NAVY LEADER DEVELOPMENT IMPLEMENTATION PLAN.//

RMKS/1. The Navy Leader Development Framework (NLDF) 3.0 outlines how the
U.S. Navy will develop leaders who demonstrate operational excellence
(competence), high ideals of integrity and service (character) at every level
of seniority, all the while expanding and enhancing trust and confidence
(connections). This NAVADMIN provides direction for implementation of
reference (a) and cancels previous guidance in reference (b).

2. Renewed Great Power Competition requires we accelerate our leader
development efforts. Community leads, listed below, will update their
strategies and continuums to develop leaders up to the Command Senior
Enlisted Leader (CSEL) and major command levels.
Each community lead will brief their leader development continuum to the
Chief of Naval Operations (CNO) or Vice Chief of Naval Operations (VCNO)
semi-annually.

3. After 2 years of implementing the Leader Development Framework, there are
many best practices to discuss and share. The Naval War College (NWC), with
the assistance of the Naval Leadership and Ethics Center (NLEC), will
continue to support community leads and develop and maintain a strategy for
Navy-wide leader development beyond major command, with support from Flag
Matters (N00F). The Master Chief Petty Officer of the Navy (MCPON) will
maintain a strategy for CSEL development, with support from NWC. The 21st
Century Sailor Office (OPNAV N17), the lead for Inclusion and Diversity (I
and D), will provide I and D core competencies and goals and objectives,
which are required to be incorporated into all leader development strategies.
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 101 of 292
76   / TF1N Final Report




       4. Holistically, NLDF briefings will facilitate frank conversations between
       community leads and Navy leadership on how the latest in decision science and
       team development is employed across all three leader development lanes
       outlined in reference (a) and below. NLDF community briefs should
       incorporate the following to demonstrate progress in achieving both a Culture
       of Excellence and leader development outcomes:
           a. Competence: Producing operational experts
               (1) Community leader development strategy
               (2) Officer, enlisted and civilian leadership development continuum
               (3) Use of assessments to gauge leader development continuum
               (4) Community initiatives and way ahead
               (5) Efforts to integrate decision science into leader development
           b. Character: Espousing our Core Values of Honor, Courage and
       Commitment
               (1) Initiatives that demonstrate infusion of character building
       throughout a Sailors career progression
               (2) A focus on how inclusive leaders build better teams and make
       better decisions
               (3) Pursuits to develop ethical leaders
           c. Connection: Develop levels of common understanding and a sense of
       identity and belonging for team members
               (1) Community-specific I and D goals and objectives
               (2) Community demographic data: composition by rank, trends,
       promotion stats, career milestones and retention
               (3) Community best practices and challenges
               (4) Coaching, mentoring and advocacy efforts. Activities which also
       drive competence and character, and ultimately, higher team performance
               (5) Efforts to integrate human factors, primary prevention and
       Command Resilience Team fundamentals into leader development
               (6) Talent management efforts to deliberately track and develop high
       potential diverse talent, barriers to overcome to retain talent and
       initiatives to promote engagement

       5.  The following are designated community leads:
           a. Surface Warfare Community: Commander, Naval Surface Forces
           b. Submarine Community: Commander, Naval Submarine Forces
           c. Special Warfare Community: Commander, Naval Special Warfare Command
           d. Explosive Ordnance Disposal Community: Commander, Navy Expeditionary
       Combat Command
           e. Aviation Community: Commander, Naval Air Forces
           f. Human Resources Community: Senior Human Resources Flag Officer
           g. Engineering Duty Officer Community: Commander, Naval Sea Systems
       Command
           h. Aerospace Duty Officer Community: (AEDO/AMDO/AC URL) Commander,
       Naval Air Systems Command
           i. Public Affairs Community: Chief of Information
           j. Foreign Area Officer Community: Deputy, Chief of Naval Operations
       for Operations, Plans, and Strategy (N3/N5)
       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 102 of 292
                                                                        Appendices   /   77




    k. Information Warfare Community: Commander, Naval Information Forces
    l. Medical Community: Surgeon General of the Navy
    m. Judge Advocate General Corps: Judge Advocate General of the Navy
    n. Supply Corps: Commander, Naval Supply Systems Command
    o. Chaplain Corps: Chief of Chaplains
    p. Civil Engineering Corps: Commander, Naval Facilities Engineering
Command
    q. Reserve Component: Chief of Navy Reserve (N095)

6. The Leader Development Continuum Council (LDCC) for the Navy, led by the
President NWC, is an excellent forum to hold energized discussions on leader
development. The LDCC meets on a monthly basis and provides an opportunity
for community leads to share best practices and provide feedback on proposed
leader development strategies and programs.

7.  Points of contact:
    a. Leader Development Framework: Dean Margaret Klein (RADM (Ret.)),
College of Leadership and Ethics, Naval War College, (401) 841-3665/DSN 664,
or margaret.klein(at)usnwc.edu
    b. Culture of Excellence: RDML Philip Sobeck, Director, 21st Century
Sailor Office, at (703) 604-6340/DSN 664, or philip.e.sobeck(at)navy.mil

8. This NAVADMIN will remain in effect until superseded or cancelled,
whichever occurs first.

9.   Released by Vice Admiral John B. Nowell, Jr, N1.//

BT
#0001
NNNN
UNCLASSIFIED//
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 103 of 292
78   / TF1N Final Report




                                            Department of Defense Board on
       APPENDIX D:                          Diversity and Inclusion Charter
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 104 of 292
                                                               Appendices   /   79
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 105 of 292
80   / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 106 of 292
                                                               Appendices   /   81
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 107 of 292
82   / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 108 of 292
                                                               Appendices   /   83
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 109 of 292
84 / TF1N Final Report




                                           Diversity ABD Inclusion Final
      APPENDIx E:                          Report Executive Summary
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 110 of 292
                                                               Appendices   /   85
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 111 of 292
86   / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 112 of 292
                                                                Appendices   / 87
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 113 of 292
88   / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 114 of 292
                                                                Appendices   / 89
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 115 of 292
90 / TF1N Final Report




                                                                   Necessary Conversations Guide
      APPENDIX F:                                                  2.1




                                                                                                                   Oct 23, 2020
                                              Necessary Conversations 2.1
                                   ***This leadership listening manual is for guided discussions NOT training***


                    On June 30, 2020, the Chief of Naval Operations issued NAVADMIN 188/20 encouraging every Navy
                    leader to start a dialogue on race relations and have open and honest conversations at each command. In
                    addition to these conversations, over the last three months Task Force One Navy (TF1N) has engaged in
                    listening sessions across the force. Thus far, forty-three themes and several recommendations have emerged
                    to help remove barriers to help improve readiness, equality, inclusion and diversity in our ranks. We heard
                    our shipmates say things like:

                          “I have learned more in the past 30 minutes listening to you than I have in years. I have very little
                                                               experience with this…”

                         “Female racks at sea, some women do not have an opportunity to go to sea because there are no racks
                          available, so their career is impacted. There is a whole section at PERS that their only job is finding
                                                    female racks at sea, that is not an issue for men.”

                         “I have a biracial son, and my son's dad is black. I'm 30 minutes from Brunswick, so everything's on the
                          news from George Floyd and Breonna [Taylor]. My son very randomly said one day while he's doing
                          some schoolwork – “Mom, I don't want to die.” He's nine! So, I asked, “why would you say that?” He
                             said, “because people with dark skin get murdered...” And that opened up conversations I never
                                                  thought that I would have that type of talk with him…”

                         “I went to the deckplates to engage with the Sailors and check on them, but the feedback I received was
                          disappointment that the CO and XO didn’t have the same immediate response. I got with my CO/XO
                          and had a conversation and they went and talked with Sailors together. I felt that maybe me and my
                                  CO/XO didn’t perceive the situation the same way, so our responses were different.”

                    As highlighted above, discussing inequalities can be difficult, but these conversations are necessary to foster
                    connectedness in our Navy. In order for our teams to heal and build trust, leaders must lead, listen, and
                    advocate for change. This starts by providing our Sailors and civilians with the environment to openly
                    communicate with you. The focus should be on listening to hear, to understand, to empathize and to show
                    respect vice listening to respond. This is hard sometimes, but necessary.




                                                                                                                                  1
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 116 of 292
                                                                                                                 Appendices   /   91




   Tips for Engaging in Necessary Conversations

       1. Plan it Out
   Start by identifying what’s really happening. Know that barriers exist and be an active listener to all
   perspectives. Before you begin the conversation, consider the following:
   What journey did your Sailors walk that led to their beliefs?
   What journey did I walk that shaped my beliefs?
   Identify if, and understand why, your own beliefs may make you feel uncomfortable with this topic.
   The goal is not to solve all the issues right then and there, but to listen without endorsement or
   judgment, and open the lines of communication in support of your Sailors. Consider leveraging experts
   at your command (Wardroom, CPO Mess, CRT, Chaplain, CMEO, trained facilitators, DRC, JAG etc.)


       2. Create a Comfortable Environment
   Make time in the schedule to allow personnel to attend but make the conversation attendance
   voluntary. When possible, you want to select a place where people can feel relaxed and be willing to
   share. This can apply as much to the physical location as to the make-up of the group. Be cognizant of
   the level of openness junior Sailors might feel in a large discussion with their chain of command present,
   as opposed to a smaller group led by an LPO, for instance.


       3. Be Authentic
   Communicate that these can be difficult conversations, but they are important and need to take place.
   Acknowledge your own limitations and possible lack of understanding of the experiences of others. Set
   the tone by conveying how much you value them and appreciate their willingness to share their stories
   and experiences with the team.




                                                                                                             2
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 117 of 292
92 / TF1N Final Report




                         4. Set Some Guidelines
                   Make sure the group knows that participation is voluntary and everyone who joins is allowed to voice
                   their own perspective. Establish some ground rules up front that should be agreed upon by the group
                   such as “Everyone will be respectful of one another’s point of view” or “Everyone is allowed to speak
                   openly without interruption when it is their turn.” Ask that the group allow others to speak so that no
                   one person dominates the conversation. Stress that the goal is to listen and hear each other.
                         5. Be Okay with Silence
                   Some groups will begin talking right away. Others will need some time to feel comfortable and think
                   about what they want to say. Be okay with the silence for a time but set the tone as a leader. Feel free
                   to share a relevant personal experience, or one of a shipmate (without divulging any confidences) to
                   open the flow of conversation. If they don’t begin speaking after a while, ask another question and wait.
                   Someone will begin speaking. When the conversation winds down and no one else is speaking be sure
                   to ask if anyone else has anything to say and wait to see if anyone responds. Remind the group that
                   there are alternative ways to voice their concerns, i.e. CO Suggestion box, email and chain of command.
                         6. Keep the Discussion on Topic / Avoid Side Bar Conversations
                   If side bar conversations become a problem, tell the participants that it is difficult for you to focus on the
                   speaker that has the floor with the other conversations taking place. Also let them know that as soon as
                   the current speaker is finished, they can present what they are discussing to the group for a more
                   inclusive discussion. If a topic of conversation has gone on too long or gone too far off topic, tell the
                   group this item is going to be tabled and can be revisited at another time.
                         7. Continue the Work
                   Conversations regarding complex issues must be done in a continuous approach. This is not a one and
                   done. Make a commitment and plan for continued conversations.
                         8. Other Considerations
                   While very personal ideas and experiences will be openly shared throughout the conversations, it is
                   important to remember that all participants must treat one another with dignity and respect.
                   According to Executive Order “Combating Race and Sex Stereotyping” of September 22, 2020 and
                   pursuant to the Equal Opportunity policies of the Navy, race or sex stereotyping or scapegoating in the
                   federal workplace is prohibited. Keep in mind that the purpose of these conversations is listening and
                   understanding, and not to provide training.




                                                                                                                              3
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 118 of 292
                                                                                                                    Appendices   /   93




   Open-Ended Questions to Get the Conversation Started

       1. How do you feel about the recent events in our nation?
       2. What has been your experience being different and trying to fit in to the group? How can you
          be actively against any type of discrimination?
       3. What are some actions we as individuals can take?
       4. What can you do to support your shipmates? How would you like to be supported?
       5. What would you like our Nation, Navy and command to look like going forward?


   Going Forward

          Recognize that at this time there is no quick fix. The recent public protests are a catalyst for
           leaders to be mindful and listen to the experiences and concerns of their people. Be open to
           identifying and addressing anything that can be resolved at the local level.
          Listen to people’s stories who have experienced racism or bias. Actively listen and do not be
           defensive.
          Encourage shipmates to continue these conversations on their own. 
          Live the Signature Behaviors. Challenge yourself to act consistent with them in all aspects of
           your life, both in private and public. The Signature Behaviors infographic is available at:
           https://www.cpf.navy.mil/downloads/2020/02/signature-behaviors.pdf;
           https://www.public.navy.mil/usff/Documents/signature-behaviors-f.pdf; or
           https://www.c6f.navy.mil/Portals/22/Documents/Signature%20Behaviors_FINAL.pdf.
          Leaders, managers and colleagues, acknowledge the needs of your individual Sailors.
          To our Civilians, Sailor and families, we understand that mental health and the ability to seek
           proper care is fundamental to your well-being. If you or a peer is struggling and need
           assistance, reach out to these resources:
                o For free confidential, non-medical counseling:
                    https://www.militaryonesource.mil/confidential-help/non-medical-counseling/military-
                    onesource/free-confidential-face-to-face-non-medical-counseling
               o Chaplain support: https://www.navy.mil/local/chaplaincorps/chaplaincare.asp
                o Navy Suicide Prevention: https://www.public.navy.mil/BUPERS-
                    NPC/support/21st_century_sailor/suicide_prevention/Pages/default.aspx

  It is imperative that we draw on the resources, skills, capabilities, and talents of our people, and that we do
  not expect everyone to think, act, and look the same. Equally, we must create a culture where everyone
  feels they can provide their opinions, and that they are valued for who they are. We must live the
  Signature Behaviors we are proud to showcase in the Navy. The first step, however, is having these
  conversations with one another.

  Active listening, and being open to various perspectives will produce leaders and teams who learn and
  adapt to achieve maximum possible warfighting capability, and will achieve and maintain high standards,
  better preparing them for combat operations. The Navy must be at its best when the Nation needs it most.
  We will deliver this future Navy. We will apply time, effort and resources to grow our Nation’s naval power
  and think differently to find every competitive advantage.
                                                                                                          4
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 119 of 292
94 / TF1N Final Report




                   How You May Report Observations and Recommendations


                  If you have observations and recommendations from your Necessary Conversations that you would like
                  to share with the CNO’s staff, please e-mail them to Ms. Debbi Rounds (deborah.m.rounds@navy.mil)
                  and courtesy copy your Echelon II and/or III commands. We will compile your feedback and forward to
                  the Center for Naval Analysis for compilation, assessment and ‘red-teaming’ potential solutions. Please
                  submit your feedback as text (no attachments) with “Necessary Conversations Feedback” in the subject
                  line.




                                                                                                                        5
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 120 of 292
                                                                                                               Appendices   /   95




  Additional Resources
  Community Relations Guide
  The Community Relations Service (CRS) is a U.S. Department of Justice component created by the Civil
  Rights Act of 1964 to help resolve community racial conflict through non-coercive, third party
  intervention. CRS is called upon to assist communities to resolve disputes arising from biases of race,
  color and national origin. As a result, agency conciliators have developed extensive experience in issues
  associated with racial and ethnic conflict. CRS provides a wide range of informal assistance that attempts
  to keep communications open among affected parties and to facilitate a mutually acceptable resolution
  of racial conflict. Facilitating Community Dialogues on Race is one of the creative ways in which CRS
  opens lines of communication and helps the community resolve its own racial problems. Visit:
  https://www.justice.gov/archive/crs/pubs/dialogueguide.htm




                                                                                                          6
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 121 of 292
96 / TF1N Final Report




                                                           TF1N and IFLEX Course of 25 Nov
      APPENDIX G:                                          2020



                                                                                                 25 November 2020


                   From: Olenda E. Johnson, Ph.D.
                         U.S. Naval War College
                         College of Leadership & Ethics

                   To:    RADM Alvin Holsey, Director
                          Task Force One Navy (TF1N)

                   Cc:    RADM (ret) Peg Klein, Dean
                          College of Leadership & Ethics

                          Liz Cavallaro, Ed.D.
                          College of Leadership & Ethics

                   Subj: TF1N and IFLEX (Intermediate Flag and Executive) Leadership Course

                          BLUF: IFLEX provided a unique opportunity to allocate focused time with 31 senior naval
                          leaders engaging on TF1N issues and outcomes; garnering collective commitment to,
                          and accountability for, an issue of critical importance to the Navy.

                   1. The U.S. Naval War College (USNWC), College of Leadership and Ethics (CLE), hosted the
                      Intermediate Flag and Executive Leadership Course (IFLEX) 2-6 November 2020. Participants
                      included 24 RADMs, 5 DoN SESs, 1 USMC MajGen, and 1 Royal Navy, RADM.

                   2. The VCNO directed that the course focus on developing knowledge and tools to employ
                      learning organization principles (e.g., appreciating context, disrupting assumptions, applying
                      new thinking) to accelerate Navy outcomes. CLE facilitators leveraged VCNO’s direction to
                      apply learning organization principles to TF1N and gather collective inputs from 31 senior
                      naval leaders.

                   3. Six teams focused on specific TF1N Focus Areas:
                             – Talent Management
                             – Training & Education
                             – Judicial/Non-Judicial Processes
                             – Promotion/Advancement
                             – Partnerships with HBCUs, MSIs, Affinity Groups
                             – Leader Development

                   4. Small group and collective discussions yielded rich conversations that: (1) elicited deep-level
                      thinking around systems that influence TF1N's outcomes; (2) identified and challenged
                      underlying assumptions, and (3) generated key questions and ideas to shape Navy equality
                      efforts going forward.
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 122 of 292
                                                               Appendices   /   97
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 123 of 292
98 / TF1N Final Report




                                                            Inclusion and Diversity Council
      APPENDIX H:                                           After-Action Report of 5 Oct 20
                                                                                                     05 October 2020

           Subj: CHIEF OF NAVAL OPERATIONS’ INCLUSION AND DIVERSITY COUNCIL
                 AFTER ACTION REPORT

           1. The Vice Chief of Naval Operations’ (VCNO) Inclusion and Diversity (I&D) Council (IDC) met on 30
           September 2020. The IDC is a semi-annual meeting that coordinates and aligns Navy policies and
           programs to recruit, develop and retain the most talented individuals, while improving operational
           performance. Attendance included the CNO, Fleet Commanders, and NR or their reps, CNP, Systems
           Commands, Type Commands and Community Leads.

           2. I&D Core Competencies:
                    Dr. Milam presented the Enlisted and Officer Core Competencies as developed by Dr. Renée
           Yuengling for outcome-based I&D Training. Dr. Milam also presented the initial training syllabus for
           Echelon 2 and Community Lead I&D Practitioners. Currently, Task Force One Navy (TF1N) is
           examining Navy I&D Training, and next steps include a gap analysis to incorporate the new
           competencies, overall recommendations and an implementation plan to be approved at the next IDC. Of
           note, civilian I&D core competencies are being considered by the Civilian Advisory Board. Several
           members of the council expressed deep concerns with having separate I&D core competencies for officers
           and enlisted sailors. Much discussion was had on the Executive Order delivered 22 September and its
           effects on training Navy-wide. Office of the Secretary of Defense (OSD) and Secretary of the Navy
           (SECNAV) guidance cascading from this Executive Order will follow shortly.

           (comment): RADM Joanna Nunan, USCG CG-1, mentioned a similar Coast Guard initiative to write an
           I&D aspect into each of their 28 leadership competencies organized around their four tenets of Leading
           Self, Leading Others, Leading Units, and Leading the Organization.

           3. Dr. Francis Frei Presentation on How to Build and Rebuild Trust:
                   https://www.ted.com/talks/frances_frei_how_to_build_and_rebuild_trust

           4. Task Force One Navy (TF1N) Update:
                     In regard to George Floyd and the following events, RADM Holsey stated that racism is a safety
           issue; it’s not about race, gender, or sexual orientation, it’s about readiness – “If I’m thinking more about
           how I will get home safely, what am I forgetting about when I am conducting maintenance?”
           Capitalizing on Dr. Frei’s Ted Talk, he stated that leadership is founded on four key things: Empathy,
           Compassion, Development, and Promise, and how TF1N is an acceleration tool for Culture of Excellence
           (COE) lines of effort (LOEs) #4 (effects-based I&D) and #5 (Governance).
                     TF1N is in alignment with OSD, which initially provided 78 recommendations with 15 being
           approved and 3 already implemented: Standard database tracking for diversity metrics, creating a standard
           organizational chart for I&D, and launching a mobile app for submitting equal opportunity complaints.
           After TF1N provides their final report in December 2020, these continued efforts will shift to N17 to
           further institutionalize their findings through COE LOEs #4 and #5.
                     During the latest Navy Flag Officer & Senior Executive Service (NFOSES) symposium,
           SECNAV said the topic of racism comes down to one word: “Respect.” During the TF1N Listening
           Sessions, the topic of respect came up frequently; all things start with respect – respect for yourself,
           respect for shipmates, respect for others, and respect for society. It was brought to the council to add “and
           Respect” to Navy’s Core Values.
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 124 of 292
                                                               Appendices   /   99
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 125 of 292
100 / TF1N Final Report




      APPENDIX I: Current State Statistics
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 126 of 292
                                                               Appendices   /   101
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 127 of 292
102 / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 128 of 292
                                                               Appendices   /   103
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 129 of 292
104 / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 130 of 292
                                                               Appendices   /   105
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 131 of 292
106 / TF1N Final Report
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 132 of 292
                                                               Appendices   /   107
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 133 of 292
108 / TF1N Final Report
  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 134 of 292
                                                                         Appendices   /   109




                         DRAFT // OPNAV N17 // PRE-DECISIONAL
                                         Secretary of Defense
APPENDIx J:                              Memorandum
 Appendix X: Secretary of Defense Memorandum - June 19, 2020 of 19 Jun 2020




                                                                              61
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 135 of 292
110 / TF1N Final Report




                                  DRAFT // OPNAV N17 // PRE-DECISIONAL




                                                                                    62
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 136 of 292
                                                               Appendices   /   111




                     DRAFT // OPNAV N17 // PRE-DECISIONAL




                                                                     63
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 137 of 292
112 / TF1N Final Report




                                   DRAFT // OPNAV N17 // PRE-DECISIONAL
                                                   Secretary of Defense
      APPENDIx K:                                  Memorandum
           Appendix X: Secretary of Defense Memorandum - July 14, 2020 of 14 Jul 2020




                                                                                        64
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 138 of 292
                                                               Appendices   /   113




                  DRAFT // OPNAV N17 // PRE-DECISIONAL




                                                                     65
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 139 of 292
114 / TF1N Final Report




                                 DRAFT // OPNAV N17 // PRE-DECISIONAL




                                                                                    66
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 140 of 292
                                                               Appendices   /   115




                  DRAFT // OPNAV N17 // PRE-DECISIONAL




                                                                 67
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 141 of 292
116 / TF1N Final Report




      APPENDIx L: NAVADMIN 247/20
      UNCLASSIFIED//
      ROUTINE
      R 032333Z SEP 20 MID510001694164U
      FM CNO WASHINGTON DC
      TO NAVADMIN
      INFO CNO WASHINGTON DC
      BT
      UNCLAS

      NAVADMIN 247/20

      PASS TO OFFICE CODES:
      FM CNO WASHINGTON DC//N1//
      INFO CNO WASHINGTON DC//N1//
      MSGID/GENADMIN/CNO WASHINGTON DC/N1/SEP//

      SUBJ/ELIMINATION OF THE DISPLAY OF THE OFFICER PHOTOGRAPH DURING SELECTION
      BOARDS//

      REF/A/DOC/DOD/14JUL20//
      REF/B/MSG/CNO WASHINGTON DC/N1/291453ZOCT18//
      REF/C/DOC/COMNAVPERSCOM/01JUN19//
      REF/D/DOC/COMNAVPERSCOM/23JUL07//

      NARR/REF A IS DEPARTMENT OF DEFENSE MEMORANDUM, IMMEDIATE ACTIONS TO ADDRESS
      DIVERSITY, INCLUSION, AND EQUAL OPPORTUNITY IN THE MILITARY SERVICES.
      REF B IS NAVADMIN 265/18, REINSTATEMENT OF THE REQUIREMENT TO DISPLAY THE
      OFFICER PHOTOGRAPH DURING SELECTION BOARDS.
      REF C IS MILPERSMAN ARTICLE 1070-20, OFFICER OFFICIAL MILITARY PERSONNEL
      FILE.
      REF D IS MILPERSMAN ARTICLE 1070-180, OFFICER PHOTOGRAPHS.//

      RMKS/1. In line with reference (a), this NAVADMIN cancels reference (b). As
      part of reference (a), the Secretary of Defense has prohibited the use of
      official photographs for all officer promotion selection boards and selection
      board processes pertaining to assignment, training, education and command.

      2. The Officer Career Progression Branch (PERS-8) has complied with
      reference (a) beginning on 31 August 2020. A future change to reference (c),
      will reflect the elimination of the display of the officer photograph (Field
      Code 2) as outlined above.

      3. The requirement to maintain an officer photograph in the official service
      record will continue to exist in line with reference (d). The point of
      contact for photo submission to Official Military Personnel File is Records
      Management and Policy (PERS-313) at (901) 874-3407/DSN 882.

      4. This NAVADMIN will remain in effect until superseded or canceled,
      whichever occurs first.
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 142 of 292
                                                                     Appendices   /   117




5.   Released by Vice Admiral John B. Nowell, Jr, N1.//

BT
#0001
NNNN
UNCLASSIFIED//
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 143 of 292
118 / TF1N Final Report



                                      DRAFT // OPNAV N17 // PRE-DECISIONAL



      APPENDIx M: BUPERSNOTE 1401 of 9 Sep 2020
          Appendix X: BUPERNOTE 1401 of September 9, 2020




                                                                                    19
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 144 of 292
                                                               Appendices   /   119




                  DRAFT // OPNAV N17 // PRE-DECISIONAL
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 145 of 292
120 / TF1N Final Report




                               DRAFT // OPNAV N17 // PRE-DECISIONAL
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 146 of 292
                                                                       Appendices   /   121


                             DRAFT // OPNAV N17 // PRE-DECISIONAL


Appendix X: Secretary of Defense Memorandum - July 16, 2020
                                           Secretary of Defense
APPENDIx N:                                Memorandum of 16 Jul 2020




                                                                             68
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 147 of 292
122 / TF1N Final Report




                                 DRAFT // OPNAV N17 // PRE-DECISIONAL
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 148 of 292
                                                                          Appendices   /   123




                                     NAVADMIN 203/20, Public Display
APPENDIx O:                          or Depiction of Flags in the Navy
UNCLASSIFIED//

ROUTINE

R 172205Z JUL 20 MID110000838485U

FM CNO WASHINGTON DC

TO NAVADMIN

INFO CNO WASHINGTON DC

BT
UNCLAS

NAVADMIN 203/20

MSGID/NAVADMIN/CNO WASHINGTON DC/CNO/JUL//

SUBJ/PUBLIC DISPLAY OR DEPICTION OF FLAGS IN THE NAVY//
POC/ELLIOTT/JEFF/CIV/CHINFO/LOC: WASHINGTON DC/TEL: 703-692-4754

REF/A/MEMO/OSD/20200716//
REF/B/MEMO/USN/20200717//

AMPN/Reference (a) is Secretary of Defense Memorandum Subj: Public Display or
Depiction of Flags in the Department of Defense.
Reference (b) is Under Secretary of the Navy Memorandum Subj: Public Display
or Depiction of Flags in the Department of the Navy.

RMKS/1. In references (a) and (b), the Secretary of Defense and Under
Secretary of the Navy state that our number one mission is to provide combat-
ready naval forces able to deter conflict or, if necessary, prevail in
combat. In order to ensure our forces are ready, these references highlight
the importance of unit cohesion and note that flags are powerful symbols.
The flags we fly must accord with the military imperatives of good order and
discipline, treating all our people with dignity and respect, and rejecting
divisive symbols. Paragraph 2 below quotes reference (a).

2. Consequently, in addition to the American flag, Service members and
civilian employees are authorized to display or depict representational flags
that promote unity and esprit de corps, including:
a. Flags of U.S. States and Territories and the District of Columbia; b.
Military Service flags; c. Flag or General Officer flags; d. Presidentially-
appointed, Senate-confirmed civilian flags; e. Senior Executive Service (SES)
and Military Department-specific SES flags; f. The POW/MIA flag; g. Flags of
other countries, for which the United States is an ally or partner, or for
official protocol purposes; h. Flags of organizations in which the United
States is a member (e.g., NATO) i. Ceremonial, command, unit, or branch flags
or guidons. This guidance applies to public displays or depictions of flags
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 149 of 292
124 / TF1N Final Report




      by Service members and civilian employees in all Department of Defense work
      places, common access areas, and public areas, including, but not limited to:
      a. Office buildings, facilities, naval vessels, aircraft, government
      vehicles, hangars, garages, ready rooms, conference rooms, individual
      offices, cubicles, storage rooms, tool and equipment rooms, workshops, break
      rooms, kitchens /galleys, recreational areas, commissaries, Navy and Marine
      Corps and Army and Air Force exchanges, and heads/latrines/restrooms -
      including property and buildings off installation leased by the Department;
      b. Sensitive compartmented information facilities and other secure
      facilities; c. Open-bay barracks, berthing areas, and common areas of
      barracks and bachelor quarters; d. School houses and training facilities; e.
      All spaces or items in public or plain view, such as the outside areas of any
      Department of Defense buildings and government-operated or public-private
      venture housing (e.g., parking lots, yards, gazebos, or porches).

      3. I expect all Commanders to exercise their authority in a way that
      maintains unit cohesion and good order and discipline, while respecting the
      rights of Sailors and civilian employees. To aid Commanders in balancing
      these considerations as they implement the references, Commanders should
      consult a judge advocate or legal counsel.

      4.   Released by Admiral Mike Gilday, Chief of Naval Operations.//

      BT
      #0001
      NNNN
      UNCLASSIFIED//
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 150 of 292
                                                                       Appendices   /   125


                             DRAFT // OPNAV N17 // PRE-DECISIONAL

                                         Under Secretary of Defense
APPENDIx P:
Appendix X: Secretary of Defense Memorandum - August 31, 2020
                                         Memorandum of 31 Aug 2020
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 151 of 292
126 / TF1N Final Report




                                           NAVADMIN 051/20, Navy Inclusion
      APPENDIx Q:                          and Diversity Policy Update
            UNCLASSIFIED//

            ROUTINE

            R 271513Z FEB 20 MID510000989998U

            FM CNO WASHINGTON DC

            TO NAVADMIN

            INFO CNO WASHINGTON DC

            BT
            UNCLAS

            NAVADMIN 051/20

            PASS TO OFFICE CODES:
            FM CNO WASHINGTON DC//N1//
            INFO CNO WASHINGTON DC//N1//

            MSGID/GENADMIN/CNO WASHINGTON DC/N1/FEB//

            SUBJ/NAVY INCLUSION AND DIVERSITY POLICY UPDATE//

            REF/A/DOC/OPNAV N1/20DEC12//

            REF/B/DOC/CNO/27FEB20//

            REF/C/DOC/CNO/17DEC18//

            REF/D/DOC/CNO/4DEC19//

            REF/E/DOC/CNO/7MAY19//

            REF/F/DOC/CNO/7MAY19//

            REF/G/MSG/CNO/12NOV19//

            REF/H/DOC/CNO/7APR18//

            REF/I/DOC/CNO/24JUL17//

            REF/J/DOC/CNO/24JUL17//

            REF/K/DOC/MCPON/7MAY19//

            REF/L/DOC/SECDEF/29NOV16//

            REF/M/DOC/SECNAV/15JUL05//
  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 152 of 292
                                                                            Appendices   /   127




REF/N/DOC/ASN(M&RA)/23JAN17//

REF/O/DOC/SECNAV/9MAY19//

REF/P/MSG/CNO/29JAN20//

REF/Q/MSG/COMUSFLTFORCOM/13FEB20//

NARR/REF A IS OPNAVINST 5420.115, NAVY DIVERSITY POLICY COORDINATION REF B IS
U.S. NAVY INCLUSION AND DIVERSITY GOALS AND OBJECTIVES.
REF C IS DESIGN FOR MAINTAINING MARITIME SUPERIORITY VERSION 2.0.
REF D IS CNO FRAGMENTARY ORDER 01/2019. REF E IS NAVY LEADER DEVELOPMENT
FRAMEWORK VERSION 3.0. REF F IS NAVY CIVILIAN WORKFORCE FRAMEWORK VERSION
1.0. REF G IS CULTURE OF EXCELLENCE NAVADMIN 254/19. REF H IS CULTURE OF
EXCELLENCE BOARD OF GOVERNANCE CHARTER.
REF I IS OPNAVINST 5354.1G, NAVY EQUAL OPPORTUNITY INSTRUCTION. REF J IS
OPNAVINST 5300.13, NAVY SEXUAL HARASSMENT PREVENTION AND RESPONSE MANUAL.
REF K IS LAYING THE KEEL. REF L IS DODD 1020.02E, DIVERSITY MANAGEMENT AND
EQUAL OPPORTUNITY IN THE DOD. REF M IS SECNAVINST 1610.2A, DEPARTMENT OF
NAVY HAZING POLICY. REF N IS DEPARTMENT OF NAVY DIVERSITY AND INCLUSION
STRATEGIC ROADMAP. REF O IS SECNAVINST 5402.31A, MANAGEMENT OF DON PROGRAM
FOR HISTORICALLY BLACK COLLEGES AND UNIVERSITIES AND MINORITY SERVING
INSTITUTIONS.
REF P IS NAVADMIN 025/20, RE-ESTABLISHING NAVY LEADER DEVELOPMENT FRAMEWORK
BRIEFS. REF Q IS THE 12-STAR MESSAGE: PROMULGATION OF SIGNATURE BEHAVIORS OF
THE 21ST CENTURY SAILOR NAVY CORE VALUES, NAVY ETHOS, AND CORE ATTRIBUTES IN
ACTION, VERSION 2.0.//

RMKS/1. This NAVADMIN revises the 2012 Navy Diversity Policy Coordination
instruction, reference (a), and incorporates the Office of Inclusion and
Diversity under the Twenty First Century Sailor Office (OPNAV N17).
Inclusion and Diversity is a line of effort in the Chief of Naval Operations
Culture of Excellence (COE) Campaign, which empowers the Navy to achieve
warfighting excellence by fostering psychological, physical and emotional
toughness. Ensuring inclusion and connectedness among every Sailor, family
member and Navy civilian promotes organizational trust and transparency
throughout their Navy journey. Every Active and Reserve Sailor and civilian
brings a unique set of skills to our team. Actively seeking out and
leveraging these skills is key to reaching our maximum warfighting potential.

2. This new approach operationalizes the guidance in references (b) through
(q) by promulgating specific roles and responsibilities and including
Inclusion and Diversity as a line of effort within the COE Campaign Plan.
Without inclusion, diverse perspectives can lead to friction/conflict in
thoughts and opinions. All perspectives must be actively included to harness
the creative power of diversity, accelerating our Navys warfighting
advantage.

3.  Inclusion and Diversity Goals
    a. Goal 1: Institutionalize Inclusion and Diversity across our Navy.
b. Goal 2: Attract and recruit the best talent from our diverse nation to
cultivate a high-performing and innovative workforce.
    c. Goal 3: Develop and retain Sailors and Navy civilians by ensuring an
inclusive culture across our workforce.
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 153 of 292
128   / TF1N Final Report




             4.  Requirements
                 a. MyNavy HR Health of the Force Report: OPNAV N1 will provide COE
             progress made during the previous calendar year to leaders throughout the
             Navy no later than 15 March of each year.
                 b. Inclusion and Diversity Senior Leader Engagement Calendar:
             Describes key engagement events, participation objectives and assigns a key
             leader for Navy representation at each event. OPNAV
             N17 will promulgate no later than 1 October of each year.
                 c. Inclusion and Diversity Engagement Resource Plan: OPNAV N17 will
             consolidate local Inclusion and Diversity engagement inputs from Echelon II
             and Community Leads to coordinate efforts, minimize redundancy and optimize
             Inclusion and Diversity funding efforts.
             Community leads are defined in reference (p).
                 d. Inclusion and Diversity Council: Semi-annual Inclusion and Diversity
             Council replaces the Strategic Workforce Council and is comprised of senior
             Navy leaders and key workforce stakeholders chaired by the Vice Chief of
             Naval Operations (VCNO) to coordinate, align and make decisions regarding
             Navy Inclusion and Diversity programs and policies.
                 e. Semi-annual COE Governance Board (GB): Four-Star GB coordinates and
             aligns Navy policies and programs to promote excellence, team cohesion,
             personal accountability and promulgation of the Navys warrior ethos.
                 f. COE Executive Steering Council (ESC): Flag/SES-level body with
             representatives from Fleet and select Echelon II commands. The COE ESC
             convenes as required to provide direction to the Culture of Excellence
             Working Group (COE WG) in the development and execution of the COE Campaign
             Plan.
                 g. Bi-Weekly COE WG: Composed of key decision-makers from across MyNavy
             HR and the Navy to provide subject matter expertise and input to the
             development of the COE as it matures to become a Fleet-led, Navy-wide
             approach.
                 h. Inclusion and Diversity Practitioners Sync: The Inclusion and
             Diversity Practitioners for the Echelon II commanders and Community Leads
             will assess Inclusion and Diversity strategy, align Fleet Inclusion and
             Diversity efforts, update and develop strategy and education and share
             community best practices. The Inclusion and Diversity Practitioners Sync
             convenes under COE WG governance.

             5.   Roles and Responsibilities
                  a. Chief of Naval Operations
                      (1) Chair the COE Governance Board.
                      (2) Convene Navy Leader Development Framework (NLDF) briefings with
             TYCOM/Community Leaders per reference (p).
                      (3) Conduct key engagements in support of the Inclusion and Diversity
             Senior Leader Engagement Calendar.
                  b. Vice Chief of Naval Operations
                      (1) Convene NLDF briefings with TYCOM/Community Leaders per reference
             (p).
                      (2) Chair the Inclusion and Diversity Council.
                      (3) Conduct key engagements in support of the Inclusion and Diversity
             Senior Leader Engagement Calendar.
                  c. Deputy Chief of Naval Operations (DCNO) for Manpower, Personnel,
             Training and Education (MPT&E)
             (1) Serve as Chief Inclusion and Diversity Officer.
             (2) Plan and execute the Inclusion and Diversity Officer.
 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 154 of 292
                                                                            Appendices   /   129




(3) Attend NLDF briefings with CNO and VCNO.
(4) Conduct key engagements in support of the Inclusion and Diversity Senior
Leader Engagement Calendar.
(5) Develop and implement policies that position the Navy as the Service and
employer of choice.
     d. Master Chief Petty Officer of the Navy
         (1) Advise senior leaders and Navy Chief Inclusion and Diversity
Officer on status, progress and any barriers regarding Navy programs to
recruit and retain top talent.
         (2) Conduct key engagements in support of the Inclusion and Diversity
Senior Leader Engagement Calendar.
     e. OPNAV N17
         (1) Serve as senior Inclusion and Diversity advisor to CNO, VCNO,
DCNO (MPT&E), the COE GB, the Civilian Advisory Board and the Inclusion and
Diversity Council.
         (2) Leverage data analytics, the behavior learning continuum and
policies, programs, practices and processes to enhance culture and force
readiness.
         (3) Develop, maintain and update the Navys COE strategic guidance.
         (4) Evaluate and assess the Navys Inclusion and Diversity policy and
program.
         (5) Collaborate with affinity groups, associations and families to
improve Navy retention rates.
         (6) Collaborate with training and education stakeholders to ensure
Navy curricula includes relevant Inclusion and Diversity core competencies
and objectives.
         (7) In accordance with reference (o), represent DCNO (MPT&E) as the
Historically Black Colleges and Universities and Minority Serving
Institutions Administering Office.
         (8) Define and develop Inclusion and Diversity content for MyNavy HR
Career Development Symposium (CDS) events.
         (9) Develop and distribute COE performance metrics to appropriate
Navy leaders for use during NLDF briefings.
     f. Echelon II Commanders and Community Leads
         (1) Designate an Inclusion and Diversity Practitioner in writing to
function as the primary Inclusion and Diversity advisor and representative to
both the Inclusion and Diversity Practitioners Sync and COE WG. Designees
shall be in the paygrade of E-7 and above or GS-12 and above.
         (2) Community Leader coordinate Inclusion and Diversity updates
during NLDF briefs using COE performance data provided by OPNAV N17.
         (3) Develop and implement quarterly community-centric Inclusion and
Diversity Engagement and Resource Plan and submit to OPNAV N17 for
consolidation and optimization of resources.
         (4) Participate in the Inclusion and Diversity Council.
         (5) Oversee subordinate commands for implementation of Navys
Inclusion and Diversity Goals and Objectives and associated policies.
     g. Naval Education and Training Command
         (1) Develop and implement Navys Inclusion and Diversity training and
education strategy from entry to executive levels in accordance with the
Officer and Enlisted Leader Development Paths outlined in the Navy Leader
Development Framework version 3.0.
         (2) Review course curricula through the Human Performance
Requirements Review process to ensure incorporation of relevant Inclusion and
Diversity content.
     h. Naval Service Training Command
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 155 of 292
130   / TF1N Final Report




                   (1) Pursue opportunities to strengthen the Naval Reserve Officers
          Training Corps program on college campuses.
               i. Navy Recruiting Command
                   (1) Plan and execute the Navys marketing and advertising activities
          incorporating Inclusion and Diversity Goals and Objectives.
                   (2) Execute outreach events to pursue and maintain positive
          relationships with external affinity groups.
                   (3) Investigate and present to OPNAV N17 updated recruiting plans to
          influence diversity in accessions.
               j. Navy Personnel Command
                   (1) Include Inclusion and Diversity learning topics in the MyNavy HR
          CDS.
                   (2) Provide funding and coordinate registration for Sailors to attend
          key affinity group national conferences.
               k. Command Triads
                   (1) Enhance team performance by deliberately inclusive command
          environment and climate that deliberately leverages diverse perspectives in
          decision making.
                   (2) Share Inclusion and Diversity best practices and lessons learned
          with immediate superior in command for Community Leads to incorporate into
          NLDF briefings.

          6. For questions concerning Navys updated Inclusion and Diversity policy,
          contact the OPNAV N17 Office of Inclusion and Diversity at
          ALTN_USN_INCLUSION_AND_DIVERSITY(at)navy.mil.

          7. To view the U.S. Navy Inclusion and Diversity Goals and Objectives
          strategic communications product and toolkit, go to MyNavy Portal (MNP) at
          https://my.navy.mil/quick-links.html. From there, click on the NPC link,
          then go to Support & Services at the top, then select 21st Century Sailor
          from the left sidebar.
          Click Inclusion & Diversity on the left sidebar then click below to Resources
          and Links. These products further explain the Inclusion and Diversity goals
          listed below in paragraph 3, supplement this NAVADMIN to facilitate command-
          level discussions and further support integration of Inclusion and Diversity
          in education, training and signature behaviors.

          8. This NAVADMIN will remain in effect until superseded or canceled,
          whichever occurs first.

          9.    Released by Vice Admiral John B. Nowell, Jr, N1.//

          BT
          #0001
          NNNN
          UNCLASSIFIED//
    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 156 of 292
                                                                            Appendices   /   131




                                   USFFC RMG 051941ZOCT20 - UPDATE
APPENDIx R:                        TO NAVSUP P-487
 RTTUZYUW RHOIAAA0001 2792008-UUUU--RHSSSUU.
 ZNR UUUUU
 R 051941Z OCT 20 MID200000191229U
 FM COMUSFLTFORCOM NORFOLK VA
 TO ALFLTFORCOM
 INFO COMUSFLTFORCOM NORFOLK VA
 BT
 UNCLAS
 PASS TO OFFICE CODES:
 CNO WASHINGTON DC/N41/N414/
 COMUSFLTFORCOM NORFOLK VA/N02F/N41/
 COMNAVAIRLANT NORFOLK VA/N41/N01FE/
 COMNAVSURFLANT NORFOLK VA/N41/N01F/
 COMSUBLANT NORFOLK VA/N41/N02F/
 COMNECC LITTLE CREEK VA/N41/N01F/
 SECINFO/U/-//
 MSGID/GENADMIN/COMUSFLTFORCOM NORFOLK VA/-/OCT//
 SUBJ/UPDATE TO NAVSUP P-487/PARAGRAPH 2400/EXTENT OF BARBER SERVICE//
 REF/A/NAVSUP P-487/PARAGRAPH 2400/EXTENT OF BARBER SERVICE//
 AMPN/REF A NAVSUP P-487 EXTENT OF SHIPBOARD BARBER SERVICE GUIDANCE//
 POC/DAVID FRANCIA/LCDR/USFFC N412/NORFOLK, VA/757-836-3787 DSN 836/
 DAVID.F.FRANCIA(AT)NAVY.MIL//
 GENTEXT/REMARKS/1. PER REF A IS UPDATED TO REEMPHASIZE SHIPBOARD
 BARBER SERVICE AND PROVIDES STANDARDS WHICH ALL QUALIFIED BARBERS
 AND NON-QUALIFIED BARBER PERSONNEL WILL FOLLOW WHEN PROVIDING
 HAIRCARE SERVICES TO CREW MEMBERS. THE FOLLOWING PROCEDURES
 ARE IN EFFECT UPON RECEIPT OF THIS MESSAGE. THE NEXT REVISION TO THE
 P-487 WILL MODIFY THIS PARAGRAPH TO REFLECT THE CHANGES.
 2. SANITATION. ALL SANITATION INSTRUCTIONS, REQUIREMENTS, AND PRACTICES
 DEFINED IN NAVMED P-5010-2 SHALL BE FOLLOWED AT ALL TIMES BY ANY
 QUALIFIED BARBER OR ANY NON QUALIFIED BARBER PERSONNEL UTILIZING THE
 SHIPS BARBERSHOP TO PROVIDE HAIRCARE SERVICE. THIS MUST BE
 STRICTLY ADHERED TO, WITHOUT EXCEPTION. A COPY OF THE NAVMED P-5010-2
 SANITATION INSTRUCTION MUST BE AVAILABLE FOR REVIEW IN THE BARBERSHOP.
 A. ALL PERSONNEL UTILIZING THE BARBERSHOP TO PROVIDE SERVICE MUST
 OBTAIN AND MAINTAIN A CURRENT MEDICAL SCREENING CERTIFICATE FROM THE
 MEDICAL DEPARTMENT AND A COPY OF THE CERTIFICATE WILL BE DISPLAYED ON
 THE BARBER STATION AT ALL TIMES.
 3. REGULAR BARBERSHOP SERVICES. DURING NORMAL BUSINESS HOURS, BARBERSHOP
 SERVICES INCLUDE ONLY THE MILITARY REGULATION HAIRCUT PROVIDED BY A
 QUALIFIED BARBER (MEMBER HOLDS AN NEC OR HAS COMPLETED APPLICABLE PQS).
 A. ALL BARBERS UTILIZING THE BARBERSHOP FOR REGULAR SERVICES MUST BE
 CURRENT IN PQS AND HAVE COMPLETED THE BARBER PORTION OF NAVEDTRA 43239
 (PERSONNEL QUALIFICATION STANDARD FOR SHIP'S SERVICEMAN), SECTIONS 103 -
 BARBER FUNDAMENTALS AND 302 - SHIPBOARD BARBER.
 4. ADDITIONAL SERVICES. THE COMMANDING OFFICER SHALL AUTHORIZE THE USE
 OF THE BARBERSHOP BY OTHER CREW MEMBERS, WHO ARE NON-QUALIFIED
 BARBERS, DURING UNDERWAY PERIODS FOR ADDITIONAL HAIR CARE SERVICES SUCH
 AS FEMALE HAIR STYLING, BRAIDING, ETC., THAT ARE NOT OTHERWISE AVAILABLE
 DURING REGULAR HOURS. THE SUPPLY OFFICER WILL SET THE BUSINESS HOURS
 AND CONDITIONS UNDER WHICH THE BARBERSHOP MAY BE USED. THE NAVY WILL
 NOT BE LIABLE FOR ANY SERVICES PROVIDED DURING NON-BUSINESS HOURS;
 THE SERVICE WILL BE AN AGREEMENT BETWEEN THE CREW MEMBER AND THE
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 157 of 292
132   / TF1N Final Report
   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 158 of 292
                                                                                                       Appendices   /   133




                                                Navy Inclusion and Diversity
APPENDIx S:                                     Goals and Objectives




 https://www.public.navy.mil/bupers-npc/support/21st_Century_Sailor/inclusion/Documents/Updated%20Glossy.pdf
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 159 of 292
134   / TF1N Final Report




                                            NAVADMIN 188/20, Navy Inclusion
      APPENDIx T                            and Diversity
      UNCLASSIFIED//

      ROUTINE

      R 302151Z JUN 20 MID510001444262U

      FM CNO WASHINGTON DC

      TO NAVADMIN

      INFO CNO WASHINGTON DC

      BT
      UNCLAS

      NAVADMIN 188/20

      MSGID/GENADMIN/CNO/WASHINGTON DC/CNO/JUN//

      REF/A/RMG/CNO WASHINGTON DC/121637ZNOV19//
      REF/B/RMG/CNO WASHINGTON DC/271513ZFEB20//
      REF/C/MEMO/SECDEF/19JUN20//
      REF/D/MSG/COMUSFLTFORCOM NORFOLK VA/131415FEB20//

      NARR/REF A IS NAVADMIN 254/19 CULTURE OF EXCELLENCE.
      REF B IS NAVADMIN 051/20 NAVY INCLUSION AND DIVERSITY POLICY UPDATE.
      REF C IS SECDEF MEMORANDUM ACTIONS FOR IMPROVING DIVERSITY AND INCLUSION IN THE
      DEPARTMENT OF DEFENSE.
      REF D IS 12-STAR MESSAGE PROMULGATION OF SIGNATURE BEHAVIORS OF THE 21ST CENTURY
      SAILOR
      NAVY CORE VALUES, NAVY ETHOS, AND CORE ATTRIBUTES IN ACTION, VERSION 2.0//

      SUBJ/NAVY INCLUSION AND DIVERSITY (CORRECTED COPY)//

      RMKS/1. I hope you have had the opportunity to view my second video, It Starts
      with Us, encouraging a
      dialogue about race relations and inclusion within the Navy. We have been work-
      ing to build a better
      Navy through the Culture of Excellence approach announced in references (a) and
      (b). One very
      important aspect of this approach is recognizing that we come from all walks of
      life, with different and
      valuable experiences and perspectives. Our differences make our Navy, our con-
      nection to each other
      and our families and communities even stronger.

      2. Our efforts are taking us in the right direction, but clearly not enough has
      been done to face the
      challenges of today. Three weeks ago, I asked you to listen. Now, I am strongly
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 160 of 292
                                                                       Appendices   / 135




encouraging every Navy
leader uniform and civilian, active and reserve - to start a dialogue at each of
your commands. As a
Navy, we must seize this opportunity to engage in conversations about race rela-
tions and inclusion
within our force. Now is the time to have open and honest conversations across
our Navy. We need to
identify what is really happening, understand where barriers exist and listen to
all perspectives on how
we can bring our unique skillsets together to tackle these issues. This is not
the problem of one group of
people. This is our Navy, and we need a greater understanding of the experiences
that make us One
Navy Team and build trust and connection in our teams.

3. In addition to these conversations at every command and at every level, we
are standing up Task
Force (TF) One Navy reflecting the diversity of race, ethnicity, gender, age, and
ranks from across our
Navy to identify barriers and corrective actions to eliminate inequalities be-
tween groups of people. TF
One Navy will leverage outreach focus groups from both within and outside the
Navy representing
diversity of race, ethnicity, gender, age, and rank to ensure a diversity of ex-
perience and perspectives.
Additionally, in line with reference (c), the Secretary of Defense is setting up
a Department of Defense
(DoD) Board on Diversity and Inclusion to address DoD-wide issues of diversity,
equity, inclusion and
belonging within the DoD. While we have been committed to Inclusion and Diversi-
ty for many years,
current events shine a light on the need for us to do more and to do it more
quickly.

4.  At the command level, we need to:
    a. Start a dialogue with your superiors, peers and teams and listen to their
personal stories and
experiences. If we have not directly experienced racism, sexism, ageism, or oth-
er forms of
discrimination, it is often difficult to realize they exist.
However, they do exist in our Navy and country, and it is our responsibility to
eliminate them.
    b. Keep the conversation going. Practice inclusion every day by integrating
Sailor and civilian
perspectives in early stages of problem-solving and idea generation. In each
meeting you have and
problem you tackle, include all perspectives to gather varied points of view that
will help you make the
best decision.
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 161 of 292
136   / TF1N Final Report




          c. Leverage your Command Resilience Team to understand what is happening in
      your command.
      Look at your most recent command climate assessment with fresh eyes. Surveys may
      show you some of
      the problem areas in your command that you can address in your conversations.
          d. Advocate and model the leadership style that motivates people to speak
      up, be empathetic
      listeners, stand up for each other, learn and grow. Ensure doors are open for
      conversations and
      opportunities are available for professional development throughout the command.
          e. Share lessons learned and best practices on leveraging diverse popula-
      tions with your or your upper
      echelons designated Inclusion and Diversity Representative.
          f. Increase your knowledge and awareness of Inclusion and Diversity Heritage
      Celebrations and
      Special Observances by supporting programs, exhibits, publications and participa-
      tion in community
      military and civilian sponsored events throughout the year.

      5.  I need every Sailor to:
          a. Speak up and share your experiences about what you and your families are
      feeling, what you think
      the major issues are and how you would fix it if you were in charge. Identify ar-
      eas where there are
      barriers to certain groups of people in the Navy feeling like they truly belong
      on the team. Have pride in
      being an integral part of the greatest Navy in the world and have confidence that
      we will continue to
      lead on issues that impact all of us.
          b. Be an ally for those who do not feel like they can speak up.
      Listen to and understand others lived experiences and recognize that your per-
      spective is one of many
      valuable perspectives.
          c. Live the Signature Behaviors 24/7/365 delineated in reference (d). These
      behaviors include:
                 (1) Treat every person with respect.
                 (2) Take responsibility for my actions.
                 (3) Hold others accountable for their actions.
                 (4) Intervene when necessary.
                 (5) Be a leader and encourage leadership in others.
                 (6) Grow personally and professionally every day.
                 (7) Embrace the diversity of ideas, experiences and backgrounds of in-
      dividuals.
                 (8) Uphold the highest degree of integrity in professional and personal
      life.
                 (9) Exercise discipline in conduct and performance.
                 (10) Contribute to team success through actions and attitude.

      6.    As Sailors, and as a Navy, we cannot tolerate racism or discrimination of any
       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 162 of 292
                                                                       Appendices   /   137




kind. We must listen to
each other, understand the perspectives of others and identify and eliminate in-
dividual and systemic
racism and discrimination within our force.
We must live the Signature Behaviors and the first step is having conversations
with one another,
controlling what you and I can control and make recommendations to leadership on
other changes to
help effect positive change.

7.   The following resources are available to assist:
     a. I&D goals and objectives available at
https://www.public.navy.mil/bupers-
npc/support/21st_Century_Sailor/inclusion/Documents/Updated%20Glossy
.pdf
     b. Commanders I&D toolkit: Commanders Toolkit is available under the Inclu-
sions and Diversity tab
at:
https://www.public.navy.mil/bupers-
npc/support/21st_Century_Sailor/inclusion/Pages/default.aspx
     c. DEOMI Implicit Bias Training
https://www.deocs.net/public/A2S-4_1/Inclusion/documents/Implicit-
Bias-5June2020-SS.pdf
      d. DEOMI Assessment to Solutions (A2S) provides helpful information, vid-
eos, tools and resources
(presentations on implicit bias, inclusion and diversity at work, racist behav-
iors and prevention
strategies) at https://www.deocs.net.
      e. The Signature Behaviors infographic is available at:
https://www.cpf.navy.mil/downloads/2020/02/signature-behaviors.pdf
https://www.public.navy.mil/usff/Documents/signature-behaviors-f.pdf
https://www.c6f.navy.mil/Portals/22/Documents/Signature%20Behaviors_
FINAL.pdf
      f. It Starts With Us video is available at https://www.dvidshub.net/vid-
eo/757420/starts-with-us

8.   Released by Admiral Mike Gilday, Chief of Naval Operations.//

BT
#0001
NNNN
UNCLASSIFIED//
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 163 of 292
138   / TF1N Final Report




      APPENDIx U: Abbreviations & Acronyms
      ADE: Authoritative Data Environment          Appropriate Services
      ADSEP: Administrative Separation             CMC: Command Master Chief
      AI: Artificial Intelligence                  CNIC: Commander, Navy Installations
      ALNAV: All Navy message                      Command
      AMPHIB: Amphibious                           COA: Course of Action
      ANSO: Association of Naval Services          COB: Chief of the Boat
      Officers                                     CONUS: Continental United States
      ASN (M&RA): Assistant Secretary of the       COPR: Commissioned Officer
      Navy (Manpower and Reserve Affairs)          Promotion Report
      ASVAB: Armed Services Vocational             CNA: Center for Naval Analyses
      Aptitude Battery                             CNE/CNA: Commander, Naval Forces
      AVRC: Armed Services Vocational              Europe/Commander, Naval Forces Africa
      Aptitude Battery Validation Review           CNO: Chief of Naval Operations
      Committee
                                                   CNP: Chief of Naval Personnel
      BCA: Body Composition Assessment
                                                   CNR: Chief of the Navy Reserve
      BCAP: Battalion Commander
      Assessment Program                           COE: Culture of Excellence
      BCNR: Board for the Correction of            CPF: Commander, United States Pacific
      Naval Records                                Fleet
      BDCP: Baccalaureate Degree                   CRS: Congressional Research Service
      Completion Program                           CRT: Command Resiliency Teams
      BNR: By-Name Request                         CRUDES: Cruiser-Destroyer
      BOOST: Broadened Opportunity for             DBDI: Department of Defense Board on
      Officer Selection and Training               Diversity and Inclusion
      BUPERS: Bureau of Naval Personnel            DDWG: Defense Diversity Working
      BUPERSNOTE: Bureau of Naval                  Group
      Personnel Note                               DEP: Delayed Entry Program
      CAB: Civilian Advisory Board                 DNS: Director, Navy Staff
      CETARS: Corporate Enterprise Training        DOD: Department of Defense
      Activity Resource Systems                    DODI: Department of Defense
      CIN: Course Identification Number            Instruction
      CFR: Code of Federal Regulations             DON: Department of the Navy
      CGO: Candidate Guidance Office               DOR: Drop on Request
      CLAS: Culturally and Linguistically          DTG: Date Time Group
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 164 of 292
                                                                     Appendices   /   139




ECM: Enlisted Community Manager          LNO: Liaison Officer
EDAC: Executive Diversity Advisory       LOE: Line of Effort
Council                                  LOO: Line of Operation
EO: Equal Opportunity                    M&A: Marketing & Advertising
EOD: Explosive Ordnance Disposal         MAG: Management Advisory Group
ERG: Employee Readiness Group            MCPO: Master Chief Petty Officer
FITREP: Fitness Report                   MCPON: Master Chief Petty Officer of
GAO: Government Accountability Office    the Navy
GCMCA: General Court Martial             MEPS: Military Entrance Processing
Convening Authorities                    Station
GPA: Grade Point Average                 MHS: Military Health System
GS: General Schedule                     MIDN: Midshipman
GSI: Guardian Spirit Initiative          MILPERSMAN: Naval Military Personnel
HBCU: Historically Black Colleges and    Manual
Universities                             MOA: Memorandum of Agreement
HQ: Headquarters                         MOE: Measures of Effectiveness
HR: Human Resources                      MOP: Measures of Performance
I&D: Inclusion and Diversity             MOU: Memorandum of Understanding
IDP: Individual Development Plan         MSC: Military Sealift Command
IFLEX: Intermediate Flag and Executive   MSI: Minority Serving Institution
IG: Inspector General                    MSISR: Minority Serving Institution
IOM: Institute of Medicine               Scholarship Reservation
ISIC: Immediate Superior in Command      NAMA: United States Naval Academy
                                         Minority Association
ISPP: In-Service Procurement Program
                                         NAPS: Naval Academy Preparatory
JAG: Judge Advocate General              School
JAMRS: Joint Advertising Marketing       NAVADMIN: Naval Administrative
Research and Studies                     Message
JDTA: Job Duty Task Analysis             NAVAIR: Naval Air Systems Command
JER: Joint Ethics Regulations            NAVFAC: Naval Facilities Engineering
JO: Junior Officer                       Systems Command
JOIN: Jobs in the Navy                   NAVSEA: Naval Sea Systems
LIMDU: Limited Duty                      Command
                                         NAVSUP: Naval Supply Systems
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 165 of 292
140   / TF1N Final Report




      Command                                      OCM: Officer Community Manager
      NCG: Necessary Conversations Guide           OCONUS: Outside Continental United
      NCLASP: Navy Command Leadership              States
      Assessment and Selection Program             OCS: Officer Candidate School
      NDAA: National Defense Authorization         ODS: Officer Development School
      Act                                          OJAG: Office of the Judge Advocate
      NEC: Navy Enlisted Classification            General
      NETC: Naval Education and Training           OJT: On-the-Job Training
      Command                                      ONR: Office of Naval Research
      NHHC: Naval History and Heritage             OPT: Operational Planning Team
      Command
                                                   OSD: Office of the Secretary of Defense
      NJOC: Naval Junior Officer Counsel
                                                   P2P: Performance to Plan
      NJP: Non-Judicial Punishment
                                                   PA: Public Affairs
      NLDF: Navy Leader Development
      Framework                                    PET: Performance Evaluation
                                                   Transformation
      NLEC: Naval Leadership and Ethics
      Center                                       PFB: Pseudo Folliculitis Barbae
      NNOA: National Naval Officers                PHA: Periodic Health Assessment
      Association                                  PME: Professional Military Education
      NPC: Navy Personnel Command                  POCR: Probationary Officer
      NPS: Naval Post-Graduate School              Continuation and Redesignation
      NRC: Navy Recruiting Command                 PQS: Personnel Qualification Standard
      NROTC: Naval Reserve Officer Training        PRIDE: Personalized Recruitment
      Corps                                        Immediate Delayed Entry System
      NSIPS: Navy Standard Integrated              PRT: Physical Readiness Test
      Personnel System                             PTSD: Post-Traumatic Stress Disorder
      NSTC: Naval Service Training                 QA: Quality Assurance
      Command                                      QCAR: Quarterly Criminal Activity
      NSW: Naval Special Warfare                   Report
      NTAG: Navy Talent Acquisition Group          QOL: Quality of Life
      NWC: Naval War College                       RC: Reserve Component
      OAR: Officer Aptitude Rating                 Rec: Recommendation
      OCHR: Office of Civilian Human               RL: Restricted Line
      Resources                                    ROP: Record of Proceedings
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 166 of 292
                                                                     Appendices   /   141




RS: Retail Specialist                    (Personnel and Readiness)
RTC: Recruit Training Command Great      USFFC: United States Fleet Forces
Lakes                                    Command
RTM: Rate Training Manual                USMC: United States Marine Corps
SA: Self-Awareness                       USN: United States Navy
SASHA: Sailors Against Sexual            USNA: United States Naval Academy
Harassment and Assault                   VA: Department of Veterans Affairs
SAT: Scholastic Aptitude Test            VCNO: Vice Chief of Naval
SECDEF: Secretary of Defense             Operations
SECNAV: Secretary of the Navy
SES: Senior Executive Service
SJA: Staff Judge Advocate
SME: Subject Matter Expert
SSLA: Sea Service Leadership
Association
STA-21: Seaman to Admiral Program
STEM: Science, Technology,
Engineering and Mathematics
SWO: Surface Warfare Officer
TACAIR: Tactical Air
TAD/TDY: Temporary Assigned Duty/
Temporary Duty
TAG: Trusted Advisory Group
TF1N: Task Force One Navy
TM: Talent Management
TWI: Training With Industry
TYCOM: Type Commanders
UCMJ: Uniform Code of Military Justice
URL: Unrestricted Line
US: United States
USC: United States Code
USCG: United States Coast Guard
USD (P&R): Under Secretary of Defense
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 167 of 292




                   EXHIBIT W
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 168 of 292

GAO                  Itcport to the Chairman., Committee on
                     Armed Services, TIT.S. Senate




                     NAVAL ACADEMY
                    Gender and Racial
                    Disparities
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 169 of 292
  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 170 of 292




National        Security   and
International        Affairs     Division

B-240866

April 30,1993

The Honorable Sam Nunn
Chairman, Committee on
  Armed Services
United States Senate

Dear Mr. Chairman:

In response to your request and that of the former Chairman of the Subcommittee on Manpower
and Personnel, we reviewed the treatment of women and minorities at all three of the service
academies; this report deals with the Naval Academy. Specifically, the report addresses
(1) differences in performance indicators between men and women and between whites and
minorities, (2) student perceptions of the fairness of treatment of women and minorities, and
(3) Academy actions to address disparities and improve assimilation of women and minorities.
This report expands upon the preliminary results we presented at the hearing on the service
academies before the Subcommittee on Manpower and Personnel on June 2,1002.

As arranged with your office, unless you publicly announce its contents earlier, we plan no
further distribution of this report until 15 days from its date of issue. At that time, we will send
copies to interested congressional committees, other interested Members of Congress, the
Secretaries of Defense and the Navy, and the Superintendent of the Naval Academy. We will
also make copies available to other parties on request.

This report was prepared under the direction of Paul L. Jones, who can be reached on
(202) 612-3990. The major contributors to this report are listed in appendix IV.

Sincerely yours,




Prank C. Conahan
Assistant Comptroller General




                                                      ..
                                                  i        .,
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 171 of 292

Executive Summary


                             Concerned about how the military academies were treating women and
Purpose                      minorities, the Chairman of the Senate Committee on Armed Services and
                             the former Chairman of its Subcommittee on Manpower and Personnel
                             asked GAO to examine the issue. This report deals with only the Naval
                             Academy and addresses (1) differences in performance indicators between
                             men and women and between whites and minorities, (2) midshipmen’s
                             perceptions of the fa&ness of the treatment female and minority
                             midshipmen receive, and (3) actions the Academy has taken to enhance
                             the assimilation of women and minorities into the Academy. Most of the
                             data in this report covers four fuII classes, 19S&91. This report does not
                             address the causes for the gender or racial differences in the performance
                             indicators.


                             While blacks have attended the Academy since the reconstruction era,
Background                   until fairly recently, they and other minorities have been few in number.
                             For 131 years, the Academy operated in an ah-male environment. In 1975,
                             Congress authorized women to enter the service academies. As of
                             September 30,1992, minorities and women constituted 19.5 and
                             11.1 percents, respectively, of the students enrolled at the Academy.


                             Performance indicators show that women have not fared as weIl as men
Results in Brief             with regard to class standings; academic, physical education, and military
                             grades; outcomes of the conduct and honor systems; and attrition rates.
                             Minority students have not fared as weII as white students on these same
                             indicators.

                             GAO used statistical significance tests and a rule of thumb test based on
                             comparisons of subgroup percentages to assess the significance of gender
                             and racial disparities. In the gender comparisons of the 16 performance         a
                             indicators, GAO found significant differences in 12 that disfavored females
                             and in 3 that disfavored males. In white-minority comparisons using
                             17 indicators, GAO found significant differences in 12 that disfavored
                             minorities and in 1 that disfavored whites.

                             In addition, GAO surveyed midshipmen to determine their perceptions of
                             how women and minorities were treated at the Academy. The survey
                             revedled perceptions that women and minorities generally received
                             treatment equal to that of men and whites. However, a higher percentage
                             of men than women perceived that women were treated better, and a
                             higher percentage of women than men perceived that they were treated



                             Page2                                            GAO/NSIAD-93-54Naval Academy
             Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 172 of 292
                             Executive Summary




                             worse. Similarly, a higher percentage of whites than minorities perceived
                             that minorities were treated better, and a higher percentage of minorities
                             than whites perceived that they were treated worse.

                            The Academy has taken a number of steps to better address the
                            assimilation of women and minorities. The Academy, however, does not
                            have a comprehensive data base to analyze student performance
                            indicators to identify signifkant gender or racial disparities. The Academy
                            has not documented the implementation of prior equal opportunity
                            recommendations.


Principal Findings

Gender Differences in       Although women had higher Scholastic Aptitude Test scores and Academy
Academy Student Data        success predictor scores than men, women on average had lower grade
                            point averages as freshmen and sophomores and lower class standings as
                            seniors. They also had lower military performance grades and rankings.

                            Freshman women had higher conviction rates for conduct offenses,
                            particularly for more serious offenses. A higher percentage of women than
                            men were charged with an honor system offense, such as lying or cheating,
                            and their cases were dropped less often.

                            For the classes of 1980-91,the average attrition rate for women was
                            33 percent, compared with 23 percent for men.


Racidi Differences in       Minorities entering the Academy generally had lower Scholastic Aptitude
Academy Student Data        Test and Academy success predictor scores than whites and generally
                            received lower grades and had lower class standings. For the classes of
                            1988-91,the percentage of minorities in the lowest quartile of class
                            standings ranged from 36 to 44, compared with 22 to 23 percent of whites.
                            Regression analysis results indicated that a correlation between lower
                            grades and minority students existed even after the difference in success
                            predictor scores was accounted for. Minorities also received lower
                            military performance grades, rankings, and physical education grades than
                            whites.




                            Page 8                                           GAO/NSIAD-99-54Naval Academy
           Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 173 of 292




                              Minority students had higher conviction rates for conduct offenses than
                              whites. l%norities were charged with and convicted of honor system
                              offenses at higher rates than whites. However, the Academic Board has
                              retained academically deficient minority and white students at about the
                              same rate.

                              For the classes of 1980-91,the average attrition for minorities was
                              30 percent, compared with 23 percent for whites.


Perceptions of Treatment      The majority of midshipmen responding to a GAO questionnaire perceived
of Women and Minorities       that women and minorities generally received the same treatment as men
                              and whites by faculty members and by disciplinary boards. However,
                              about half of the men and one-third of the women responded that women
                              received better treatment by the Academic Board. White and minority
                              respondents had similar perceptions that minorities received better
                              treatment by the Academic Board.


Academy Actions to            In the past few years, the Academy has taken a number of steps to address
Address Issues That Affect    issues affecting women and minorities. It has begun efforts to increase
Women and Minorities          female and minority representation among Academy faculty and brigade
                              officers, established a support/intervention program for academically
                              at-risk midshipmen and an equal opportunity program that includes an
                              annual climate assessment, and placed minority and women graduates in
                              every community in the naval service.

                              These actions should improve the treatment of women and minorities.
                              However, the Academy and others have had difficulties obtaining data
                              needed to determine the extent of any disparate treatment or any
                              improvement in treatment due to the absence of a comprehensive data           a
                              base. The reviews conducted as part of the Academy’s equal opportunity
                              program identified gender and racial disparities, but the significance of
                              these disparities was not tested. Finally, the Academy did not prepare a
                              document outlining actions to be taken in response to the reviews’
                              recommendations, making evaluation of the effectiveness of the corrective
                              actions more difficult.


                              GAO recommends that the Superintendent of the Naval Academy take
Recommendations               actions to improve the monitoring and evaluation of gender and racial
                              disparities. Such actions should include developing a comprehensive data



                              Page 4                                          GMNNSIAD-93-54Naval Academy
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 174 of 292




                         base, establishing criteria for determining significant differences on
                         student data indicators, and preparing an equal opportunity program
                         document to track recommendations and corrective actions.


                         GAO did not obtain fully coordinated Department of Defense comments on
Agency Comments          the report. However, GAO provided a draft of this report to senior officials
                         from the Academy and cognizant off%Ws of the Chief of Naval Operations
                         and the Department of Defense and discussed it with them. They
                         suggested a number of technical clarifications, which have been
                         incorporated in this report, and indicated that the Academy was taking
                         actions in line with most of GAO’srecommendations.




                        Page 5                                           GMMNSIAD-99-54Naval Academy
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 175 of 292

Contents


Executive Summary                                                                                    2

Chapter 1                  Minorities Have Attended the Academy Since 1872
                                                                                                     8
                                                                                                     9
Introduction               Women Were First Admitted to the Academy in 1976                         10
                           Several Incidents Raised Concerns About Treatment of Women               12
                             and Minorities
                           Objectives, Scope, and Methodology                                       13

Chapter 2                  Student Perceptions of the Treatment of Women
                                                                                                    16
                                                                                                    16
Academy Indicators         MJority of Performance Indicators Disfavored Women                       17
Reveal Gender
Disparities
Chapter 3                  Student Perceptions of the Treatment of Minorities
                                                                                                    34
                                                                                                    34
Academy Indicators         Majority of Performance Indicators Disfavored Minorities                 35
Reveal Racial
Disparities
Chapter 4                  Actions Resulting From the 1990 Study on the Assimilation of
                                                                                                    53
                                                                                                    53
Academy Is                    Women
Addressing Women           Actions Resulting From the 1989 Study on Minority Midshipmen             54
                           Actions Resulting From the 1991 CMEO Assessment                          56
and Minority Issues,       Assessments Hampered by back of Consolidated Data Base                   67
but Further Actions        Conclusions                                                              68
he Needed                  Recommendations                                                          59    b
                           Views of Agency Officials                                                69

Appendixes                 Appendix I: Questionnaire Methodology
                           Appendix II: Analysis of Academy Data
                                                                                                    60
                                                                                                    62
                           Appendix III: Sample Conduct System Offenses by Increasing               67
                             Levels of Seriousness
                           Appendix TV: Major Contributors to This Report                           68

Tables     y               Table 2.1: Summary of Gender Comparisons
                           Table 3.1: Summary of Racial Comparisons
                                                                                                    18
                                                                                                    36




                           Page 6                                         GAD/NSIAD-98-64 Naval Academy
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 176 of 292
                          Content8




                          Table I. 1: Sampling Errors for Subgroups                            61

Eigures                  Figure 1.1: Percentage of Minority Groups in Student Body
                         Figure 2.1: Student Perceptions of Treatment of Women by
                                                                                               10
                                                                                               17
                            Various Academy Groups
                         Figure 2.2: Percentage of Applicants Designated as Qualitled          20
                            Nominees by Gender
                         Figure 2.3: Average Predictor Scores by Gender                        21
                         Figure 2.4: Semester Grade Point Averages by Gender                   22
                         Figure 2.6: Average Midshipman Officer and Company Officer            24
                            Rankings by Gender, Classes of 1988-90
                         Figure 2.6: Representation of Women in S&riper Positions              26
                         Figure 2.7: Fourth Class Midshipman Conduct Offense Conviction        27
                            Rates by Gender
                         Figure 2.8: Honor Violation Charge Rates by Gender                    28
                         Figure 2.9: Honor Case Drop and Conviction Rates by Gender            29
                         Figure 2.10: Academic Board Separation Rates by Gender                30
                         Figure 2.11: Attrition Rates by Gender                                32
                         Figure 3.1: Student Perceptions of Treatment of Minorities by         36
                            Various Academy Groups
                         Figure 3.2: Percentage of Applicants Designated as Qualified          37
                            Nominees by Race
                         Figure 3.3: Admission Rates for Qualified Nominees by Race,           38
                            Classes of 1988-91
                         Figure 3.4: Average Predictor Scores by Race                          39
                         Figure 3.6: Semester Grade Point Averages by Race, Classes of         40
                            1988-91
                         Figure 3.6: Physical Education Grades by Race                         42
                         Figure 3.7: Average Midshipman Officer and Company Officer            44
                            Rankings by Race                                                         a
                         Figure 3.8: Representation of Minorities in SStriper Positions        46
                         Figure 3.9: Fourth Class Midshipman Conduct Offense Conviction        47
                            Rates by Race
                         Figure 3.10: Honor Violation Charge Rates by Race                     48
                         Figure 3.11: Honor Case Drop and Conviction Rates by Race             49
                         Figure 3.12: Academic Board Separation Rates by Race                  61
                         Figure 3.13: Attrition Rates by Race                                  62

                         Abbreviations

                         CMEO        Command Managed Equal Opportunity
                         DOD         Department of Defense
                         SAT         Scholastic Aptitude Test


                         Page 7                                       GMUNSIAD-93-64 Naval Academy
            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 177 of 292
Chapter 1

Introduction


                               In 1846, the Secretary of the Navy founded the Naval School at Fort Sever-n
                               in Annapolis, Maryland. Five years later, the school was reorganized as the
                               U.S. Naval Academy. The Academy provides a 4-year program that
                               includes college education and military and physical training. According to
                               the 199182 Academy catalog, the Academy’s mission is “To develop
                               midshipmen morally, mentally and physically and to imbue them with the
                               highest ideals of duty, honor and loyalty in order to provide graduates who
                               are dedicated to a career of naval service and have potential for future
                               development in mind and character to assume the highest responsibilities
                               of command, citizenship and government.”

                               As of September 30,1991, in the beginning of academic year 1992,4,270
                               midshipmen (students) attended the Academy, of whom 803 were
                               minorities1 and 437 were women. There were 1,031 graduates in the class
                               of 1992, including 162 minorities and 96 women. Midshipmen receive pay,
                               amounting to $643.90 a month, while attending the Academy. In return,
                               they agree to serve a minimum of 6 years on active duty after graduation.2
                               Graduates are commissioned as ensigns in the Navy or as second
                               lieutenants in the Marine Corps.

                               The Academy admits men and women between the ages of 16 and 22 who
                               are found to be scholastically qualified, pass a physical aptitude
                               examination, and are medically qualified. The Academy also looks at
                               nonathletic activities and part-time employment or titary      service as
                               indicators of ability to manage time and of leadership potential. In 1991,
                               those accepted for admission had average Scholastic Aptitude Test scores
                               of 670 in verbal and 669 in math, which were considerably higher than the
                               1991 national average scores of 422 in verbal and 474 in math.

                               The Academy also considers desired class composition of minorities and                              ,
                               women in its selection of applicants. The Academy uses the “Chief of
                               Naval Operations’ goals” as a basis for establishing targets. Its targets for
                               blacks are 7 percent and 4 percent for Hispanics, which are the same as
                               for the fleet. The goals call for the number of women to graduate and
                               access into the Navy to be proportionate to the fleet female population in
                               the areas that women can serve, about 10 percent. The Academy accepts a
                               greater percentage of women and minorities to allow for attrition and still
                               achieve the Chief of Naval Operations’ accession goals.


                              ‘The term “minority,” as used in this report, includes minority women. Similarly, the term “women”
                              includes minority women.

                              *Prior to the class entering in 1992, midshipmen agreed to serve a minimum of 6 years.



                              Page 8                                                           GAOINSIAD-98-54 Naval Academy
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 178 of 292
                         Chapter 1
                         Inixoduction




                         While blacks have attended the Academy since the reconstruction era,
Minorities Have          until fairly recently they and other minorities have been few in number.
Attended the             Between 1872 and 1937, five blacks attended the Academy, but none
Academy Since 1872       graduated. The first black to graduate was in the class of 1949. During the
                         two decades following his graduation, 54 blacks entered the Academy, and
                         35 graduated. By 1970,l.S percent of the midshipmen were black, a
                         percentage that has increased over fourfold in the ensuing two decades.
                         As of September 30,1992, there were 7.4 percent blacks enrolled in the
                         Academy.

                         Data on minorities other than blacks were not available for the early years
                         at the Academy. However, as of September 30,1992, other minorities
                         comprised 12.1 percent of those enrolled at the Academy, as shown in
                         figure 1.1.




                        Page 9                                          GAWNSIAD-93-64Naval Academy


                                                                                        .,
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 179 of 292
                                      chapter 1
                                      Introduction




Fi~uro 1 .l : Percentam of Mlnorltv
C&up8 In Student Body (as of -
September 30, 1992)                                                                                7.4%
                                                                                                   Blacks
                                                                                                   6.4%



                                                     I
                                                                                                   Hispanics
                                                                                                   4.0%
                                                                                                   Asians
                                                                                                   0.9%
                                                                                                   Indians/Native Americans




                                                                                                   Whites




                                      Source:Academy records.


                                                                                                                                           a
                                      For 131 years, the Academy operated in an all-male environment. In 1975,
Women Were First                      Congress authorized women to enter the service academies, and 81
Admitted to the                       women were admitted to the Academy in 1976.3Fifty-five of these women
Academy in 1976                       graduated 4 years later with the class of 1980. In 1984, Midshipman
                                      Kristine Holderied became the first woman to graduate at the top of her
                                      class at any service academy.

                                      As of September 30,1992, women comprised 473 (11.1 percent) of the
                                      4,267-member Brigade of Midshipmen. The brigade is divided into
                                      36 companies, all of which live in Bancroft Hall, a dormitory. There are

                                      Tublic Law 94-106 (10 U.S.C. 6964).



                                      Pyle 10                                                               GAWNSIAJl-93-64Naval Academy



                                                                  7.   ,.   ‘I   .   .L.‘,,   ,.
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 180 of 292
                chapter 1
                Introducdon




                approximately 9 to 12 women in each company, with 3 normally assigned
                to a room. The number of women who entered the class of 1996 in
                July 1992 is the largest number ever admitted in any class and constituted
                12 percent of the freshman class.

                The integration of women into the academies had been characterized as
                one of the most controversial issues surrounding women in the military in
                the 1970s.4The Department of Defense (DOD) opposed the legislation
                proposing the admission of women to the service academies and testified
                against it. Each of the Academy superintendents and each service
                secretary, among others, testified against it. During congressional hearings
                in 1972, the debate was often very strong. For example, a Navy captain,
                expressing his view against integrating the Academy, stated, “The (Naval)
                Academy exists for one viable reason, to tram seagoing naval officers. . . .
                There is no room, no need, for a woman to be trained in this mode, since
                by law and by sociological practicalities, we would not have women in
                those seagoing or warfare specialties.”

                In September 1973, law suits were brought against the Air Force and the
                Navy by two women who wanted to enter those academies and by four
                Members of Congress who objected to being required to discriminate on
                the basis of sex in making nominations for the academies. Also, from 1972
                to 1974, Congress considered various proposals permitting the admission
                of women to the academies.

                In April 1974, the three military departments simultaneously promulgated
                almost identical official statements totally opposing admitting women to
                their respective academies. During congressional hearings in 1974, Army
                Secretary Callaway stated, “Admitting women to West Point will
                irrevocably change the Academy. The Spartan atmosphere-which is so                                a
                important to producing the final product (combat leaders)-would surely
                be diluted.”

                President Ford, nevertheless, signed Public Law 94-106 on October 7,1975,
                requiring the services to admit women to the academies. At each
                Academy, the class of 1980, the fmt class with women, entered in 1976.




                ‘Major General Jeanne Holm, U.S. Air Force (Ret.), Womty in ,the Military An Unfinished
                &wolution(Presidio Press Novato, California, laS2); Juchth H ks S hm Bring Me Men and Women:
                Mandated Change at the U.S. Air Force Academy (University bfCali~ti;Pmss,      Berkeley and LQS
                Angeles, California, lD81).



                Page 11                                                      GAO/NSlAD-93-64Naval Academy



                                                  !! ..I,,
                                                ‘,,,,.:                                                     ‘.
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 181 of 292
                           Chapter 1
                           introduction




Several Incidents          attention, raising concerns about how female and minority midshipmen
Raised Concerns            were being treated. For example, in the spring of 1990, a female student,
About Treatment of         who was in her second year, left the Academy after an incident in which
                           she was handcuffed to a urinal in the men’s room and other midshipmen
Women and Minorities       gathered, with some taking pictures. The Academy investigated that
                           incident, and two midshipmen received demerits6 The reasons the woman
                           cited for leaving the Academy included her disillusionment with the failure
                           of Academy officials to take appropriate action and their inability to see
                           that what happened to her was not an isolated incident, that norms
                           regarding women were not appropriate, and that their passive acceptance
                           of such behaviors help perpetuate their continuation.

                           In 1989, a Hispanic man resigned from the Academy after being found
                           guilty of violating the honor concept. He was charged with lying about
                           whether he had run on a particular day. During the noontime meal, when
                           freshmen can be required to make daily recitations using quick recall, an
                           upperclass midshipman asked this man whether he had participated in
                           physical activity over the previous weekend. He replied that he had run
                           when he actually had not. Although he subsequently corrected his
                           misstatement, he was charged with an honor violation. He alleged that the
                           midshipman who questioned him about his running had been engaged in a
                           hazing campaign against him. The Academy’s investigation concluded that
                           he had not been hazed, citing that the incident the man complained of was
                           an Army Week prank that warranted counseling for the members involved
                           and brigade-wide education prior to Army week. However, an investigator
                           for the DOD Inspector General, who looked into the allegation, concluded
                           that the midshipman had been hazed. In 1990, a Hispanic man resigned
                           during the second semester of his freshman year, citing physical threats
                           and harassment at the Academy. Entries made in a contemporaneous diary                                 a
                           he kept indicated that other midshipmen made demeaning statements
                           about him, made him eat and drink until he vomited, and threatened him
                           with a pool cue. He reported these incidents to Academy officials during
                           his resignation process. Academy officials found that those midshipmen
                           committed the conduct offenses of “abuse of the fourth class
                           indoctrination” and “interfering with an individual performing a duty,” but
                           not the offense of hazing.




                           6Acconling to Academy offkials, letters of caution (admhGstrative warnings that do not become a part
                           of any permanent personnel file) were also issued to those midshipmen.



                           Page 12                                                         GACVNSIAD-9364 Naval Academy
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 182 of 292
                          Chapter 1
                          I.ntroductlon




Objectives, Scope,        Chairman of its Subcommittee on Manpower and Personnel asked us to
and Methodology           examine the treatment of women at the Academy. Subsequently, former
                          Congressman Albert G. Bustamante asked us to review the treatment of
                          minorities. This report responds to both requests. Our objectives were to
                          (1) identify midshipmen’s perceptions regarding the fairness of treatment
                          of female and minority midshipmen, (2) assess whether significant
                          differences exist between men and women and between whites and
                          minorities on a variety of performance indicators, and (3) determine what
                          actions the Academy has taken to enhance the assimilation of women and
                          minorities into the Academy. This report does not address the causes for
                          the gender or racial differences in the performance indicators.

                          We performed our review at the Academy, where we reviewed policies,
                          regulations, and procedures and interviewed Academy officials and faculty
                          members. We also administered questionnaires to 627 midshipmen. The
                          questionnaires covered a range of student-related subjects, including the
                          treatment of women and minorities. A detailed description of the
                          questionnaire and related methodological issues appears in appendix I.

                          The performance indicator data we used to make gender and racial group
                          comparisons covered a spectrum of student experiences beginning with
                          application for admission through graduation. The available data varied in
                          the time periods covered. Some data were available by class year, some
                          data were available by academic year, while other data were available
                          from secondary sources.

                          Indicators relevant to the admissions process are the percentage of
                          applicants judged to be fully qualified, the percentage of qualified
                          applicants admitted, and the Academy success predictor scores6 of
                          admitted applicants.

                          We examined a number of performance indicators in the three main
                          Academy program areas: academic, physical, and military. In the academic
                          area, we analyzed academic grade point averages. W ith regard to physical
                          performance, we reviewed physical education grades and success in
                          passing the Academy’s swimming requirement. In the military area, we
                          examined a number of elements of the military performance system,


                          OAcademyadmissions officials derive success predictor scorea for Academy applicanta based on
                          evaluation of their Scholastic Aptitude Test scores, high school graduation rankings, teacher
                          recommendations, extracurricular activities, and a career interest inventory test These acorea are
                          intended to measure an applicant’s likelihood for succeeding at the Academy.



                          Page 18                                                          GAWNSIAD-88-64 Naval Academy
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 183 of 292
                  chapter 1
                  lntroductlon




                  including military performance grades, midshipman officer and company
                  officer ranldngs,7 and representation in top student leadership positions.

                  We also used a variety of indicators of experience with the Academy’s
                  primary adjudicatory systems--conduct, honor, and academic review.
                  W ith regard to the conduct system, we analyzed offense rates for the three
                  most serious conduct offense levels.* For the honor system,Qwe examined
                  the percentage of (1) individuals charged with honor offenses, (2) cases
                  dropped, and (3) convictions. We also examined the representation of
                  various subgroups on the honor committees. W ith regard to academic
                  review, we analyzed the Academic Board’s dismissal decisionslO

                  We also reviewed several indicators of overall performance, including
                  attrition rates, reasons for attrition, graduation rates, and class standing at
                  graduation.

                  We used statistical significance tests and a rule of thumb (called the
                  “four-frlfths” test) based on comparison of subgroup percentages to assess
                  whether any observed gender or racial disparities were significant. A
                  detailed description of the kinds of performance indicators used, the
                  source of that data, and the types of tests used to assess differences
                  appears in appendix II.

                  To assess whether any regularity existed with regard to the direction of
                  observed differences, we counted the number of times each subgroup was
                  lower or higher on each measure for each period we examined. We then


                  ‘Each semester, midshipmen oftkers and company officers ranked the midshipmen In their respective
                  companies according to military performance.
                                                                                                                           4
                  8Academyconduct offenses are categorized into six levels of seriousness, labeled 1000 through 6000.
                  Sample offenses at each of these levels are shown in appendix III. Levels 1000 through W O Ocover less
                  serious infractions, and punishments are awarded at the company level. Punishments for more serious
                  infmtiona (levels 4000 through 6000) are awarded at the battalion level or higher. Punishments range
                  from five demerits, O-6days of restriction or O-6tours (imposed only for fre8hmen) for a 1000 level
                  offense to 100 demerits, 60 days of reatrictionMS tours, loss of 1 year of prlvilegee, and leave or
                  possible dismissal from the Academy for a level 6000 offense.

                  @Ihehonor concept at the Academy states simply that “midshipmen are persons of integrity. They do
                  not lie, cheat or steal.” Adjudication under the honor system consists of multiple steps, including
                  honor investigations, Brigade Honor Board hearings, honor hearings before the Commandant,
                  Superintendent’s review of C~WE+and final Academy action, which can include a recommendation for
                  dismissal by the Superintendent.

                  *OBythe authority of 10 U.S.C. 6963, the Academic Soard may dismiss from the Academy midshipmen
                  found deficient. The Board is made up of seven voting members: the Superintendent, the
                  Gmmandant, the Academic Dean, the dlrectom of the three academic divisions, and the Director of
                  Professional Development The Board meets once each semester and during the summer to consider
                  the cases of midshipmen who have become academically deficient.


                  Page 14                                                          GAWNSLUM8-64        Naval Academy
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 184 of 292
                 chapter 1
                 IntPOdUCtlOU




                considered the likelihood of getting that observed distribution of lows and
                highs if there were no systematic differences between the subgroups.

                We did not obtain fully coordinated agency comments on the report.
                However, we provided a draft of this report to senior officials from the
                Academy and cognizant officials of the Chief of Naval Operations and DOD
                and discussed it with them. They suggested a number of technical
                cltications,  which have been incorporated in this report.

                We conducted our review from March 1991 to November 1992 in
                accordance with generally accepted government auditing standards.




                Page 16                                         t3MNNSlAD-BBl4Navrl   Academy
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 185 of 292

Academy Indicators Reveal Gender
Disparities

                           On average, women have not fared as well as men with regard to
                           qualification rates, semester grade point averages, physical education
                           grades, military performance grade averages, midshipman officer rankings,
                           officer rankings, conduct and honor charge and conviction rates, honor
                           representatives, Academic Board separation rates, attrition rates,
                           motivation-related attrition rates, and overall class standings. The majority
                           of students we surveyed perceived that women were treated the same as
                           men.


                           In our questionnaire, we asked respondents to indicate whether they felt
Student Perceptions        women were treated better than, the same as, or worse than men by
of the Treatment of        military faculty, civilian faculty, company officers, conduct boards, honor
Women                      boards, and academic boards. The majority of both male and female
                           respondents believed that women were treated the same as men. However,
                           a higher percentage of men than women perceived that women were
                           treated better, and a higher percentage of women than men perceived that
                           they were treated worse (see fig. 2.1).




                           Pqe 16                                           GAWNSIAD-W-64 Naval Academy



                                                                                        ‘_        ,.
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 186 of 292




Rwe 2.1: Student PercePtIons of
Trkmont of Women by \iarloue      Percent of respondents
Acedemy Group8
                                  100   r-T----I




                                        Treatment
                                        by...

                                        Civilian            Military                       Honor
                                        faculty             faculty                        boards


                                           1        ] Women treated better than men

                                                     Women treated the same as men
                                                                                                                    A
                                                     Women treated worse than men



                                  Source: Responses to GAO’s questionnaire.




                                  Overall, as summan‘zed in table 2.1, we made gender comparisons across
Majority of                       16 indicators, covering all areas of Academy performance. We found
Performance                       significant differences in 12 of the 16 indicators that disfavored females
Indicators Disfavored             and in 3 of the 16 indicators that disfavored males. A discussion of these
                                  indicators and our analysis follows the table.
Women

                                  Page 17                                             GACMNSIAD-98-64
                                                                                                    Naval Academy
                    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 187 of 292
                                                Chapter 2
                                                Academy Indiertorcl Reveal Gender
                                                D@uider




Table 2.1: Summarv of Gender Comoarlsonr
                                                                                               Comparison8                Comparisons        Men and
                                                                        Number of            that disfavored            that disfavored       women
Performance indicator                   Data available                comparisons                        men                     women         equal
Qualification rate (fig. 2.2)           Classes of 1988-91                        4                           0 (0)                 4 (3?          0
Admission rate C (see text)             lasses of 1988-91                         4                           1 (0)                 2 (lb)         1
Success predictor scores                Classes of 1988-9 1                       4                           4 (4b)                0 (0)          0
  (fig. 2.3)
Academic grade point averages,          Classes of 1988-91                            8                       4 (2b)               4 (2b)          0
 bv semester (fia. 2.4)
Physical education grades               Academic years                                2                          0                     2d          0
 (see text)                               1990-g 1,
                                          2 semesters
Military performance grades, by         Classes of 1988-91                          32                        4 (0)               28 (4b)         0
  semester (see text)
Midshipman officer rankings             Classes of 1988-90                          24                        1 (0)              23 (14b)          0
  (fig. 2.5)
Company officer rankings (fig. 2.5)     Classes of 1988-90                          24                        6 (0)               18 (4b)         0
Representation among 3-stripers         Classes of 1983-91                           9                           5                    4d          0
  (fig. 2.6)
Fourth class conduct offenses           Academic years                                9                       4 (0)                5w             0
  (4000-6000 levels) (fig. 2.7)           198890
Honor charge, drop, and                 Academic years                                6                       0 (0)                6 (5’)         0
  conviction rates (fig. 2.8 and 2.9)     1990-91
Honor representation rate (see          Academic year 1991,                           2                       0 (0)                2 c.3          0
  text)                                   2 semesters
Academic Board separation rate          Academic years                                1                       1 (la)               0 (0)          0
  (fig. 2.10)                             1988-91
Attrition rate (fig. 2.11)              Classes of 1980-91                           12                       0 (0)               12 (8c)         0
Voluntary resignations (see text)       Combined classes of                           1                       0 (0)                1 (lb)         0
                                          1980-94
Order of merit top quartile rate        Classes of 1988-91                            4                       2 (0)                2 (lb)         0    1,
 (see text)
                                               Note: ( ) indicates the number of significant differences using one or both types of tests.
                                               B Significant using 4/5s test.

                                               b Significant using statistical significance test.

                                               c Significant using statistical significance and 4/5s tests.

                                               d Unable to test significance due to data limitations.




                                               Page 18                                                                 GAO/NSIAD-93-54Naval Academy



    I       ,”
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 188 of 292
                                  chapter 2
                                  Academy Indicatora Reveal Gender
                                  Dioparitier




Some Gender Disparities           Women applied for admission to the Academy at a much lower rate than
Found in Qualification            men and were less likely to be found qualified. Admission rates for
Rates, but Admission Rates        qualified male and female applicants were basically the same. Average
                                  success predictor scores were significantly higher for women than for
Were Comparable                   men.

Qualification   Rates             Admission standards, with the exception of some allowances for physical
                                  differences, are the same for women and men. Not all applicants meet the
                                  Academy’s admission standards. Applicants who meet the academic and
                                  leadership potential criteria are called qualified nominees.

                                  Women applied for admission to the Academy at a much lower rate than
                                  men. For each of the classes of 1988-91,male applicants were consistently
                                  designated as qualified nominees at higher rates than females (one gender
                                  comparison for each of four classes).’The higher rate for men was
                                  significant for the classes of 1988 and 1991, as shown in figure 2.2.




                                  IFor presentation purposes, we do not always illustrate each comparison that we made because the
                                  pattern across semesters or class years was often similar. Where we made comparisons for multiple
                                  yeam or aemesten3,we parenthetically note the numbers of comparison8 we made.



                                  Page 19                                                         GAWNSIAD-93-M Naval Academy
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 189 of 292
                                       Chapter 2
                                       Aculemy Indicatire Eeverl Gender
                                       Dbparitiee




Flgun 2.2: Percentage of Applicantr
thoignrted II) QuaIlfled Nominee8 by   20   Pmont

                                       18

                                       16                                          r
                                       14

                                       12

                                       10

                                        8

                                        6

                                        1

                                        2

                                        0




                                       Qifference was significant using one or more tests.


                                       Source: GAO analysis of Academy records.


Admission Rates                        For the classes of 198889, we found that qualified male nominees were
                                       admitted at higher rates than qualified females. For the class of 1990, the
                                       admission rate for qualified women was slightly above the rate for
                                       qualified men. For the class of 1991, qualified men and women were
                                       admitted at the same rate. The higher rate for admitting men was
                                       significant for the class of 1933 (one comparison for each of four classes).

Success Predictor Scores               Our review of the predictor scores for midshipmen admitted to classes
                                       1933-91showed that the average predictor scores were higher for women
                                       than for men and that the differences were significant (see fig. 2.3, one
                                       comparison for each of four classes). The scholastic prediction system
                                       used in the admissions process is aimed at identifying applicants most
                                       likely to perform well at the Academy. If predictor scores are considered
                                       valid indicators of success, we would expect that for these classes, on
                                       average, females would be more successful at the Academy than males.




                                       Page 20                                               GAWNSIAD-9854   Naval Academy
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 190 of 292
                                          chapter 2
                                          Academy Indicrtorr Raved Qender
                                          DSqmrlUe~




Flgum 2.3: Average PredIctor Scores
by Gander                                 70   PoInta (thouundr)




                                               Class of            Clasa of            Clan8 of            Clam of
                                               1988                1989                1990                1991


                                          Note: Differences were significant using one or more tests for each class.

                                          Source: GAO analysis of Academy records.




Women Were Generally                      In general, we found the following:
Less;Successful Than Men                                                                                                                  4
in Aqademic, Physical, and            . Men got higher academic semester grades than women as freshmen and
                                        sophomores, but women got higher grades than men as seniors.
Military Performance                  l Women’s average physical education grades were lower than men’s.
                                      l Women generally got lower average military performance semester grades
                                        than men.
                                      l Women were generally selected for midshipmen leadership positions at a
                                        rate proportional to their representation in the brigade.

Academic Grades of Females                We combined the classes of 198&91 together and looked at the academic
Began Lower Than Those of                 grades on a semester-by-semester basis and found that men received
Males but Later Ex’ceeded                 significantly higher grades than women in their freshman and sophomore
Them                                      years, while women got significantly higher grades than men in their




                                          Page 21                                                         GAOhISIAD-9254   Navat Acdemy
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 191 of 292
                                   Chapter 2
                                   Academy Indicator &veal Gender
                                   Dimparitieo




                                   senior year (see fig. 2.4). This analysis involved gender comparisons for
                                   eight semesters for four classes, totaling 32 comparisons. The semester
                                   grades for the four classes have been combined in figure 2.4 for ilhrstrative
                                   purposes.


Flguro 2.4: Semerter Grade Point
Averages by Oender                 3.2 cbd8 pdm rv8mfp




                                         -       Men
                                         --      Women
                                   ‘Difference was significant using one or more tests.


                                   Source: GAO analysis of Academy records.


Female Physical Education          Physical education standards at the Academy were derived on the basis of
Grades Were Slightly Below         historical achievement of separate gender groups over time, and they are
Those of Males                     intended to compensate for the physiological differences between men
                                   and women. For example, the standard for a perfect score of 100 for the
                                   1.6 mile run is 1 minute and 10 seconds less for men than for women; the
                                   physical readiness test standard for the maximum points for push-ups is 36




                                   Page 22
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 192 of 292
                                Chapter 2
                                Academy Indlcatmu   Reveal Gender
                                Di8paritie8




                                more for men than women; and the minimum time for the obstacle course
                                is 46 seconds slower for women. Additionally, women are required to take
                                self-defense and combative grappling instead of the required boxing and
                                wrestling for men. According to a March 1991 assessment of the
                                Academy’s equal opportunity climate, many males perceived these
                                differences in physical education standards as favoritism toward women.

                                Despite the perception of favoritism in physical education standards
                                toward women, the overall average physical education grades for
                                academic year 1939-90were 2.67 for men and 2.62 for women, a difference
                                of 0.16 points (or about 6.6 percent lower for women). For academic year
                                1990-91,the average physical education grades were 2.69 for men and 2.66
                                for women, a difference of 0.14 points (or about 6.2 percent lower for
                                women). Analysis of the physical education grades involved one
                                comparison for each of two semesters for which data were available.

Female Military Performance     The 36 company offricers are each responsible for 100 to 120 midshipmen.
Was Slightly Below Male         One of their key responsibilities is to evaluate the military performance of
Military Performance            the midshipmen in their charge. Military performance data showed that
                                women generally received lower grades and rankings than men, but were
                                selected for leadership positions at the same rate as men.

                                Military   Performance       Grades

                                In reviewing all eight semesters of military performance data for the
                                classes of 198891, we found that women consistently received lower
                                average military performance grades than men as freshmen (gender
                                comparisons for eight semesters for four classes, totaling 32
                                comparisons). In 28 of the gender comparisons, women had lower military
                                performance grades. The differences were greatest in their freshman year,         4
                                but the differences generally decreased over the I-year period. The
                                differences were significant when viewed over the eight-semester period
                                for each of the four classes.

                                Midshipman      Officer and Company Officer Rankings

                                The rankings that midshipmen receive from their midshipman officers and
                                company officers contribute to their semester military performance grade.
                                A midshipman’s rank could range from 1 (best) to about 30-36 (worst),
                                depending on the number of midshipmen of their same class in the
                                company. Figure 2.6 shows that the average ranking received from
                                midshipmen officers was lower for women than men. Further, the



                                Page 22                                          GMNNSIAD-93-64   Naval Academy
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 193 of 292
                                       clla9tur 2
                                       Academy rndie&tora r&wed Gender
                                       DLparltie8




                                       midshipman oftlcer rankings showed greater differences between men and
                                       women than the company officer rankings (see fig:2.6). The gender
                                       differences in average rankings by midshipman officers and company
                                       officers generally were significant. This analysis involved gender
                                       comparisons for eight semesters for three classes, totaling 24
                                       comparisons. The semester rankings by midshipman officers and company
                                       officers for the three classes have been combined in figure 2.6 for
                                       illustrative purposes.


Flgure 2.5: Average Midshipman
Officer and Company Officer Ranklngr   20   Averrw, numbor of mldshlpmon nnkod as bttr
by bender, Clark    bf lg88-90




                                       14



                                       12



                                       10




                                              Midrhipman officer                      Company officer
                                              ranklngr                                ranking8

                                              II       Men

                                                       Women


                                       Note: A ranking of number 1 is best.


                                       BOifference was significant using one or more tests.


                                       Source: GAO analysis of Academy records.




                                       Page 24                                                          GAWNSIAD-93-64   Naval Academy



                                                                        ’
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 194 of 292
                                      chapter 2
                                      Academy Indhto~        Raved Gender
                                      DiNparltie!a




                                      3-Striper Representation

                                      In reviewing data on midshipman leadership positions held by gender for
                                      academic years 1983-91,we found that from academic years 1983437
                                      female representation at the V&riper” level (midshipman officer rank of
                                      lieutenant and above) was both above and below female representation in
                                      the brigade. For academic years 198891, female representation in these
                                      positions was about equal to their representation in the brigade (see
                                      fig. 2.6). This analysis involved one comparison for each of the 9 years for
                                      which data were available.


Figure 2.6: Representation of Women
In ?CStrlpar Porltlon8                12   Porwnt
                                      11




                                           -        Percentage of women in the class
                                           -    -   Percentage   of bstripers   who are women

                                      Source: Academy records.




Women Had Higher                      In five of nine comparisons, we found that female freshmen were
Disciplinary and Honor                convicted at significantly higher rates than male freshmen in the conduct
Offense Rates, but Lower              system. In the other four comparisons, the male rates were not
                                      significantly higher than the female rates. We also found that women were
Academic Dismissal Rates


                                      Page 25                                                   GAO/NSLtD-98454Nwal Academy
             Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 195 of 292
                                imptar 2
                                Academy IndlcWnu Reveal Gender
                                Diapartdeo




                                charged at higher rates than men in the honor system. This analysis
                                involved gender comparisons for each of 2 years for honor case charges,
                                drops, and convictions, and each of two semesters of honor
                                representatives, totaling eight comparisons. In academic year 1991, the
                                only year for which data were available, the number of women who served
                                as honor representatives was not in proportion to their representation in
                                their classes.

                                Over the last 4 years, the Academic Board had separated women at a
                                significantly lower rate than men.

Female Freshmen Were            In examining data on Academy conduct cases comprising the three highest
Convicted of Conduct Offenses   level offenses (4000,6000, and 6000 levels) for academic years 198890, we
at a Higher Rate Than Male      found a number of gender disparities. This analysis involved gender
Freshmen                        comparisons for each of the three conduct levels for each of the 3 years,
                                totaling nine comparisons. In five out of the nine comparisons, the
                                conviction rate for female freshmen significantly exceeded the male rate.
                                The conduct data for sophomores, juniors, and seniors did not reveal
                                gender disparities. The most striking differences were found in academic
                                year 198990, where female freshmen had higher conviction rates than
                                males at all three of the most serious offense levels. For example, in
                                academic year 1989-90,7 of 116 (6.1 percent) female freshmen were
                                convicted of the most serious level of conduct offenses (such as drinking
                                or being under the influence of alcohol while on duty), compared to 9 of
                                1,166 (0.8 percent) male freshmen (see fig. 2.7).




                                Pyle 26                                       GAWNSIAD-W-64 NavmlAcademy
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 196 of 292




Flgun 2.7: Fourth Cla88 Mldrhlpman   Conduct Offen      Convlctlon Rat88 by G8nd8r

Proont of Student Population
111




                                         Men                   Women                Men                   Women


       4000 level offenses               5000 level offenses                        6000 level offenses

       0        1887-08
       ~        ,Qm-8Q

       m        1989-90




                                          ‘Difference was significant using one or more tests.


                                          Source: GAO analysis of Academy records.                                                      a




                                          Page27                                                          GAWNSIAD-92-64NIvrl Academy
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 197 of 292




~~
Women Were Charged and               Our review of the honor cases in academic years 1990 and 1991 showed
Convicted of Honor Offenses at       that women were charged with honor offenses at a higher rate than men
a Higher Rate Than Men               (see fig. 2.8). During academic year 1991,14 of 412 (3.4 percent) women
                                     were charged with an honor offense, compared to 82 of 3,989 (2.1 percent)
                                     men. In addition, women charged with honor offenses had their csses
                                     dropped at a lower rate than men. Further, women who went before an
                                     honor board were found guilty at a higher rate than men (see fig. 2.9). This
                                     analysis involved comparisons for each year, All but one of these
                                     differences was significant.


FlgUr8 2.8: Honor Vlolrtlon Ch8rg8
Rat88 by 68ndOr                      6   Pmmt dmldohlpmon


                                     4



                                     a




                                     Note: Differences were significant using one or more tests for each year.

                                     Source: GAO analysis of Academy records.




                                     Page 28                                                         GA#NSIAD-92-54 Nmd Academy
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 198 of 292
                                  chaptsr 2
                                  Academy Indicator8 Reveal Gender
                                  lnapulder




Figure 2.9: Honor Cow Drop l d
Convlcrtlon R&t88 by Gender       100    Inporoanl

                                   90

                                   w

                                   70




                                            Aeadomloymr       ACademk year        Accdcmk year       Acadomlcymr
                                            19119-W           lwo-a1              1089-W             law-w


                                            Case drop rate                        Caw oonvlction rate            -
                                            (Charged)                             (Went before Honor Board)




                                  @Differencewas significant using one or more tests.


                                   Source: GAO analysis of Academy records.


Wom~n’s Participation as          Serving as an honor representative is one of many leadership positions
Hondr Representatives Was         available to first and second class midshipmen. Honor representatives play
Disproportionately Low            a key role in investigating alleged honor offenses and deciding guilt or                           4
                                  innocence in Brigade Honor Board proceedings. For academic year 1991,2
                                  women’s participation as honor representatives was disproportionately
                                  low. Three of the 79 honor positions for the class of 1991(3.8 percent)
                                  were filled by women, while the female composition of that class was
                                  8.7 percent. Three (3.8 percent) of the 79 honor positions for the class of
                                  1992 were filled by women, while 9.4 percent of the class were women.
                                  These differences in representation by men and women were significant.
                                  According to an Academy study, the low representation could be
                                  attributed in part to the high proportion of female varsity athletes (more

                                   *According to the Academy Ethics Offker, historical data on honor representatives by gender and
                                   racdethnicity do not exkt priorto academic year lQQ@Ql.



                                   Pue 28                                                         GAWNSIAD-82-64 Naval Academy
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 199 of 292
                                  Clmpter 2
                                  Academy Indicrtorr Reveal Gender
                                  D&pU-kh




                                 than 60 percent for females compared to 26 percent for males). Another
                                 Academy study noted that since the varsity women’s team captains hold
                                 midshipman officer positions while their sport is in sesson, a sizable
                                 percentage of senior women remove themselves from competition for
                                 regular midshipman officer positions.

Women Separatedby the            Our review of Academic Board separation decisions on academic
Academic Board at                deEciency cases for academic years 1988-91indicated several gender- and
Significantly bwer Rates Than    athlete-related differences. This analysis involved one gender comparison
Men                              for the Academic Board decisions data set that combined the 4 academic
                                 years. In general, the Academic Board dismissed academically deficient
                                 women at a lower rate than academically deficient men, 20 percent
                                 compared to 26 percent (see Eg. 2.10). This difference was significant in
                                 favor of women.


FlgUr8 2.10: Academic Board
Separstlon Rater by Gender       to0   Porcont of rcrdomlcrlly   dcflclont studonts sopsrated

                                  80
                                  W
                                  70
                                  60
                                  60
                                  40




                                       Total c              Athletes              Recruited     Nonathletes
                                                                                  sthletes


                                 Wference was significant using one or more tests.


                                 Source: GAO analysis of Academy records.




                                 Page 80                                                        GAWNSIAD-88-64Naval Academy
                    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 200 of 292
                                    Chhptm 2
                                    Academy Indicatma Reveal Gender
                                    Dlapdtlea




                                    The results of the questionnaires showed a high proportion of midshipmen
                                    (33 percent), faculty (73 percent), and commandant’s staff (67 percent)
                                    perceived that athletes received preferential treatment from the Academic
                                    Board. Since a higher proportion of females were athletes, we looked to
                                    see whether the lower dismissal rate of women was related to athlete
                                    status. We found that female athletes were dismissed at a lower rate than
                                    male athletes. These differences were greatest for female recruited
                                    athletes3 However, females who were not athletes were dismissed at a
                                    higher rate than males who were not athletes. According to Academy
                                    officials, these Academic Board decisions reflect the discretion Board
                                    members exercised in considering many factors such as value of the
                                    athlete’s contribution to the Academy, amount of effort the student is
                                    making to improve grades, prior performance and conduct, motivation and
                                    support the student may receive from athletic participation, and
                                    recommendations from officers and faculty members.


Women Left the Academy              We found that women were leaving the Academy at higher rates than men
at Higher Rates Than Men            and a higher percentage of women cited motivation-related reasons for
and Graduated Lower in              leaving than men. Also, in two of four classes, we found that
                                    proportionally fewer women graduated in the upper quarter of their class
Their Class                         than men.

Attrition   Rates                   For the classes of 1939-91,generally, female attrition was higher than male
                                    attrition, as shown in figure 2.11. This analysis involved one gender
                                    comparison for each of the 12 classes. The differences between the male
                                    and female rates of attrition met the tests for signi&ance in the classes of
                                    1932 through 1989.




                                    me distinction between the usage of the terma “athlet.e”and Vecruit~~I athlete” differentiates
                                    between midshipmen who compete to play a varsity sport after being admitted to the Academy and
                                    those who were mcruited to play a varsity sport before being admitted



                                    Page 81                                                       GMWNSIAD-93-64 Naval Academy
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 201 of 292




Flguro 2.11: Attrition Rato8 by Qender
                                         loo   Pawnt

                                          00

                                          00




                                               -        Men
                                               --       wcinm
                                         TMference was significant using one or more tests.


                                         Source: GAO analysis of Academy records.


Voluntary Resignations                   According to the registrar, Academy personnel assign a reason from a set
                                         of attrition categories when a midshipman voluntarily leaves the Academy.
                                         Our examination of the reasons for attrition covering all classes from 1980
                                         through 1994 indicated that motivation-related reasons were assigned to a
                                         significantly higher percentage of women who voluntarily resigned than                4
                                         men (66 percent compared to 66 percent). This analysis involved one
                                         gender comparison of the reasons for attrition data set that combined the
                                         classes of 1980-94.

Order of Merit Top Quartile              According to an Academy official, in approximately February of each year,
                                         Academy seniors make their service selections (roughly analogous to
                                         choosing a career field) based on the order of their class ranking at the
                                         end of the first semester of their senior year, The class ranking is
                                         cumulative over 4 years and is comprised of about 70 percent for academic
                                         performanceand 30 percentfor nonacademic performance of which
                                         military performance is the principal component. Achieving a high class




                                         Page 82                                              GAWNSJAD-@i&B4   Naval Aeulemy
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 202 of 292
                  Ch4pt8r Z
                  Academy Indhtora   Reveal Gender
                  Dbparltler




                  ranking is important because it means a midshipman is more likely to be
                  able to select a first choice of a career field before the available positions
                  are filled. According to the Academy official in charge of the service
                  selection program, if a midshipman ranks within the first 100 students in
                  the class, that midshipman would most likely get hi&her first choice of
                  career field.

                  ln reviewing the class standings for the classes of 1088-01,we found that in
                  the classes of 1000 and 1001, there were proportionally fewer women in
                  the upper quarter of their classes than men. This analysis involved one
                  gender comparison for each of the classes. The difference in the
                  distribution of men and women for the class of 1000 was significant. For
                  the classes of 1988 and 1989, there were proportionally fewer men in the
                  upper quarter of their classes than women. These differences in the
                  distribution of men and women were not significant.




                 Page 88                                            GMMVSUD-B8-54 Naval Academy
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 203 of 292

Academy Indicators Reveal Racial
Disparities

                           We found that minorities, in general, had lower predictor scores and did
                           not fare as well as whites in quali&ation and admission rates, semester
                           grade point averages, military performance grade averages, midshipman
                           officer rankings, officer rankings, conduct conviction and honor violation
                           charge and conviction rates, honor representatives, at&&ion rates, overall
                           class standings, and academic discharge rates. The differences in these
                           indicators were often significant. There were no racial disparities in
                           Academic Board separation rates. While the majority of midshipmen who
                           responded to our questionnaire perceived that minorities were treated the
                           same as whites, a higher percentage of minorities than whites believed
                           that minorities received worse treatment.


                           In our questionnaire, we asked respondents to indicate whether they
Student Perceptions        believed minorities were treated better than, the same as, or worse than
of the Treatment of        whites by civilian faculty, military faculty, company offricers, conduct
Minorities                 boards, honor boards, and academic boards. The majority of both white
                           and minority midshipmen believed that minorities were treated the same
                           as whites. However, a higher percentage of whites than minorities
                           perceived that minorities were treated better, and conversely, a higher
                           percentage of minorities perceived that they were treated worse (see
                           fig. 3.1).




                           Page 84                                        GAO/NSIAD-98-64Naval Academy
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 204 of 292
                                     Chapter 8
                                     Academy Indkatoro Beveal ibdd
                                     Dbparltiee




Treatment of Mlnorltlor by Vwlour   Percent of respondents
Acrdomy Qroupr
                                    100 r-r-7




                                                                                               I .J          8 0
                                                                                              p $oc         P Qg
                                        Treatment
                                        by...

                                        Civlllen                                              Conduct       Honor       Academic
                                        faculty                                               boards        boards      boards

                                            1       1 Minorities treated better than whites
                                            f”JyJ           ”
                                                      Mlnorltres treated the same as whites

                                            m         Mlnorltles
                                                            ”    traated worse than whites


                                    Source: Responses to GAO’s questionnaire.




                                    Overall, as summari zed in table 3.1, we made racial comparisons across
Majority of                         17 indicators, covering all areas of Academy performance. We found
Performance                         significant differences in 12 of the 17 indicators that disfavored minorities
Indicators Disfavored               and in 1 of the 17 indicators that disfavored whites. A discussion of these
                                    indicators and our analysis follows the table.
Minorities

                                    Page 86                                                             GMNNSIAD-98-64Naval Academy
                     Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 205 of 292
                                                Ch8pt.m 8
                                                Academy Indicaton Reveal Racial
                                                DiepuJdea




Tablo 3.1: Summary of Racial Comparlrons
                                                                                              Comparlsonr          Comparlrona
                                                                       Number of            that dlafavored      that dlafavored     Mlnorltler and
Performance Indicator                    Data avallable              comparlsonr                      whltee           mlnorltler     whiter equal
Qualification rate (fig. 3.2)            Classes of 1988-91                      4                      0 (0)                 4 (2b)              0
Admissions rate (fig. 3.3)               Classes of 1988-91                      4                      3 (2b)                1 (0)               0
Success predictor score (fig. 3.4)       Classes of 1988-91                      4                      0 (0)                 4 (4b)              0
Academic grade point averages,           Classes of 1988-91                      8                      0 (0)                 8 labI              0
  bv semester (fia. 3.5)
Physical education grades                Academic year 1990,                            1                  0                        Id           0
  (fig. 3.8)                               1 semester
Swimming sub-squad                       Academic year 1991,                            1                  0                        Id           0
  representation (see text)                1 semester
Military performance grades, by          Classes of 1988-91                        32                   0 (0)              32 (2ab)              0
  semester (see text)
Midshipman officer rankings              Classes of 1988-90                        24                   0 (0)              24 (17b)              0
  (fia. 3.7)
Company officer rankings                 Classes of 1988-90                        24                   0 (0)              24 (20b)              0
  (fig. 3.7)
Representation among 3-stripers          Classes of 1983-9 1                           9                   0                    9d               0
  (fia. 3.8)
Fourth class conduct offenses            Academic years                                9                3 (0)                5 W)                1
  (4000-6000 levels) (fig. 3.9)            1988-90
Honor charge, drop, and conviction       Academic years                                6                0 (0)                6 (4’)              0
  rates (fig. 3.10 and 3.11)               1990-91
Honor representative rate (see text)     Academic year 1991,2                          2                0 (0)                 2 (29              0
                                           semesters
Academic Board separatlon rate           Combined academic                              1               0 (0)                 1 (0)              0
  (fig. 3.12)                              years 1988-91
Attrltlon rate (fig. 3.13)               Classes of 1988-91                            12               0 (0)               12 (7C)              0
Academic discharge rate (see text)       Combined classes of                            1               0 (0)                1 (W                0
                                           1980-94                                                                                                    A
Order :of merit top quartile rate (see   Classes of 1980-91                            4                0 (0)                4 (4b)              0
 text1

                                               Note: ( ) indicatesthe number of significantdifferencesusing one or both of the types of tests.


                                               @Significantusing 4/5s test.
                                               b Significantusing statisticalsignificancetest.
                                               c Significantusing statisticalsignificanceand 4/5s tests.
                                               e Unable to test significancedue to data limitations.




                                               Page 88                                                            GAR/NSIAD-98-84Naval Academy



                                                                               ,   ’
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 206 of 292
                                   Clhrpter8
                                   Academy Indleatore
                                                    Reveal Edal
                                       Dtepartdee




Admission Rates Were                   Minorities applied for admission to the Academy at a much lower rate than
Higher to Some Extent for              whites, and a lower percentage of the minorities who did apply were found
Minorities Than Whites                 to be fully qualified. However, a higher percentage of minorities who did
                                       qualify were admitted to the Academy than their white counterparts.
                                       Average success predictor scores were significantly higher for whites than
                                       for minorities.

Qualification Rates                    For the classes of 198891, white applicants were consistently designated
                                       as qualified nominees at higher rates than minorities (four comparisons,
                                       one for each of four classes). The differences were significant for the
                                       classes of 1933 and 1989, as shown in fig. 3.2.


Figure 3.2: Percentago of Appllcantr
Designated ao 9uaIlfhd Nomlneer by     20.0    Porcenl
RWO
                                       18.0

                                       l(1.0

                                       14.0

                                       12.0

                                       10.0

                                        6.0

                                        6.0

                                        4.0

                                        2.0

                                          0




                                       ‘Difference was significant using one or more tests.


                                       Source: GAO analysis of Academy records.


AdmissionsRates                        Qualified minorities were admitted at a higher rate than qualified whites in
                                       three of the four classes reviewed (one comparison for each of four




                                       Page 87                                                GMVNSUD-98-64   Navel Academy
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 207 of 292
                                    Cb4pter 8
                                    AcAdemy IndlcAtan IteveAl mew
                                    Dbparitte8




                                    classes). For the clssses of 1989 and 1990, the higher admission rates for
                                    minorities were significant as shown in figure 3.3.


Figure 3.3: Admlrrlon Rnteo for
Okllflod NomIneea by F&O, Class08   pmrnt
ot 1999-91                          70

                                    w-
                                    60
                                    66
                                    60
                                    46
                                    40
                                    a6
                                    20
                                    26
                                    20
                                    16
                                    10
                                     6
                                     0




                                            Y whitesMinorities

                                    ‘Difference wa8 significant using one or more tests.


                                    Source: GAO analysis of Academy records.


                                    Because of the lower qualification rate of minorities, the Academy makes
                                    offers of appointment to the majority of qualified minorities to achieve the
                                    Chief of Naval Operations’ commissioning goals for minorities. However,
                                    all those admitted have been judged fully qualified.

SuccessPredictor Scores             Our review of the predictor scores for midshipmen in the classes of
                                    198891 showed that the average predictor score was significantly higher
                                    for whites than it was for minorities. (See fig. 3.4, one racial comparison
                                    for each of four classe~.)~

                                    ‘For presentation pmposes, we do not always illustrate each comparison that we made because the
                                    pattern acmes eemeetereor class yeara ~88 often eimilar. Where we made comparlaone for multiple
                                    year8 or eemestem, we parenthetically note the numbera of comparisons we made.



                                    Page 88                                                       GMMNSUD-98-54       NAVY Academy
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 208 of 292




flgun 3.4: Average Predictor Scorer
by Race                               70    Polnts(~)




                                           Clam of             Clarr of            Clasr of             Cle4S8of
                                           1999                1989                 1990                 1991


                                      Note: Differences were slgnlficant using one or more tests for all all four classes.

                                      Source: GAO analysis of Academy records.




Minorities Were Less                  Consistent with Academy success predictors, academic performance
SuCcessful Than Whites in             grades of minorities were below those of whites. In addition, physical and
                                      military performance grades were below those of whites. Moreover,                                      a
Ac&lemic, Physical, and
                                      minorities were selected for midshipmen leadership positions at a rate
MiQtary Perfomance                    below their proportional representation in the brigade.

Minbrity Academic Grades              In each of the four classes reviewed, the semester grade point averages of
Wel’eLower Than Those of              whites were consistently significantly higher than minorities’. This analysis
Whit433                               involved racial comparisons for eight semesters for four classes. The
                                      semester grades for the four classes have been combined in figure 3.6 for
                                      illwtrative purposes.




                                      Page 89                                                            GAWNSUD-98-64       N~vrl Academy
                   Case 1:23-cv-02699-RDB
                                    chaptar 8
                                              Document 9-7 Filed 10/06/23 Page 209 of 292
                                        AeademyIndtutors&m0lBaehl
                                        DlspArltler




Flgun 3.5: Semerter Grade Polnt
Averager by Race, Claraor of 1988-91    3.2 bred0 point rvorsgs

                                        3.0




                                       YssrlSsmestsr

                                              -        Whites
                                              -   -    Minorities

                                       Note: Differences were significant using one or more tests for each year/semester.

                                       Source: GAO analysis of Academy records.




                                       To assess whether the observed differences between the academic
                                       performance of white and minority midshipmen were due to differences in
                                       academic potential that existed at the time they entered the Academy, we
                                       performed a series of regression analyses.2 For the classes of 1988,1989,
                                       1990, and 1991, we ran regression analyses on the midshipmen’s
                                       cumulative grade point averages at the end of each of their eight




                                       aA regression analysis is A statical technique that allows the effecta of mukipie predictor variables to
                                       be sbnultsneously &messed By entering the predictor variables Into the regreWIon analysis In separate
                                       steps, the unique contribution of a predictor variable to the variation in a criterion variable can be
                                       determined while the effecta of all other measured predictor variablea are controlled.



                                       Page 40                                                           GAWNSIAD-98-64 NAVAL Academy




                                                                                                                                       ,‘.   _

                                                                                                                                      ‘~.
               Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 210 of 292




                                semesters. Entrance predictor (wholepemon multiple) scores3 were
                                entered into the regression equation as the first step, with race4 entered as
                                a second step. Both variables were entered in each equation regardless of
                                any other criteria so that the direction of the relationship could be
                                determined. This resulted in 32 separate regression analyses (8 for each of
                                the 4 classes) where the independent effect of race could be assessed.

                                Overall, the Academy’s entrance predictor scores were able to account for
                                a relatively low proportion (17 to 33 percent) of the total variation in
                                semester grade point averages. After controlling for differences in
                                entrance predictor scores, race still explained a small (0.3 to 1.8 percent)
                                but statistically signiticant (at the 9bpercent level of confidence)
                                proportion of the variance in grade point averages in 29 of the 32
                                regression analyses. All 32 regression coefficients were negative and
                                ranged from -0.06 to -0.16. The average regression coefficient for race
                                across the 32 regressions was about -0.10, meaning that the grade point
                                average of a minority midshipman averaged 0.10 lower than that of a white
                                midshipman with a comparable entrance predictor score. Thus, race was
                                correlated with academic performance beyond the difference that could
                                be explained by differences in entrance predictor scores.

Minority Physical Education     The average physical education grades received by each of the various
Grades Were Lower Than          minority groups were lower than those of whites during the spring
Those of Whites                 semester of 1990, the only semester for which we have information, as
                                shown in figure 3.6. At that time, physical education grades were based on
                                grades received in the core courses6 but not elective courses.




                                we used the wholeman multiple scores as an independent variable in this analysis because they are
                                the main intier   that Academy officials use to predict academic success. We did not examine the
                                development of thie measure, and we make no aeeumptione about ita validity in the admiseio~
                                proCeS8.

                                ‘Race. was coded into two groups: minorities (including black& Hispanic, Asian& and Native
                                Amedcans) and whites.

                                %ccording to the lOD1Academy physical eduction requirements, the core camsee for all midshipmen
                                are ewimming, mastics,    personal conditioning, weight training, judo, and hand-t&and combat.
                                Additional core coumee are boxing and wrestling for men and self-defense and combative grappling
                                for women.

                                Page 41                                                        GANNSLID-98-64      Naval Academy
                     Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 211 of 292




Flgun 3.6: Phydcrl    Education Qradoo
by Rroo                                  3.6 Physkd dusatbn gmdw




                                         3.0




                                         26
                                                                                     \




                                         2.0




                                         Source: Academy Command Managed Equal Opportunity Assessment Team Report, 1991.




                                         According to a physical education official, until academic year 1991-92,
                                         midshipmen received letter grades for only the core physical education
                                         courses. Only swimming, gymnastics, and physical fitness tests were
                                         required for every midshipman, and swimming was an area in which we
                                         found signifkant disparities by race.

                                         The Academy’s s wimming requirements become increasingly more
                                         demanding from fourth class year to second class year. In addition, the
                                         swimming requirements are set at a higher level than the Navy-wide
                                         swimming requirements. According to Academy officials, the fact that the
                                         Academy’s swimming requirements are higher than the Navy‘s
                                         requirements is consistent with the Academy’s policy of setting higher
                                         standards for its officer candidates than the other officer commissioning
                                         programs. Those midshipmen unable to pass the swimming test are




                                         Page 42                                                tJACVNSIAD-93.64Naval Academy
              Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 212 of 292
                                Chapter 8
                                Academy Indicdom Reveal Rachl
                                Dlq8ritle8




                                required to take additional swimming training, referred to as the
                                “subsquad” for swimming.

                                Blacks attended the subsquad at a significantly higher proportion than the
                                6.6 percent blacks represented in the brigade in academic year 1990-91.In
                                the spring of 1991,64 percent of the subsquad were minorities
                                (blacks-40 percent, foreign nationals-3 percent, and Hispanics,
                                Filipinos, and Asians-2 percent each). This analysis involved one racial
                                comparison for one semester.

                                In our questionnaire survey of midshipmen, 37 percent of the minority
                                respondents indicated that they had had difticulty meeting the Academy’s
                                swimming requirements, compared to 19 percent of the white
                                respondents.

Minority Military Performance   In reviewing eight semesters of military performance data for each of the
Grades Were Lower Than          classes of 198891, we found that minorities consistently received lower
Those of Whites                 average military performance grades than whites. This analysis involved
                                racial comparisons for eight semesters for four classes. The differences
                                met the test for significance for each class in six or more of the eight
                                semesters.

Minority Striper and Company    Our review of these rankings for the classes of 193390 showed that
Officer Rankings Were Lower     minorities, on average, received worse rankings than whites. This analysis
Than Those of Whites            involved racial comparisons for eight semesters for three classes. The
                                semester rankings by midshipman officers and company officers for the
                                three classes have been combined in figure 3.7 for ilhrstrative purposes.
                                This figure shows that minorities generally received lower rankings than
                                whites from both midshipman officers and company officers. The racial
                                differences in rankings by midshipman officers and company officers were      8
                                significant.




                                P8ge aa                                         GAWNSIAD-93-64Naval Academy
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 213 of 292




FIQWO 3.7: AWraQO Mldrhlpman
O&w and Company Off&       Ranklngr   Avwqa   numbw d mkbhlpmon mnkd IO bettor
by Race                               16

                                      16

                                      14

                                      12

                                      10

                                       6

                                       6

                                       4

                                       2

                                       0
                                              1988




                                                      Minorities


                                      Notes: A ranking of number 1 is best. Differences were significant using one or more tests for
                                      each year.

                                      Source: GAO analysis of Academy records.



Minqrity 3-Striper                    In reviewing data on the midshipman leadership positions held by
ReptiesentationWas                    minorities for academic years 1983-91,we found that minority
Proportionally Lower Than             representation at the 3-striper level was consistently below their
ThatIof Whites                        proportional representation in the classes (see fig. 3.8). This analysis
                                      involved one racial comparison for each of the 9 years. For example, for
                                      academic year 1933, although minorities comprised 12 percent of the class,
                                      they held only about 2 percent of the 3-striper positions. For academic
                                      year 1991, minorities comprised 15 percent of the class and held about
                                      7 percent of the 3-striper positions.




                                      Pnge 44                                                            GAO/NSLAJLB3-64    Naval Academy


                                                                            . ., ,I                                                             ‘,
                                                                     ‘,j I.      ,            :
                                                                   _,:I.* :,.’ ,V&,
                                                                     ,‘t       .,,>..‘,‘>!’ ,     ’ .’                     I,   .., , / I,‘”.
                    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 214 of 292




flgun 3.8: Reprowntatlon of
Ylnorltler In 3-Strlper Porltlonr    1oPuant
                                     111




                                       Acukmk year

                                           -        Percentage of minorities in the class
                                           -   -    Percentage of 3-stripers who are minorities

                                    Source:    Academy   records.




                                    According to Academy offMals, during the classes of 1999-93,minorities
                                    were proportionally represented in striper command positions but not in
                                    striper staff positions6 One Academy official indicated that most
                                    midshipmen who assume leadership positions have experienced a
                                    lowering of their cumulative grade point average during their leadership
                                    tour due to the added responsibilities. Because of this fact and the
                                    Commandant’s concern that a midshipman not fail a course while serving
                                    in a leadership position, Academy ofMals told us that part of the selection
                                    process for these positions includes a case-by-case review of potential
                                    academic risk for candidates and the possible corrective action that may
                                    be needed to alleviate the academic work load in the following semesters.
                                    Another contributing factor, according to Academy officials, may be that


                                    oMid&ipman officer commend poeitions are thoee that are part of a midshipman’s chain of command
                                    and include squad leader, platoon commander, and company commander. Staff poeltlona are not
                                    dire&Jy related to the midshipman chain of command and include poeitione euch 88 company honor
                                    repreeentatives and train@ off&z.



                                    Page 45                                                       GMMWIAD-92-64      Naval Academy
              Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 215 of 292




                                minorities participate heavily in varsity sports, which, because of the time
                                demands, may preclude serving in striper positions.


Minorities Had Higher           We found that minorities were convicted at higher rates than whites in
Disciplinary, Honor             both the conduct and honor systems. The racial differences were often
Offense, and Academic           significant. We found that over the last 4 years, the Academic Board had
                                dismissed minorities at a slightly higher rate than whites, but the
Dismissal Rates                 difference was not significant.

Minority Freshmen Were          As shown in figure 3.9, in academic years 1988&I, minority freshmen
Convicted of Conduct Offenses    generally were convicted of the three highest level conduct offenses at
at a Higher Rate Than White     higher rates than white freshmen. The conduct data for sophomores,
Freshmen                        juniors, and seniors did not reveal racial disparities. The analysis involved
                                racial comparisons for each of the three conduct levels for each of the
                                3 years. For example, 6 of 244 (2.6 percent) freshman minorities were
                                convicted of the most serious level conduct offenses, compared to 10 of
                                 1,026 (1 percent) freshman whites. The differences in the rates were
                                signSkant in five of the nine comparisons. As was the case for women, the
                                differences between the conviction rates of minorities and whites were the
                                greatest in academic year 1989-90.




                                Page46                                           GMYNSIAD-93.64NwalAcademy
                            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 216 of 292




Flgure 3.9: Fourth Clara Mldrhlpman Conduct Offonw Conviction Rater by Race
Porcmt   of Student    Population
16




                                                                                                                               a




                                    Minorltler   Whiter                Mlnorltlor                                 Mlnorltler


         4000 level offenses                     5000 level offenses                        6000 level offenses




                                                  ‘Difference was significant using one or more tests.


                                                  Source: GAO analysis of Academy records.


Mindrities            Were Chargedand             In examining the honor cases in academic years 1990 and 1991, we found
Con&ted of Honor Offenses at                      racial differences in charge, drop, and conviction rates. This analysis
a Higher Rate Than Whites                         involved racial comparisons for each of 2 years for honor case charges,
                                                  drops, and convictions. In both academic years, minorities were charged
                                                  with honor offenses at a higher rate than whites, as shown in figure 3.10.




                                                   Page47                                                          GAOOISIAD-9344 Naval Academy
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 217 of 292




Pi#m 8.%6: Honor Vlolation Charge
Rabmtry Rata                        6 Pueentof~hlpmefl


                                    4
                                               as

                                    a


                                    2


                                    1




                                    0




                                    Note: Differences were significant using one or more tests for both years.

                                    Source: GAO analysis of Academy records.




                                    In addition, minorities charged with honor offenses had their cases
                                    dropped at a lower rate than whites. Further, minorities whose cases went
                                                                                                                 4
                                    to a hearing were found guilty of honor offenses at a higher rate than
                                    whites, as shown in figure 3.11. These differences were significant.




                                    Page 48
                 Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 218 of 292




Flgun 3.11: Honor Co80 Drop l d
Convlotlon Ratea by Rata




                                            Cm. drop rat.                         C888 convlctlon rat8
                                            (Charged)                             (Went before Honor Board)




                                  Note: Differences were significant using one or more tests for both years.

                                  Source: GAO analysisof Academy records.


Minorities Under-represented as   Data from academic year 1991 indicated that minority participation as
Honor Representatives             honor representatives was comparatively low. This analysis involved one
                                  racial comparison for each semester. As of June 30, Ml,8 of the 78 honor                      4
                                  positions for the class of 1991 (or 10.1 percent) were filled by minorMes,
                                  although minorities made up 16.1 percent of this class. The difference
                                  between the representation rates was significant, For the class of lQQ&
                                  10 of the 79 honor positions (or 12.7 percent) were filled by minorities.
                                  The minority composition of the class of 1992 was 14.1 percent. The
                                  difference in these rates was not significant.
                              I

                                  According to Academy officials, the disproportionately low minority
                                  participation can be partly attributed to the high proportion of minotiity
                                  varsiiy athletes, Academy officials stated that many minorities, because of




                                  Page 4s                                                          GACVNSIAD-88-54Naval A#dew
              Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 219 of 292
                               Chapter 8
                               Academy Indimtira Reveal Racial
                               Dbpuidee




                               their heavy schedules, may not have the time to participate in another
                               highly demanding extracurricular activity.

Minorities Separated by the    Our review of Academic Board dismissal decisions on academic deficiency
Academic Board at Slightly     cases for academic years 1988-91 indicated racial differences to some
Higher Rates Than Whites       extent. This analysis involved one racial comparison for the Academic
                               Board decisions data set that combined the 4 academic years. In general,
                               the Academic Board dismissed academically deficient minorities at a
                               slightly higher rate than academically deficient whites, 27 percent
                               compared to 26 percent (see fig. 3.12). The Academic Board separated
                               minority athletes at a slightly higher rate than white athletes. For recruited
                               athletes, the separation rate was the same for minorities and whites. The
                               separation rate for minority nonathletes was somewhat higher than it was
                               for white nonathletes. None of these differences were significant.




                               Page 50                                          GAO/NSIAD-93-54Navd Academy
                    Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 220 of 292
                                     Chapter 8
                                     Academy Indluton        Raveat Racial
                                     DLparitte~




Figure 3.12: Academic Board
hparatlon Rater by Race              100    Porcmt of l crdrmlcally doflclont rtudentr reporated

                                     90


                                     70
                                     0
                                     50
                                     40




                                           TOM                 Athleter             Recrulted      Nonathletea
                                           midshipmen                               athlete8


                                    Note: None of the differences were significant.
                                    Source: GAO analysis of Academy records.




Minorities Left at                  We found that minorities have been leaving the Academy at higher rates
Sigr$icantly Higher Rates           than whites. Our review also showed that proportionally fewer minorities                         4
Than Whites and                     were graduating in the upper quarter of their classes and that
                                    proportionately fewer minorities were graduating than whites.
Graduated Lower in Their
Clas$3es
Attrition   Rates                   For the classes of 1980-91,the minority attrition rate was higher than the
                                    white attrition rate, as shown in figure 3.13. This analysis involved one
                                    comparison for each of the 12 classes. The differences between the white
                                    and minority attrition rates met the tests for significance for the classes of
                                    1982 through 1988.




                                    Page 61                                                        GAOiNSIAD-93-54   Navel Academy
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 221 of 292




flgun   3.13: Attrltlon Rator by Race
                                        190     AtblUonmtaInpomnl

                                         00

                                         so

                                         70

                                         00

                                         60

                                         40
                                         80                                            4---,-e--\

                                         20

                                         10

                                          0

                                          1HO          la61       low      1mr   19w   IW           1990.   low   low       1080   1990   1Wl

                                          cku        ywn

                                                -             whbs
                                                --            Minorities
                                        Wference was slgniflcant using one or more tests.


                                        Source: GAO analysis of Academy records.


AcademicDischargeRates                  Our examination of the data on reasons for attrition for the classes of
                                        1030-04indicated that minorities were academically discharged at a
                                        significant higher rate than whites (43 percent compared to 22 percent).
                                        This analysis involved one racial comparison of the reasons for attrition
                                        data set that combined the classes of 1080-94.                                                          b

Order of Merit Top Quartile             In reviewing the class standings for the classes of 108891, we found that
                                        for each of the four classes, there were proportionally fewer minorities in
                                        the upper quarter and proportionally more minorities in the lowest quarter
                                        of their classes compared to whites. This analysis involved one racial
                                        comparison for each of four classes. For example, the percentage of
                                        minorities in the lowest quartile of class standings ranged from 36 to 44,
                                        compared with 22 to 23 percent of whites. The difference in the
                                        distribution of whites and minorities in each of these classes wss
                                        significant.




                                        Page Is2                                                             GMNNSUD-98-U      Naval Academy
Chapter 4   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 222 of 292

Academy Is Addressing Women and
Minority Issues, but Further Actions Are
Needed
                                  Within the last few years, the Academy has taken a number of actions to
                                  address issues that affect women and minorities. Key among these actions
                                  were

                              l   increasing the representation of women and minorities among the faculty
                                  and officers,
                              l   standardizing the fourth class training for male and female students,
                              l   assigning freshman women to all freshman platoons and companies,
                           l      establishing an academic center for academically at-risk midshipmen, and
                           l      initiating annual equal opportunity command assessments.

                                  These actions primarily resulted from three Academy efforts: the July 1000
                                  study on the assimilation of women, the August 1080 study on minority
                                  midshipmen, and the 1000 establishment of a Command Managed Equal
                                  CIpportunity (CMEO) program. However, making the CMEO assessments was
                                  hampered by a lack of a localized, consolidated, and standardized
                                  computer data base.


                                  The July 1900 study on the assimilation of women at the Academy
Actions Resulting                 concluded that women midshipmen were not as well assimilated in the
From the 1990 Study               brigade as women were in the fleet. The report stated that the assimilation
on the Assimilation of            of women in the brigade had been hampered by a persistent, vocal
                                  minority of midshipmen, officem, faculty, staff, and graduates who openly
Women                             expressed the opinion that women should not be midshipmen. The report
                                  added that the negative attitude and inappropriate actions of this minority
                                  exerted such a disproportionate influence on the Academy’s climate that
                                  most midshipmen readily acknowledged that women midshipmen were
                                  not accepted as equals in the brigade. The study made a number of
                                  recommendations to address these findings. As a result of the
                                  recommendations, the Academy issued a plan of action and milestones
                                  that included

                          l establishing a zero-tolerance policy of all forms of
                            discrimination/nonsupport of an equal opportunity climate;
                          0 implementing efforts to increase the female representation among faculty
                            and brigade officers;
                          l assigning female freshmen to all freshman platoons/companies starting
                            with the class of 1006 (actually begun with the class of 1004);
                          l coordinating the percentage of women in the class of 1006 with Navy and
                            Marine Corps requirements;




                                  Page68                                          GAWNSIAD-Sad4 Naval Academy
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 223 of 292
                               Academy IO Ad-       Women and
                               Mtnodty Imuem,but Furthr Aetlom Am
                               NSedOd




                             0 reinforcing the importance of providing graduates to virtually every
                               conununity in the navsl service;
                             l reviewing the procedure for disseminating information concerning the
                               performance of all midshipmen to ensure misconceptions of preferential
                               treatment for women or other minorities are eliminated;
                             l requiring that female and male freshmen be indoctrinated in an identical
                               fashion;
                             . clarifying midshipmen regulations regarding sexual discrimination,
                               including sexual harassment;
                             l analyzing academic performance of female midshipmen in core and
                               mqjors courses; and
                             l reviewing the military performance system, focusing on gender inequities
                               in the distribution of midshipmen rankings.

                               Many of these actions were aimed at providing more information to
                               midshipmen regarding the role of women in the Navy and the performance
                               of female midshipmen. For example, in terms of role models within the
                               brigade officers, ss of the fall of 1001, about 16 percent were women and
                               11 percent were minorities. Among the 36 company officers, 6 were
                               women and 3 were minorities. In terms of role models within the civilian
                               faculty, at that time, about 10 percent of authorized positions were filled
                               by women and 6 percent by minorities. Other actions focused on
                               reinforcing policies regarding discrimination, equal opportunity, and
                               harassment. By taking these actions, the Academy administration
                               emphasized its position and communicated that emphasis to all
                               midshipmen.


                               The August 1060 study on minority midshipmen stated that the Academy
Actions Resulting              would not be able to meet its co mmissioning goal for blacks at least
From the 1989 Study            through the class of 1002 because of the highly competitive recruiting          4
on Minority                    climate and high academic attrition. Also, the report stated that black and
                               Hispanic midshipmen were at a significantly greater risk of academic
Midshipmen                     attrition than white midshipmen. On the basis of the recommendations
                               contained in this study, the Academy took several actions to reduce
                               minority academic attrition. Those actions included

                         l     establishing a proactive 4year academic support/intervention program for
                               academically at-risk midshipmen;
                         l     expanding the current academic stretchout program (an extra semester or
                               year), placing deserving midshipmen in the program earlier in their years
                               at the Academy than hss occurred in the past;



                               Page 54                                         GAWNSIAJ.l-93-64Naval Academy



                                                                                                    :
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 224 of 292
                                Chapter 4
                                Academy Ia Addreadng Women and
                                Minorl~ hueo, but Further Actions Are
                                Needed




                            l   restricting Army-Navy week spirit activities to specific time periods so as
                                not to adversely affect academic performance; and
                        l       reducing the scope of the current fourth class professional book.

                                The primary focus of the study and its recommendations was the
                                academic performance of minority midshipmen. An Academic Center was
                                established in 1080 to serve midshipmen beginning with the class of 1003.

                                In addition to its primary focus, the study discussed some concerns for
                                minorities pertaining to the Academy’s environment. For example, the
                                study noted that some resentment and lack of understanding existed about
                                racial and ethnic extracurricular activities, such as the Black Studies Club.
                                The study stated, “Most majority midshipmen feel that a homogeneous
                                brigade excludes the need for organizations based upon racial or ethnic
                                identity. Minorities see this as a negative perception, but a necessary price
                                to develop self-esteem and enjoy friendships with others who share
                                common cultural backgrounds and interests.”

                                The study made no recommendations that addressed these findings.


                                Beginning in May 1990, the Academy established a CMEO program as part of
Actions Resulting               the Navy’s equal opportunity program required by all commands. The
F’rom the 1991 CMEO             objectives of the program are to
Assessment              l       ensure a positive environment of equal opportunity within the brigade;
                        l       monitor administrative practices, including, but not limited to military
                                performance, conduct, academic performance, and physical education
                                performance, as well as the general health of the equal opportunity climate
                                within the brigade;
                        l       further midshipman knowledge and understanding of the Academy’s                 b
                                affirmative action plan; and
                        l       indoctrinate midshipmen and reinforce midshipman knowledge of equal
                                opportunity and the necessity for the prevention of all discrimination.

                                The CMEO program is comprised of a comman dtrainingteamsnda
                                command assessment team. The command training team is responsible for
                                conducting the Navy’s Rights and Responsibilities annual workshops that
                                cover basic Navy equal opportunity principles, policies, and procedures.
                                The command assessment team is responsible for conducting the annual
                                command assessment.




                                Page 65                                          GAOINSIAD-99-64Navd Academy
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 225 of 292
                    Chaptar 4
                   Academy L Addreoeing Women end
                   Minority Iooncs, but Further Actiono Are
                   Needed




                   According to the implementing Academy instruction, the command
                   assessment should focus on the treatment and achievements of
                   individuals, overall effectiveness of the brigade equal opportunity
                   program, and follow-up actions on previously identified equal opportunity
                   issues. The assessment is to consist of (1) a review of various types of data
                   (conduct, military performance rankings, academic deficiencies, and
                   physical education deficiencies); (2) individual midshipmen interviews;
                   (3) a short survey to help determine the equal opportunity climate; and
                   (4) a report of the accumulated data submitted to the Commandant.

                   To date, the Academy has conducted two comman d assessments. The
                   report of the first assessment was issued in March 1991, the second
                   assessment in March 1992. For the first assessment, the team analyzed a
                   wide range of data, interviewed a random sample of midshipmen, and
                   reviewed surveys and inspection reports. The 1991 assessment report
                   presented findings of differences in performance between men and
                   women and between whites and various minority groups, but the
                   significance of the differences was not tested. In addition, the report
                   contained numerous recommendations, such as to

               l   conduct thorough reviews of the military performance system and the
                   physical education standards;
               l   brief midshipmen on athletic participation, Academic Board decisions,
                   conduct system statistics, honor system statistics, and the striper selection
                   process;
               l   continue to make extracurricular and other activities that can provide
                   support to midshipmen available to all midshipmen;
               l   include contributions of women and minorities in all briefings on naval
                   history; and
               l   assign more female and minority officers, especially senior officers, to the    4
                   Academy.

                   According to the Navy instruction for implementing CMEOprograms, one
                   element of these programs is a plan of action and milestones document
                   that is intended to implement and track the correction of existing or
                   potential problems. Initially, Academy officials were unsure that such a
                   document had been prepared. However, a copy of the document was
                   recently found in Academy files. W ithout having such a document readily
                   available, ensuring follow-up actions on previously identified equal
                   opportunity issues is more difficult.




                   Page 66                                          GAOAUSIAD-99-64
                                                                                  Naval Academy
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 226 of 292
                            Chapter4
                           Academy Is Addrereing Women and
                           Minority Issues, but Further Actioru Are
                           Needed




                          The report found the existence of midshipmen perceptions of preferential
                          treatment received by women and minorities in areas such as admissions,
                          physical education, and academic deficiency. According to Academy
                          officials, in response to these perceptions, all midshipmen received
                          training on the facts contained in the command assessment that, in many
                          cases, did not support the perceptions. According to an Academy physical
                          education official, the differences in the physical education testing
                          regimen have been changed to more closely follow Navy standards.
                          Academy officials said that the midshipmen would continue to be trained
                          until perceptions of preferential treatment of minorities no longer exist.

                          The coordinator of the command assessment team submitted the 1992
                          report to the Commandant on March 27,1992. Over a year has elapsed, and
                          no document has been prepared outlining the appropriate actions to be
                          taken in response to the report’s recommendations. As of April 1993,
                          Academy officials were in the final stages of preparing the 1993 command
                          assessment report for submission to the Commandant.

                          According to the coordinator of the command assessment team, as of the
                          week of March 29,1993, a draft revision of the equal opportunity portion
                          of the Academy strategic plan was sent to the Superintendent for review.
                          This portion of the strategic plan outlined the Academy’s equal
                          opportunity program. The program consisted of two key strategies:
                          (1) developing a professional environment that reflects mutual respect for
                          diversity and (2) implementing a visible and effective climate that actively
                          promotes equal opportunity and treatment for all personnel. According to
                          thedraftdocument,theAcademy’s        ~~~~prog~~~~~illbecomept~toftbe
                          equal opportunity program.


                          Both the 1991 and 1992 command assessment reports raised concerns                       8
Assessments               about the Academy’s lack of a localized, consolidated, and standardized
Hampered by Lack of       computer program for data collection. For example, the 1991 report stated
Consolidated Data         that “the group responsible for data gathering spent an inordinate amount
                          of time digging through many sources for information.” The 1992
Base                      command assessment reported a similar experience:

                          Thereis still no centralrepositoryfor data at the NavalAcademy.Every department
                          derives,records,disseminates,and storesdata in a different format, using incompatible
                          computerprogramsso that one computercannotcommunicatewith another.The result is
                          that the data requiredby the CommandAssessmentTeam,beingdifferent than that




                          Page 67                                               GAOINSIAD-98-64Nmml Academy
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 227 of 292
                          Chapter 4
                          Academy III Addrerreing Women and
                          Minority Isrruee,but Further ACUOMAre
                          Needed




                          requiredby the Dean,the Registrar,etc.,is exceedinglydifficult and time consumingto
                          generate.

                          We experienced many of the same difficulties in collecting Academy data
                          to conduct our review. We began by gathering data from various Academy
                          sources. Some data were available in the form of computer disks; other
                          data were available only in hard copy form. Thus, to analyze the data by
                          class, gender, race, and athlete status, we had to go through a series of
                          steps to merge data bases.


                          Overall, the performance of women and minorities lagged behind the
Conclusions               performance of men and whites in most of the areas we examined. Their
                          treatment across the various Academy performance and adjudicatory
                          systems also revealed a number of specific instances of significant
                          disparities for women and minorities.

                          The Academy has taken steps aimed at ensuring the fair treatment of
                          women and minorities. These steps appear to be positive ones and should
                          help to address the disparities. One of the first steps in dealing with
                          disparities is to recognize where they exist. The recent CMEOcommand
                          assessments represent msjor steps forward in this direction.

                          However, in order for the CMEOand other efforts to be most effective,
                          more needs to be done. Specifically, the command assessment teams and
                          our own effort encountered time-consuming difficulties in collecting the
                          needed performance indicator and adjudicatory data due to the absence of
                          a standardized, comprehensive data base.

                          In addition, because the command assessment reports presented data
                          revealing the differences in performance and ac\judicatory system                     8
                          outcomes without applying statistical analysis, it is difCcu.lt to know which
                          differences are significant and which are not. Without applying criteria to
                          these differences, the Academy does not have sufficient assurance that it
                          is focusing its attention on the ones meriting further study.

                          F’inally, the Academy has not yet documented the actions it plans to take
                          in response to recommendations designed to reduce gender and racial
                          disparities.




                          Page 68                                                GAOINSIAD-98454Naval Academy
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 228 of 292
                            chptm 4
                            Academy h Mdre4ng Women and
                            MJnority tine@, but Further Actiona Are
                            Needed




                            As part of the Academy’s efforts to ensure fair and equal treatment of all
Recommendations             midshipmen and to improve efforts to monitor gender and racial
                            disparities, we recommend that the Superintendent of the Academy

                        l   develop a relational data base capability allowing routine analysis of key
                            performance indicators for monitoring,
                        l   establish criteria for assessing when disparities warrant more indepth
                            attention to identify causes to take corrective action, and
                        l   prepare a plan of action and milestones document to track command
                            assessment recommendations and corrective actions and assess their
                            effectiveness.


                            We discussed a draft of this report with senior officials from the Academy
Views of Agency             and cognizant officials of the Office of the Chief of Naval Operations and
Officials                   DOD. They suggested a number of technical clarifications, which have been
                            incorporated in this report, and indicated that the Academy was taking
                            actions in line with most of our recommendations. Actions included (1)
                            establishing an Office of Institutional Research that is tasked with
                            achieving a consolidated data base and acting as the single source of
                            statistical data concerning the Academy and (2) reviewing the Academy’s
                            priorities, systems, processes, and traditions as part of the Academy’s
                            Total Quality Leadership program. According to these officials, the
                            Academy plans to include information on token status and the value of
                            support groups in its training for faculty, staff, and midshipmen. They also
                            told us that the Academy has been working to increase the representation
                            of women and minorities among its faculty and staff. Pursuant to the
                            requester’s wishes, however, we did not obtain official DOD or Navy
                            comments on the report.




                            Page 69                                          GAOtNSIAD-98-64Naval Academy
Appendix I   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 229 of 292

Questionnaire Methodology


                              This appendix describes our questionnaire development process and
                              sampling approach, the response rates, the weighting of the data, the
                              processing of completed questionnaires, the sampling error, and other
                              methodological issues. This report is part of a broader review of the
                              Department of Defense service academies, which focuses on academics,
                              military performance measurement, hazing, harassment, and the operation
                              of academy adjudicatory systems, in addition to the treatment of women
                              and minorities.


Questionnaire         c
                              broader review. We pretested the questionnaire with a diverse group of
Development                   midshipmen who represented different classes, genders, and races. We
                              also have the questionnaires reviewed by (1) internal Naval Academy
                              research personnel, (2) the research staff of the Navy’s study group on the
                              treatment of women, (3) the Defense Advisory Commission on Women in
                              the Service, and (4) our consultants familiar with the academies.


                              To ensure that an adequate number of women and minorities would be
Sampling                      included, we used a stratified random sample design allowing us to
Methodology                   over-sample those two groups. We used the last digit of the social security
                              number to randomly select respondents from each strata.’ We selected one
                              final digit for all midshipmen and an additional final digit for women and
                              minority males. Our goal was to produce a sample of about 10 percent of
                              white males, 20 percent of females, and 20 percent of minority males.


                              Questionnaires were administered in November and December 1990.
Questionnaire                 Respondents were assured of anonymity, and attendance was not taken at
                                                                                                                                          8
ResponseRates and             the survey administration.
Weighting of Data             Completed questionnaires were received from 627 midshipmen
                              (a response rate of about 84 percent). Since we oversampled on the female
                              and minority subgroups, we applied weights to the responses to allow
                              them to represent the total Academy population. Raw weights were
                              computed by dividing the number of subgroup responses into the
                              subgroup population.



                              ‘The last four digits of social security numben are essentially a random fleld based on the order in
                              which individual social security offices process the applications they receive. Selecting one final digit
                              could be expected to yield a sample of about 10 percent..



                              Page60                                                              GAO/NSIAD-98454Naval Academy
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 230 of 292
                                     Appsn* 1
                                              Queetloanalre Methodology




                                              Since we surveyed samples of midshipmen and faculty rather than the
Sampling Error                                entire populations, the results were subject to some degree of uncertainty,
                                              or sampling error. Sampling errors represent the expected difference
                                              between our sample results and the results we would have obtained had
                                              we surveyed the entire population. Sampling errors are smallest when the
                                              percentage split responding to a particular question is highly skewed, such
                                              as 6 percent responding “yes” and 96 percent responding “no,” and
                                              greatest when there is about a Ml-60 percentage split in responses.

                                              On the basis of the number of completed questionnaires, we estimate that
                                              our results could be generalized to the midshipman population at the
                                              Qbpercent confidence level, with a maximum sampling error of plus or
                                              minus 4.1 percent.

                                              The sampling errors for various subgroups for data cited in this report
                                              appear in table I. 1. The decimal figures in the table are the sampling errors
                                              that correspond to various percentages of respondents selecting a
                                              particular response alternative. For example, if we state that 10 percent of
                                              the midshipmen responded in a given way, the table shows a sampling
                                              error of 2.7 percent corresponding to “all midshipmen” and a 10-90 percent
                                              response split. This means that we can be 96 percent confident that the
                                              percentage of midshipmen responding that way in the population would
                                              be within 10 percent, plus or minus 2.7 percent, or between 7.3 and
                                              12.7 percent.


Table 1.1: Sampling Errors for Subgroup8
                                                                                Percentage split In responses
SuWoup                          Populstlon Sample        05195 lo/90      M/85 20180 2547s Ml70 35/85            44160 4!%5    5W50
All midbhipmen                       4,391    527          2.2    2.7       3.0     3.3    3.6     3.8     3.9     4.0   4.1     4.1
Man ~                                3.980    434          2.4    3.0       3.3     3.7    4.0     4.2     4.4     4.5   4.5     4.6   (1

Womefj                                  411         93     5.9    6.9       7.8    8.5     8.8     8.8     9.1     9.3   9.5     9.5
Whites                                3.566        336     2.8    3.6       4.1    4.2     4.6     4.8     5.0     5.1   5.2     5.2
Minorities                              825        191     3.7    4.5       5.2    5.6     5.7     6.0     6.2     6.4   6.5     6.5




                                           Pyle 61                                                   GAO/NSL%D-98-54
                                                                                                                   Naval Acndemy
Appendix II
              Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 231 of 292
Analysis of Academy Data


                               The Academy has a single computer data base of student personnel and
T&peand Sources of             performance information (both current and historical) that is maintained
Data                           in the Division of Computer Services. This data base, the Midshipman
                               lnformation System, is structured into subsets designed for specific
                               Academy users. Security of the various subsets is maintained by limiting
                               access codes and passwords. The users themselves are responsible for
                               updating and maintaining the data in their subsets of the data base. There
                               is no single document that describes the data contained in this data base.

                               The Midshipman Information System did not contain all of the data we
                               needed for this review. Therefore, the Academy provided us with data
                               extracts from several internal sources that included a unique student
                               identifier, called the “alpha number,” which allowed us to construct a
                               master file that included the indicators and the various demographic
                               analysis variables needed.

                               Some indicators (such as honor case information) were not available for
                               all classes and all years because the Academy does not maintain such data
                               or records beyond a certain length of time. Other kinds of information
                               (such as Academic Board cases) were not available on any
                               machine-readable data base. Consequently, we extracted data from hard
                               copy records such as those maintained by the Academic Board. In
                               addition, Academy officials created some information files specifically for
                               us (such as athlete status indicators).

                               The Academy was generally able to provide data covering the classes of
                               1988 through 1994. We restricted our analysis to the classes of 1988
                               through 1991, the four classes for which we had all 4 years’ (fourth class
                               through first class) worth of data. The types of data and sources we used
                               are shown below.

                               The Dean of Admissions provided statistics on the numbers of
                               applications, qualified applicants, and admissions by gender and
                               racdethnicity for the classes of 198&91.

                               The Physical Education Department prepared a hand tally of midshipmen
                               who were recruited athletes or varsity athletes for the classes of 1988
                               through 1994 and provided this information to us on computer disk, along
                               with the athletes’ alpha numbers.

                               The Dean of Admissions, who serves as the Academic Board Secretary,
                               provided hard-copy notes on Academic Board decisions. These notes



                               Page 82                                         GAo/NsIAD-as-64 Naval Academy
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 232 of 292
                 AppdndirII
                 An&hofAcademyDatr




                 contained information (such as alpha number, academic deficiency
                 category, cumulative grade point average, semester grade point average,
                 military performance grade, Scholastic Aptitude Test @AT) scores, the
                 separate/retain decisions of the Board, and some handwritten notes) on all
                 the students appearing before the Board for academic years 1988 through
                 1991. We matched this data with information from a separate data base
                 maintained by the Registrar on cases of individuals appearing before the
                 Board.

                The Division of Computer Services provided machine-readable data
                extracts covering all members of the classes of 1988 through 1994 from its
                Brigade Roster Access System. These extracts included alpha numbers,
                whole man multiple (entrance predictor) scores, SAT scores (math, verbal,
                and combined), and semester-by-semester information on miIitary
                performance grades, striper rankings, company officer rankings,
                cumulative and semester academic grade point averages, and order of
                merit rankings (academic, military, and combined).

                The Performance Office conducted a search of historical, hard-copy files
                to develop summary information for us regarding S-striper positions from
                1983-91.This information was broken out by gender and race/ethnicity.

                The Ethics Officer provided information on honor representatives, broken
                out by gender and raceIethnicity, that he had developed through a search
                of hard-copy records for academic year 1991. Data on previous years were
                not available since the data were not maintained prior to our request.

                The Division of Computer Services provided computer disks containing all
                4000,6000, and 6000 level conduct offenses charged during academic years
                198%90.The disks contained alpha numbers, offense codes, dates of
                offense, dates of award of punishment, and information on punishments         a
                (demerits, tours/restrictions, loss of leave, and privileges), as well as
                gender and race/ethnicity information.

                The Division of Computer Services provided computer disks containing all
                honor offense cases (coded as offense code “0” in the 6090 level conduct
                offenses) charged during academic years 1990 and 1991. The disks
                contained alpha numbers, offense codes, dates of offense, dates of
                disposition, and information on punishments (demerits, tours/restrictions,
                loss of leave or privileges, and separation), as well as gender and
                racdethnicity information. We independently extracted similar
                information from hard-copy honor files for academic years 1990 and 1991.



                Page63                                          GM&WAD-BS-64NmmlAculemy
              Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 233 of 292
                               Appendix II
                               Andy& of Academy Data




                               The Registrar provided computer disks containing separation data for the
                               classes of 1980 through 1994. The disks contained alpha numbers,
                               separation codes, the semesters when the midshipmen first entered the
                               Academy and when the midshipmen were separated, gender, and
                               race/ethnicity. The separation codes provided information on whether the
                               separations were considered voluntary or involuntary and whether they
                               were due to academics, conduct, honor, aptitude, physical, death, or a
                               combination of causes. The separation codes were assigned by Academy
                               personnel based on their assessment of the conditions surrounding each
                               separation. In general, the codes representing the various categories of
                               withdrawal were not considered to be highly reliable.

                               The Physical Education Department, at our request, compiled and
                               provided information from hard-copy records on the racial/ethnic
                               composition of the swimming sub-squad class during academic year 1991.

                               The Academy’s 1991 and 1992 Command Managed Equal Opportunity
                               reports provided the information we cite on physical education grades for
                               academic years 1990 and 1991.


Assessment of                  disparities. First, in all comparisons we determined whether the observed
Disparities                    disparity could be plausibly interpreted as a chance event-that is, we
                               tested for statistical significance. Second, in every case where the data
                               were of the appropriate type, we used a rule of thumb test involving
                               comparisons of the incidence of various outcomes in subgroups of the
                               population.

                               In addition, we counted the number of times each subgroup was higher or          a
                               lower on each measure for each period we examined. This provided an
                               overall view of the degree of regularity in the direction of the observed
                               differences.


Tests of Statistical           We used standard statistical tests to determine whether a given observed
Significance                   gender or racial disparity was too large to be plausibly attributable to
                               chance.

                               The data we used describe actual historical results for the classes of 1988,
                               1989,1990, and 1991. In this sense the data are population data and not
                               subject to sampling error. Our interest, however, is in the question of



                               Page 64                                         GMVNSIAD-@a-64   Naval Academy


                                                       ,’
                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 234 of 292
                                   Appendix II
                                   Analysie of Academy Data




                                   whether persistent features of the situation at the Academy might produce
                                   similar results in subsequent years. For this purpose, it is appropriate to
                                   treat the classes of 19S8-91as subpopulations of a larger population of
                                   results generated by the overall situation at the Academy.’ Statistical
                                   significance tests of observed disparities provide a screen that permits us
                                   to avoid giving too much weight to small numerical differences that might
                                   reflect chance variations in the underlying, persistent process.

Chi-Square Test                    For categorical data, such as whether a midshipman was charged with an
                                   honor offense or not, we used the &i-square test to assess whether the
                                   difference between subgroup proportions was significant. We used the
                                   standard 0.95 level of significance, meaning we accepted a difference
                                   between subgroups as statistically significant if there was a S-percent or
                                   less chance of getting a difference that large if there were no real
                                   difference between the subgroups.

T-Test                             For continuous data, such as academic grade point averages, we used the
                                   t-test to assess whether the subgroup means were substantially different.
                                   We first assessed the variances of each subgroup on each measure to
                                   determine whether or not they were approximately equal. If the variances
                                   were equal, we used the pooled-variance formula for the trtest. If the
                                   variances were unequal, we used the separate-variance formula for the
                                   t-test.2 The standard 0.05 probability of error was used as the criteria for
                                   assessing statistical significance.


The “Four-Fifths” Test            We adopted the “four-fifths” test as one measure of whether an observed
                                  difference between two groups is significant. This test is similar to the rule
                                  of thumb used by the four federal agencies responsible for equal
                                  employment opportunity enforcement (the Department of Justice, the
                                  Department of Labor, the Equal Employment Opportunity Commission,                                              a
                                  and the Office of Personnel Management) for determining whether
                                  differences between subgroups in the selection rates for hiring, promotion,
                                  or other employment decisions were significant.3

                                  ‘For a discussion of applying statistical significance to population data, see R.E. Henkel, Testa of
                                  Si niiicance(Beverly Hills, CA: Sage Publications, 1976), pp, 8687; and M.J. Hagood, “The-           of a
                                  lJ+-r-
                                    ypo ietxal Universe” in D.E. Morrison and R.E. Henkel (eds.) The Significance Test Conhoverayz A
                                  Reader (Chicago: Aidine Publishing Co., 1970).

                                  %PSS User’s Guide (3rd ed.) (Chicago: SPSS,Inc., 1966).

                                  %ee the Uniform Guidelines on Employee Selection Procedures (29 C.F.R. section 1607). We ~cognize
                                  that titie VII of the Civil Rights Act of 1964,which protects individuals against employment
                                  discrimination, does not apply to the uniformed members of the armed services. See Roper v.
                                  Department of the Army, 832 F2d 247 (2nd Cir. 1987).


                                  Page 66                                                             GNINSIAD-B8-54       Naval Academy



                                                                   /:
         i                                                           I    ,
             I’                                                    ,,ll                                                              :.:,
                                                                                                                                            .I
            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 235 of 292
                             Appendix II
                             Amlyolo of Academy Data




                             Under this test, a selection rate for a subgroup that is less than four-fti
                             (or 80 percent) of the rate for the group with the highest selection rate is
                             considered a substantially different rate. We recognize that others have
                             applied the test only to selection rates for actions involving positive
                             consequences. However, we judgmentally chose to apply the test to both
                             selection and nonselection indicators (such as graduation rates).

                             We used a transformed version of this test to assess the incidence of
                             decisions having negative consequences, such as disciplinary, honor
                             offense, attrition, and academic failure rates. According to this version, an
                             incidence rate for a negative consequence displays a significant disparity if
                             it is more than 126 percent (five-fourths) of the rate for the comparison
                             subgroup. In every comparison situation involving the incidence rates of
                             outcomes in different subgroups, we used either the original test or its
                             transformed version, as appropriate. For comparisons not involving
                             incidence rates, such as grade averages or success predictor scores, our
                             assessment of significance was based on statistical significance alone.


Each Kind of Test Is         Each of these two kinds of tests is relatively sensitive to differences under
Problematic                  some circumstances, while being relatively insensitive under others. The
                             tests that we used tend to be reactive to the number of cases. For example,
                             when few people are subject to a particular kind of action and the
                             resulting number of cases is therefore small, relatively large subgroup
                             differences may not reach statistical significance. As the number of cases
                             increases, smaller differences between subgroups become significant.

                             The four-fifths test, since it focuses solely on the ratio of the two rates, is
                             unaffected by the number of cases and is therefore sensitive to differences
                             even when the number of cases is small. However, when the number of
                             cases is large, resulting in more stable rates, the four-fifzhs test may            A
                             provide too much latitude before a difference would be seen as significant.

                             Since neither type of test is wholly satisfactory, we applied both whenever
                             possible. If we found a difference to be significant under either type of
                             test, we considered that difference to be significant. In general, differences
                             that were significant according to the four-fifths test were also statistically
                             significant. Of the 63 comparisons in which both tests were applicable,
                             only 3 revealed statistically significant disparities that were not also
                             significant by the four-fifths test.




                             Page 66                                           GAO/NSIAD.93-64   Naval Academy
Appendix III
                   Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 236 of 292
Sample Conduct System Offenses by
Increasing Levels of Seriousness

Conduct offenre level8      SamrAe offenrea
106%                        Operating sound equipment in a manner that disturbs other midshipmen or for the benefit of
                            midshipmen serving tours.
                            Failure to have door ooen when room is unoccupied.
                            Failure to know required fourth class knowledge.
2ooo                        Unauthorized use of official telephone.
                            Submitting a required reoort or document late.
        --~                 Obscene. orofane. orovokina. or imorooer lanauaae.
3ooo                        Absent without authority, 30 minutes or less.
                            Overdrawing a midshipman or civilian bank account.
                            Removina articles from buildinas. rooms, or containers without permission of proper authority.
4ooo                        Absent without authority, less than 24 hours, but more than 30 minutes.
                            Igniting or possessing fireworks on or in the vicinity of government property.
                            Discrediting public conduct; acts done while identifiable as a member of the U.S. Navy, which tend
                            to reflect discredit on the Briaade of Midshipmen or the Navy in the eyes of the public.
                            Absent without authority; intentional or due to gross negligence, less than 24 hours.
                            intentional failure to properly perform a duty.
                            Disrespect or insubordination to a superior or individual in position of authority (officer, midshipman,
                            or civilian).
                            Absent without authority, 24 hours or more.
                            Sexual misconduct (including but not limited to sexual acts involving the use of force or coercion,
                            groups, homosexuality, or service-discrediting circumstances; sexual acts by a midshipman in
                            Bancroft Hall, academic buildings, or on the grounds of the Academy).
                            Drinking, possessing, or introducing alcohol into Bancroft Hall or aboard ship.




                                       Page 67                                                     GMNNSIAD-98-64     Naval Academy
Appendix IV
              Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 237 of 292
Major Contributors to This Report


-National Security and
                               Martha J. Dey, Evaluator-in-Charge
 International Affabs          J. Paul Newton, Evaluator
 Division, Washington,         Jean-Paul Reveyoso, Evaluator
                               Connie D. Wilson, Evaluator
 D.C.
1General Government
 Division, Washington,
 D.C.
                               Dudley C. Roache, Regional Management Representative
Norfolk Regional               Sharon L. Reid, Evaluator
Office




                                                                                      4




(aalaoa)
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 238 of 292




                 Ordtaring    Information

                 The! first copy of each GAO report and testimony is free.
                 Additional   copies are $2 each. Ordc?rs should be sent to the
                 following address, accompanied by a chtbck or money order
                 made out to the Superintendent     of IIocnments, whctn
                 necessary. Orders for 100 or more copies to he mailed I,0 it
                 single address a.re discounted 25 percent.

                 Orders by mail:

                 1J.S. General Accounting Office
                 I’.(). 130x 6015
                 Gaithersburg,    MI) 20884-6015

                 or visit,:

                 Room 1000
                 700 4th St. NW (corner of 4th and G Sts. NW)
                 IJ.S. General Accounting Office
                 Washington, I)(:

                 Ordcvs may also bc placed by calling (202)    5 12-60(!10
                 or by using fax number (301) 258-4066.




                 PRINTED ON (,i@   RECYCLED   PAPER
                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 239 of 292




i’t!rralt,y for Private   IJse $300
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 240 of 292




                    EXHIBIT X
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 241 of 292




                 Department of Defense
                 Diversity and Inclusion
                 Strategic Plan
                 2012-2017
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 242 of 292
DoD Diversity and Inclusion Strategic Plan • 2012




                                                  Table of Contents

Foreword ......................................................................................................................... 2
A Case for Action ............................................................................................................ 3
Goal 1: Ensure Leadership Commitment to an Accountable and Sustained Diversity
Effort................................................................................................................................ 5
Goal 2: Employ an Aligned Strategic Outreach Effort to Identify, Attract, and Recruit
from a Broad Talent Pool Reflective of the Nation We Serve .......................................... 7
Goal 3: Develop, Mentor, and Retain Top Talent from Across the Total Force ............... 9
Appendix A: Acronyms and Abbreviations .................................................................... 11
Appendix B: Glossary .................................................................................................... 12
Appendix C: Alignment and Development of the DoD Diversity Effort........................... 14




Preparation of this report/study cost the Department of Defense a total of approx-
                   imately $570,000 in Fiscal Years 2012 - 2017.
                     Generated on 20120326 RefID: 1-5D36908




DoD Diversity and Inclusion Strategic Plan • 2012                                                                                     1
          Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 243 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Foreword
This Department of Defense (DoD) Diversity and Inclusion Strategic Plan outlines the
implementation of the President’s Executive Order 13583 (EO 13583) on establishing a
coordinated Government-wide initiative to promote diversity and inclusion in the Federal
workforce. EO 13583 directs executive departments and agencies to develop and
implement a more comprehensive, integrated, and strategic focus on diversity and
inclusion as a key component of their human resource strategies. While EO 13583 was
focused on civilian personnel, this Strategic Plan also addresses similar concerns for
military personnel.

This document incorporates the priorities of the U.S. Office of Personnel Management’s
(OPM) Government-Wide Diversity and Inclusion Strategic Plan for civilian personnel
plus recommendations of the final report of the congressionally-mandated Military
Leadership Diversity Commission (MLDC), which conducted a comprehensive review of
DoD’s diversity efforts with respect to military personnel. Further, it is aligned with key
foundational DoD documents including the 2011 National Military Strategy, the 2010
Quadrennial Defense Review (QDR) Report, the 2010 National Security Strategy, the
2010-2012 Personnel and Readiness Strategic Plan, and additional Federal workforce
Executive Orders 1.

This plan provides an overarching construct which encourages commitment, and
creates alignment across the department with the latitude for the Services and DoD
agencies to incorporate diversity and inclusion initiatives unique to their organizations.




1
    Executive Orders include:
       • Executive Order 13163 of July 26, 2000: Increasing the Opportunity for Individuals with Disabilities to be
           Employed in the Federal Government
       • Executive Order 13171 of October 12, 2000: Hispanic Employment in the Federal Government
       • Executive Order 13518 of November 9, 2009: Employment of Veterans in the Federal Government
       • Executive Order 13548 of July 26, 2010: Increasing Federal Employment of Individuals with Disabilities
       • Executive Order 13595 of December 19, 2011: Instituting a National Action Plan on Women, Peace, and
           Security



DoD Diversity and Inclusion Strategic Plan • 2012                                                                     2
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 244 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


A Case for Action

Diversity is a strategic imperative, critical to mission readiness and accomplishment,
and a leadership requirement. As the global threat environment continues to evolve, the
DoD Total Force 2 will confront complex, asymmetric operational environments, and
unconventional tactics, necessitating full employment of all department assets – fore-
most our people.

         As the challenges we face require a Joint Force that is flexible, agile, and adap-
         tive, it emphasized people as much as platforms. It recognizes that the unique
         character of our Service members…is a formidable advantage.
                                                          - 2011 National Military Strategy

We defend the greatest nation in the world – a democracy founded on the promise of
opportunity for all. It is a nation whose demographic makeup parallels the environment
in which we live – continually changing -- and DoD must change to maintain and sustain
its future forces. To the degree we truly represent our democracy, we are a stronger,
and more relevant force. The Department views diversity as a strategic imperative.
Diverse backgrounds and experiences bring inherently different outlooks and ways of
thinking, the key to innovation in organizations. We gain a strategic advantage by
leveraging the diversity of all members and creating an inclusive environment in which
each member is valued and encouraged to provide ideas critical to innovation, optimiza-
tion, and organizational mission success.

In order to support these elements, DoD expands upon the definition of diversity in DoD
Directive (DoDD) 1020.02 3 and defines diversity in a deliberately broad context, enabl-
ing us to fully include diversity in all the aspects that make us unique while still empha-
sizing the demographics that drive the future talent pool.

         Diversity is all the different characteristics and attributes of the DoD’s Total
         Force, which are consistent with our core values, integral to overall readiness
         and mission accomplishment, and reflective of the nation we serve.
This definition provides a framework for action allowing DoD to foster an environment of
inclusion. These diverse backgrounds, experiences, and ways of thinking are essential
to optimal performance within the Department’s increasingly fiscally constrained envi-
ronment.

As demographics change, we are in a “Battle for Talent” to ensure we are able to recruit
and retain the best our nation has to offer. It is critical that DoD strive to have a Total




2
  For the purposes of this document, Total Force refers to the organizations, units, and individuals that comprise
the DoD resources for implementing the National Security Strategy. It includes DoD Active and Reserve Component
military personnel and DoD civilian personnel.
3
  DoDD 1020.02, Diversity Management and Equal Opportunity (EO) in the Department of Defense, February 5,
2009, defines diversity as “The different characteristics and attributes of individuals.”


DoD Diversity and Inclusion Strategic Plan • 2012                                                               3
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 245 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


Force that not only possesses the diverse backgrounds and experiences to meet the
complex challenges of the future global security environment, but that also reflects the
face of the nation.
        An all-volunteer force must represent the country it defends. We will strengthen
        our commitment to the values of diversity and inclusivity, and continue to treat
        each other with dignity and respect. We benefit immensely from the different
        perspectives, and linguistic and cultural skills of all Americans.
                                                             - 2011 National Military Strategy
The more that DoD is inclusive of diverse backgrounds, the more connected we be-
come with the citizens we serve. As the nation’s demographics continue to evolve, DoD
must position itself to capitalize on the broad range of talent. In order for DoD to remain
the globally dominant fighting force well into the 21st century, we must be able to reach
out to these diverse communities and compete for top talent.
The demographic composition of the nation is changing, creating a more diverse talent
pool for DoD military accessions and civilian hires. Due to the significant amount of time
it takes to grow senior DoD leaders, it is essential that we act now to tap into that di-
verse talent pool. As significant numbers of the Total Force are becoming retirement
eligible and the DoD faces a drawdown, we are presented with a window of opportunity
to shape our future DoD leadership by ensuring access to a diverse talent pool with the
skills necessary to meet future demands. Strong leadership commitment is essential to
ensure DoD has a Total Force that reflects the best of the citizens it serves today and in
the future.
In this battle for talent, we must focus our efforts on emerging diverse markets to suc-
cessfully attract, recruit, and retain a highly-skilled workforce capable of meeting current
and future readiness and mission requirements.
Valuing diversity is not simply the right thing to do. Leveraging diversity ensures we
maintain the competitive advantage – an adaptable, innovative Total Force capable of
meeting current and future operational demands.
This plan recognizes that proper Equal Employment Opportunity (EEO) and Military
Equal Opportunity (MEO) policies are the building blocks of a successful diversity
program. Therefore, it is critical that all recruitment, accessions, promotion, training,
retention, and other personnel actions comply with federal EEO and MEO laws and
regulations
This plan provides an overarching direction, encourages direct leadership involvement
and commitment, and creates alignment allowing DoD to approach diversity and inclu-
sion efforts in a coordinated, collaborative, and integrated manner supported by mea-
surable outcomes. Three goals provide a framework for successful diversity and inclu-
sion efforts:
    1. Ensure Leadership Commitment to an Accountable and Sustained Diversity
       Effort
    2. Employ an Aligned Strategic Outreach Effort to Identify, Attract, and Recruit
       from a Broad Talent Pool Reflective of the best of the Nation We Serve
    3. Develop, Mentor, and Retain Top Talent from Across the Total Force


DoD Diversity and Inclusion Strategic Plan • 2012                                           4
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 246 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Goal 1: Ensure Leadership Commitment to an Accountable and Sus-
tained Diversity Effort
Develop structures and strategies to equip leadership with the ability to manage diversi-
ty, be accountable, and engender an inclusive work environment that cultivates innova-
tion and optimization within the Department.

Goal 1, which presents a DoD-wide sustainment and accountability approach, aims to
support and deepen the leadership support for diversity, as well as to provide top down
DoD ownership of and policy guidance for the effort that is ongoing within DoD. This
goal aims to accomplish:

      a) A renewed ability of senior leaders to champion and define diversity program
         priorities
      b) An enhanced capability to monitor progress and ensure that appropriate sys-
         tems are in place
      c) An objective assessment process for diversity progress, consistent with legal
         obligations
      d) An authentic, consistent, visible commitment to diversity through strategic com-
         munications messaging that resonates

To that end, the objectives and associated strategic actions in this section of the Diver-
sity and Inclusion Strategic Plan frame the involvement of Service and DoD Agency
leadership as the owners of the plan itself, along with its alignment, assessment, and
accountability. In order for Goal 1 to be achieved, leaders must clearly state their com-
mitment to diversity and demonstrate their willingness to integrate diversity into every
effort. The roadmap outlined for leadership will require examination and commitment
from key Service and DoD Agency leaders to make it actionable, and to ensure that this
overarching plan supports DoD’s overall goals and objectives.

This plan also promotes the use of forums and a senior oversight body to provide
advice, counsel, and awareness of diversity management best practices in DoD to help
calibrate diversity management actions. DoD’s structure is defined in such a way that all
Services and DoD Agencies will need to work together effectively in order to ensure a
successful diversity effort. Additionally, Goal 1 outlines a need for the objective assess-
ment of the strategies outlined in this plan. An effective merit-based accountability
system must be defined for diversity management maturation.

A networked force, that is linked and aligned, has the ability to expand its operational
reach on diversity through effective messaging. Communications advance the diversity
effort through educating and engaging key stakeholders on its mission impact. A cohe-
rent, compelling and consistent strategic communications effort, internal and external, is
critical to showcase leadership commitment to the diversity and inclusion effort.




DoD Diversity and Inclusion Strategic Plan • 2012                                           5
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 247 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


 OBJECTIVE 1.1: REINFORCE STRATEGIC DIRECTION TO MAKE LEADER-
 SHIP ALIGNED, COMMITTED, AND ACCOUNTABLE TO DIVERSITY AND
 INCLUSION
    STRATEGIC ACTIONS                   INITIATIVES
 1. Develop and update policies and                 • Leadership issues diversity policy statements, roadmaps,
     procedures to ensure diversity                   and/or strategic plans
     and inclusion is an institutional              • Resource and institute clear, consistent, and robust
     priority                                         diversity management policies and directives that ensure
                                                      decisions are merit-based
                                                    • Assess and modify, as necessary, DoD policies as they
                                                      relate to diversity
 2. Establish and implement an                      • Establish and leverage forums, including a senior level
     accountability review construct                  body to oversee and monitor key diversity and inclusion
                                                      initiatives
                                                    • Identify key diversity and inclusion indicators (e.g., career
                                                      fields and key assignments leading to senior ranks)
                                                    • Develop the comprehensive enterprise-wide capability to
                                                      monitor the scope and impact of DoD diversity efforts
                                                    • Conduct barrier and trend analysis on key diversity
                                                      indicators for military (MEO) and civilian (EEO) that pro-
                                                      vides guidance to aid leaders in making informed diversi-
                                                      ty decisions.


 OBJECTIVE 1.2: EMPLOY COMPELLING AND CONSISTENT STRATEGIC
 COMMUNICATIONS
   STRATEGIC ACTIONS                   INITIATIVES
 1. Inform internal and external                    • Leverage relationships with non-DoD entities and maxim-
      audiences about DoD diversity                   ize the use of social media to expand the diversity mes-
      efforts in support of recruiting,               sage internally and externally to target markets
      development, and retention goals              • Create, assess, and execute a diversity and inclusion
                                                      strategic communications plan




DoD Diversity and Inclusion Strategic Plan • 2012                                                                     6
         Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 248 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Goal 2: Employ an Aligned Strategic Outreach Effort to Identify, At-
tract, and Recruit from a Broad Talent Pool Reflective of the Best of
the Nation We Serve
Position DoD to be an “employer of choice”, competitive to attract and recruit top talent.

The second goal acknowledges DoD’s desire to identify, attract, and retain the most
competent, qualified, and diverse workforce to support America’s global defense. The
changing demographics of the population demand that recruiting efforts keep pace,
ensuring that DoD reflects the best of the nation it serves.
Currently, there are multiple efforts in place within DoD that focus on the acquisition and
onboarding of qualified talent. Goal 2 promotes a strategic outreach approach to ensure
there is a concerted merit-based effort to seek the diverse, qualified talent that will be
necessary to meet the challenges of the 21st century. To support this effort, DoD must
forge relationships with key stakeholders and leverage their unique capabilities to attract
and recruit from emerging markets. The talent pipeline must be in place to increase and
sustain senior military and civilian DoD leaders from diverse backgrounds. To ensure
that the Department can fully capitalize on the nation’s diverse talent, recruiting strate-
gies must be adapted and aligned to ensure DoD penetrates all constituent markets.
This effort will directly support our nation’s ability to reach the goal of Total Force flex-
ibility, agility, and competence as outlined in the national security and military plans.

    OBJECTIVE 2.1: DESIGN AND PERFORM STRATEGIC OUTREACH AND RE-
    CRUITMENT TO REACH ALL SEGMENTS OF SOCIETY
      STRATEGIC ACTIONS                  INITIATIVES
    1. Ensure current recruitment practic-          • Assess the effectiveness of current branding and recruit-
        es are effectively reaching all               ment practices for all demographics/ markets to ascertain
        segments of society                           actionable steps to increase access and positioning
                                                    • Establish a baseline for the purpose of identifying merit-
                                                      based barriers and improving diversity in applicant pools
                                                      by 2013
                                                    • Establish framework to collect, review, and analyze
                                                      applicant flow data and recruiting trends to relevant civi-
                                                                              4
                                                      lian labor force (RCLF) data and eligible applicant pool
                                                      to identify gaps
                                                    • Expand and exercise the use of Schedule A, Veteran,
                                                      and special hiring authorities as part of the strategy to
                                                      recruit a diverse workforce
    2. Synchronize outreach and recruit-            • Establish a framework to review and identify both out-
        ment activities across DoD. En-               reach and recruitment activities
        sure that outreach and recruit-             • Identify and integrate areas of overlap if practical
        ment strategies are designed to             • Employ Special Emphasis Program (SEP) Managers to




4
 Relevant Civilian Labor Force (RCLF): Civilian Labor Force (CLF) data that are directly comparable (or relevant) to
the occupational population being considered in the Total Force. (I.e., the source from which an Agency draws or
recruits applicants for employment.)


DoD Diversity and Inclusion Strategic Plan • 2012                                                                      7
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 249 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


 OBJECTIVE 2.1: DESIGN AND PERFORM STRATEGIC OUTREACH AND RE-
 CRUITMENT TO REACH ALL SEGMENTS OF SOCIETY
   STRATEGIC ACTIONS                  INITIATIVES
      draw from all segments of society                work towards attracting, recruiting, and retaining a di-
                                                       verse workforce

 3. Establish/expand strategic relation-            • Assess and leverage relationships with DoD and non-
     ships with internal and external                 DoD entities to enhance outreach and recruitment strate-
     key stakeholders at diverse col-                 gies to ensure that they effectively reach all segments of
     leges and universities, trade                    society
     schools, apprentice programs,                  • Review and ensure that internship, fellowship, and scho-
     Science, Technology, Engineer-                   larship programs have diverse pipelines to draw candi-
     ing, and Mathematics (STEM)                      dates from all segments of society
     initiative programs, and affinity              • Review and ensure a flow of applicants from diverse
     organizations                                    backgrounds to the Service Academies and other officer
                                                      accession sources

 OBJECTIVE 2.2: ENSURE POLICIES AND PROGRAMS SUPPORT THE EF-
 FORTS TO IDENTIFY, ATTRACT AND RECRUIT FROM A BROAD, DIVERSE
 TALENT POOL
   STRATEGIC ACTIONS                    INITIATIVES
 1. Create and assess implementation                • Review and modify policies as necessary to ensure a
                                                                                                     st
     policies to support diversity stra-              diverse, merit-based leadership pool for the 21 Century
     tegic outreach and recruitment                 • Leverage SEP assets to develop and inform implementa-
     practices                                        tion plans




DoD Diversity and Inclusion Strategic Plan • 2012                                                                  8
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 250 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Goal 3: Develop, Mentor, and Retain Top Talent from Across the Total
Force
Establish DoD’s position as an employer of choice by creating a merit-based workforce
life-cycle continuum that focuses on personal and professional development through
training, education, and developing employment flexibility to retain a highly-skilled
workforce.

Goal 3 is designed to ensure the Services and DoD agencies incorporate innovative
development, mentoring, and retention tools to maintain an inclusive and equitable work
environment through merit-based decision-making. Ultimately, Goal 3 aims to position
the Services and DoD agencies to best compete and retain the most valuable of their
human resources to cultivate as future leaders.

Strong mentoring programs, both formal and informal, are critical elements that can be
leveraged to provide diverse talent the tools to compete for leadership opportunities at
the highest levels of DoD. Successful mentoring will ensure Service members and
civilian personnel make informed career choices to reach their highest potential. The
value of mentoring should be infused throughout the training continuum, beginning at
the point of accession and continuing through the career. Critical mentoring skills must
be fully developed in senior leaders and lessons learned shared and retained through-
out the organization. This goal also works toward imparting an ingrained understanding
of diversity and inclusion management to the Total Force on a long term basis.

Goal 3 also addresses the need to meet the personal and professional development
goals of the Total Force to leverage retention and maintain DoD’s position as an em-
ployer of choice. Retaining top talent is essential to sustaining mission readiness that is
adaptable and responsive. Senior leaders must fully appreciate generational differences
and champion efforts that fully employ a wide array of workplace flexibility policies to
retain today’s millennial generation. What worked to retain the Baby Boomer and Gen-
eration X workforce may not be as successful in retaining current and future genera-
tions. Understanding retention drivers and building policies and programs that account
for those shifts, is critical as we build the senior leaders in the future force. The Services
and DoD agencies have the latitude to employ the retention initiatives necessary to
sustain their unique capabilities.




DoD Diversity and Inclusion Strategic Plan • 2012                                            9
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 251 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


 OBJECTIVE 3.1: PROMOTE DIVERSITY AND INCLUSION THROUGH TRAIN-
 ING, DEVELOPMENT, AND EMPLOYEE ENGAGEMENT PROGRAMS
    STRATEGIC ACTIONS                   INITIATIVES
 1. Infuse diversity and inclusion                  • Identify and integrate diversity principles, practices, and
      messaging throughout the on-                    competencies into professional development training,
      boarding and leadership devel-                  education, and performance management programs
      opment and training continuum                 • Develop a framework to oversee and monitor diversity
                                                      and inclusion principles and practices for all professional
                                                      development programs
                                                    • Establish and assess diversity and inclusion competen-
                                                      cies for leadership to lead a diverse workforce
 2. Leverage opportunities presented                • Support participation in employee affinity and resource
     by employee groups                               groups consistent with the Joint Ethics Regulation (JER),
                                                      DoD 5500.07-R


 OBJECTIVE 3.2: PROMOTE PRACTICES THAT RETAIN TOP TALENT CAPA-
 BLE OF MEETING THE DEPARTMENT’S READINESS NEEDS FOR THE 21ST
 CENTURY
    STRATEGIC ACTIONS                   INITIATIVES
 1. Enhance retention initiatives to                • Review and assess flexible workplace programs (e.g.,.
     retain a broad diverse pool of top               telework, wellness programs, off-ramps/on-ramps, and
     talent                                           other work-life flexibilities)
                                                    • Evaluate the effectiveness of DoD’s retention initiatives.
                                                    • Analyze workforce data and policies to ensure full access
                                                      to key developmental assignment opportunities
 2. Promote an inclusive environment                • Ensure a framework to oversee and monitor organiza-
     that empowers employees to per-                  tional climate
     form at their maximum potential                • Ensure senior leader involvement in climate assessments
                                                    • Develop survey instruments or equivalents to support
                                                      leaders in managing a diverse force


 OBJECTIVE 3.3: ENSURE POLICIES AND PROGRAMS SUPPORT THE EF-
 FORTS TO DEVELOP AND MENTOR A BROAD, DIVERSE TALENT POOL
   STRATEGIC ACTIONS                    INITIATIVES
 1. Review training and development                 • Analyze applicant pool and selection data and ensure full
     programs to ensure they draw                     access to all development programs
     from all segments of the work-                 • Ensure senior leader visibility to development and training
     force and identify barriers                      selections process
 2. Create, implement, and assess                   • Review and modify policies to ensure broad access to
     policies to support the develop-                 mentoring approaches for all personnel
     ment, mentorship, and retention                • Review existing mentorship models and assess effective-
     of a broad, diverse talent pool                  ness
                                                    • Create flexible mentoring models, informal and formal
                                                      (e.g., one on one, mentor teams, command based, peer
                                                      to peer, and social networking applications)
                                                    • Develop a DoD framework for mentorship




DoD Diversity and Inclusion Strategic Plan • 2012                                                               10
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 252 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Appendix A: Acronyms and Abbreviations
  ACRONYM                                              DESCRIPTION
  DCPDS               Defense Civilian Personnel Data System
  DMDC                Defense Manpower Data Center
  DoD                 Department of Defense
  EEO                 Equal Employment Opportunity
  EEOC                Equal Employment Opportunity Commission
  EO                  Executive Order
  ERG                 Employee Resource Group
  MD-715              Management Directive 715
  MLDC                Military Leadership Diversity Commission
  MEO                 Military Equal Opportunity
  OPM                 Office of Personnel Management
  OSD                 Office of Secretary of Defense
  QDR                 Quadrennial Defense Review
  RCLF                Relevant Civilian Labor Force
  SEP                 Special Emphasis Program
  STEM                Science, Technology, Engineering, and Mathematics




DoD Diversity and Inclusion Strategic Plan • 2012                            11
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 253 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Appendix B: Glossary
Definitions in this appendix serve as reference points and provide a common lexicon for
terms used within this Diversity and Inclusion Strategic Plan.

Department of Defense (DoD) Military Equal Opportunity (MEO) Program. The
DoD-wide military program of EO that is accomplished through efforts by the DoD
Components. It provides an environment in which Service members are ensured an
opportunity to rise to the highest level of responsibility possible in the military profes-
sion, dependent only on merit, fitness, and capability.

Diversity. The different characteristics and attributes of individuals (as defined in DoDD
1020.02). This document expands this definition to: Diversity is all the different charac-
teristics and attributes of the DoD’s Total Force, which are consistent with our core
values, integral to overall readiness and mission accomplishment, and reflective of the
best of the Nation we serve.

Diversity Management. The plans made and programs undertaken to identify in the
aggregate the diversity within the DoD to enhance DoD capabilities and achieve mission
readiness.

Equal Employment Opportunity (EEO). The right of all civilian employees and appli-
cants to work and advance on the basis of merit, ability, and potential, free from social,
personal, or institutional barriers of illegal prejudice and discrimination, based on race,
color, religion, sex, national origin, age, disability, genetic information,prior EEO activity,
sexual orientation, or ther prohibited factors. .

Inclusion. Valuing integrating each individual’s differences into the way an organization
functions and makes decisions.

Management Directive 715 (MD-715). The policy guidance which the Equal Employ-
ment Opportunity Commission (EEOC) provides to Federal agencies for their use in
establishing and maintaining effective programs of equal employment opportunity as
required by Title VII and the Rehabilitation Act for civilian employees.

Merit System Principles. Pursuant to section 2301(b)(2) of title 5, United States Code,
insofar as it applies to Federal civilian employees, including military personnel supervis-
ing Federal employees, all employees and applicants for employment should receive
fair and equitable treatment in all aspects of personnel management without regard to
political affiliation, race, color, religion, national origin, sex, marital status, age, handi-
capping condition or other prohibited factors, and with proper regard for their privacy
and constitutional rights. Further clarification of merit system principles can be found in
section 2301 of title 5, United States Code. Within the limitations of applicable laws,
statues, and regulations, military personnel should strive to follow similar guidelines or
their legal equivalent.




DoD Diversity and Inclusion Strategic Plan • 2012                                             12
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 254 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


Military Equal Opportunity (MEO). The right of all military personnel to participate in
and benefit from programs and activities for which they are qualified. These programs
and activities shall be free from social, personal, or institutional barriers that prevent
military personnel from rising to the highest level of responsibility possible.

Military Leadership Diversity Commission (MLDC). A congressional commission
created by Public Law 110-417 Duncan HunterNational Defense Authorization Act for
Fiscal Year 2009, Section 596 to conduct a comprehensive in depth evaluation and
assessment of policies that provide opportunities for the promotion and advancement of
minority members of the Armed Forces, including minority members who are senior
officers.

Stakeholder. This is an inclusive term that refers to the end-users, entities providing
requirements, and the people or entities benefiting from the organization’s products –
the Administration, U.S. Congress, DoD, the Services, Combatant Commands, Service
members and their families, and DoD civilian employees and their families and volun-
teers.

Strategic Communications. Focused United States Government efforts to understand
and engage key audiences to create, strengthen, or preserve conditions favorable for
the advancement of United States Government interests, policies, and objectives
through the use of coordinated programs, plans, themes, messages, and products
synchronized with the actions of all instruments of national power.




DoD Diversity and Inclusion Strategic Plan • 2012                                            13
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 255 of 292
DoD Diversity and Inclusion Strategic Plan • 2012



Appendix C: Alignment and Development of the DoD Diversity Effort
The DoD Diversity and Inclusion Strategic Plan was written to complement other recent
DoD diversity publications and existing strategic plans within DoD. This plan includes
themes from three key publications: Planning for Diversity: Options and Recommenda-
tions for DoD Leaders (RAND, November 2007), the MLDC final report, and OPM’s
Government-Wide Diversity and Inclusion Strategic Plan.

Successful diversity programs are consistently defined by senior leaders who strategi-
cally relate diversity activities to the mission of the organization. As such, DoD has
chosen to develop a Diversity Strategic Plan that connects to: the 2011 National Military
Strategy, the 2010 QDR Report, the 2010 National Security Strategy, the 2010-2012
Personnel and Readiness Strategic Plan, the 2008 National Defense Strategy, and the
2006-2010 Civilian Human Capital Strategic Plan, among other efforts. The figure below
outlines this alignment and the evolution of the DoD diversity effort.

To further the diversity effort,
DoD previously commissioned
the RAND Corporation to assess
the current state of diversity
within DoD, resulting in a report,
Planning for Diversity: Options
and Recommendations for DoD
Leaders (RAND, November 2007), that provides a
comprehensive assessment of diversity
within DoD. The report outlined the following
six key recommendations:

    1. Have the Secretary of Defense spearhead
       the strategic diversity effort.
    2. Create an oversight committee with top DoD
       leaders from a wide range of profession-
       al/functional and personal backgrounds.
    3. Adopt a vision that combines attention to
       traditionally protected groups with aims for creating an inclusive envi-
       ronment.
    4. Expand strategies beyond accessions.
    5. Invest in and develop rigorous metrics on all dimensions that support the strateg-
       ic vision.
    6. Design and apply a comprehensive accountability system.

DoD is in the process of implementing several of these recommendations. Following the
RAND report, in 2009 the MLDC was created to conduct an evaluation and assessment
of policies that provide opportunities for the promotion and advancement of minority
members of the Armed Forces, including those who are senior officers. The commis-
sioners heard testimony from top DoD officials, including the Chairman of the Joint
Chiefs of Staff and each Service Chief, as well as from diversity experts in private

DoD Diversity and Inclusion Strategic Plan • 2012                                      14
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 256 of 292
DoD Diversity and Inclusion Strategic Plan • 2012


industry and academia. The MLDC produced a comprehensive list of recommendations
to serve as strategies for enhancing on-going diversity efforts within DoD. The current
DoD Diversity Strategic Plan incorporates many of the recommendations outlined in this
congressionally-mandated report with respect to the following key MLDC recommenda-
tion areas:
    • Definition of Diversity                            • Promotion
    • Outreach and Recruiting                            • Retention
    • Branching and Assignments                          • Metrics
    • Diversity Leadership and Training                  • Implementation and Accountability

In August 2011, President Obama issued an Executive Order, “Establishing a Coordi-
nated Government-wide Initiative to Promote Diversity and Inclusion in the Federal
Workforce.” 5 In response, OPM published the Government-Wide Diversity and Inclusion
Strategic Plan, which includes the following three goals that align to the DoD Strategic
Plan goals:

1.     Workforce Diversity. Federal agencies shall recruit from a diverse, qualified
       group of potential applicants to secure a high performing workforce drawn from all
       segments of society.

2.     Workplace Inclusion. Federal agencies shall cultivate a culture that encourages
       collaboration, flexibility, and fairness to enable individuals to contribute to their full
       potential and further retention.

3.     Sustainability. Federal agencies shall develop structures and strategies to equip
       leaders with the ability to manage diversity, be accountable, measure results, re-
       fine approaches on the basis of such data, and en-gender a culture of inclusion.

The DoD Diversity and Inclusion Strategic Plan builds on these efforts and provides a
roadmap for the implementation of DoD’s diversity goals.




5
 http://www.whitehouse.gov/the-press-office/2011/08/18/executive-order-establishing-coordinated-
government-wide-initiative-prom

DoD Diversity and Inclusion Strategic Plan • 2012                                                  15
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 257 of 292




                    EXHIBIT Y
            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 258 of 292




                                                                                                                     ···
    APPLICATION INSTRUCTIONS                                                                                       Contact Us




< BACK

             The Candidate Fitness Assessment
    Admissions Requirement
    The Candidate Fitness Assessment (CFA) was developed to measure and evaluate a candidate's
    potential to successfully complete the physical programs at the United States Naval Academy, United
    States Air Force Academy, and United States Military Academy. The CFA consists of six (6) physical and
    motor fitness events that are designed to measure muscular strength and endurance, cardio-respiratory
    endurance, power, balance, and agility. When administered together as a single battery, these six events
    will help the Admissions Board determine if a candidate possesses the stamina and movement skills
    required to successfully complete the physical program and perform the duties required of
    commissioned officers in the uniformed services.


    The six test events of the CFA are administered consecutively in less than a 40-minute time period.
    Candidates should attempt to do their best on all six events, keeping in mind that the events are
    sequenced to produce a cumulative loading effect. In other words, after completing the first five events, it
    is doubtful that a candidate will score his/her best on the 1-mile run. This has been considered in the
    development of the criterion-referenced standards, which will be used to evaluate performance in each
    of the six events. Candidates' raw scores will be converted to scale scores (0-100 points) based upon
    their performance on each event. The 100-point maximum score, by event and gender, are listed in the
    table below. A candidate who achieves the 100-point level on any of the first five events should not
    attempt further repetitions, as this will not improve his/her score.


    Maximum Performance Scores by Event and Gender:

                  B-Ball Throw        Pull-Ups      Shuttle Run       Crunches        Push-Ups        1-Mile
  Male Case102
            1:23-cv-02699-RDB
                          18  Document
                                  7.8 9-7 Filed 95
                                                10/06/23 Page
                                                           75 259 of 2925:20

  Female       66                  7             8.6                 95             50              6:00



          ADMINISTRATOR NOTE: Exam date must be submitted in the format DD-MON-
          YYYY with the first three letters of the month being spelled out. The attached
          calendar tool will fill in the entry automatically when selected.

Test Administration
The CFA is an important component of the admissions process at each Service Academy and is used to
determine if candidates can meet the physical rigors of military life. The test must be administered
properly and standardized in order to accurately reflect a student's physical and motor fitness and to be
fair to all candidates. The CFA MUST be administered by a high school/prep school physical education
teacher, a coach, a current JROTC instructor, an active duty commissioned officer, or the candidate's
Blue and Gold Officer. The test must also be administered according to the following directions in a
single 40-minute time period. At the completion of testing, the administering official will submit the test
scores via an emailed electronic module. Submission of this test to the Naval Academy signifies
affirmation that the test was administered to standard and that the scores accurately reflect the
candidate's physical performance. Diagnostic testing is encouraged to help familiarize the candidate with
the pace and stamina required to complete the entire test battery. THE OFFICIALLY REPORTED
SCORES MUST ALL COME FROM A SINGLE TEST ADMINISTRATION. The following form may be
printed and used for aid in recording and submitting test results.

Printable Score Sheet (_files/documents/CFA Score Sheet.pdf) (Not to be used as a substitute for
electronic submission.)


Test Procedures
On test day, the candidate should be encouraged to spend 20-30 minutes in active warm-up and
stretching prior to beginning the test. The test battery must be completed according to the timeline
below, and candidates are not permitted to warm up, rest, or practice other than during the time officially
allotted. The administering official will read and be familiar with the enclosed test instructions prior to
administration. The following statement must be read verbatim to the candidate prior to beginning the
test:


          "You are about to take the United States Service Academies' Candidate Fitness
          Assessment.
          This test will measure your muscular strength and endurance, cardio-respiratory
          endurance, and motor fitness. The results of this test will be used in the admissions
          process at each service academy by demonstrating your level of physical and motor
          fitness. Listen closely to the test instructions. You may cease work when you have
          scored the maximum for any individual event. Otherwise, do your best on each
          event. You have 40 minutes to complete the entire test. After you complete each
          event, the scorer will record your raw score and the time the event was tested. If at
          any time you cannot continue to meet the timed requirements, the test will be
          terminated."
Support Personnel
     Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 260 of 292
Additional personnel will be needed to facilitate the administration of certain events, in particular the
basketball throw. It may also be prudent to have control and/or medical personnel on site during the test,
although they are not required. At a minimum, the physical education teacher should have an
emergency action plan for getting help if needed.


Support Personnel
The administering official should prepare the test site and obtain any required equipment in advance of
testing. The scorer and his/her assistants must be familiar with event instructions, and it is
recommended that at least one copy of these instructions be printed for use during the test. The scorer
should read aloud the instructions before each event. Scorers should have a clipboard and a writing
instrument to record results and must maintain strict professional standards. Additional personnel may
be used to assist with the administration of the events.


Equipment
The following list of equipment is needed to administer the CFA:

    1 sit-up mat
    1 100-foot tape measure
    2 stop watches (minutes, seconds, tenths)
    1 regulation men's basketball
    1 pull-up bar
    1-mile flat running surface

Candidates should wear clothing and shoes that are appropriate for physical training such as shorts, T-
shirts, socks, and running shoes (tennis/basketball shoes are not recommended). Any item that gives a
candidate an unfair advantage is not permitted during the CFA. Wearing devices such as weight belts or
elastic bandages may or may not provide an advantage. Such additional equipment is not authorized
unless prescribed by medical personnel. The only exceptions are appropriate cold weather apparel while
running outdoors.


Test Site
From a conceptual standpoint, the CFA was designed to be administered in two adjacent venues; an
indoor gymnasium and an outdoor track. The gymnasium should be of sufficient size to permit testing
the basketball throw. The space needed is approximately 100 linear feet (slightly longer than a standard
basketball court). The pull-up bar should be of sufficient height (approximately 8 feet) that the
candidate's feet will not touch the floor at full extension. The bar diameter should be no greater than 2
inches. The administering official should prearrange the first five events prior to the start of the testing.


The 1-mile run is the last event administered in the CFA. Although it may be administered in an indoor
gymnasium or stadium, time has been allotted for transit to an outdoor track. Regardless of the 1-mile
run course, the running surface should be flat and free of debris. In either the indoor or outdoor facility, it
is imperative that the 1-mile distance be measured accurately. In submitting the time for the run, the
candidate and scorer are affirming that the 1-mile distance has been measured and is accurate.
Testing Sequence
      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 261 of 292
The test sequence will follow the order listed below. This order cannot be modified. There are no
exceptions to this sequence or timing.


  Events                 Test Start Time       Testing Time        Rest            Total Elapsed Time

  Basketball Throw       0:00                  2 minutes           3 minutes       5:00

  Pull-Ups               5:00                  2 minutes           3 minutes       10:00

  Shuttle Run            10:00                 2 minutes           3 minutes       15:00

  Crunches               15:00                 2 minutes           3 minutes       20:00

  Push-Ups               20:00                 2 minutes           3 minutes       25:00

  1-Mile Run             30:00                 10 minutes          5 minutes*      40:00


* The 5-minute rest includes the transition time to the outdoor track. If the 1-mile run cannot be started
by minute 30, an alternative arrangement for a running surface must be found.


Testing Instructions
The following paragraphs describe the equipment, facilities, personnel, instructions, administration,
timing techniques, and scorers' duties for each event.


Kneeling Basketball Throw
This measures ability to generate shoulder girdle power and total coordination/ balance in a stationary
position.


The candidate must:


    Keep his/her knees parallel to and behind the baseline and on the floor during the event.
    May use a 1-inch mat to cushion the knees.
    Execute three trials in a 2-minute time period.
    May use the non-throwing hand to steady the ball.
    Not touch the floor beyond the baseline with any part of the body until the basketball has landed.

The scorer will:


    Note the event start time (should be 0:00).
    Extend the 100-foot tape measure the length of the testing area, perpendicular to the throwing
    baseline.
    Mark the point of impact with a pointer/yardstick for all three trials.
    Measure the perpendicular distance from the marked point of impact to the baseline.
    Record the event score for each trial to the nearest foot.
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 262 of 292




                                                              (_files/images/Fitness/BallThrow1.JPG)




Cadence Pull-Ups
(Female candidates should take this exam unless unable to execute 1 cadence pull-up)
This measures muscular strength and endurance of the shoulder, back, and arms and is an indicator of
the ability to lift one's body weight in a pulling motion.


The candidate must:


    Mount the bar with a pronated grip (back of the hands facing the candidate) with arms fully extended
    in a static hang.
    Not swing, kick, or bicycle legs during upward movement.
    Raise the body until the jaw line is above the bar and parallel to the ground.
    Execute each repetition on cadence (command).
    Return to a fully-extended static hang position to complete each repetition.

The scorer will:


    Note the event start time (should be 5:00 elapsed).
    Before giving the "GO" command, ensure the candidate's elbows are fully extended and shoulders
    are relaxed in a "dead hang". If a candidate needs to use a chair to grip the bar, pull the chair away
    and take the time to ensure the candidate is in a straight-armed, relaxed shoulder "dead hang"
    before beginning. Do not allow the candidate to jump off the ground or a chair to gain momentum for
    the first repetition. Require a short fully-extended period before giving the "GO" command.
    On the command "GO" start the event. When the candidate's chin rises above the bar, command
    "DOWN". When the candidate reaches the starting position with arms fully extended, command
    "UP". At the end of 2 minutes, command "STOP", and record the number of correctly executed
    repetitions.
    May steady the candidate by extending an arm in front of him/her on each repetition.
    Monitor each repetition to determine that the candidate's chin is parallel to the ground and over the
    bar in the up position and that arms are fully extended in the down position.
    When a candidate reaches the maximum number of repetitions in under the 2-minute period (18 for
    men; 7 for women), the command "STOP" will be given.
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 263 of 292




                                                           (_files/images/Fitness/Pullup.JPG)




Correct execution- chin is over but not touching the bar. Assistant may steady swing.


Flexed-Arm Hang
(Required for female candidates who are unable to execute 1 pull-up)
This is an alternative measure of muscular strength and endurance. If a woman can successfully
perform 1 correct cadence pull-up, it is to her advantage on the scoring scale to use the pull-up result
instead of a flexed-arm hang. The scale score (0-100) for 1 cadence pull-up is higher than the highest
scale score for a maximum score on the flexed-arm hang.

The candidate must:


    Stand on a chair, steps, box, or ladder or be boosted up to the bar by an assistant until her chin is
    above the bar.
    Mount the bar with a pronated grip (back of the hands facing the candidate) with chin parallel to the
    floor and above the bar.
    Step off from the platform or assistance device.
    Not swing, kick, or bicycle legs during the event.
    Maintain a flexed-arm position with chin above the bar and jaw line parallel to the ground throughout
    the event.

The scorer will:

    Note the event start time.
    Give the "GO" command to start the event and the stopwatch.
    Monitor body position to determine that the chin remains above the bar and the jaw line is parallel to
    the floor.
    Record the score in seconds.
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 264 of 292




                                                           (_files/images/Fitness/FlexArmHang.JPG)




Stopwatch is started when arms are fully flexed and chin is leveled above bar. "GO" command is given.


Shuttle Run
This measures the ability to move rapidly while changing directions. Indicator of anaerobic power, agility,
and quickness.

The candidate must:


   Begin the test with his/her entire body behind the start/finish line.
   On the "GO" command, sprint 30 feet to the turn-around line. His/her foot and hand must
   simultaneously touch the floor on or beyond the turn-around line. Candidate will then sprint back to
   the start/finish line, touch on or beyond the start/finish line, sprinting back to the 30-foot line.
   Candidate touches on or beyond the turn-around line and then sprints back across the start/finish
   line to complete the trial. This is a total of a 40-yard shuttle run.
   Execute two trials with a 1-minute rest between trials.

The scorer will:
   Note the event start time (Should be 10:00 elapsed).
   Measure the shuttle run course of 30 feet from a baseline.
   Give the "GO" command to start the event; start stopwatch.
   Monitor the candidate to determine that he/she places hand and foot beyond the measured line on
   each turn.
   Record the best of the two trials in seconds/tenths of seconds.

The test is begun with the candidate's body behind the start/finish line.
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 265 of 292




                                                       (_files/images/Fitness/ShuttleRun2.JPG)
  (_files/images/Fitness/ShuttleRun.JPG)


Abdominal Crunches
This measures abdominal/core body muscular endurance.


The candidate must:

    Assume a supine (back on floor), bent-knee position (approximately 90-degree bend) on a mat with
    arms crossed, fingers extended, touching the top of the shoulders, with shoulder blades touching the
    floor/mat.
    Upon the command "GO", flex from the hip, raising the elbows so that they touch the front midpoint
    (or higher) of the thigh without finger tips losing contact with the top of the shoulders; extend from
    the hip until the shoulder blades touch the floor/mat.
    Candidates cannot rest in the down position. Resting is only permitted in the up position. Fingers
    must stay in contact with the top of the shoulders while resting, and candidates cannot grab their
    legs or touch the ground with their hands.

The scorer will:


    Note the event start time (should be 15:00 elapsed).
    Monitor the start position to determine that the candidate's shoulder blades are touching the mat,
    fingers are touching the shoulders, knees are bent approximately 90 degrees, and an assistant is
    properly holding the candidate's feet (hands only on top of each ankle or foot).
    Give the command "GO" and start a stopwatch for the 2-minute trial.
    Count one repetition each time the candidate's shoulder blades touch the floor/mat.
    Monitor body position making sure during each repetition that the buttocks stay in contact with the
    mat, knees are bent appropriately, hands remain in contact with the shoulders, elbows make contact
    with the mid-thigh, and shoulder blades touch the floor/mat.
    Verbalize "NO" for any repetition that does not meet the criteria listed above.
    Stop the test at the 2-minute mark and record the number of repetitions.
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 266 of 292




                                                          (_files/images/Fitness/crunch.jpg)




Push-ups
This measures upper body muscular endurance.


The candidate must:


    Assume a prone (abdomen toward the ground) position supported on one knee on a 1-inch mat or a
    hard surface floor.
    On the command "READY POSITION", assume the front-leaning rest position (arms extended) by
    placing your hands where they are comfortable (Width is variable). Feet may be together or up to 12
    inches apart. When viewed from the side, your body should form a straight line from your shoulders
    to your ankles.
    On the command "GO", begin the push-up event by bending elbows and lowering entire body as a
    single unit until your upper arms are at least parallel to the ground (90-degree bend). Return to the
    starting position by extending arms and raising entire body as a single unit until arms are fully
    extended.
    May rest in the up position, flexing or bowing the back as long as hands and feet remain in contact
    with the floor, and no other body part touches the floor. Must return to the generally straight body
    position before attempting another repetition.

The scorer will:

    Note the event start time.
    Give the command "GO" and start a stopwatch for a 2-minute trial.
    Monitor each repetition, making sure body remains straight, moving as a single unit, upper arm is
    parallel to the floor in the down position, and the arms come to full extension in the up position.
    Verbalize "NO" for any repetition that does not meet the criteria listed above.
    Stop the test at the 2-minute mark and record the number of repetitions.
    Terminate the event if the candidate lifts a hand or foot off the ground or touches the ground with any
    body part other than the hands or feet.
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 267 of 292




                                                      (_files/images/Fitness/Pushup Down.JPG)
  (_files/images/Fitness/Pushup Up.JPG)               Down Position
  Starting Position


1-Mile Run
This measures aerobic capacity and endurance.


The candidate must:

    Run continuously for one mile (walking is allowed although strongly discouraged).

The scorer will:

    Certify the 1-mile run distance.
    Note the start time (should be 30:00 elapsed)
    Give the command "GO" and start a stopwatch.
    Monitor the candidate to make sure that he/she does not:
       Receive physical help during the event.
       Leave the designated running course for any reason.
       Receive pacing by another person.
    Stop the watch as the candidate crosses the finish line, and record the score in minutes and
    seconds.




                                                         (_files/images/Fitness/1mileRun.jpg)
This is the end 1:23-cv-02699-RDB
         Case   of the Candidate Fitness Document
                                         Assessment.9-7
                                                     If problems  are encountered
                                                           Filed 10/06/23   Pageduring
                                                                                  268 ofthe292
administration of the test or in the electronic submission of scores, please contact the Office of
Admissions via email (http://www.usna.edu/Admissions/Contact-Admissions-by-Email.php) or at (410)
293-1858.




            This is an official U.S. Navy Web Site. URL: https://www.usna.edu Page Last Updated: 2023-02-27
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 269 of 292




                    EXHIBIT Z
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 270 of 292



        Appendix A: Medical Considerations for Admissions
The Naval Academy program is physically challenging. All candidates are required to undergo a thorough
medical examination because Academy graduates are commissioned in a wide variety of exciting career fields
with strict medical standards. The medical examination begins during your application process. At that time,
the Naval Academy Office of Admissions will upload your name to the Department of Defense Medical
Examination Review Board (DoDMERB).

DoDMERB will schedule your medical examination and carefully review the reports to determine if you meet
our medical standards for admission. DoDMERB will consider your medical history and information on
illnesses, injuries, surgeries, familial diseases, and other factors that could affect your medical status. You may
be asked to submit additional reports and/or records from healthcare providers and/or hospitals.

Approximately one month after your physical is completed you will receive (by mail) a status report of the
DoDMERB findings. If your admissions record is competitive, and if you are identified to have one or more
disqualifying condition(s) for which a waiver might be possible, USNA begins the waiver process. The waiver
process involves an in-depth review of your medical history. Consequently, you may be asked to provide
amplifying information on the condition(s) or undergo evaluation by a medical specialist. A waiver of the
medical standard may be granted if your medical condition will not prevent you from successfully completing
your four years at the Naval Academy and being commissioned in either the U.S. Navy or U.S. Marine Corps
to fulfill your five year service commitment.

If you wear glasses or contact lenses, take them with you to your DoDMERB eye examination. If you wear
soft contact lenses, do not use them during the three days preceding your examination. Do not use hard or
gas permeable lenses for 21 days before your examination. If you are undergoing orthokeratology or other
forms of corneal refractive treatment, do not use your rigid lenses for 90 days.

Major medical considerations are summarized here so that you and your healthcare providers can anticipate if
you meet the basic requirements for admission to the Academy. This is not meant to be a comprehensive
listing of all disqualifying conditions; it is a brief and general summary for your convenience..

Eyes and Vision Disqualifications
Below is a listing of those eye and vision disqualifications that are the most prevalent. This listing, while
comprehensive, does not contain all possible disqualifications for eyes and vision.
    •   Vision not correctable to 20/20 in both eyes is disqualifying. Refractive error exceeding + or – 8.00
        diopters and astigmatism exceeding 3.00 diopters is disqualifying.
    •   Substandard color vision is disqualifying. Color vision is retested on Induction Day.
    •   Many chronic eye diseases/conditions such as keratoconus, glaucoma, optic atrophy, uveitis and
        retinal degenerations are disqualifying.
    •   Procedures to change the refraction (Corneal Refractive Surgery) performed with the excimer laser,
        including but not limited to photorefractive keratectomy, laser epithelial keratomileusis, and laser-
        assisted in situ keratomileusis are disqualifying if any of the following conditions are met: the pre-
        surgical refractive error in either eye exceeded a spherical equivalent of +8.00 or -8.00 diopters, pre-
        surgical astigmatism exceeded 3.00 diopters, at least six-month recovery period has not occurred
        between last refractive surgery or augmenting procedure and accession medical exam, there have
        been complications and/or medications or ophthalmologic solutions required and post-surgical
        refraction in each eye is not stable. Additionally, history of any incisional corneal surgery, including
        but not limited to partial or full thickness corneal transplant, radial keratotomy, astigmatic
        keratotomy, or corneal transplants are disqualifying.


                                                                                             Medical Apendix A, pg. 1
       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 271 of 292



Height and Weight Standards
The minimum qualifying height is 58 inches for all candidates, and the maximum qualifying height for all
candidates is 80 inches. Waivers may be granted to a limited number of exceptional candidates whose height
exceeds this standard.

The minimum qualifying weight (by height) standards are listed in the table. Because of substantial variation
in candidates’ body composition, we apply an estimated body fat percentage when a candidate’s weight
exceeds the maximum listed. If you do not fall within these standards, we will ask you to provide several
measurements with clear instructions so you may ask your gym teacher (perhaps when you take your
Candidate Fitness Assessment), a coach, or school nurse to provide the information.

In such cases, the qualifying standard is the body fat percentage: no more than 25 percent for men and 35
percent for women, as determined by our protocol. If your weight is at least the minimum and not more than
the maximum shown for your height on the preceding table, you will not be asked to provide measurements
for the body fat estimate.


HEIGHT AND WEIGHT STANDARDS
Height (inches) Men                  Women
                            MIN MAX* MIN           MAX*                   *If your weight exceeds that shown for
58......................... 91  131  91            131                    your height, you will be asked to
59......................... 94  136  94            136                    provide measurements from which the
60......................... 97  141  97            141                    Office of Admissions will estimate
61......................... 100 145  100           145                    body fat percentage.
62......................... 104 150  104           149
63......................... 107 155  107           152
                                                                          Obesity will not be waived. If you
64......................... 110 160  110           156
                                                                          exceed the body fat percentage
65......................... 114 165  114           160
                                                                          standard on Induction Day, you may be
66......................... 117 170  117           163
                                                                          denied admission to enter the
67......................... 121 175  121           167
                                                                          Academy.
68......................... 125 181  125           170
69......................... 128 186  128           174
70......................... 132 191  132           177
71......................... 136 196  136           181
72......................... 140 201  140           185
73......................... 144 206  144           189
74......................... 148 211  148           194
75......................... 152 216  152           200
76......................... 156 221  156           205
77......................... 160 226  160           211
78......................... 164 231  164           216
79......................... 168 236  168           222
80......................... 173 241  173           227




                                                                                          Medical Apendix A, pg. 2
       Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 272 of 292



Heart and Vascular System
Among the disqualifying conditions are: uncorrected septal defect; congenital, rheumatic, or other
abnormality of the heart valves or major vessels; abnormal heart rate or rhythm; blood pressure
predominantly in the range of 140/90 or greater; severe or symptomatic varicose veins; and mitral valve
prolapse which has either caused symptoms or been associated with rhythm disturbance or regurgitation.

Ears and Hearing
Both ears must be free of tympanic membrane perforation and acute and chronic disease. The average of the
hearing loss at 500, 1000 and 2000 Hz in either ear may not exceed 30 decibels (ISO), and the loss at any one
of these three frequencies may not exceed 35 decibels. The maximum acceptable loss in either ear at 3000 Hz
is 45 decibels and at 4000 Hz, 55 decibels.

Respiratory System
A history of asthma, recurrent asthmatic bronchitis, exercise-induced bronchospasm, or reactive airways
disease by any other name is disqualifying. Symptomatic nasal polyps, severe hay fever, and tuberculosis (if
active within two years) will also result in disqualification. Nasal septal deviation, hypertrophic rhinitis, and
other conditions that cause significant reduction of flow through either airway or which interfere with
drainage of a sinus are disqualifying. Allergy immunotherapy is disqualifying if received within the 12 months
preceding the examination.

Musculoskeletal System
Un-united fractures, history of surgery to a major joint within six months, history of derangement of any
major joint not corrected by surgery or evidence of instability subsequent to surgery, history of anterior or
posterior cruciate ligament injury, retained orthopaedic devices, arthritis, severe scoliosis, symptomatic
structural abnormalities of the spinal column, and herniated nucleus pulposus or history of spinal surgery for
this or any other condition are disqualifying.

Genitourinary System
Persistence of protein (except documented benign orthostatic proteinuria), sugar, or red or white blood cells
in the urine is disqualifying, as are a history of recurrent or bilateral kidney stones. Severe congenital or
developmental anomalies, hormonal disorders, neoplastic conditions, persistent or recurrent infections, and
certain complications of infections are cause for rejection. An undescended testicle is disqualifying, as are
pregnancy, endometriosis, and severe dysmenorrhea.

Gastrointestinal System
History of peptic ulcer, gastroesophageal reflux disease (GERD), gallbladder disease, regional enteritis
(Crohn’s Disease), ulcerative colitis, or any other inflammatory bowel disease is disqualifying.

Neuropsychiatric Disorders
Seizure disorders (but not uncomplicated febrile seizures in childhood), degenerative conditions, traumatic
brain injuries, recurrent or severe headaches, and severe motion sickness susceptibility are disqualifying.
History of psychosis or affective illness, personality disorder or immaturity, stammering, stuttering, eating
disorders such as bulimia and anorexia, and bedwetting or sleepwalking persisting into adolescence also are
disqualifying. Academic skills defects, such as learning disabilities or Attention Deficit Hyperactivity Disorder
are not disqualifying if academic success can be demonstrated without the use of classroom accommodations,
and no medication has been used in the past 12 months, with good grades.




                                                                                            Medical Apendix A, pg. 3
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 273 of 292



Skin
Chronic diseases such as psoriasis, atopic dermatitis, and eczema are disqualifying. Severe acne is disqualifying
until successfully treated. If a course of Accutane is undertaken, this should be completed, with
documentation of a favorable outcome six weeks prior to Induction Day. Pilonidal cyst, if evidenced by a
discharging mass, is disqualifying until repaired successfully.

Tattoos and Body Alterations
The Naval Academy strongly supports the U.S. Navy Policy prohibiting body alterations that are prejudicial
to good order, discipline and morale or are of a nature to bring discredit upon the naval service. Body
alternations that are excessive, obscene, sexually explicit or advocate or symbolize sex, gender, racial,
religious, ethnic or national origin discrimination, as well as any body alternation that advocates or symbolizes
gang affiliation, supremacist or extremist groups, or drug use are prohibited. Any body alteration that is
visible in uniform clothing is prohibited, with the exception of a single non-elongated perforation of each
earlobe for females. The use of gold, platinum, or other veneers or caps for the purposes of dental
ornamentation are prohibited.

Pre-existing body alterations must adhere to the above stated Navy policy. Candidates accepting an offer of
appointment will be asked to state whether any of the above conditions are present. All candidates so
identified will undergo independent review by the Body Alteration Review Board (BARB). Candidates with
any body alternation which does not conform to our policy may be granted a waiver or be issued an order to
remove or correct the body alteration at the individual’s own expense. Failure to comply may result in denied
admission or disenrollment from the Naval Academy.

Other Disqualifying Conditions
Some other disqualifying conditions include:
    •   Unrepaired abdominal wall hernia
    •   Removal of the spleen for most reasons except trauma
    •   Anemia
    •   Abnormal bleeding states
    •   Diabetes mellitus
    •   Thyroid disorders
    •   Sickle cell disease (sickle cell trait and glucose-6-phosphate dehydrogenase deficiency are not
        disqualifying)
    •   Any active communicable infection
    •   Hepatitis B carrier state
    •   Generalized reaction to stinging insect venom
    •   Family history of malignant hyperthermia
    •   Allergy to common foods requiring special dietary considerations
    •   A history of drug abuse, alcohol abuse, or alcohol dependence
    •   Exposure to the virus associated with AIDS (Acquired Immune Deficiency Syndrome).

A blood test for the presence of AIDS virus (HIV) antibodies, an alcohol breath test, and a urine test for
drugs and pregnancy are performed on Induction Day at the Naval Academy; a confirmed positive result in
any of these will lead to disqualification without possibility of a waiver.




                                                                                           Medical Apendix A, pg. 4
        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 274 of 292



Dental Standards
Except for minor or questionable areas, you should have all required dental treatment completed before your
medical examination. Dental conditions that are disqualifying for admission to the Naval Academy include
but are not limited to:
    •   Active caries (cavities) into the dentin that are not restored with serviceable restorations
    •   Unsatisfactory restorations, bridges, dentures, or implants
    •   Missing teeth causing reduced chewing or biting efficiency. These can be replaced by well-designed
        bridges, partial dentures, or implants in good condition.
    •   Current orthodontic appliances for continued treatment are disqualifying. However, if you are
        undergoing active orthodontic treatment that will not be completed prior to your entry into the
        Naval Academy, you will be considered for a waiver. Retainer appliances are permissible, provided
        that active orthodontic treatment has been satisfactorily completed. In the event orthodontic
        treatment that was to be completed before I-Day cannot be completed, Admissions Medical must be
        notified immediately for consideration of a waiver. All waivers will be considered on a case-by-case
        basis with discussion between your orthodontist and USNA Dental Clinic orthodontist. In general, if
        the orthodontic appliances are compatible for continued treatment at the USNA Dental Clinic, a
        waiver will be granted.
    •   Infections or chronic diseases of the soft tissue of the oral cavity
    •   Necrotic (non-vital) or infected dental pulp or incomplete root canal therapy
    •   Marked malocclusion that requires early or prolonged treatment, involves tissue impingement on
        either facial or lingual/palatal gingiva, or in some other way jeopardizes dental health
    •   Severe or extensive apical or periodontal infection
    •   Perforations from the oral cavity into the sinus cavity or maxillary sinus
    •   Tumors or cysts of the oral tissues that can be expected to require treatment in the foreseeable
        future.

Concluding Comments
As you will realize from the foregoing summary, the physical examination for admission to the Naval
Academy is comprehensive, and the medical/dental standards are specific and strict. This is necessary because
our goal is for every midshipman to be able to anticipate unrestricted opportunities for commissioned service
after graduation. For most candidates, the physical examination process will require no more than a single
visit to the office of a physician and an optometrist. For others, questions will arise that may necessitate a
variety of additional evaluations.

We know that the medical review process can be time-consuming, but hope you will understand the need for
our attention to detail. Questionable issues resolve favorably for the majority of candidates, and waiver of the
standard is often possible when a review of the medical documentation regarding a candidate’s disqualifying
condition(s) supports the expectation of unrestricted service. Staff members at DoDMERB and in the
Admissions Office will assist in every way possible.




                                                                                          Medical Apendix A, pg. 5
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 275 of 292




                   EXHIBIT aa
10/6/23, 12:08 PM                                                                                        Ethnicity, gender now factors in CGA admissions
                                Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 276 of 292
The Wayback Machine - https://web.archive.org/web/20221206140550/https://www.theday.com/military/20110122/ethnicity-gender-now-facto…

       MENU                                                                                                                                               



                                                                                                                                                               Tuesday, December 06, 2022

                                                                                                      Military


       Ethnicity, gender now factors in CGA admissions




                                                                                                                                                                                   



    NJROTC cadets from New London High School, from left Kyle Russell, Maria Abreu, Jorge Rodriguez and Hayley Smith, wave to their families from
    the stern of the barque Eagle at the end of its summer training cruise.


                                                 
   January 22, 2011 11:00 pm

   By By JENNIFER McDERMOTT Day Staff Writer

   New London - First came the Coast Guard Authorization Act, which Congress approved last fall.

   This gave the Coast Guard Academy - for the first time - the leeway to consider an applicant's sex, race, color and religious beliefs as it
   shapes the makeup of its classes. The act struck down the provision in the U.S. Code of Federal Regulations that prohibited the
   academy from considering those characteristics of an applicant.
   But the act is just the beginning.

   "The thing that is going to change the diversity at the academy is us getting off our butts and going out into areas where we haven't
   recruited before," Coast Guard Commandant Adm. Robert J. Papp Jr. asserted in a recent interview.

   "We acknowledge that a lot of people don't know about the Coast Guard. What are we doing about it?" Papp demanded. "We need to
   let them know about the opportunities, let them know they can have challenging careers and get their education paid for, and I think
   people will come."

   Maria Abreu may be just the type of student Papp is talking about.

   The tennis standout at New London High School gets good grades and participates in the Navy Junior Reserve Officers Training Corps
   unit.

https://web.archive.org/web/20221206140550/https://www.theday.com/military/20110122/ethnicity-gender-now-factors-in-cga-admissions/                                                         1/5
10/6/23, 12:08 PM                                                                                        Ethnicity, gender now factors in CGA admissions
                                                        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 277 of 292
   She is also a first-generation American of Dominican ancestry and a woman, both of which make her a minority among applicants to
   the U.S. Coast Guard Academy. And now, the academy board that reviews applications can consider those attributes as it weighs
     MENU                                                                                  
   Abreu's application, and others.

   But, the heads of the academy acknowledge, after the change in the law, the next step is just as important.

   The academy needs more high-performing applicants from underrepresented minorities, said Rear Adm. J. Scott Burhoe, the school's
   superintendent.

   "You want the number to be really high so that you can select the very best, and have more underrepresented minorities, or more
   women, or more men, more anything, to choose from," Burhoe said.
   Women have excelled

   The percentage of minority cadets in each academy class has traditionally hovered around 16 percent even though more than one
   third of the U.S. population belongs to a minority group. Women, who were first admitted to the academy in 1976, typically make up
   about 30 percent of each class.

   In recent years, at least, the academy has been able to attract women applicants.

   Capt. Stephan Finton, the academy's director of admissions, said women have wanted to come to the academy because of its inclusive
   culture, small school environment, nationally ranked sports teams and the opportunity to serve in all of the Coast Guard's mission
   areas after graduation.

   "Every graduate is guaranteed a job, and every job is available to both genders," he said, adding that women excelled and the word
   spread, creating even more of an interest in the school among women. He expects the same thing to happen, over time, with minority
   students.

   Last year the academy stepped up its efforts to recruit in cities, to host educators and minority students on campus and to advertise
   in outlets where it lacked a presence before. It now advertises on Black Entertainment Television, for example.

   The Coast Guard doubled the academy's budget for admissions, previously about $1.4 million, so the school could do more diversity
   and outreach recruiting.

   For the class of 2014 - the current freshmen or fourth-class cadets - the percentage of underrepresented minority students climbed to
   24 percent. The outreach efforts continue this year, and Papp said he "fully expects" to see a more diverse student population at the
   academy.

   Feb. 1 is the application deadline for the class of 2015. Abreu has applied, and she hopes the changes accomplished by the Coast
   Guard Authorization Act will help her chances. Last year 2,200 students applied, and 400 were accepted to fill 290 spots.

   "I won't get my hopes up about it too much because in the end, they can't just choose someone because of their ethnicity," said Abreu,
   who is 18. "They have to look at the whole package."

   The quality of the minority students who are applying is "phenomenal," said Antonio Farias, the academy's director of diversity affairs.

   "What we're really trying to debunk is this myth that diversity means 'less than,' that we've somehow lowered the standards, and that
   these cadets are not as qualified," he said. "They're hyper-qualified. We know the talent pool is there, and anyone who would think
   otherwise, I would question their point of view."

   The academy looks for well-educated, physically fit students who have demonstrated leadership in their high schools and
   communities. The sorting of applications eventually gets to a point where all the remaining students are qualified, but the number of
   places is limited.

   At that point, Burhoe said, it would be appropriate to consider the composition of the class in making decisions.

   The U.S. Supreme Court ruled in 2003 that race can be used in university admission decisions, but limited how much of a factor it
   could play. Selective universities looking to diversify could consider race, but the Coast Guard Academy never could.

   Qualified students of all races have been turned down in past years because of the small class sizes. At the same time, members of
   Congress were trying to bring the academy's admissions process in line with the other service academies to increase diversity.

   The other military service academies admit students by congressional nomination, while the Coast Guard Academy has traditionally
   admitted students on the basis of academic merit, like civilian colleges and universities.


https://web.archive.org/web/20221206140550/https://www.theday.com/military/20110122/ethnicity-gender-now-factors-in-cga-admissions/                        2/5
10/6/23, 12:08 PM                                                                                        Ethnicity, gender now factors in CGA admissions
                                                        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 278 of 292
   "The criticism of the academy's lack of diversity has been strong over the last four years," said U.S. Rep. Joe Courtney, D-2nd District,
   and a member of the academy's Board of Visitors. He added that a nomination system wouldn't work given the small size of each
     MENU                                                                                          
   incoming class to the academy compared to the size of Congress.

   Eliminating the language in the U.S. Code, Courtney said, was the middle-ground solution that the Coast Guard preferred. Courtney
   said the academy has everything it needs, legally speaking, to diversify the student body.

   The academy will get its first female superintendent when Rear Adm. Sandra L. Stosz takes over this summer.

   "At the end of the day, it really takes leadership and execution to make it work," Courtney said. "Everything I've heard about the new
   superintendent suggests that will be there. Clearly the ball is in their court."

   Based on the applications the academy has received so far, Finton, the admissions director, said the class that arrives at the school
   June 27 will be even "more talented and more diverse." The class of 2014 is 31 percent female, and Finton expects even more women in
   the class of 2015.

   At New London High School, more than 75 percent of the student body belongs to minority groups. Hispanics make up 40 percent.
   Abreu has met many different people there with varied world views.
   She hopes her college experience will be similar. "If one person is confined to a certain race their entire life," she said, "they will be
                                 Comment
   very ignorant of the world, how it worksthreads
                                            and thearepeople
                                                        monitored
                                                             in it."for 48 hours after publication and then closed.


       STORIES THAT MAY INTEREST YOU


                                                                                  UPDATED: Niantic Cinema closes permanently
                                                                                  East Lyme — Niantic Cinema is closing permanently. The theater, located on Main
                                                                                  Street in Niantic, shut its doors in September, citing a lack of quality films. The plan
                                                                                  was to reopen in mid-December, ...




                                                                                  Schooner Coronet makes its way to Mystic Seaport
                                                                                  Mystic ― Visitors watch as the schooner yacht Coronet makes it’s way to the
                                                                                  Mystic Seaport Museum Monday, December 5, 2022. The 131-foot schooner was
                                                                                  built for oil tycoon Rufus T. Bush in 1885. It i...




                                                                                  Learning the history of Christmas at the Leffingwell House
                                                                                  Norwich ― It was either a jolly good time or a silent night at the Leffingwell House
                                                                                  Musuem on Sunday afternoon, depending on which room you happened to be in.
                                                                                  Sunday was the museum’s annual “Christ...




                                                                                  ‘Putting together the pieces’: Archaeologists survey site prior to bridge
                                                                                  work in Old Lyme
                                                                                  Old Lyme – A plan to move Route 156 about 60 feet to the north as part of a bridge
                                                                                  replacement on the East Lyme border means moving history, too. The proposed
                                                                                  project, first floated in the spring of 2...




   LATEST NEWS

   Shortages of staff and equipment continue to plague schools, new data shows



https://web.archive.org/web/20221206140550/https://www.theday.com/military/20110122/ethnicity-gender-now-factors-in-cga-admissions/                                          3/5
10/6/23, 12:08 PM                                                                                        Ethnicity, gender now factors in CGA admissions
                                                        Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 279 of 292
   Farmington school board reverses unpopular decision on Jewish holidays, agrees to consider Diwali again

     MENU  Court seems to side with web designer opposed to same-sex marriage
   Supreme                                                                                                                                                 


   Actress Kirstie Alley dies at 71 of cancer that was ‘only recently discovered’

   Musk, DeSantis among finalists for Time’s 2022 Person of the Year


   TRENDING

   1 Rhode Island woman killed in Stonington highway crash
   2 East Lyme man charged with stabbing during domestic incident
   3 UPDATED: Niantic Cinema closes permanently
   4 Amish furniture store opens in Olde Mistick Village
   5 Westbrook woman accused of $1 million theft surrenders

   PODCASTS

     The story of the Sea
     Surveyor




     'We're back where we were' prior to Roe v. Wade

     Sound On The Sound: How one New London artist celebrates culture and identity through music

     Sound On The Sound: The philanthropic power of music

     Sound On The Sound: Musicians test the waters in the New London restaurant scene




                                                                                                         Back To Top




                    About The Day                                                                                     Quick Links
                    The Day Publishing Company                                                                         E-Paper  Contests Horoscopes                   Puzzles    TV
                                                                                                                      Calendar Milestones Newsletters
                    47 Eugene O'Neill Drive                                                                           Advertising
                    P.O. Box 1231                                                                                     About Our Ads           Advertise    Place A Classified Ad   Contacts

https://web.archive.org/web/20221206140550/https://www.theday.com/military/20110122/ethnicity-gender-now-factors-in-cga-admissions/                                                           4/5
10/6/23, 12:08 PM                                                                                        Ethnicity, gender now factors in CGA admissions
                                  Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 280 of 292
            New London, CT 06320-1231 USA                           Find New London Area Jobs Business Directory
                                                                    Services
            Staff Profiles
       MENU                                                        Photo Reprints Privacy Policy/Terms RSS Text/SMS Alerts
            President/Publisher Newsroom Advertising/Marketing                                 

                    FAQs Jobs at The Day Contact Us
                    Connect With Us


                                                                         

Could not connect to the reCAPTCHA service. Please check your internet connection and reload to get a reCAPTCHA challenge.




https://web.archive.org/web/20221206140550/https://www.theday.com/military/20110122/ethnicity-gender-now-factors-in-cga-admissions/                        5/5
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 281 of 292




                   EXHIBIT bb
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 282 of 292




                                                                        ADVERTISEMENT




     DEMOGRAPHICS | AFRICAN-AMERICAN

     Coast Guard Cadet Diversity Surges With
     Minority Wave
     By — Jennifer McDermott, The Day of New London, cmaadmin (EDU)
     Jul 5, 2010




     NEW LONDON, Conn. – New recruits at the U.S. Coast Guard Academy are
     supposed to look straight ahead, but Rasheed Breland was able to glance at his
     classmates long enough to realize that many besides him were minorities.

     Swabs from racial and ethnic minority groups make up 24 percent of the U.S.
     Coast Guard Academy’s Class of 2014—the second highest percentage in the
     school’s history, surpassed only by one class that was a percentage point higher.




     The academy has been criticized for its lack of racial and ethnic diversity, with
     some in Congress attempting to bring the admissions process in line with the
     other service academies to increase diversity.


https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 1/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 283 of 292
     Monday, June 28, was the first day of swab summer, an intense, seven-week
     training program designed to transform civilian students into military recruits
     and to prepare them for the academic year. Of the 290 who reported that day,
     36 were Hispanic, 15 Black, 13 Asian, five Pacific Islander, and one Native
     American. Six international students are also attending.

     About 2,200 high school students applied for the Class of 2014. Fewer than 400
     were accepted.

     The other service academies admit students by congressional nomination, while
     the Coast Guard Academy has traditionally admitted students on the basis of
     academic merit, much like civilian colleges and universities.

     Breland, whose father retired from the Coast Guard as a chief petty officer, spent
     a year at a preparatory school so he could get into the academy. He was also one
     of 18 students who attended a pre-orientation program for minority and
     international students, offered for the first time this year at the academy. They
     arrived at the school on Friday, days before the other swabs, to get to know each
     other, meet the faculty and staff, and learn about the support services offered
     on campus.




     Breland, 19, of Hampton, Va., said the academy’s efforts will enhance his
     experience there.

     “There’s more diversity instead of all the same race at the academy,” he said. “It
     will get more culture into the academy.”

     The percentage of minorities in each class has traditionally hovered around 15
     percent. The school has fared better with women, who typically make up about
     30 percent of each class. The incoming class of 2014 is 31 percent female.

     The Coast Guard commandant and academy officials acknowledge that the
     student body needs to be more diverse, but they have argued that changing the
https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 2/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 284 of 292
     school’s admissions process is not the way to do it.

     Instead, the academy is spending more to advertise, recruit and host educators
     and minority students on campus. The academy is also sending more students to
     preparatory school to meet the academy’s requirements.

     Rear Admiral J. Scott Burhoe, academy superintendent, wants minorities to
     comprise between 25 and 30 percent of the student body by 2015.

     The Class of 2014, Burhoe said, is the beginning of the corps of cadets being
     “reflective of the nation we serve.” He said the academy will become a “better
     institution” as the number of minorities increases.




     Most of the new swabs, however, were not focused Monday on the changes
     going on at the academy; they just wanted to make it through the day.

     Senior cadets yelled at the swabs and ordered them around from the moment
     they stepped off the bus that morning in front of their new home, Chase Hall.

     “Let’s go! Let’s go!” Evin Moses, a second-class cadet, yelled. “Wipe that smile off
     your face!”

     Once inside, the 37 members of Foxtrot Company were told to change into blue
     Coast Guard shorts and a gray academy T-shirt.

     Moses and the rest of the cadets in charge of the training kicked the closed
     doors. “Why are you taking so long?” screamed Nicholas Cosenza, a second-class
     cadet, his face turning red from yelling so loudly. “I take a lot of pride in Foxtrot,
     and the standard is perfection!”

     J. Matthew Hurtt, of Old Lyme, introduced himself.

     “My name is 2nd Class Hurtt, like the pain you’re going to feel in the next seven
     weeks,” he said.
https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 3/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 285 of 292
     The group learned how to “sound off,” with the first person in line calling out “01”
     up to the last, “37.” One mistake meant they had to start over. They learned the
     formal way to greet cadets and officers, and they were expected to remember
     their leaders’ names immediately.

     Swabs were hustled around the academy to fill out paperwork, pick up uniforms,
     get haircuts and practice marching. Parents wandered around the grounds,
     hoping to get a glimpse of their children and the new life they will lead.




     Hurtt said the day is a “wake-up call” for the swabs.

     “They have chosen a path that requires them to be a more developed person at
     an earlier age, and they have to understand the ramifications of that action,” he
     said.

     By the end of the day, the hours of in-your-face tactics began to take a toll on the
     newest members of the academy.

     “It’s been an interesting experience,” said Marie Navetta, 17, of Montville, one of
     nine swabs from Connecticut. “I’m a little nervous. I hope I can handle it. I’ve just
     got to take it day by day.”

     “It’s only going to get better,” said Carlos Quintero, 19, of Philadelphia.

     Kevin La Mothe, 18, of Victorville, Calif., added, “They put you right in the fire, but
     we’re all going to succeed together.”

     Brandy Lowary, 18, of Danville, Iowa, said it was a “great honor” to be accepted
     into the academy.

     As Monday ended, only one female swab had opted to leave the program, not
     joining the other 289 new arrivals in taking the oath that is part of the process.


https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 4/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 286 of 292
     But Breland called his first day “outstanding,” marching onto Washington Parade
     Field with the rest of the Class of 2014, raising his right hand and swearing that
     same oath—to protect and defend the Constitution of the United States.




     READ NEXT
     AFRICAN-AMERICAN
     Pulse of Black America Poll Paints a Nuanced but Concerning Picture
     JUNE 16, 2022


                                                                        ADVERTISEMENT




   RELATED STORIES
   AFRICAN-AMERICAN
   Pulse of Black America Poll Paints a Nuanced but Concerning
   Picture



   AFRICAN-AMERICAN
   Two Years After the Murder of George Floyd, Colleges Reflect




   AFRICAN-AMERICAN
   Northwestern University African American Studies Faculty
   Vote to Rename Department to Black Studies



   AFRICAN-AMERICAN

https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 5/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 287 of 292
   Veteran Education Administrator Dead at 67




                                                    FIND A JOB                          POST A JOB


   Featured Jobs

     Counseling Center Psychologist or Social Worker
     University of Michigan



     Dean, College of the Arts
     Columbus State University



     Assoc. Vice Provost- Health & Wellness
     Indiana University



     Adult Health Faculty, School of Nursing (IHP)
     MGH Institute of Health Professions



     Director Eastern Sierra College Center (11month/40hr)
     Kern Community College



     Assistant to the Vice President, Development and Alumni Relations
     University of Delaware



   Premium Employers


https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 6/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 288 of 292




              PODCASTS
         LATEST EPISODE
         Becoming a True Ally with Nathan Nguyen, Director of LGBT Student
         Services at Western Michigan University
         MORE EPISODES »

            Apple Podcasts                  Google Podcasts                  RadioPublic                Spotify

            Stitcher




         The trusted source for all job seekers
         We have an extensive variety of listings for both academic and non-academic
         positions at postsecondary institutions.



https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 7/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 289 of 292
               FIND JOBS

                                                                        ADVERTISEMENT




  Diverse Daily and Weekly Recap e-Newsletters
  Keeping you abreast of late-breaking news and insights.

  Email

      example@gmail.com


        SIGN UP


  Topics                                                                           Resources
  Students                                                                         Podcasts
  Faculty & Staff                                                                  Blog
  Leadership & Policy                                                              Views
  Sports                                                                           Diverse Talk Live! Webcasts

  Demographics                                                                     Community Colleges
  Institutions                                                                     Health
  Shop                                                                             Jobs
                                                                                   Military
                                                                                   Keep it Real
https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 8/9
10/6/23, 12:23 PM                                Coast Guard Cadet Diversity Surges With Minority Wave | Diverse: Issues In Higher Education
                      Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 290 of 292

  Awards & Honors                                                                  About
  Arthur Ashe                                                                      Advertise
  Diverse Champions                                                                Press Releases
  DOIT                                                                             About Us
  Dr. John Hope Franklin Award                                                     Contact Us
  Emerging Scholars                                                                Subscribe
  Graduate Scholars
  Most Promising Places to Work: Community
  Colleges
  Most Promising Places to Work: Student
  Affairs
  Top 100



                                     Follow Diverse: Issues In Higher Education


                                                            Privacy Policy | Site Map
                             © 2022 Cox Matthews and Associates, Inc. All rights reserved.




https://web.archive.org/web/20220702122804/https://www.diverseeducation.com/demographics/african-american/article/15089741/coast-guard-cadet-diversity-surges… 9/9
Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 291 of 292




                   EXHIBIT cc
http://www.usma.edu/news/SitePages/Class%20of%202016%20to%20Enter%20West%20Point.aspx                                                                                                        Go      JUN     JUL   SEP    👤   ⍰❎
18 captures
                                            Case 1:23-cv-02699-RDB Document 9-7 Filed 10/06/23 Page 292 of 292
                                                                                                                                                                                                            07                f🐦
7 Jul 2012 - 5 Jun 2018                                                                                                                                                                            2011 2012 2013 ▾ About this capture




                                   WestPoint                                                                     R

                                   TheUnitedStatesMilitaryAcademy

 Admissions               Academics              Military            Athletics           Leadership               Community                 News          About Us
 Home                                     NEWS RELEASE
 Media                                    FOR IMMEDIATE RELEASE                                                       RELEASE NO. 11-12
     Releases
     Stories                              CLASS OF 2016 TO ENTER WEST POINT – June 28, 2012
     Fact Sheets
                                          WEST POINT, N.Y. – Approximately 1,150 cadet candidates, including more than 322 minorities, 15 international cadets and 35
     Social Media                         combat veterans will report to West Point July 2, Reception Day, for the West Point Class of 2016.
     Pointer View
                                          The incoming class was selected from a pool of more than 15,000 applicants. There are 190 women, who comprise 16 percent of the
     Archives
                                          class. Minority enrollment, roughly 27 percent, includes 105 African-Americans, 87 Asian-Americans; 115 Hispanic Americans and 15
 Event Calendar                           Native Americans.

                                          “I’ve never been more impressed than I am with the caliber of student entering West Point with the Class of 2016,” said Col. Deborah
                                          McDonald, Director of Admissions. “Their overall performance in academics, leadership and athletics is exceptional and provides the
                                          foundation for successful completion of the challenging West Point experience.

                                          “These young patriots are coming here to devote themselves to becoming guardians of ‘Duty, Honor, Country’ – the West Point motto –
                                          and our United States Constitution. They represent our nation’s promise for the future,” McDonald continued.

                                          The Class of 2016 includes cadets from every state in the nation and 15 international cadets entering the class under the sponsorship
                                          of their respective countries. The countries represented include Afghanistan (2), Bulgaria, Gabon, Guyana, Haiti, Kazakhstan (2),
                                          Malaysia, Mongolia, Philippines, Qatar, Saudi Arabia, South Korea, and Thailand. Upon graduation, these cadets will return to their
                                          respective countries as officers in their armed forces.

                                          During Reception Day, the new cadets begin the process of becoming West Point cadets and future U.S. Army officers. They undergo
                                          administrative processing, are fitted with their initial issue of military clothing, receive haircuts, medical and physical evaluations, and
                                          begin their first lessons in marching, military courtesy and discipline. As their first day ends, the Class of 2016 will stand before many of
                                          their parents and friends on the Plain to take the Oath of Allegiance from the U.S. Military Academy Commandant of Cadets Brig. Gen.
                                          Theodore D. Martin.

                                          New cadets will complete six weeks of Cadet Basic Training, learning the basic skills of the Soldier. They will participate in rigorous
                                          physical training, small-unit tactical training, and rifle marksmanship, as well as learning to respond quickly and accurately to their
                                          commanders under conditions of mental and physical stress. At the end of this initial training period, new cadets will be formally
                                          accepted into the Corps of Cadets. The Acceptance Day Parade for the Class of 2016 is scheduled for Saturday, Aug. 18, at 10 a.m.

                                                                                                                             -30-




               External Links Disclaimer - The appearance of hyperlinks to external sites does not constitute endorsement by West Point or the Department of the U.S. Army of the linked web site or the
               information, products or services contained therein. For other than authorized activities such as military exchanges and Morale, Welfare and Recreation sites, West Point and the Department of
               the U.S. Army does not exercise any editorial control over the information you may find at these locations. Such links are provided consistent with the stated purpose of this Department of the
               Army web site.

               Only questions or comments regarding the technical aspects of the Web site should be sent to the web master. If you are reporting a broken link, please help us by identifying the page or Web
               site where you found the link or web address.

                                                                               Please click here to send an email to the West Point web team.
